Exhibit A
                                                                                           PUBLIC LAW 118–47—MAR. 23, 2024




                                                                         FURTHER CONSOLIDATED APPROPRIATIONS
                                                                                      ACT, 2024
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                                                                                               Public Law 118–47
                                                                                               118th Congress
                                                                                                                                            An Act
                                                                         Mar. 23, 2024               Making further consolidated appropriations for the fiscal year ending September
                                                                          [H.R. 2882]                                       30, 2024, and for other purposes.

                                                                                                   Be it enacted by the Senate and House of Representatives of
                                                                       Further                 the United States of America in Congress assembled,
                                                                       Consolidated
                                                                       Appropriations          SECTION 1. SHORT TITLE.
                                                                       Act, 2024.                  This Act may be cited as the ‘‘Further Consolidated Appropria-
                                                                                               tions Act, 2024’’.
                                                                                               SEC. 2. TABLE OF CONTENTS.
                                                                                               Sec. 1. Short title.
                                                                                               Sec. 2. Table of contents.
                                                                                               Sec. 3. References.
                                                                                               Sec. 4. Explanatory statement.
                                                                                               Sec. 5. Statement of appropriations.
                                                                                               Sec. 6. Availability of funds.
                                                                                               Sec. 7. Adjustments to compensation.
                                                                                                   DIVISION A—DEPARTMENT OF DEFENSE APPROPRIATIONS ACT, 2024
                                                                                               Title I—Military Personnel
                                                                                               Title II—Operation and Maintenance
                                                                                               Title III—Procurement
                                                                                               Title IV—Research, Development, Test and Evaluation
                                                                                               Title V—Revolving and Management Funds
                                                                                               Title VI—Other Department of Defense Programs
                                                                                               Title VII—Related Agencies
                                                                                               Title VIII—General Provisions
                                                                                                     DIVISION B—FINANCIAL SERVICES AND GENERAL GOVERNMENT
                                                                                                                         APPROPRIATIONS ACT, 2024
                                                                                               Title I—Department of the Treasury
                                                                                               Title II—Executive Office of the President and Funds Appropriated to the President
                                                                                               Title III—The Judiciary
                                                                                               Title IV—District of Columbia
                                                                                               Title V—Independent Agencies
                                                                                               Title VI—General Provisions—This Act
                                                                                               Title VII—General Provisions—Government-wide
                                                                                               Title VIII—General Provisions—District of Columbia
                                                                                                DIVISION C—DEPARTMENT OF HOMELAND SECURITY APPROPRIATIONS
                                                                                                                                    ACT, 2024
                                                                                               Title I—Departmental Management, Intelligence, Situational Awareness, and Over-
                                                                                                          sight
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                                                                                               Title III—Protection, Preparedness, Response, and Recovery
                                                                                               Title IV—Research, Development, Training, and Services
                                                                                               Title V—General Provisions
                                                                                                DIVISION D—DEPARTMENTS OF LABOR, HEALTH AND HUMAN SERVICES,
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                                                                                                AND EDUCATION, AND RELATED AGENCIES APPROPRIATIONS ACT, 2024
                                                                                               Title I—Department of Labor




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                                                                       Title II—Department of Health and Human Services
                                                                       Title III—Department of Education
                                                                       Title IV—Related Agencies
                                                                       Title V—General Provisions

                                                                               DIVISION E—LEGISLATIVE BRANCH APPROPRIATIONS ACT, 2024
                                                                       Title I—Legislative Branch
                                                                       Title II—General Provisions

                                                                             DIVISION F—DEPARTMENT OF STATE, FOREIGN OPERATIONS, AND
                                                                                     RELATED PROGRAMS APPROPRIATIONS ACT, 2024
                                                                       Title I—Department of State and Related Agency
                                                                       Title II—United States Agency for International Development
                                                                       Title III—Bilateral Economic Assistance
                                                                       Title IV—International Security Assistance
                                                                       Title V—Multilateral Assistance
                                                                       Title VI—Export and Investment Assistance
                                                                       Title VII—General Provisions

                                                                                                       DIVISION G—OTHER MATTERS
                                                                       Title I—Extensions and Other Matters
                                                                       Title II—Udall Foundation Reauthorization
                                                                       Title III—Funding Limitation for United Nations Relief and Works Agency
                                                                       Title IV—Budgetary Effects

                                                                       SEC. 3. REFERENCES.                                                                                   1 USC 1 note.
                                                                            Except as expressly provided otherwise, any reference to ‘‘this
                                                                       Act’’ contained in any division of this Act shall be treated as
                                                                       referring only to the provisions of that division.
                                                                       SEC. 4. EXPLANATORY STATEMENT.
                                                                           The explanatory statement regarding this Act, printed in the
                                                                       House section of the Congressional Record on or about March 22,
                                                                       2024, and submitted by the chair of the Committee on Appropria-
                                                                       tions of the House, shall have the same effect with respect to
                                                                       the allocation of funds and implementation of divisions A through
                                                                       F of this Act as if it were a joint explanatory statement of a
                                                                       committee of conference.
                                                                       SEC. 5. STATEMENT OF APPROPRIATIONS.
                                                                           The following sums in this Act are appropriated, out of any
                                                                       money in the Treasury not otherwise appropriated, for the fiscal
                                                                       year ending September 30, 2024.
                                                                       SEC. 6. AVAILABILITY OF FUNDS.                                                                        President.
                                                                           Each amount designated in this Act by the Congress as an
                                                                       emergency requirement pursuant to section 251(b)(2)(A)(i) of the
                                                                       Balanced Budget and Emergency Deficit Control Act of 1985 shall
                                                                       be available (or repurposed, rescinded, or transferred, if applicable)
                                                                       only if the President subsequently so designates all such amounts
                                                                       and transmits such designations to the Congress.
                                                                       SEC. 7. ADJUSTMENTS TO COMPENSATION.                                                                  2 USC 4501 note.
                                                                           Notwithstanding any other provision of law, no adjustment
                                                                       shall be made under section 601(a) of the Legislative Reorganization
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                                                                       Act of 1946 (2 U.S.C. 4501) (relating to cost of living adjustments
                                                                       for Members of Congress) during fiscal year 2024.




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                                                                                   (1) developed, in consultation with NIST and supply chain                                 Mitigation
                                                                              risk management experts, a mitigation strategy for any identi-                                 strategy.
                                                                              fied risks;
                                                                                   (2) determined, in consultation with NIST and the Federal                                 Determination.
                                                                              Bureau of Investigation, that the acquisition of such tele-
                                                                              communications equipment for inclusion in a high or moderate
                                                                              impact system is in the vital national security interest of the
                                                                              United States; and
                                                                                   (3) reported that determination to the Committees on                                      Reports.
                                                                              Appropriations of the House of Representatives and the Senate
                                                                              in a manner that identifies the telecommunications equipment
                                                                              for inclusion in a high or moderate impact system intended
                                                                              for acquisition and a detailed description of the mitigation
                                                                              strategies identified in paragraph (1), provided that such report
                                                                              may include a classified annex as necessary.

                                                                                        PROHIBITION ON CERTAIN OPERATIONAL EXPENSES

                                                                            SEC. 209. (a) None of the funds made available in this Act                                       Pornography.
                                                                       may be used to maintain or establish a computer network unless
                                                                       such network blocks the viewing, downloading, and exchanging
                                                                       of pornography.
                                                                            (b) Nothing in subsection (a) shall limit the use of funds nec-
                                                                       essary for any Federal, State, tribal, or local law enforcement agency
                                                                       or any other entity carrying out criminal investigations, prosecution,
                                                                       or adjudication activities or other official government activities.

                                                                                                       PLASTIC WASTE REDUCTION

                                                                             SEC. 210. All agencies and offices funded by this Act that                                      Contracts.
                                                                       contract with a food service provider or providers shall confer and
                                                                       coordinate with such food service provider or providers, in consulta-
                                                                       tion with disability advocacy groups, to eliminate or reduce plastic
                                                                       waste, including waste from plastic straws, explore the use of bio-
                                                                       degradable items, and increase recycling and composting opportuni-
                                                                       ties.
                                                                             This division may be cited as the ‘‘Legislative Branch Appro-
                                                                       priations Act, 2024’’.

                                                                       DIVISION F—DEPARTMENT OF STATE, FOREIGN OPER-                                                         Department of
                                                                        ATIONS, AND RELATED PROGRAMS APPROPRIATIONS                                                          State, Foreign
                                                                        ACT, 2024                                                                                            Operations, and
                                                                                                                                                                             Related
                                                                                                                                                                             Programs
                                                                                                                    TITLE I                                                  Appropriations
                                                                                                                                                                             Act, 2024.
                                                                                 DEPARTMENT OF STATE AND RELATED AGENCY

                                                                                                       DEPARTMENT OF STATE

                                                                                               ADMINISTRATION OF FOREIGN AFFAIRS

                                                                                                          DIPLOMATIC PROGRAMS

                                                                           For necessary expenses of the Department of State and the
                                                                       Foreign Service not otherwise provided for, $9,413,107,000, of which
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                                                                       $839,910,000 may remain available until September 30, 2025, and
                                                                       of which up to $3,813,707,000 may remain available until expended




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                                                                       Allocations.            for Worldwide Security Protection: Provided, That funds made avail-
                                                                                               able under this heading shall be allocated in accordance with para-
                                                                                               graphs (1) through (4), as follows:
                                                                                                        (1) HUMAN RESOURCES.—For necessary expenses for
                                                                                                   training, human resources management, and salaries, including
                                                                                                   employment without regard to civil service and classification
                                                                                                   laws of persons on a temporary basis (not to exceed $700,000),
                                                                                                   as authorized by section 801 of the United States Information
                                                                                                   and Educational Exchange Act of 1948 (62 Stat. 11; Chapter
                                                                                                   36), $3,336,128,000, of which up to $684,767,000 is for World-
                                                                                                   wide Security Protection.
                                                                                                        (2) OVERSEAS PROGRAMS.—For necessary expenses for the
                                                                                                   regional bureaus of the Department of State and overseas
                                                                                                   activities as authorized by law, $1,828,155,000.
                                                                                                        (3) DIPLOMATIC POLICY AND SUPPORT.—For necessary
                                                                                                   expenses for the functional bureaus of the Department of State,
                                                                                                   including representation to certain international organizations
                                                                                                   in which the United States participates pursuant to treaties
                                                                                                   ratified pursuant to the advice and consent of the Senate or
                                                                                                   specific Acts of Congress, general administration, and arms
                                                                                                   control, nonproliferation, and disarmament activities as author-
                                                                                                   ized, $1,091,879,000.
                                                                                                        (4) SECURITY PROGRAMS.—For necessary expenses for secu-
                                                                                                   rity activities, $3,156,945,000, of which up to $3,128,940,000
                                                                                                   is for Worldwide Security Protection.
                                                                                                        (5) REPROGRAMMING.—Notwithstanding any other provision
                                                                                                   of this Act, funds may be reprogrammed within and between
                                                                                                   paragraphs (1) through (4) under this heading subject to section
                                                                                                   7015 of this Act.
                                                                                                                 CONSULAR AND BORDER SECURITY PROGRAMS

                                                                                                    Of the amounts deposited in the Consular and Border Security
                                                                                               Programs account in this or any prior fiscal year pursuant to
                                                                                               section 7069(e) of the Department of State, Foreign Operations,
                                                                                               and Related Programs Appropriations Act, 2022 (division K of Public
                                                                                               Law 117–103), $50,000,000 shall be available until expended for
                                                                                               the purposes of such account, including to reduce passport backlogs
                                                                       Regulations.            and reduce visa wait times: Provided, That the Secretary of State
                                                                       Fees.                   may by regulation authorize State officials or the United States
                                                                                               Postal Service to collect and retain the execution fee for each
                                                                                               application for a passport accepted by such officials or by that
                                                                                               Service.
                                                                                                                              CAPITAL INVESTMENT FUND

                                                                                                   For necessary expenses of the Capital Investment Fund, as
                                                                                               authorized, $389,000,000, to remain available until expended.
                                                                                                                            OFFICE OF INSPECTOR GENERAL

                                                                                                    For necessary expenses of the Office of Inspector General,
                                                                                               $131,670,000, of which $16,025,000 may remain available until
                                                                                               September 30, 2025, and of which $24,835,000 may remain available
                                                                                               until September 30, 2025 for the Special Inspector General for
                                                                                               Afghanistan Reconstruction (SIGAR): Provided, That funds appro-
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                                                                                               priated under this heading are made available notwithstanding
                                                                                               section 209(a)(1) of the Foreign Service Act of 1980 (22 U.S.C.




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                                                                       3929(a)(1)), as it relates to post inspections: Provided further, That
                                                                       funds appropriated under this heading that are made available
                                                                       for the printing and reproduction costs of SIGAR shall not exceed
                                                                       amounts for such costs during the prior fiscal year.

                                                                                        EDUCATIONAL AND CULTURAL EXCHANGE PROGRAMS

                                                                            For necessary expenses of educational and cultural exchange
                                                                       programs, as authorized, $741,000,000, to remain available until
                                                                       expended, of which not less than $287,800,000 shall be for the
                                                                       Fulbright Program: Provided, That fees or other payments received
                                                                       from, or in connection with, English teaching, educational advising
                                                                       and counseling programs, and exchange visitor programs as author-
                                                                       ized may be credited to this account, to remain available until
                                                                       expended: Provided further, That a portion of the Fulbright awards                                     Fellowships and
                                                                       from the Eurasia and Central Asia regions shall be designated                                          scholarships.
                                                                                                                                                                              Consultation.
                                                                       as Edmund S. Muskie Fellowships, following consultation with the
                                                                       Committees on Appropriations: Provided further, That funds appro-
                                                                       priated under this heading that are made available for the Benjamin
                                                                       Gilman International Scholarships Program shall also be made
                                                                       available for the John S. McCain Scholars Program, pursuant to
                                                                       section 7075 of the Department of State, Foreign Operations, and
                                                                       Related Programs Appropriations Act, 2019 (division F of Public
                                                                       Law 116–6): Provided further, That any substantive modifications                                       Consultation.
                                                                       from the prior fiscal year to programs funded under this heading                                       Notification.
                                                                       in this Act shall be subject to prior consultation with, and the
                                                                       regular notification procedures of, the Committees on Appropria-
                                                                       tions.

                                                                                                        REPRESENTATION EXPENSES

                                                                              For representation expenses as authorized, $7,415,000.

                                                                                        PROTECTION OF FOREIGN MISSIONS AND OFFICIALS

                                                                            For necessary expenses, not otherwise provided, to enable the
                                                                       Secretary of State to provide for extraordinary protective services,
                                                                       as authorized, $30,890,000, to remain available until September
                                                                       30, 2025.

                                                                                  EMBASSY SECURITY, CONSTRUCTION, AND MAINTENANCE

                                                                            For necessary expenses for carrying out the Foreign Service
                                                                       Buildings Act of 1926 (22 U.S.C. 292 et seq.), preserving,
                                                                       maintaining, repairing, and planning for real property that are
                                                                       owned or leased by the Department of State, and renovating, in
                                                                       addition to funds otherwise available, the Harry S Truman Building,
                                                                       $902,615,000, to remain available until September 30, 2028, of
                                                                       which not to exceed $25,000 may be used for overseas representation
                                                                       expenses as authorized: Provided, That none of the funds appro-
                                                                       priated in this paragraph shall be available for acquisition of fur-
                                                                       niture, furnishings, or generators for other departments and agen-
                                                                       cies of the United States Government.
                                                                            In addition, for the costs of worldwide security upgrades,
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                                                                       acquisition, and construction as authorized, $1,055,206,000, to
                                                                       remain available until expended.




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                                                                                                       EMERGENCIES IN THE DIPLOMATIC AND CONSULAR SERVICE

                                                                                                   For necessary expenses to enable the Secretary of State to
                                                                                               meet unforeseen emergencies arising in the Diplomatic and Con-
                                                                                               sular Service, as authorized, $8,885,000, to remain available until
                                                                                               expended, of which not to exceed $1,000,000 may be transferred
                                                                                               to, and merged with, funds appropriated by this Act under the
                                                                                               heading ‘‘Repatriation Loans Program Account’’.
                                                                                                                     REPATRIATION LOANS PROGRAM ACCOUNT

                                                                                                   For the cost of direct loans, $1,800,000, as authorized: Provided,
                                                                                               That such costs, including the cost of modifying such loans, shall
                                                                                               be as defined in section 502 of the Congressional Budget Act of
                                                                                               1974: Provided further, That such funds are available to subsidize
                                                                                               gross obligations for the principal amount of direct loans not to
                                                                                               exceed $5,167,004.
                                                                                                                PAYMENT TO THE AMERICAN INSTITUTE IN TAIWAN

                                                                                                   For necessary expenses to carry out the Taiwan Relations Act
                                                                                               (Public Law 96–8), $35,964,000.
                                                                                                     INTERNATIONAL CENTER, WASHINGTON, DISTRICT OF COLUMBIA

                                                                                                    Not to exceed $1,842,732 shall be derived from fees collected
                                                                                               from other executive agencies for lease or use of facilities at the
                                                                                               International Center in accordance with section 4 of the Inter-
                                                                                               national Center Act (Public Law 90–553), and, in addition, as
                                                                                               authorized by section 5 of such Act, $744,000, to be derived from
                                                                                               the reserve authorized by such section, to be used for the purposes
                                                                                               set out in that section.
                                                                                                     PAYMENT TO THE FOREIGN SERVICE RETIREMENT AND DISABILITY
                                                                                                                              FUND

                                                                                                  For payment to the Foreign Service Retirement and Disability
                                                                                               Fund, as authorized, $158,900,000.
                                                                       22 USC 269a                                           INTERNATIONAL ORGANIZATIONS
                                                                       note.
                                                                                                            CONTRIBUTIONS TO INTERNATIONAL ORGANIZATIONS

                                                                       United Nations.              For necessary expenses, not otherwise provided for, to meet
                                                                       Notifications.          annual obligations of membership in international multilateral
                                                                                               organizations, pursuant to treaties ratified pursuant to the advice
                                                                                               and consent of the Senate, conventions, or specific Acts of Congress,
                                                                                               $1,543,452,000, of which $96,240,000 may remain available until
                                                                       Budget.                 September 30, 2025: Provided, That the Secretary of State shall,
                                                                                               at the time of the submission of the President’s budget to Congress
                                                                                               under section 1105(a) of title 31, United States Code, transmit
                                                                                               to the Committees on Appropriations the most recent biennial
                                                                                               budget prepared by the United Nations for the operations of the
                                                                       Time period.            United Nations: Provided further, That the Secretary of State shall
                                                                                               notify the Committees on Appropriations at least 15 days in advance
                                                                                               (or in an emergency, as far in advance as is practicable) of any
                                                                                               United Nations action to increase funding for any United Nations
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                                                                                               program without identifying an offsetting decrease elsewhere in
                                                                                               the United Nations budget: Provided further, That any payment




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                                                                       of arrearages under this heading shall be directed to activities
                                                                       that are mutually agreed upon by the United States and the respec-
                                                                       tive international organization and shall be subject to the regular
                                                                       notification procedures of the Committees on Appropriations: Pro-
                                                                       vided further, That none of the funds appropriated under this
                                                                       heading shall be available for a United States contribution to an
                                                                       international organization for the United States share of interest
                                                                       costs made known to the United States Government by such
                                                                       organization for loans incurred on or after October 1, 1984, through
                                                                       external borrowings: Provided further, That funds made available
                                                                       under this heading may be made available for United States con-
                                                                       tributions in support of the International Energy Forum.

                                                                            CONTRIBUTIONS FOR INTERNATIONAL PEACEKEEPING ACTIVITIES                                          United Nations.

                                                                            For necessary expenses to pay assessed and other expenses
                                                                       of international peacekeeping activities directed to the maintenance
                                                                       or restoration of international peace and security, $1,367,407,000,
                                                                       of which $683,704,000 may remain available until September 30,
                                                                       2025: Provided, That none of the funds made available by this                                         Time period.
                                                                       Act shall be obligated or expended for any new or expanded United                                     Notifications.
                                                                                                                                                                             Cost estimates.
                                                                       Nations peacekeeping mission unless, at least 15 days in advance
                                                                       of voting for such mission in the United Nations Security Council
                                                                       (or in an emergency as far in advance as is practicable), the Commit-
                                                                       tees on Appropriations are notified of: (1) the estimated cost and
                                                                       duration of the mission, the objectives of the mission, the national
                                                                       interest that will be served, and the exit strategy; and (2) the
                                                                       sources of funds, including any reprogrammings or transfers, that
                                                                       will be used to pay the cost of the new or expanded mission,
                                                                       and the estimated cost in future fiscal years: Provided further,
                                                                       That none of the funds appropriated under this heading may be                                         Certification.
                                                                       made available for obligation unless the Secretary of State certifies                                 Reports.
                                                                                                                                                                             Human rights.
                                                                       and reports to the Committees on Appropriations on a peacekeeping                                     Public
                                                                       mission-by-mission basis that the United Nations is implementing                                      information.
                                                                       effective policies and procedures to prevent United Nations                                           Web posting.
                                                                       employees, contractor personnel, and peacekeeping troops serving
                                                                       in such mission from trafficking in persons, exploiting victims of
                                                                       trafficking, or committing acts of sexual exploitation and abuse
                                                                       or other violations of human rights, and to hold accountable individ-
                                                                       uals who engage in such acts while participating in such mission,
                                                                       including prosecution in their home countries and making informa-
                                                                       tion about such prosecutions publicly available on the website of
                                                                       the United Nations: Provided further, That the Secretary of State                                     Procedures.
                                                                       shall work with the United Nations and foreign governments                                            Human rights.
                                                                       contributing peacekeeping troops to implement effective vetting
                                                                       procedures to ensure that such troops have not violated human
                                                                       rights: Provided further, That funds shall be available for peace-                                    Determination.
                                                                       keeping expenses unless the Secretary of State determines that
                                                                       United States manufacturers and suppliers are not being given
                                                                       opportunities to provide equipment, services, and material for
                                                                       United Nations peacekeeping activities equal to those being given
                                                                       to foreign manufacturers and suppliers: Provided further, That none                                   President.
                                                                       of the funds appropriated or otherwise made available under this                                      Recommenda-
                                                                                                                                                                             tions.
                                                                       heading may be used for any United Nations peacekeeping mission
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                                                                       that will involve United States Armed Forces under the command
                                                                       or operational control of a foreign national, unless the President’s




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                                                                                               military advisors have submitted to the President a recommenda-
                                                                                               tion that such involvement is in the national interest of the United
                                                                                               States and the President has submitted to Congress such a rec-
                                                                       Notifications.          ommendation: Provided further, That any payment of arrearages
                                                                                               with funds appropriated by this Act shall be subject to the regular
                                                                                               notification procedures of the Committees on Appropriations.

                                                                       22 USC 269a                                          INTERNATIONAL COMMISSIONS
                                                                       note.
                                                                                                    For necessary expenses, not otherwise provided for, to meet
                                                                                               obligations of the United States arising under treaties, or specific
                                                                                               Acts of Congress, as follows:

                                                                       Compliance.              INTERNATIONAL BOUNDARY AND WATER COMMISSION, UNITED STATES
                                                                                                                       AND MEXICO

                                                                                                    For necessary expenses for the United States Section of the
                                                                                               International Boundary and Water Commission, United States and
                                                                                               Mexico, and to comply with laws applicable to the United States
                                                                                               Section, including not to exceed $6,000 for representation expenses,
                                                                                               as follows:

                                                                                                                                SALARIES AND EXPENSES

                                                                                                   For salaries and expenses, not otherwise provided for,
                                                                                               $64,800,000, of which $9,720,000 may remain available until Sep-
                                                                                               tember 30, 2025.

                                                                                                                                       CONSTRUCTION

                                                                                                    For detailed plan preparation and construction of authorized
                                                                                               projects, $156,050,000, to remain available until expended, as
                                                                       Transfer                authorized: Provided, That of the funds appropriated under this
                                                                       authority.              heading in this Act and prior Acts making appropriations for the
                                                                       Consultation.           Department of State, foreign operations, and related programs for
                                                                       Notification.
                                                                                               the United States Section, up to $5,000,000 may be transferred
                                                                                               to, and merged with, funds appropriated under the heading ‘‘Sala-
                                                                                               ries and Expenses’’ to carry out the purposes of the United States
                                                                                               Section, which shall be subject to prior consultation with, and
                                                                                               the regular notification procedures of, the Committees on Appropria-
                                                                                               tions: Provided further, That such transfer authority is in addition
                                                                                               to any other transfer authority provided in this Act.

                                                                                                            AMERICAN SECTIONS, INTERNATIONAL COMMISSIONS

                                                                                                    For necessary expenses, not otherwise provided, for the Inter-
                                                                                               national Joint Commission and the International Boundary
                                                                                               Commission, United States and Canada, as authorized by treaties
                                                                                               between the United States and Canada or Great Britain, and for
                                                                                               technical assistance grants and the Community Assistance Program
                                                                                               of the North American Development Bank, $16,204,000: Provided,
                                                                                               That of the amount provided under this heading for the Inter-
                                                                                               national Joint Commission, up to $1,250,000 may remain available
                                                                                               until September 30, 2025, and up to $9,000 may be made available
                                                                                               for representation expenses: Provided further, That of the amount
                                                                                               provided under this heading for the International Boundary
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                                                                                               Commission, up to $1,000 may be made available for representation
                                                                                               expenses.




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                                                                                             INTERNATIONAL FISHERIES COMMISSIONS

                                                                            For necessary expenses for international fisheries commissions,
                                                                       not otherwise provided for, as authorized by law, $65,719,000: Pro-
                                                                       vided, That the United States share of such expenses may be
                                                                       advanced to the respective commissions pursuant to section 3324
                                                                       of title 31, United States Code.
                                                                                                           RELATED AGENCY
                                                                                          UNITED STATES AGENCY FOR GLOBAL MEDIA
                                                                                           INTERNATIONAL BROADCASTING OPERATIONS

                                                                            For necessary expenses to enable the United States Agency
                                                                       for Global Media (USAGM), as authorized, to carry out international
                                                                       communication activities, and to make and supervise grants for
                                                                       radio, Internet, and television broadcasting to the Middle East,
                                                                       $857,214,000, of which $42,861,000 may remain available until
                                                                       September 30, 2025: Provided, That in addition to amounts other-
                                                                       wise available for such purposes, up to $75,722,000 of the amount
                                                                       appropriated under this heading may remain available until
                                                                       expended for satellite transmissions, global network distribution,
                                                                       and Internet freedom programs, of which not less than $43,500,000
                                                                       shall be for Internet freedom programs: Provided further, That
                                                                       of the total amount appropriated under this heading, not to exceed
                                                                       $35,000 may be used for representation expenses, of which $10,000
                                                                       may be used for such expenses within the United States as author-
                                                                       ized, and not to exceed $30,000 may be used for representation
                                                                       expenses of Radio Free Europe/Radio Liberty: Provided further,
                                                                       That funds appropriated under this heading shall be allocated in                                      Allocations.
                                                                       accordance with the table included under this heading in the
                                                                       explanatory statement described in section 4 (in the matter pre-
                                                                       ceding division A of this consolidated Act): Provided further, That                                   Notifications.
                                                                       notwithstanding the previous proviso, funds may be reprogrammed
                                                                       within and between amounts designated in such table, subject
                                                                       to the regular notification procedures of the Committees on Appro-
                                                                       priations, except that no such reprogramming may reduce a des-
                                                                       ignated amount by more than 5 percent: Provided further, That
                                                                       funds appropriated under this heading shall be made available
                                                                       in accordance with the principles and standards set forth in section
                                                                       303(a) and (b) of the United States International Broadcasting
                                                                       Act of 1994 (22 U.S.C. 6202) and section 305(b) of such Act (22
                                                                       U.S.C. 6204): Provided further, That the USAGM Chief Executive                                        Notifications.
                                                                       Officer shall notify the Committees on Appropriations within 15                                       Deadline.
                                                                       days of any determination by the USAGM that any of its broadcast                                      Determination.
                                                                                                                                                                             Terrorism.
                                                                       entities, including its grantee organizations, provides an open plat-
                                                                       form for international terrorists or those who support international
                                                                       terrorism, or is in violation of the principles and standards set
                                                                       forth in section 303(a) and (b) of such Act or the entity’s journalistic
                                                                       code of ethics: Provided further, That in addition to funds made
                                                                       available under this heading, and notwithstanding any other provi-
                                                                       sion of law, up to $5,000,000 in receipts from advertising and
                                                                       revenue from business ventures, up to $500,000 in receipts from
                                                                       cooperating international organizations, and up to $1,000,000 in
                                                                       receipts from privatization efforts of the Voice of America and
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                                                                       the International Broadcasting Bureau, shall remain available until
                                                                       expended for carrying out authorized purposes: Provided further,




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                                                                       Notifications.          That significant modifications to USAGM broadcast hours pre-
                                                                                               viously justified to Congress, including changes to transmission
                                                                                               platforms (shortwave, medium wave, satellite, Internet, and tele-
                                                                                               vision), for all USAGM language services shall be subject to the
                                                                                               regular notification procedures of the Committees on Appropria-
                                                                       Transfer                tions: Provided further, That up to $7,000,000 from the USAGM
                                                                       authority.              Buying Power Maintenance account may be transferred to, and
                                                                                               merged with, funds appropriated by this Act under the heading
                                                                                               ‘‘International Broadcasting Operations’’, which shall remain avail-
                                                                       Consultation.           able until expended: Provided further, That such transfer authority
                                                                       Notifications.          is in addition to any transfer authority otherwise available under
                                                                                               any other provision of law and shall be subject to prior consultation
                                                                                               with, and the regular notification procedures of, the Committees
                                                                                               on Appropriations.
                                                                                                                      BROADCASTING CAPITAL IMPROVEMENTS

                                                                                                    For the purchase, rent, construction, repair, preservation, and
                                                                                               improvement of facilities for radio, television, and digital trans-
                                                                                               mission and reception; the purchase, rent, and installation of nec-
                                                                                               essary equipment for radio, television, and digital transmission
                                                                                               and reception, including to Cuba, as authorized; and physical secu-
                                                                                               rity worldwide, in addition to amounts otherwise available for such
                                                                                               purposes, $9,700,000, to remain available until expended, as author-
                                                                                               ized.

                                                                                                                                RELATED PROGRAMS

                                                                                                                                 THE ASIA FOUNDATION
                                                                                                   For a grant to The Asia Foundation, as authorized by The
                                                                                               Asia Foundation Act (22 U.S.C. 4402), $22,000,000, to remain avail-
                                                                                               able until expended.

                                                                                                                       UNITED STATES INSTITUTE OF PEACE
                                                                                                   For necessary expenses of the United States Institute of Peace,
                                                                                               as authorized by the United States Institute of Peace Act (22
                                                                                               U.S.C. 4601 et seq.), $55,000,000, to remain available until Sep-
                                                                                               tember 30, 2025, which shall not be used for construction activities.

                                                                                                     CENTER FOR MIDDLE EASTERN-WESTERN DIALOGUE TRUST FUND
                                                                                                   For necessary expenses of the Center for Middle Eastern-
                                                                                               Western Dialogue Trust Fund, as authorized by section 633 of
                                                                                               the Departments of Commerce, Justice, and State, the Judiciary,
                                                                                               and Related Agencies Appropriations Act, 2004 (22 U.S.C. 2078),
                                                                                               the total amount of the interest and earnings accruing to such
                                                                                               Fund on or before September 30, 2024, to remain available until
                                                                                               expended.

                                                                                                                 EISENHOWER EXCHANGE FELLOWSHIP PROGRAM
                                                                                                   For necessary expenses of Eisenhower Exchange Fellowships,
                                                                                               Incorporated, as authorized by sections 4 and 5 of the Eisenhower
                                                                                               Exchange Fellowship Act of 1990 (20 U.S.C. 5204–5205), all interest
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                                                                                               and earnings accruing to the Eisenhower Exchange Fellowship Pro-
                                                                                               gram Trust Fund on or before September 30, 2024, to remain




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                                                                       available until expended: Provided, That none of the funds appro-                                     Salaries.
                                                                       priated herein shall be used to pay any salary or other compensa-                                     Compensation.
                                                                                                                                                                             Contracts.
                                                                       tion, or to enter into any contract providing for the payment thereof,
                                                                       in excess of the rate authorized by section 5376 of title 5, United
                                                                       States Code; or for purposes which are not in accordance with
                                                                       section 200 of title 2 of the Code of Federal Regulations, including
                                                                       the restrictions on compensation for personal services.

                                                                                               ISRAELI ARAB SCHOLARSHIP PROGRAM
                                                                           For necessary expenses of the Israeli Arab Scholarship Pro-
                                                                       gram, as authorized by section 214 of the Foreign Relations
                                                                       Authorization Act, Fiscal Years 1992 and 1993 (22 U.S.C. 2452
                                                                       note), all interest and earnings accruing to the Israeli Arab Scholar-
                                                                       ship Fund on or before September 30, 2024, to remain available
                                                                       until expended.

                                                                                                            EAST-WEST CENTER
                                                                           To enable the Secretary of State to provide for carrying out
                                                                       the provisions of the Center for Cultural and Technical Interchange
                                                                       Between East and West Act of 1960, by grant to the Center for
                                                                       Cultural and Technical Interchange Between East and West in
                                                                       the State of Hawaii, $22,000,000.

                                                                                             NATIONAL ENDOWMENT FOR DEMOCRACY
                                                                            For grants made by the Department of State to the National
                                                                       Endowment for Democracy, as authorized by the National Endow-
                                                                       ment for Democracy Act (22 U.S.C. 4412), $315,000,000, to remain
                                                                       available until expended, of which $210,316,000 shall be allocated
                                                                       in the traditional and customary manner, including for the core
                                                                       institutes, and $104,684,000 shall be for democracy programs: Pro-
                                                                       vided, That the requirements of section 7062(a) of this Act shall
                                                                       not apply to funds made available under this heading.

                                                                                                        OTHER COMMISSIONS

                                                                            COMMISSION FOR THE PRESERVATION OF AMERICA’S HERITAGE
                                                                                                   ABROAD

                                                                                                         SALARIES AND EXPENSES

                                                                            For necessary expenses for the Commission for the Preservation
                                                                       of America’s Heritage Abroad, as authorized by chapter 3123 of
                                                                       title 54, United States Code, $770,000, of which $116,000 may
                                                                       remain available until September 30, 2025: Provided, That the                                         Contracts.
                                                                       Commission may procure temporary, intermittent, and other serv-
                                                                       ices notwithstanding paragraph (3) of section 312304(b) of such
                                                                       chapter: Provided further, That such authority shall terminate on                                     Termination
                                                                       October 1, 2024: Provided further, That the Commission shall notify                                   date.
                                                                                                                                                                             Notification.
                                                                       the Committees on Appropriations prior to exercising such
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                                                                       authority.




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                                                                                                      UNITED STATES COMMISSION ON INTERNATIONAL RELIGIOUS
                                                                                                                           FREEDOM

                                                                                                                                SALARIES AND EXPENSES

                                                                                                    For necessary expenses for the United States Commission on
                                                                                               International Religious Freedom, as authorized by title II of the
                                                                                               International Religious Freedom Act of 1998 (22 U.S.C. 6431 et
                                                                                               seq.), $4,000,000, to remain available until September 30, 2025,
                                                                                               including not more than $4,000 for representation expenses.

                                                                                                        COMMISSION ON SECURITY AND COOPERATION IN EUROPE

                                                                                                                                SALARIES AND EXPENSES

                                                                                                    For necessary expenses of the Commission on Security and
                                                                                               Cooperation in Europe, as authorized by Public Law 94–304 (22
                                                                                               U.S.C. 3001 et seq.), $2,908,000, including not more than $6,000
                                                                                               for representation expenses, to remain available until September
                                                                                               30, 2025.

                                                                                                       CONGRESSIONAL-EXECUTIVE COMMISSION ON THE PEOPLE’S
                                                                                                                       REPUBLIC OF CHINA

                                                                                                                                SALARIES AND EXPENSES

                                                                                                   For necessary expenses of the Congressional-Executive Commis-
                                                                                               sion on the People’s Republic of China, as authorized by title III
                                                                                               of the U.S.-China Relations Act of 2000 (22 U.S.C. 6911 et seq.),
                                                                                               $2,300,000, including not more than $3,000 for representation
                                                                                               expenses, to remain available until September 30, 2025.

                                                                                                        UNITED STATES-CHINA ECONOMIC AND SECURITY REVIEW
                                                                                                                           COMMISSION

                                                                                                                                SALARIES AND EXPENSES

                                                                                                    For necessary expenses of the United States-China Economic
                                                                                               and Security Review Commission, as authorized by section 1238
                                                                                               of the Floyd D. Spence National Defense Authorization Act for
                                                                                               Fiscal Year 2001 (22 U.S.C. 7002), $4,000,000, including not more
                                                                                               than $4,000 for representation expenses, to remain available until
                                                                       Extension.              September 30, 2025: Provided, That the authorities, requirements,
                                                                       Applicability.          limitations, and conditions contained in the second through fifth
                                                                                               provisos under this heading in the Department of State, Foreign
                                                                                               Operations, and Related Programs Appropriations Act, 2010 (divi-
                                                                                               sion F of Public Law 111–117) shall continue in effect during
                                                                                               fiscal year 2024 and shall apply to funds appropriated under this
                                                                                               heading.

                                                                                                COMMISSION ON REFORM AND MODERNIZATION OF THE DEPARTMENT
                                                                                                                        OF STATE

                                                                                                                                SALARIES AND EXPENSES

                                                                                                   For necessary expenses of the Commission on Reform and Mod-
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                                                                                               ernization of the Department of State, as authorized by section
                                                                                               9803 of the Department of State Authorization Act of 2022 (title




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                                                                       XCVIII of division I of Public Law 117–263), $2,000,000, to remain
                                                                       available until September 30, 2025.

                                                                                                                    TITLE II

                                                                                  UNITED STATES AGENCY FOR INTERNATIONAL
                                                                                               DEVELOPMENT

                                                                                            FUNDS APPROPRIATED TO THE PRESIDENT

                                                                                                           OPERATING EXPENSES

                                                                            For necessary expenses to carry out the provisions of section
                                                                       667 of the Foreign Assistance Act of 1961, $1,695,000,000, of which
                                                                       up to $254,250,000 may remain available until September 30, 2025:
                                                                       Provided, That none of the funds appropriated under this heading                                      Contracts.
                                                                       and under the heading ‘‘Capital Investment Fund’’ in this title                                       Reports.
                                                                                                                                                                             Time period.
                                                                       may be made available to finance the construction (including
                                                                       architect and engineering services), purchase, or long-term lease
                                                                       of offices for use by the United States Agency for International
                                                                       Development, unless the USAID Administrator has identified such
                                                                       proposed use of funds in a report submitted to the Committees
                                                                       on Appropriations at least 15 days prior to the obligation of funds
                                                                       for such purposes: Provided further, That contracts or agreements                                     Contracts.
                                                                       entered into with funds appropriated under this heading may entail
                                                                       commitments for the expenditure of such funds through the fol-
                                                                       lowing fiscal year: Provided further, That the authority of sections                                  Transfer
                                                                       610 and 109 of the Foreign Assistance Act of 1961 may be exercised                                    authority.
                                                                       by the Secretary of State to transfer funds appropriated to carry
                                                                       out chapter 1 of part I of such Act to ‘‘Operating Expenses’’ in
                                                                       accordance with the provisions of those sections: Provided further,
                                                                       That of the funds appropriated or made available under this
                                                                       heading, not to exceed $250,000 may be available for representation
                                                                       and entertainment expenses, of which not to exceed $5,000 may
                                                                       be available for entertainment expenses, and not to exceed $100,500
                                                                       shall be for official residence expenses, for USAID during the cur-
                                                                       rent fiscal year: Provided further, That of the funds appropriated                                    Transfer
                                                                       under this heading, up to $20,000,000 may be transferred to, and                                      authority.
                                                                       merged with, funds appropriated or otherwise made available in
                                                                       title II of this Act under the heading ‘‘Capital Investment Fund’’,
                                                                       subject to prior consultation with, and the regular notification proce-
                                                                       dures of, the Committees on Appropriations.

                                                                                                       CAPITAL INVESTMENT FUND

                                                                           For necessary expenses for overseas construction and related
                                                                       costs, and for the procurement and enhancement of information
                                                                       technology and related capital investments, pursuant to section
                                                                       667 of the Foreign Assistance Act of 1961, $259,100,000, to remain
                                                                       available until expended: Provided, That this amount is in addition
                                                                       to funds otherwise available for such purposes: Provided further,
                                                                       That funds appropriated under this heading shall be available                                         Notifications.
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                                                                       subject to the regular notification procedures of the Committees
                                                                       on Appropriations.




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                                                                                                                            OFFICE OF INSPECTOR GENERAL

                                                                                                    For necessary expenses to carry out the provisions of section
                                                                                               667 of the Foreign Assistance Act of 1961, $85,500,000, of which
                                                                                               up to $12,825,000 may remain available until September 30, 2025,
                                                                                               for the Office of Inspector General of the United States Agency
                                                                                               for International Development.
                                                                                                                                          TITLE III
                                                                                                                   BILATERAL ECONOMIC ASSISTANCE
                                                                                                                   FUNDS APPROPRIATED TO THE PRESIDENT
                                                                                                   For necessary expenses to enable the President to carry out
                                                                                               the provisions of the Foreign Assistance Act of 1961, and for other
                                                                                               purposes, as follows:
                                                                                                                              GLOBAL HEALTH PROGRAMS

                                                                       Apportionment.               For necessary expenses to carry out the provisions of chapters
                                                                                               1 and 10 of part I of the Foreign Assistance Act of 1961, for
                                                                                               global health activities, in addition to funds otherwise available
                                                                                               for such purposes, $3,985,450,000, to remain available until Sep-
                                                                                               tember 30, 2025, and which shall be apportioned directly to the
                                                                                               United States Agency for International Development: Provided,
                                                                                               That this amount shall be made available for training, equipment,
                                                                                               and technical assistance to build the capacity of public health
                                                                                               institutions and organizations in developing countries, and for such
                                                                                               activities as: (1) child survival and maternal health programs; (2)
                                                                                               immunization and oral rehydration programs; (3) other health,
                                                                                               nutrition, water and sanitation programs which directly address
                                                                                               the needs of mothers and children, and related education programs;
                                                                                               (4) assistance for children displaced or orphaned by causes other
                                                                                               than AIDS; (5) programs for the prevention, treatment, control
                                                                                               of, and research on HIV/AIDS, tuberculosis, polio, malaria, and
                                                                                               other infectious diseases including neglected tropical diseases, and
                                                                                               for assistance to communities severely affected by HIV/AIDS,
                                                                                               including children infected or affected by AIDS; (6) disaster
                                                                                               preparedness training for health crises; (7) programs to prevent,
                                                                                               prepare for, and respond to unanticipated and emerging global
                                                                                               health threats, including zoonotic diseases; and (8) family planning/
                                                                                               reproductive health: Provided further, That funds appropriated
                                                                                               under this paragraph may be made available for United States
                                                                                               contributions to The GAVI Alliance and to a multilateral vaccine
                                                                                               development partnership to support epidemic preparedness: Pro-
                                                                       Determination.          vided further, That none of the funds made available in this Act
                                                                       President.              nor any unobligated balances from prior appropriations Acts may
                                                                       Abortion.               be made available to any organization or program which, as deter-
                                                                                               mined by the President of the United States, supports or partici-
                                                                                               pates in the management of a program of coercive abortion or
                                                                       Deadline.               involuntary sterilization: Provided further, That any determination
                                                                                               made under the previous proviso must be made not later than
                                                                                               6 months after the date of enactment of this Act, and must be
                                                                                               accompanied by the evidence and criteria utilized to make the
                                                                                               determination: Provided further, That none of the funds made avail-
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                                                                       Abortion.
                                                                                               able under this Act may be used to pay for the performance of
                                                                                               abortion as a method of family planning or to motivate or coerce




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                                                                       any person to practice abortions: Provided further, That nothing
                                                                       in this paragraph shall be construed to alter any existing statutory
                                                                       prohibitions against abortion under section 104 of the Foreign
                                                                       Assistance Act of 1961: Provided further, That none of the funds                                      Lobbying.
                                                                       made available under this Act may be used to lobby for or against                                     Abortion.
                                                                       abortion: Provided further, That in order to reduce reliance on                                       Family planning.
                                                                       abortion in developing nations, funds shall be available only to                                      Requirements.
                                                                                                                                                                             Determination.
                                                                       voluntary family planning projects which offer, either directly or                                    Reports.
                                                                       through referral to, or information about access to, a broad range
                                                                       of family planning methods and services, and that any such vol-
                                                                       untary family planning project shall meet the following require-
                                                                       ments: (1) service providers or referral agents in the project shall
                                                                       not implement or be subject to quotas, or other numerical targets,
                                                                       of total number of births, number of family planning acceptors,
                                                                       or acceptors of a particular method of family planning (this provision
                                                                       shall not be construed to include the use of quantitative estimates
                                                                       or indicators for budgeting and planning purposes); (2) the project
                                                                       shall not include payment of incentives, bribes, gratuities, or finan-
                                                                       cial reward to: (A) an individual in exchange for becoming a family
                                                                       planning acceptor; or (B) program personnel for achieving a numer-
                                                                       ical target or quota of total number of births, number of family
                                                                       planning acceptors, or acceptors of a particular method of family
                                                                       planning; (3) the project shall not deny any right or benefit,
                                                                       including the right of access to participate in any program of general
                                                                       welfare or the right of access to health care, as a consequence
                                                                       of any individual’s decision not to accept family planning services;
                                                                       (4) the project shall provide family planning acceptors comprehen-
                                                                       sible information on the health benefits and risks of the method
                                                                       chosen, including those conditions that might render the use of
                                                                       the method inadvisable and those adverse side effects known to
                                                                       be consequent to the use of the method; and (5) the project shall
                                                                       ensure that experimental contraceptive drugs and devices and med-
                                                                       ical procedures are provided only in the context of a scientific
                                                                       study in which participants are advised of potential risks and
                                                                       benefits; and, not less than 60 days after the date on which the
                                                                       USAID Administrator determines that there has been a violation
                                                                       of the requirements contained in paragraph (1), (2), (3), or (5)
                                                                       of this proviso, or a pattern or practice of violations of the require-
                                                                       ments contained in paragraph (4) of this proviso, the Administrator
                                                                       shall submit to the Committees on Appropriations a report con-
                                                                       taining a description of such violation and the corrective action
                                                                       taken by the Agency: Provided further, That in awarding grants                                        Grants.
                                                                       for natural family planning under section 104 of the Foreign Assist-                                  Discrimination.
                                                                                                                                                                             Compliance.
                                                                       ance Act of 1961 no applicant shall be discriminated against because
                                                                       of such applicant’s religious or conscientious commitment to offer
                                                                       only natural family planning; and, additionally, all such applicants
                                                                       shall comply with the requirements of the previous proviso: Pro-
                                                                       vided further, That for purposes of this or any other Act authorizing                                 Definition.
                                                                       or appropriating funds for the Department of State, foreign oper-
                                                                       ations, and related programs, the term ‘‘motivate’’, as it relates
                                                                       to family planning assistance, shall not be construed to prohibit
                                                                       the provision, consistent with local law, of information or counseling
                                                                       about all pregnancy options: Provided further, That information                                       Condoms.
                                                                       provided about the use of condoms as part of projects or activities
                                                                       that are funded from amounts appropriated by this Act shall be
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                                                                       medically accurate and shall include the public health benefits
                                                                       and failure rates of such use.




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                                                                       Apportionment.               In addition, for necessary expenses to carry out the provisions
                                                                                               of the Foreign Assistance Act of 1961 for the prevention, treatment,
                                                                                               and control of, and research on, HIV/AIDS, $6,045,000,000, to
                                                                                               remain available until September 30, 2028, which shall be appor-
                                                                                               tioned directly to the Department of State: Provided, That funds
                                                                                               appropriated under this paragraph may be made available, notwith-
                                                                                               standing any other provision of law, except for the United States
                                                                                               Leadership Against HIV/AIDS, Tuberculosis, and Malaria Act of
                                                                                               2003 (Public Law 108–25), for a United States contribution to
                                                                                               the Global Fund to Fight AIDS, Tuberculosis and Malaria (Global
                                                                                               Fund): Provided further, That the amount of such contribution
                                                                       Notifications.          shall be $1,650,000,000: Provided further, That up to 5 percent
                                                                                               of the aggregate amount of funds made available to the Global
                                                                                               Fund in fiscal year 2024 may be made available to USAID for
                                                                                               technical assistance related to the activities of the Global Fund,
                                                                                               subject to the regular notification procedures of the Committees
                                                                                               on Appropriations: Provided further, That of the funds appropriated
                                                                                               under this paragraph, up to $22,000,000 may be made available,
                                                                                               in addition to amounts otherwise available for such purposes, for
                                                                                               administrative expenses of the United States Global AIDS Coordi-
                                                                                               nator, consistent with the direction included under this heading
                                                                                               in the explanatory statement described in section 4 (in the matter
                                                                                               preceding division A of this consolidated Act).
                                                                                                                              DEVELOPMENT ASSISTANCE

                                                                                                    For necessary expenses to carry out the provisions of sections
                                                                                               103, 105, 106, 214, and sections 251 through 255, and chapter
                                                                                               10 of part I of the Foreign Assistance Act of 1961, $3,931,000,000,
                                                                       Apportionment.          to remain available until September 30, 2025: Provided, That funds
                                                                                               made available under this heading shall be apportioned to the
                                                                                               United States Agency for International Development.
                                                                                                                      INTERNATIONAL DISASTER ASSISTANCE

                                                                                                    For necessary expenses to carry out the provisions of section
                                                                                               491 of the Foreign Assistance Act of 1961 for international disaster
                                                                                               relief, rehabilitation, and reconstruction assistance, $4,779,000,000,
                                                                                               to remain available until expended, of which $750,000,000 is des-
                                                                                               ignated by the Congress as being for an emergency requirement
                                                                                               pursuant to section 251(b)(2)(A)(i) of the Balanced Budget and
                                                                       Apportionment.          Emergency Deficit Control Act of 1985: Provided, That funds made
                                                                       Deadline.               available under this heading shall be apportioned to the United
                                                                                               States Agency for International Development not later than 60
                                                                                               days after the date of enactment of this Act.
                                                                                                                                TRANSITION INITIATIVES

                                                                                                   For necessary expenses for international disaster rehabilitation
                                                                                               and reconstruction assistance administered by the Office of Transi-
                                                                                               tion Initiatives, United States Agency for International Develop-
                                                                                               ment, pursuant to section 491 of the Foreign Assistance Act of
                                                                                               1961, and to support transition to democracy and long-term develop-
                                                                                               ment of countries in crisis, $75,000,000, to remain available until
                                                                                               expended: Provided, That such support may include assistance to
                                                                                               develop, strengthen, or preserve democratic institutions and proc-
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                                                                                               esses, revitalize basic infrastructure, and foster the peaceful resolu-
                                                                       Reports.                tion of conflict: Provided further, That the USAID Administrator




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                                                                       shall submit a report to the Committees on Appropriations at
                                                                       least 5 days prior to beginning a new, or terminating a, program
                                                                       of assistance: Provided further, That if the Secretary of State deter-                                Determination.
                                                                       mines that it is important to the national interest of the United
                                                                       States to provide transition assistance in excess of the amount
                                                                       appropriated under this heading, up to $15,000,000 of the funds
                                                                       appropriated by this Act to carry out the provisions of part I
                                                                       of the Foreign Assistance Act of 1961 may be used for purposes
                                                                       of this heading and under the authorities applicable to funds appro-
                                                                       priated under this heading: Provided further, That funds made                                         Consultation.
                                                                       available pursuant to the previous proviso shall be made available
                                                                       subject to prior consultation with the Committees on Appropria-
                                                                       tions.

                                                                                                          COMPLEX CRISES FUND

                                                                            For necessary expenses to carry out the provisions of section
                                                                       509(b) of the Global Fragility Act of 2019 (title V of division J
                                                                       of Public Law 116–94), $55,000,000, to remain available until
                                                                       expended: Provided, That funds appropriated under this heading
                                                                       may be made available notwithstanding any other provision of
                                                                       law, except sections 7007, 7008, and 7018 of this Act and section
                                                                       620M of the Foreign Assistance Act of 1961: Provided further,
                                                                       That funds appropriated under this heading shall be apportioned                                       Apportionment.
                                                                       to the United States Agency for International Development.

                                                                                                        ECONOMIC SUPPORT FUND

                                                                            For necessary expenses to carry out the provisions of chapter
                                                                       4 of part II of the Foreign Assistance Act of 1961, $3,890,400,000,
                                                                       to remain available until September 30, 2025, of which $300,000,000
                                                                       is designated by the Congress as being for an emergency require-
                                                                       ment pursuant to section 251(b)(2)(A)(i) of the Balanced Budget
                                                                       and Emergency Deficit Control Act of 1985.

                                                                                                                DEMOCRACY FUND

                                                                            For necessary expenses to carry out the provisions of the For-
                                                                       eign Assistance Act of 1961 for the promotion of democracy globally,
                                                                       including to carry out the purposes of section 502(b)(3) and (5)
                                                                       of Public Law 98–164 (22 U.S.C. 4411), $205,200,000, to remain
                                                                       available until September 30, 2025, which shall be made available
                                                                       for the Human Rights and Democracy Fund of the Bureau of
                                                                       Democracy, Human Rights, and Labor, Department of State: Pro-
                                                                       vided, That funds appropriated under this heading that are made
                                                                       available to the National Endowment for Democracy and its core
                                                                       institutes are in addition to amounts otherwise made available
                                                                       by this Act for such purposes: Provided further, That the Assistant                                   Consultation.
                                                                       Secretary for Democracy, Human Rights, and Labor, Department
                                                                       of State, shall consult with the Committees on Appropriations prior
                                                                       to the initial obligation of funds appropriated under this paragraph.
                                                                            For an additional amount for such purposes, $140,000,000,
                                                                       to remain available until September 30, 2025, which shall be made
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                                                                       available for the Bureau for Democracy, Human Rights, and Govern-
                                                                       ance, United States Agency for International Development.




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                                                                                                          ASSISTANCE FOR EUROPE, EURASIA AND CENTRAL ASIA

                                                                                                    For necessary expenses to carry out the provisions of the For-
                                                                                               eign Assistance Act of 1961, the FREEDOM Support Act (Public
                                                                                               Law 102–511), and the Support for Eastern European Democracy
                                                                                               (SEED) Act of 1989 (Public Law 101–179), $770,334,000, to remain
                                                                                               available until September 30, 2025, which shall be available, not-
                                                                                               withstanding any other provision of law, except section 7047 of
                                                                                               this Act, for assistance and related programs for countries identified
                                                                                               in section 3 of the FREEDOM Support Act (22 U.S.C. 5801) and
                                                                                               section 3(c) of the SEED Act of 1989 (22 U.S.C. 5402), in addition
                                                                                               to funds otherwise available for such purposes, of which
                                                                                               $310,000,000 is designated by the Congress as being for an emer-
                                                                                               gency requirement pursuant to section 251(b)(2)(A)(i) of the Bal-
                                                                                               anced Budget and Emergency Deficit Control Act of 1985: Provided,
                                                                                               That funds appropriated by this Act under the headings ‘‘Global
                                                                                               Health Programs’’, ‘‘Economic Support Fund’’, and ‘‘International
                                                                                               Narcotics Control and Law Enforcement’’ that are made available
                                                                                               for assistance for such countries shall be administered in accordance
                                                                                               with the responsibilities of the coordinator designated pursuant
                                                                                               to section 102 of the FREEDOM Support Act and section 601
                                                                                               of the SEED Act of 1989: Provided further, That funds appropriated
                                                                                               under this heading shall be considered to be economic assistance
                                                                                               under the Foreign Assistance Act of 1961 for purposes of making
                                                                                               available the administrative authorities contained in that Act for
                                                                                               the use of economic assistance: Provided further, That funds appro-
                                                                                               priated under this heading may be made available for contributions
                                                                                               to multilateral initiatives to counter hybrid threats.
                                                                                                                                DEPARTMENT OF STATE
                                                                                                                      MIGRATION AND REFUGEE ASSISTANCE

                                                                                                    For necessary expenses not otherwise provided for, to enable
                                                                                               the Secretary of State to carry out the provisions of section 2(a)
                                                                                               and (b) of the Migration and Refugee Assistance Act of 1962 (22
                                                                                               U.S.C. 2601), and other activities to meet refugee and migration
                                                                                               needs; salaries and expenses of personnel and dependents as author-
                                                                                               ized by the Foreign Service Act of 1980 (22 U.S.C. 3901 et seq.);
                                                                                               allowances as authorized by sections 5921 through 5925 of title
                                                                                               5, United States Code; purchase and hire of passenger motor
                                                                                               vehicles; and services as authorized by section 3109 of title 5,
                                                                                               United States Code, $3,928,000,000, to remain available until
                                                                                               expended, of which $750,000,000 is designated by the Congress
                                                                                               as being for an emergency requirement pursuant to section
                                                                                               251(b)(2)(A)(i) of the Balanced Budget and Emergency Deficit Con-
                                                                                               trol Act of 1985: Provided, That of the funds appropriated under
                                                                                               this heading, $5,000,000 shall be made available for refugees reset-
                                                                                               tling in Israel.
                                                                                                 UNITED STATES EMERGENCY REFUGEE AND MIGRATION ASSISTANCE
                                                                                                                           FUND

                                                                                                    For necessary expenses to carry out the provisions of section
                                                                                               2(c) of the Migration and Refugee Assistance Act of 1962 (22 U.S.C.
                                                                                               2601(c)), $100,000, to remain available until expended: Provided,
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                                                                       Transfer                That amounts in excess of the limitation contained in paragraph
                                                                       authority.              (2) of such section shall be transferred to, and merged with, funds




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                                                                       made available by this Act under the heading ‘‘Migration and Ref-
                                                                       ugee Assistance’’.
                                                                                                         INDEPENDENT AGENCIES
                                                                                                                 PEACE CORPS

                                                                                                     (INCLUDING TRANSFER OF FUNDS)

                                                                            For necessary expenses to carry out the provisions of the Peace
                                                                       Corps Act (22 U.S.C. 2501 et seq.), including the purchase of not
                                                                       to exceed five passenger motor vehicles for administrative purposes
                                                                       for use outside of the United States, $430,500,000, of which
                                                                       $7,800,000 is for the Office of Inspector General, to remain available
                                                                       until September 30, 2025: Provided, That the Director of the Peace
                                                                       Corps may transfer to the Foreign Currency Fluctuations Account,
                                                                       as authorized by section 16 of the Peace Corps Act (22 U.S.C.
                                                                       2515), an amount not to exceed $5,000,000: Provided further, That
                                                                       funds transferred pursuant to the previous proviso may not be
                                                                       derived from amounts made available for Peace Corps overseas
                                                                       operations: Provided further, That of the funds appropriated under
                                                                       this heading, not to exceed $104,000 may be available for represen-
                                                                       tation expenses, of which not to exceed $4,000 may be made avail-
                                                                       able for entertainment expenses: Provided further, That in addition                                   Consultation.
                                                                       to the requirements under section 7015(a) of this Act, the Peace
                                                                       Corps shall consult with the Committees on Appropriations prior
                                                                       to any decision to open, close, or suspend a domestic or overseas
                                                                       office or a country program unless there is a substantial risk to
                                                                       volunteers or other Peace Corps personnel: Provided further, That                                     Abortion.
                                                                       none of the funds appropriated under this heading shall be used
                                                                       to pay for abortions: Provided further, That notwithstanding the                                      Applicability.
                                                                       previous proviso, section 614 of division E of Public Law 113–
                                                                       76 shall apply to funds appropriated under this heading.
                                                                                              MILLENNIUM CHALLENGE CORPORATION

                                                                            For necessary expenses to carry out the provisions of the Millen-
                                                                       nium Challenge Act of 2003 (22 U.S.C. 7701 et seq.) (MCA),
                                                                       $930,000,000, to remain available until expended: Provided, That
                                                                       of the funds appropriated under this heading, up to $143,000,000
                                                                       may be available for administrative expenses of the Millennium
                                                                       Challenge Corporation: Provided further, That section 605(e) of                                       Applicability.
                                                                       the MCA (22 U.S.C. 7704(e)) shall apply to funds appropriated
                                                                       under this heading: Provided further, That funds appropriated
                                                                       under this heading may be made available for a Millennium Chal-
                                                                       lenge Compact entered into pursuant to section 609 of the MCA
                                                                       (22 U.S.C. 7708) only if such Compact obligates, or contains a
                                                                       commitment to obligate subject to the availability of funds and
                                                                       the mutual agreement of the parties to the Compact to proceed,
                                                                       the entire amount of the United States Government funding antici-
                                                                       pated for the duration of the Compact: Provided further, That
                                                                       of the funds appropriated under this heading, not to exceed $100,000
                                                                       may be available for representation and entertainment expenses,
                                                                       of which not to exceed $5,000 may be available for entertainment
                                                                       expenses: Provided further, That the member of the Board described                                    Extension.
                                                                       in section 604(c)(3)(B)(ii) of the Millennium Challenge Act of 2003                                   Termination
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                                                                                                                                                                             date.
                                                                       (22 U.S.C. 7703(c)(3)(B)(ii)), whose term began on September 16,
                                                                       2019, shall continue to serve in such appointment until December




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                                                                       Termination             31, 2024: Provided further, That in the event that a new member
                                                                       date.                   of the Board described in section 604(c)(3)(B) of such Act is
                                                                                               appointed prior to December 31, 2024, the term of the member
                                                                                               of the Board whose term began on September 16, 2019, shall
                                                                                               terminate as of the date of such appointment.

                                                                                                                            INTER-AMERICAN FOUNDATION

                                                                                                   For necessary expenses to carry out the functions of the Inter-
                                                                                               American Foundation in accordance with the provisions of section
                                                                                               401 of the Foreign Assistance Act of 1969, $47,000,000, to remain
                                                                                               available until September 30, 2025: Provided, That of the funds
                                                                                               appropriated under this heading, not to exceed $2,000 may be
                                                                                               available for representation expenses.

                                                                                                           UNITED STATES AFRICAN DEVELOPMENT FOUNDATION

                                                                                                    For necessary expenses to carry out the African Development
                                                                                               Foundation Act (title V of Public Law 96–533; 22 U.S.C. 290h
                                                                                               et seq.), $45,000,000, to remain available until September 30, 2025,
                                                                                               of which not to exceed $2,000 may be available for representation
                                                                                               expenses: Provided, That funds made available to grantees may
                                                                                               be invested pending expenditure for project purposes when author-
                                                                                               ized by the Board of Directors of the United States African Develop-
                                                                                               ment Foundation (USADF): Provided further, That interest earned
                                                                                               shall be used only for the purposes for which the grant was made:
                                                                       Waiver authority.       Provided further, That notwithstanding section 505(a)(2) of the
                                                                                               African Development Foundation Act (22 U.S.C. 290h–3(a)(2)), in
                                                                                               exceptional circumstances the Board of Directors of the USADF
                                                                                               may waive the $250,000 limitation contained in that section with
                                                                                               respect to a project and a project may exceed the limitation by
                                                                                               up to 10 percent if the increase is due solely to foreign currency
                                                                       Reports.                fluctuation: Provided further, That the USADF shall submit a report
                                                                                               to the appropriate congressional committees after each time such
                                                                       Payments.               waiver authority is exercised: Provided further, That the USADF
                                                                                               may make rent or lease payments in advance from appropriations
                                                                                               available for such purpose for offices, buildings, grounds, and quar-
                                                                                               ters in Africa as may be necessary to carry out its functions:
                                                                                               Provided further, That the USADF may maintain bank accounts
                                                                                               outside the United States Treasury and retain any interest earned
                                                                                               on such accounts, in furtherance of the purposes of the African
                                                                                               Development Foundation Act: Provided further, That the USADF
                                                                                               may not withdraw any appropriation from the Treasury prior to
                                                                                               the need of spending such funds for program purposes.

                                                                                                                            DEPARTMENT OF THE TREASURY

                                                                                                                INTERNATIONAL AFFAIRS TECHNICAL ASSISTANCE

                                                                                                   For necessary expenses to carry out the provisions of section
                                                                                               129 of the Foreign Assistance Act of 1961, $38,000,000, to remain
                                                                       Contracts.              available until expended: Provided, That amounts made available
                                                                                               under this heading may be made available to contract for services
                                                                                               as described in section 129(d)(3)(A) of the Foreign Assistance Act
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                                                                                               of 1961, without regard to the location in which such services
                                                                                               are performed.




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                                                                                                           DEBT RESTRUCTURING                                                President.
                                                                                                                                                                             Determination.
                                                                            For ‘‘Bilateral Economic Assistance—Department of the
                                                                       Treasury—Debt Restructuring’’ there is appropriated $26,000,000,
                                                                       to remain available until September 30, 2027, for the costs, as
                                                                       defined in section 502 of the Congressional Budget Act of 1974,
                                                                       of modifying loans and loan guarantees for, or credits extended
                                                                       to, such countries as the President may determine, including the
                                                                       costs of selling, reducing, or canceling amounts owed to the United
                                                                       States pursuant to multilateral debt restructurings, including Paris
                                                                       Club debt restructurings and the ‘‘Common Framework for Debt
                                                                       Treatments beyond the Debt Service Suspension Initiative’’: Pro-
                                                                       vided, That such amounts may be used notwithstanding any other
                                                                       provision of law.

                                                                                        TROPICAL FOREST AND CORAL REEF CONSERVATION                                          President.
                                                                                                                                                                             Determination.
                                                                           For the costs, as defined in section 502 of the Congressional
                                                                       Budget Act of 1974, of modifying loans and loan guarantees, as
                                                                       the President may determine, for which funds have been appro-
                                                                       priated or otherwise made available for programs within the Inter-
                                                                       national Affairs Budget Function 150, including the costs of selling,
                                                                       reducing, or canceling amounts owed to the United States as a
                                                                       result of concessional loans made to eligible countries pursuant
                                                                       to part V of the Foreign Assistance Act of 1961, $15,000,000, to
                                                                       remain available until September 30, 2027.

                                                                                                                   TITLE IV

                                                                                         INTERNATIONAL SECURITY ASSISTANCE

                                                                                                          DEPARTMENT OF STATE

                                                                             INTERNATIONAL NARCOTICS CONTROL AND LAW ENFORCEMENT                                             Notifications.

                                                                            For necessary expenses to carry out section 481 of the Foreign
                                                                       Assistance Act of 1961, $1,400,000,000, to remain available until
                                                                       September 30, 2025, of which $115,000,000 is designated by the
                                                                       Congress as being for an emergency requirement pursuant to section
                                                                       251(b)(2)(A)(i) of the Balanced Budget and Emergency Deficit Con-
                                                                       trol Act of 1985: Provided, That the Department of State may
                                                                       use the authority of section 608 of the Foreign Assistance Act
                                                                       of 1961, without regard to its restrictions, to receive excess property
                                                                       from an agency of the United States Government for the purpose
                                                                       of providing such property to a foreign country or international
                                                                       organization under chapter 8 of part I of such Act, subject to
                                                                       the regular notification procedures of the Committees on Appropria-
                                                                       tions: Provided further, That section 482(b) of the Foreign Assist-
                                                                       ance Act of 1961 shall not apply to funds appropriated under
                                                                       this heading, except that any funds made available notwithstanding
                                                                       such section shall be subject to the regular notification procedures
                                                                       of the Committees on Appropriations: Provided further, That funds
                                                                       appropriated under this heading shall be made available to support
                                                                       training and technical assistance for foreign law enforcement,
                                                                       corrections, judges, and other judicial authorities, utilizing regional
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                                                                       partners: Provided further, That funds made available under this
                                                                       heading that are transferred to another department, agency, or




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                                                                                               instrumentality of the United States Government pursuant to sec-
                                                                                               tion 632(b) of the Foreign Assistance Act of 1961 valued in excess
                                                                                               of $5,000,000, and any agreement made pursuant to section 632(a)
                                                                                               of such Act, shall be subject to the regular notification procedures
                                                                                               of the Committees on Appropriations: Provided further, That funds
                                                                                               made available under this heading for Program Development and
                                                                                               Support may be made available notwithstanding pre-obligation
                                                                                               requirements contained in this Act, except for the notification
                                                                                               requirements of section 7015.
                                                                                                     NONPROLIFERATION, ANTI-TERRORISM, DEMINING AND RELATED
                                                                                                                            PROGRAMS

                                                                                                    For necessary expenses for nonproliferation, anti-terrorism,
                                                                                               demining and related programs and activities, $870,000,000, to
                                                                                               remain available until September 30, 2025, to carry out the provi-
                                                                                               sions of chapter 8 of part II of the Foreign Assistance Act of
                                                                                               1961 for anti-terrorism assistance, chapter 9 of part II of the Foreign
                                                                                               Assistance Act of 1961, section 504 of the FREEDOM Support
                                                                                               Act (22 U.S.C. 5854), section 23 of the Arms Export Control Act
                                                                                               (22 U.S.C. 2763), or the Foreign Assistance Act of 1961 for demining
                                                                                               activities, the clearance of unexploded ordnance, the destruction
                                                                                               of small arms, and related activities, notwithstanding any other
                                                                                               provision of law, including activities implemented through non-
                                                                                               governmental and international organizations, and section 301 of
                                                                                               the Foreign Assistance Act of 1961 for a United States contribution
                                                                                               to the Comprehensive Nuclear Test Ban Treaty Preparatory
                                                                                               Commission, and for a voluntary contribution to the International
                                                                       Consultation.           Atomic Energy Agency (IAEA): Provided, That funds made available
                                                                       Notifications.          under this heading for the Nonproliferation and Disarmament Fund
                                                                                               shall be made available, notwithstanding any other provision of
                                                                                               law and subject to prior consultation with, and the regular notifica-
                                                                                               tion procedures of, the Committees on Appropriations, to promote
                                                                                               bilateral and multilateral activities relating to nonproliferation,
                                                                                               disarmament, and weapons destruction, and shall remain available
                                                                                               until expended: Provided further, That such funds may also be
                                                                                               used for such countries other than the Independent States of the
                                                                                               former Soviet Union and international organizations when it is
                                                                                               in the national security interest of the United States to do so:
                                                                       Determination.          Provided further, That funds appropriated under this heading may
                                                                       Israel.                 be made available for the IAEA unless the Secretary of State
                                                                                               determines that Israel is being denied its right to participate in
                                                                       Notifications.          the activities of that Agency: Provided further, That funds made
                                                                                               available for conventional weapons destruction programs, including
                                                                                               demining and related activities, in addition to funds otherwise
                                                                                               available for such purposes, may be used for administrative
                                                                                               expenses related to the operation and management of such pro-
                                                                                               grams and activities, subject to the regular notification procedures
                                                                                               of the Committees on Appropriations.
                                                                                                                             PEACEKEEPING OPERATIONS

                                                                                                   For necessary expenses to carry out the provisions of section
                                                                                               551 of the Foreign Assistance Act of 1961, $410,458,000, of which
                                                                                               $291,425,000 may remain available until September 30, 2025: Pro-
                                                                                               vided, That funds appropriated under this heading may be used,
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                                                                                               notwithstanding section 660 of the Foreign Assistance Act of 1961,
                                                                                               to provide assistance to enhance the capacity of foreign civilian




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                                                                       security forces, including gendarmes, to participate in peacekeeping
                                                                       operations: Provided further, That of the funds appropriated under
                                                                       this heading, not less than $34,000,000 shall be made available
                                                                       for a United States contribution to the Multinational Force and
                                                                       Observers mission in the Sinai: Provided further, That funds appro-                                   Somalia.
                                                                       priated under this heading may be made available to pay assessed
                                                                       expenses of international peacekeeping activities in Somalia under
                                                                       the same terms and conditions, as applicable, as funds appropriated
                                                                       by this Act under the heading ‘‘Contributions for International
                                                                       Peacekeeping Activities’’: Provided further, That funds appropriated                                  Notifications.
                                                                       under this heading shall be subject to the regular notification
                                                                       procedures of the Committees on Appropriations.
                                                                                            FUNDS APPROPRIATED TO THE PRESIDENT
                                                                                    INTERNATIONAL MILITARY EDUCATION AND TRAINING

                                                                            For necessary expenses to carry out the provisions of section
                                                                       541 of the Foreign Assistance Act of 1961, $119,152,000, to remain
                                                                       available until September 30, 2025: Provided, That the civilian
                                                                       personnel for whom military education and training may be pro-
                                                                       vided under this heading may include civilians who are not mem-
                                                                       bers of a government whose participation would contribute to
                                                                       improved civil-military relations, civilian control of the military,
                                                                       or respect for human rights: Provided further, That of the funds                                      Consultation.
                                                                       appropriated under this heading, $3,000,000 shall remain available
                                                                       until expended to increase the participation of women in programs
                                                                       and activities funded under this heading, following consultation
                                                                       with the Committees on Appropriations: Provided further, That
                                                                       of the funds appropriated under this heading, not to exceed $50,000
                                                                       may be available for entertainment expenses.
                                                                                              FOREIGN MILITARY FINANCING PROGRAM

                                                                            For necessary expenses for grants to enable the President to
                                                                       carry out the provisions of section 23 of the Arms Export Control
                                                                       Act (22 U.S.C. 2763), $6,133,397,000, of which $275,000,000 is
                                                                       designated by the Congress as being for an emergency requirement
                                                                       pursuant to section 251(b)(2)(A)(i) of the Balanced Budget and
                                                                       Emergency Deficit Control Act of 1985: Provided, That to expedite                                     Consultation.
                                                                       the provision of assistance to foreign countries and international                                    Notifications.
                                                                       organizations, the Secretary of State, following consultation with                                    Contracts.
                                                                       the Committees on Appropriations and subject to the regular
                                                                       notification procedures of such Committees, may use the funds
                                                                       appropriated under this heading to procure defense articles and
                                                                       services to enhance the capacity of foreign security forces: Provided
                                                                       further, That funds appropriated or otherwise made available under
                                                                       this heading shall be nonrepayable notwithstanding any require-
                                                                       ment in section 23 of the Arms Export Control Act: Provided further,
                                                                       That funds made available under this heading shall be obligated                                       Apportionment.
                                                                       upon apportionment in accordance with paragraph (5)(C) of section
                                                                       1501(a) of title 31, United States Code.
                                                                            None of the funds made available under this heading shall                                        Contracts.
                                                                       be available to finance the procurement of defense articles, defense
                                                                       services, or design and construction services that are not sold by
                                                                       the United States Government under the Arms Export Control
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                                                                       Act unless the foreign country proposing to make such procurement
                                                                       has first signed an agreement with the United States Government




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                                                                                               specifying the conditions under which such procurement may be
                                                                       Notification.           financed with such funds: Provided, That all country and funding
                                                                                               level increases in allocations shall be submitted through the regular
                                                                                               notification procedures of section 7015 of this Act: Provided further,
                                                                                               That funds made available under this heading may be used, not-
                                                                                               withstanding any other provision of law, for demining, the clearance
                                                                                               of unexploded ordnance, and related activities, and may include
                                                                                               activities implemented through nongovernmental and international
                                                                                               organizations: Provided further, That a country that is a member
                                                                                               of the North Atlantic Treaty Organization (NATO) or is a major
                                                                                               non-NATO ally designated by section 517(b) of the Foreign Assist-
                                                                                               ance Act of 1961 may utilize funds made available under this
                                                                                               heading for procurement of defense articles, defense services, or
                                                                                               design and construction services that are not sold by the United
                                                                                               States Government under the Arms Export Control Act: Provided
                                                                                               further, That funds appropriated under this heading shall be
                                                                                               expended at the minimum rate necessary to make timely payment
                                                                       Notifications.          for defense articles and services: Provided further, That not more
                                                                                               than $72,000,000 of the funds appropriated under this heading
                                                                                               may be obligated for necessary expenses, including the purchase
                                                                                               of passenger motor vehicles for replacement only for use outside
                                                                                               of the United States, for the general costs of administering military
                                                                                               assistance and sales, except that this limitation may be exceeded
                                                                                               only through the regular notification procedures of the Committees
                                                                                               on Appropriations: Provided further, That the Secretary of State
                                                                                               may use funds made available under this heading pursuant to
                                                                                               the previous proviso for the administrative and other operational
                                                                                               costs of the Department of State related to military assistance
                                                                                               and sales, assistance under section 551 of the Foreign Assistance
                                                                                               Act of 1961, and Department of Defense security assistance pro-
                                                                                               grams, in addition to funds otherwise available for such purposes:
                                                                       Consultation.           Provided further, That up to $2,000,000 of the funds made available
                                                                                               pursuant to the previous proviso may be used for direct hire per-
                                                                                               sonnel, except that this limitation may be exceeded by the Secretary
                                                                                               of State following consultation with the Committees on Appropria-
                                                                                               tions: Provided further, That of the funds made available under
                                                                                               this heading for general costs of administering military assistance
                                                                                               and sales, not to exceed $4,000 may be available for entertainment
                                                                                               expenses and not to exceed $130,000 may be available for represen-
                                                                       Notifications.          tation expenses: Provided further, That not more than
                                                                                               $1,541,392,546 of funds realized pursuant to section 21(e)(1)(A)
                                                                                               of the Arms Export Control Act (22 U.S.C. 2761(e)(1)(A)) may be
                                                                                               obligated for expenses incurred by the Department of Defense
                                                                                               during fiscal year 2024 pursuant to section 43(b) of the Arms
                                                                                               Export Control Act (22 U.S.C. 2792(b)), except that this limitation
                                                                                               may be exceeded only through the regular notification procedures
                                                                                               of the Committees on Appropriations.
                                                                                                                                           TITLE V
                                                                                                                        MULTILATERAL ASSISTANCE
                                                                                                                   FUNDS APPROPRIATED TO THE PRESIDENT
                                                                                                                INTERNATIONAL ORGANIZATIONS AND PROGRAMS
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                                                                                                   For necessary expenses to carry out the provisions of section
                                                                                               301 of the Foreign Assistance Act of 1961, $436,920,000: Provided,




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                                                                       That section 307(a) of the Foreign Assistance Act of 1961 shall
                                                                       not apply to contributions to the United Nations Democracy Fund:
                                                                       Provided further, That not later than 60 days after the date of                                       Deadline.
                                                                       enactment of this Act, such funds shall be made available for                                         Consultation.
                                                                       core contributions for each entity listed in the table under this                                     Notifications.
                                                                       heading in the explanatory statement described in section 4 (in
                                                                       the matter preceding division A of this consolidated Act) unless
                                                                       otherwise provided for in this Act, or if the Secretary of State
                                                                       has justified to the Committees on Appropriations the proposed
                                                                       uses of funds other than for core contributions following prior
                                                                       consultation with, and subject to the regular notification procedures
                                                                       of, such Committees.
                                                                                             INTERNATIONAL FINANCIAL INSTITUTIONS
                                                                                                     GLOBAL ENVIRONMENT FACILITY

                                                                           For payment to the International Bank for Reconstruction and
                                                                       Development as trustee for the Global Environment Facility by
                                                                       the Secretary of the Treasury, $150,200,000, to remain available
                                                                       until expended.
                                                                                        CONTRIBUTION TO THE CLEAN TECHNOLOGY FUND

                                                                            For contribution to the Clean Technology Fund, $125,000,000,
                                                                       to remain available until expended: Provided, That up to
                                                                       $125,000,000 of such amount shall be available to cover costs,
                                                                       as defined in section 502 of the Congressional Budget Act of 1974,
                                                                       of direct loans issued to the Clean Technology Fund: Provided
                                                                       further, That such funds are available to subsidize gross obligations
                                                                       for the principal amount of direct loans without limitation.
                                                                         CONTRIBUTION TO THE INTERNATIONAL BANK FOR RECONSTRUCTION
                                                                                              AND DEVELOPMENT

                                                                           For payment to the International Bank for Reconstruction and
                                                                       Development by the Secretary of the Treasury for the United States
                                                                       share of the paid-in portion of the increases in capital stock,
                                                                       $206,500,000, to remain available until expended.
                                                                                        LIMITATION ON CALLABLE CAPITAL SUBSCRIPTIONS

                                                                           The United States Governor of the International Bank for
                                                                       Reconstruction and Development may subscribe without fiscal year
                                                                       limitation to the callable capital portion of the United States share
                                                                       of increases in capital stock in an amount not to exceed
                                                                       $1,421,275,728.70.
                                                                         CONTRIBUTION TO THE INTERNATIONAL DEVELOPMENT ASSOCIATION

                                                                           For payment to the International Development Association by
                                                                       the Secretary of the Treasury, $1,380,256,000, to remain available
                                                                       until expended.
                                                                                        CONTRIBUTION TO THE ASIAN DEVELOPMENT FUND

                                                                           For payment to the Asian Development Bank’s Asian Develop-
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                                                                       ment Fund by the Secretary of the Treasury, $87,220,000, to remain
                                                                       available until expended.




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                                                                                                           CONTRIBUTION TO THE AFRICAN DEVELOPMENT BANK

                                                                                                    For payment to the African Development Bank by the Secretary
                                                                                               of the Treasury for the United States share of the paid-in portion
                                                                                               of the increases in capital stock, $54,648,752, to remain available
                                                                                               until expended.

                                                                                                                LIMITATION ON CALLABLE CAPITAL SUBSCRIPTIONS

                                                                                                   The United States Governor of the African Development Bank
                                                                                               may subscribe without fiscal year limitation to the callable capital
                                                                                               portion of the United States share of increases in capital stock
                                                                                               in an amount not to exceed $856,174,624.

                                                                                                           CONTRIBUTION TO THE AFRICAN DEVELOPMENT FUND

                                                                                                    For payment to the African Development Fund by the Secretary
                                                                                               of the Treasury, $197,000,000, to remain available until expended.

                                                                                                     CONTRIBUTION TO THE INTERNATIONAL FUND FOR AGRICULTURAL
                                                                                                                           DEVELOPMENT

                                                                                                  For payment to the International Fund for Agricultural
                                                                                               Development by the Secretary of the Treasury, $43,000,000, to
                                                                                               remain available until expended.

                                                                                                           GLOBAL AGRICULTURE AND FOOD SECURITY PROGRAM

                                                                                                   For payment to the Global Agriculture and Food Security Pro-
                                                                                               gram by the Secretary of the Treasury, $10,000,000, to remain
                                                                                               available until expended.

                                                                                                                TREASURY INTERNATIONAL ASSISTANCE PROGRAMS

                                                                                                    For contributions by the Secretary of the Treasury to inter-
                                                                                               national financial institutions and trust funds administered by such
                                                                                               institutions, in addition to amounts otherwise available for such
                                                                                               purposes, $50,000,000, to remain available until expended: Pro-
                                                                                               vided, That of the amount made available under this heading,
                                                                                               up to $50,000,000 may be available for the costs, as defined in
                                                                                               section 502 of the Congressional Budget Act of 1974, of loan guaran-
                                                                                               tees to the International Bank for Reconstruction and Development
                                                                       Transfer                and the Asian Development Bank: Provided further, That funds
                                                                       authority.              made available under this heading may be transferred to, and
                                                                                               merged with, funds provided under the heading ‘‘Contribution to
                                                                                               the International Development Association’’ in this title and under
                                                                                               the headings ‘‘Department of the Treasury, International Affairs
                                                                                               Technical Assistance’’ and ‘‘Department of the Treasury, Debt
                                                                                               Restructuring’’ in title III of this Act: Provided further, That such
                                                                                               transfer authority is in addition to any transfer authority otherwise
                                                                                               available in this Act and under any other provision of law: Provided
                                                                       Consultation.           further, That funds made available under this heading, including
                                                                       Notifications.          funds transferred pursuant to the second proviso, shall be subject
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                                                                                               to prior consultation with, and the regular notification procedures
                                                                                               of, the Committees on Appropriations.




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                                                                                                                   TITLE VI
                                                                                         EXPORT AND INVESTMENT ASSISTANCE
                                                                                         EXPORT-IMPORT BANK OF THE UNITED STATES
                                                                                                            INSPECTOR GENERAL

                                                                           For necessary expenses of the Office of Inspector General in
                                                                       carrying out the provisions of the Inspector General Act of 1978
                                                                       (5 U.S.C. App.), $8,860,000, of which up to $1,329,000 may remain
                                                                       available until September 30, 2025.
                                                                                                            PROGRAM ACCOUNT                                                  Contracts.

                                                                            The Export-Import Bank of the United States is authorized
                                                                       to make such expenditures within the limits of funds and borrowing
                                                                       authority available to such corporation, and in accordance with
                                                                       law, and to make such contracts and commitments without regard
                                                                       to fiscal year limitations, as provided by section 9104 of title 31,
                                                                       United States Code, as may be necessary in carrying out the pro-
                                                                       gram for the current fiscal year for such corporation: Provided,
                                                                       That none of the funds available during the current fiscal year
                                                                       may be used to make expenditures, contracts, or commitments
                                                                       for the export of nuclear equipment, fuel, or technology to any
                                                                       country, other than a nuclear-weapon state as defined in Article
                                                                       IX of the Treaty on the Non-Proliferation of Nuclear Weapons
                                                                       eligible to receive economic or military assistance under this Act,
                                                                       that has detonated a nuclear explosive after the date of enactment
                                                                       of this Act.
                                                                                                        ADMINISTRATIVE EXPENSES

                                                                            For administrative expenses to carry out the direct and guaran-
                                                                       teed loan and insurance programs, including hire of passenger
                                                                       motor vehicles and services as authorized by section 3109 of title
                                                                       5, United States Code, and not to exceed $30,000 for official recep-
                                                                       tion and representation expenses for members of the Board of
                                                                       Directors, not to exceed $125,000,000, of which up to $18,750,000
                                                                       may remain available until September 30, 2025: Provided, That
                                                                       the Export-Import Bank (the Bank) may accept, and use, payment
                                                                       or services provided by transaction participants for legal, financial,
                                                                       or technical services in connection with any transaction for which
                                                                       an application for a loan, guarantee or insurance commitment has
                                                                       been made: Provided further, That notwithstanding subsection (b)                                      Termination
                                                                       of section 117 of the Export Enhancement Act of 1992, subsection                                      date.
                                                                       (a) of such section shall remain in effect until September 30, 2024:                                  12 USC 635a
                                                                                                                                                                             note.
                                                                       Provided further, That the Bank shall charge fees for necessary                                       Fees.
                                                                       expenses (including special services performed on a contract or
                                                                       fee basis, but not including other personal services) in connection
                                                                       with the collection of moneys owed the Bank, repossession or sale
                                                                       of pledged collateral or other assets acquired by the Bank in satis-
                                                                       faction of moneys owed the Bank, or the investigation or appraisal
                                                                       of any property, or the evaluation of the legal, financial, or technical
                                                                       aspects of any transaction for which an application for a loan,
                                                                       guarantee or insurance commitment has been made, or systems
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                                                                       infrastructure directly supporting transactions: Provided further,
                                                                       That in addition to other funds appropriated for administrative




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                                                                                               expenses, such fees shall be credited to this account for such pur-
                                                                                               poses, to remain available until expended.

                                                                       Loans.                                           PROGRAM BUDGET APPROPRIATIONS

                                                                                                    For the cost of direct loans, loan guarantees, insurance, and
                                                                                               tied-aid grants as authorized by section 10 of the Export-Import
                                                                                               Bank Act of 1945, as amended, not to exceed $15,000,000, to remain
                                                                                               available until September 30, 2027: Provided, That such costs,
                                                                                               including the cost of modifying such loans, shall be as defined
                                                                                               in section 502 of the Congressional Budget Act of 1974: Provided
                                                                       Disbursement.           further, That such funds shall remain available until September
                                                                       Grants.                 30, 2039, for the disbursement of direct loans, loan guarantees,
                                                                       Time periods.           insurance and tied-aid grants obligated in fiscal years 2024 through
                                                                                               2027.

                                                                                                                                  RECEIPTS COLLECTED

                                                                                                    Receipts collected pursuant to the Export-Import Bank Act
                                                                                               of 1945 (Public Law 79–173) and the Federal Credit Reform Act
                                                                                               of 1990, in an amount not to exceed the amount appropriated
                                                                                               herein, shall be credited as offsetting collections to this account:
                                                                       Reduction.              Provided, That the sums herein appropriated from the General
                                                                                               Fund shall be reduced on a dollar-for-dollar basis by such offsetting
                                                                                               collections so as to result in a final fiscal year appropriation from
                                                                                               the General Fund estimated at $0.

                                                                                                        UNITED STATES INTERNATIONAL DEVELOPMENT FINANCE
                                                                                                                          CORPORATION

                                                                                                                                  INSPECTOR GENERAL

                                                                                                    For necessary expenses of the Office of Inspector General in
                                                                                               carrying out the provisions of the Inspector General Act of 1978
                                                                                               (5 U.S.C. App.), $7,200,000, to remain available until September
                                                                                               30, 2025.

                                                                                                                            CORPORATE CAPITAL ACCOUNT

                                                                                                    The United States International Development Finance Corpora-
                                                                                               tion (the Corporation) is authorized to make such expenditures
                                                                                               and commitments within the limits of funds and borrowing
                                                                                               authority available to the Corporation, and in accordance with
                                                                                               the law, and to make such expenditures and commitments without
                                                                                               regard to fiscal year limitations, as provided by section 9104 of
                                                                                               title 31, United States Code, as may be necessary in carrying
                                                                                               out the programs for the current fiscal year for the Corporation:
                                                                                               Provided, That for necessary expenses of the activities described
                                                                                               in subsections (b), (c), (e), (f), and (g) of section 1421 of the BUILD
                                                                                               Act of 2018 (division F of Public Law 115–254) and for administra-
                                                                                               tive expenses to carry out authorized activities described in section
                                                                                               1434(d) of such Act, $983,250,000: Provided further, That of the
                                                                                               amount provided—
                                                                                                         (1) $243,000,000 shall remain available until September
                                                                                                    30, 2026, for administrative expenses to carry out authorized
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                                                                                                    activities (including an amount for official reception and rep-
                                                                                                    resentation expenses which shall not exceed $25,000); and




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                                                                                 (2) $740,250,000 shall remain available until September
                                                                            30, 2026, for the activities described in subsections (b), (c),
                                                                            (e), (f), and (g) of section 1421 of the BUILD Act of 2018,
                                                                            except such amounts obligated in a fiscal year for activities
                                                                            described in section 1421(c) of such Act shall remain available
                                                                            for disbursement for the term of the underlying project: Pro-
                                                                            vided further, That amounts made available under this para-
                                                                            graph may be paid to the ‘‘United States International Develop-
                                                                            ment Finance Corporation—Program Account’’ for programs
                                                                            authorized by subsections (b), (e), (f), and (g) of section 1421
                                                                            of the BUILD Act of 2018:
                                                                       Provided further, That funds may only be obligated pursuant to                                        Consultation.
                                                                       section 1421(g) of the BUILD Act of 2018 subject to prior consulta-                                   Notifications.
                                                                       tion with the appropriate congressional committees and the regular
                                                                       notification procedures of the Committees on Appropriations: Pro-
                                                                       vided further, That funds appropriated by this Act and prior Acts                                     Consultation.
                                                                       making appropriations for the Department of State, foreign oper-
                                                                       ations, and related programs for support by the Corporation in
                                                                       upper-middle income countries shall be subject to prior consultation
                                                                       with the Committees on Appropriations: Provided further, That                                         Collections.
                                                                       in fiscal year 2024 collections of amounts described in section
                                                                       1434(h) of the BUILD Act of 2018 shall be credited as offsetting
                                                                       collections to this appropriation: Provided further, That such collec-
                                                                       tions collected in fiscal year 2024 in excess of $983,250,000 shall
                                                                       be credited to this account and shall be available in future fiscal
                                                                       years only to the extent provided in advance in appropriations
                                                                       Acts: Provided further, That in fiscal year 2024, if such collections
                                                                       are less than $983,250,000, receipts collected pursuant to the
                                                                       BUILD Act of 2018 and the Federal Credit Reform Act of 1990,
                                                                       in an amount equal to such shortfall, shall be credited as offsetting
                                                                       collections to this appropriation: Provided further, That fees charged
                                                                       for project-specific transaction costs as described in section 1434(k)
                                                                       of the BUILD Act of 2018, and other direct costs associated with
                                                                       origination or monitoring services provided to specific or potential
                                                                       investors, shall not be considered administrative expenses for the
                                                                       purposes of this heading: Provided further, That such fees shall
                                                                       be credited to this account for such purposes, to remain available
                                                                       until expended: Provided further, That funds appropriated or other-
                                                                       wise made available under this heading may not be used to provide
                                                                       any type of assistance that is otherwise prohibited by any other
                                                                       provision of law or to provide assistance to any foreign country
                                                                       that is otherwise prohibited by any other provision of law: Provided
                                                                       further, That the sums herein appropriated from the General Fund                                      Reduction.
                                                                       shall be reduced on a dollar-for-dollar basis by the offsetting collec-
                                                                       tions described under this heading so as to result in a final fiscal
                                                                       year appropriation from the General Fund estimated at
                                                                       $556,450,000.

                                                                                                            PROGRAM ACCOUNT                                                  Loans.

                                                                           Amounts paid from ‘‘United States International Development
                                                                       Finance Corporation—Corporate Capital Account’’ (CCA) shall
                                                                       remain available until September 30, 2026: Provided, That amounts
                                                                       paid to this account from CCA or transferred to this account pursu-
                                                                       ant to section 1434(j) of the BUILD Act of 2018 (division F of
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                                                                       Public Law 115–254) shall be available for the costs of direct and
                                                                       guaranteed loans provided by the Corporation pursuant to section




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                                                                                               1421(b) of such Act and the costs of modifying loans and loan
                                                                                               guarantees transferred to the Corporation pursuant to section 1463
                                                                                               of such Act: Provided further, That such costs, including the cost
                                                                                               of modifying such loans, shall be as defined in section 502 of
                                                                       Disbursement.           the Congressional Budget Act of 1974: Provided further, That such
                                                                       Time periods.           amounts obligated in a fiscal year shall remain available for
                                                                                               disbursement for the following 8 fiscal years: Provided further,
                                                                       Time period.            That funds made available in this Act and transferred to carry
                                                                                               out the Foreign Assistance Act of 1961 pursuant to section 1434(j)
                                                                                               of the BUILD Act of 2018 may remain available for obligation
                                                                                               for 1 additional fiscal year: Provided further, That the total loan
                                                                                               principal or guaranteed principal amount shall not exceed
                                                                                               $12,000,000,000.
                                                                                                                       TRADE AND DEVELOPMENT AGENCY
                                                                                                   For necessary expenses to carry out the provisions of section
                                                                                               661 of the Foreign Assistance Act of 1961, $87,000,000, to remain
                                                                                               available until September 30, 2025, of which no more than
                                                                                               $24,500,000 may be used for administrative expenses: Provided,
                                                                                               That of the funds appropriated under this heading, not more than
                                                                                               $5,000 may be available for representation and entertainment
                                                                                               expenses.
                                                                                                                                           TITLE VII
                                                                                                                               GENERAL PROVISIONS
                                                                                                                            ALLOWANCES AND DIFFERENTIALS

                                                                                                    SEC. 7001. Funds appropriated under title I of this Act shall
                                                                                               be available, except as otherwise provided, for allowances and dif-
                                                                                               ferentials as authorized by subchapter 59 of title 5, United States
                                                                                               Code; for services as authorized by section 3109 of such title and
                                                                                               for hire of passenger transportation pursuant to section 1343(b)
                                                                                               of title 31, United States Code.
                                                                                                                            UNOBLIGATED BALANCES REPORT

                                                                       Time periods.                SEC. 7002. Any department or agency of the United States
                                                                       Records.                Government to which funds are appropriated or otherwise made
                                                                                               available by this Act shall provide to the Committees on Appropria-
                                                                                               tions a quarterly accounting of cumulative unobligated balances
                                                                                               and obligated, but unexpended, balances by program, project, and
                                                                                               activity, and Treasury Account Fund Symbol of all funds received
                                                                                               by such department or agency in fiscal year 2024 or any previous
                                                                                               fiscal year, disaggregated by fiscal year: Provided, That the report
                                                                                               required by this section shall be submitted not later than 30 days
                                                                                               after the end of each fiscal quarter and should specify by account
                                                                                               the amount of funds obligated pursuant to bilateral agreements
                                                                                               which have not been further sub-obligated.
                                                                                                                                  CONSULTING SERVICES

                                                                       Contracts.                   SEC. 7003. The expenditure of any appropriation under title
                                                                                               I of this Act for any consulting service through procurement con-
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                                                                                               tract, pursuant to section 3109 of title 5, United States Code,
                                                                                               shall be limited to those contracts where such expenditures are




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                                                                       a matter of public record and available for public inspection, except
                                                                       where otherwise provided under existing law, or under existing
                                                                       Executive order issued pursuant to existing law.

                                                                                                          DIPLOMATIC FACILITIES

                                                                            SEC. 7004. (a) CAPITAL SECURITY COST SHARING EXCEPTION.—
                                                                       Notwithstanding paragraph (2) of section 604(e) of the Secure
                                                                       Embassy Construction and Counterterrorism Act of 1999 (title VI
                                                                       of division A of H.R. 3427, as enacted into law by section 1000(a)(7)
                                                                       of Public Law 106–113 and contained in appendix G of that Act),
                                                                       as amended by section 111 of the Department of State Authorities
                                                                       Act, Fiscal Year 2017 (Public Law 114–323), a project to construct
                                                                       a facility of the United States may include office space or other
                                                                       accommodations for members of the United States Marine Corps.
                                                                            (b) CONSULTATION AND NOTIFICATIONS.—Funds appropriated
                                                                       by this Act and prior Acts making appropriations for the Depart-
                                                                       ment of State, foreign operations, and related programs, which
                                                                       may be made available for the acquisition of property or award
                                                                       of construction contracts for overseas United States diplomatic
                                                                       facilities during fiscal year 2024, shall be subject to prior consulta-
                                                                       tion with, and the regular notification procedures of, the Committees
                                                                       on Appropriations: Provided, That notifications pursuant to this
                                                                       subsection shall include the information enumerated under this
                                                                       section in the explanatory statement described in section 4 (in
                                                                       the matter preceding division A of this consolidated Act): Provided
                                                                       further, That the Secretary of State shall consult with the Commit-
                                                                       tees on Appropriations at the early project development stage for
                                                                       out-year construction projects, including to discuss security and
                                                                       non-security construction requirements, modifications to scope, and
                                                                       cost reductions identified for such projects, consistent with
                                                                       applicable laws and regulations: Provided further, That the Sec-                                      Time period.
                                                                       retary shall submit a quarterly report to the Committees on Appro-                                    Reports.
                                                                       priations on contingency savings identified from funds appropriated
                                                                       under the heading ‘‘Embassy Security, Construction, and Mainte-
                                                                       nance’’ by prior Acts making appropriations for the Department
                                                                       of State, foreign operations, and related programs, and the obliga-
                                                                       tion of funds made available by such savings shall be subject
                                                                       to prior consultation with the Committees on Appropriations.
                                                                            (c) INTERIM AND TEMPORARY FACILITIES ABROAD.—
                                                                                 (1) SECURITY VULNERABILITIES.—Funds appropriated by                                         Consultation.
                                                                            this Act under the heading ‘‘Embassy Security, Construction,
                                                                            and Maintenance’’ may be made available, following consulta-
                                                                            tion with the appropriate congressional committees, to address
                                                                            security vulnerabilities at interim and temporary United States
                                                                            diplomatic facilities abroad, including physical security
                                                                            upgrades and local guard staffing.
                                                                                 (2) CONSULTATION.—Notwithstanding any other provision                                       Notification.
                                                                            of law, the opening, closure, or any significant modification                                    Waiver authority.
                                                                            to an interim or temporary United States diplomatic facility
                                                                            shall be subject to prior consultation with the appropriate
                                                                            congressional committees and the regular notification proce-
                                                                            dures of the Committees on Appropriations, except that such
                                                                            consultation and notification may be waived if there is a secu-
                                                                            rity risk to personnel.
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                                                                            (d) SOFT TARGETS.—Funds appropriated by this Act under the
                                                                       heading ‘‘Embassy Security, Construction, and Maintenance’’ may




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                                                                                               be made available for security upgrades to soft targets, including
                                                                                               schools, recreational facilities, residences, and places of worship
                                                                                               used by United States diplomatic personnel and their dependents.
                                                                       Guidance.                   (e) REPORT.—Of the funds appropriated by this Act under the
                                                                       Requirements.           heading ‘‘Diplomatic Programs’’, $100,000,000 may not be obligated
                                                                                               until the Secretary of State promulgates new guidance and require-
                                                                                               ments consistent with section 9301 of the Secure Embassy Construc-
                                                                                               tion and Counterterrorism Act of 2022 (title XCIII of division I
                                                                                               of Public Law 117–263) and submits to the appropriate congres-
                                                                                               sional committees a report detailing such guidance and require-
                                                                                               ments, including the impact of implementation on United States
                                                                                               diplomatic facilities and construction projects.
                                                                                                   (f) FACILITIES.—
                                                                       Israel.                          (1) None of the funds made available by this Act may
                                                                                                   be used to move the United States embassy in Israel to a
                                                                                                   location other than Jerusalem.
                                                                       Repeal.                          (2) Section 305 of the Departments of Commerce, Justice,
                                                                                                   and State, the Judiciary, and Related Agencies Appropriations
                                                                       102 Stat. 2208.             Act, 1989 (Public Law 100–459) is repealed.
                                                                                                                                  PERSONNEL ACTIONS

                                                                                                    SEC. 7005. Any costs incurred by a department or agency funded
                                                                                               under title I of this Act resulting from personnel actions taken
                                                                                               in response to funding reductions included in this Act shall be
                                                                                               absorbed within the total budgetary resources available under title
                                                                       Transfer                I to such department or agency: Provided, That the authority to
                                                                       authority.              transfer funds between appropriations accounts as may be necessary
                                                                                               to carry out this section is provided in addition to authorities
                                                                                               included elsewhere in this Act: Provided further, That use of funds
                                                                                               to carry out this section shall be treated as a reprogramming
                                                                                               of funds under section 7015 of this Act.
                                                                                                                  PROHIBITION ON PUBLICITY OR PROPAGANDA

                                                                                                   SEC. 7006. No part of any appropriation contained in this
                                                                                               Act shall be used for publicity or propaganda purposes within
                                                                                               the United States not authorized before enactment of this Act
                                                                                               by Congress: Provided, That up to $25,000 may be made available
                                                                                               to carry out the provisions of section 316 of the International
                                                                                               Security and Development Cooperation Act of 1980 (Public Law
                                                                                               96–533; 22 U.S.C. 2151a note).
                                                                                                     PROHIBITION AGAINST DIRECT FUNDING FOR CERTAIN COUNTRIES

                                                                                                    SEC. 7007. None of the funds appropriated or otherwise made
                                                                                               available pursuant to titles III through VI of this Act shall be
                                                                                               obligated or expended to finance directly any assistance or repara-
                                                                                               tions for the governments of Cuba, North Korea, Iran, or Syria:
                                                                                               Provided, That for purposes of this section, the prohibition on
                                                                                               obligations or expenditures shall include direct loans, credits, insur-
                                                                                               ance, and guarantees of the Export-Import Bank or its agents.
                                                                                                                                        COUPS D’ÉTAT

                                                                                                   SEC. 7008. (a) PROHIBITION.—None of the funds appropriated
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                                                                                               or otherwise made available pursuant to titles III through VI of
                                                                                               this Act shall be obligated or expended to finance directly any




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                                                                       assistance to the government of any country whose duly elected
                                                                       head of government is deposed by military coup d’état or decree
                                                                       or, after the date of enactment of this Act, a coup d’état or decree
                                                                       in which the military plays a decisive role: Provided, That assistance                                Certification.
                                                                       may be resumed to such government if the Secretary of State                                           Reports.
                                                                       certifies and reports to the appropriate congressional committees
                                                                       that subsequent to the termination of assistance a democratically
                                                                       elected government has taken office: Provided further, That the
                                                                       provisions of this section shall not apply to assistance to promote
                                                                       democratic elections or public participation in democratic processes,
                                                                       or to support a democratic transition: Provided further, That funds                                   Consultation.
                                                                       made available pursuant to the previous provisos shall be subject                                     Notifications.
                                                                       to prior consultation with, and the regular notification procedures
                                                                       of, the Committees on Appropriations.
                                                                            (b) WAIVER.—The Secretary of State, following consultation                                       Consultations.
                                                                       with the heads of relevant Federal agencies, may waive the restric-                                   Certification.
                                                                                                                                                                             Reports.
                                                                       tion in this section on a program-by-program basis if the Secretary
                                                                       certifies and reports to the Committees on Appropriations that
                                                                       such waiver is in the national security interest of the United States:
                                                                       Provided, That funds made available pursuant to such waiver shall                                     Notifications.
                                                                       be subject to prior consultation with, and the regular notification
                                                                       procedures of, the Committees on Appropriations.

                                                                                                     TRANSFER OF FUNDS AUTHORITY

                                                                          SEC. 7009. (a) DEPARTMENT OF STATE AND UNITED STATES
                                                                       AGENCY FOR GLOBAL MEDIA.—
                                                                              (1) DEPARTMENT OF STATE.—
                                                                                   (A) IN GENERAL.—Not to exceed 5 percent of any appro-
                                                                              priation made available for the current fiscal year for the
                                                                              Department of State under title I of this Act may be trans-
                                                                              ferred between, and merged with, such appropriations, but
                                                                              no such appropriation, except as otherwise specifically pro-
                                                                              vided, shall be increased by more than 10 percent by any
                                                                              such transfers, and no such transfer may be made to
                                                                              increase the appropriation under the heading ‘‘Representa-
                                                                              tion Expenses’’.
                                                                                   (B) EMBASSY SECURITY.—Funds appropriated under the                                        Determination.
                                                                              headings ‘‘Diplomatic Programs’’, including for Worldwide                                      Reports.
                                                                                                                                                                             Consultation.
                                                                              Security Protection, ‘‘Embassy Security, Construction, and                                     Notifications.
                                                                              Maintenance’’, and ‘‘Emergencies in the Diplomatic and
                                                                              Consular Service’’ in this Act may be transferred to, and
                                                                              merged with, funds appropriated under such headings if
                                                                              the Secretary of State determines and reports to the
                                                                              Committees on Appropriations that to do so is necessary
                                                                              to implement the recommendations of the Benghazi
                                                                              Accountability Review Board, for emergency evacuations,
                                                                              or to prevent or respond to security situations and require-
                                                                              ments, following consultation with, and subject to the reg-
                                                                              ular notification procedures of, such Committees.
                                                                                   (C) EMERGENCIES IN THE DIPLOMATIC AND CONSULAR
                                                                              SERVICE.—Of the amount made available under the heading
                                                                              ‘‘Diplomatic Programs’’ for Worldwide Security Protection,
                                                                              not to exceed $50,000,000 may be transferred to, and
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                                                                              merged with, funds made available by this Act under the
                                                                              heading ‘‘Emergencies in the Diplomatic and Consular




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                                                                                                           Service’’, to be available only for emergency evacuations
                                                                                                           and rewards, as authorized.
                                                                                                                (D) CAPITAL INVESTMENT FUND.—Of the amount made
                                                                                                           available under the heading, ‘‘Diplomatic Programs’’, up
                                                                                                           to $50,000,000 may be transferred to, and merged with,
                                                                                                           funds made available in title I of this Act under the heading
                                                                                                           ‘‘Capital Investment Fund’’.
                                                                       Requirement.                             (E) PRIOR CONSULTATION.—The transfer authorities
                                                                                                           provided by subparagraphs (B), (C), and (D) are in addition
                                                                                                           to any transfer authority otherwise available in this Act
                                                                                                           and under any other provision of law and the exercise
                                                                                                           of such authority shall be subject to prior consultation
                                                                                                           with the Committees on Appropriations.
                                                                                                           (2) UNITED STATES AGENCY FOR GLOBAL MEDIA.—Not to
                                                                                                      exceed 5 percent of any appropriation made available for the
                                                                                                      current fiscal year for the United States Agency for Global
                                                                                                      Media under title I of this Act may be transferred between,
                                                                                                      and merged with, such appropriations, but no such appropria-
                                                                                                      tion, except as otherwise specifically provided, shall be
                                                                                                      increased by more than 10 percent by any such transfers.
                                                                                                           (3) TREATMENT AS REPROGRAMMING.—Any transfer pursu-
                                                                                                      ant to this subsection shall be treated as a reprogramming
                                                                                                      of funds under section 7015 of this Act and shall not be avail-
                                                                                                      able for obligation or expenditure except in compliance with
                                                                                                      the procedures set forth in that section.
                                                                                                      (b) LIMITATION ON TRANSFERS OF FUNDS BETWEEN AGENCIES.—
                                                                                                           (1) IN GENERAL.—None of the funds made available under
                                                                                                      titles II through V of this Act may be transferred to any
                                                                                                      department, agency, or instrumentality of the United States
                                                                                                      Government, except pursuant to a transfer made by, or transfer
                                                                                                      authority provided in, this Act or any other appropriations
                                                                                                      Act.
                                                                                                           (2) ALLOCATION AND TRANSFERS.—Notwithstanding para-
                                                                                                      graph (1), in addition to transfers made by, or authorized
                                                                                                      elsewhere in, this Act, funds appropriated by this Act to carry
                                                                                                      out the purposes of the Foreign Assistance Act of 1961 may
                                                                                                      be allocated or transferred to agencies of the United States
                                                                                                      Government pursuant to the provisions of sections 109, 610,
                                                                                                      and 632 of the Foreign Assistance Act of 1961, and section
                                                                                                      1434(j) of the BUILD Act of 2018 (division F of Public Law
                                                                                                      115–254).
                                                                       Contracts.                          (3) NOTIFICATION.—Any agreement entered into by the
                                                                       Requirement.                   United States Agency for International Development or the
                                                                                                      Department of State with any department, agency, or
                                                                                                      instrumentality of the United States Government pursuant to
                                                                                                      section 632(b) of the Foreign Assistance Act of 1961 valued
                                                                                                      in excess of $1,000,000 and any agreement made pursuant
                                                                                                      to section 632(a) of such Act, with funds appropriated by this
                                                                                                      Act or prior Acts making appropriations for the Department
                                                                                                      of State, foreign operations, and related programs under the
                                                                                                      headings ‘‘Global Health Programs’’, ‘‘Development Assistance’’,
                                                                                                      ‘‘Economic Support Fund’’, and ‘‘Assistance for Europe, Eurasia
                                                                                                      and Central Asia’’ shall be subject to the regular notification
                                                                                                      procedures of the Committees on Appropriations: Provided,
                                                                                                      That the requirement in the previous sentence shall not apply
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                                                                                                      to agreements entered into between USAID and the Depart-
                                                                                                      ment of State.




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                                                                            (c) UNITED STATES INTERNATIONAL DEVELOPMENT FINANCE
                                                                       CORPORATION.—
                                                                                  (1) TRANSFERS.—Amounts transferred pursuant to section
                                                                            1434(j) of the BUILD Act of 2018 (division F of Public Law
                                                                            115–254) may only be transferred from funds made available
                                                                            under title III of this Act: Provided, That any such transfers,                                  Requirement.
                                                                            or any other amounts transferred to the United States Inter-                                     Consultation.
                                                                                                                                                                             Notification.
                                                                            national Development Finance Corporation (the Corporation)
                                                                            pursuant to any provision of law, shall be subject to prior
                                                                            consultation with, and the regular notification procedures of,
                                                                            the Committees on Appropriations: Provided further, That the                                     Coordination.
                                                                            Secretary of State, the Administrator of the United States
                                                                            Agency for International Development, and the Chief Executive
                                                                            Officer of the Corporation, as appropriate, shall ensure that
                                                                            the programs funded by such transfers are coordinated with,
                                                                            and complement, foreign assistance programs implemented by
                                                                            the Department of State and USAID.
                                                                                  (2) TRANSFER OF FUNDS FROM MILLENNIUM CHALLENGE COR-
                                                                            PORATION.—Funds appropriated under the heading ‘‘Millennium
                                                                            Challenge Corporation’’ in this Act or prior Acts making appro-
                                                                            priations for the Department of State, foreign operations, and
                                                                            related programs may be transferred to accounts under the
                                                                            heading ‘‘United States International Development Finance
                                                                            Corporation’’ and, when so transferred, may be used for the
                                                                            costs of activities described in subsections (b) and (c) of section
                                                                            1421 of the BUILD Act of 2018: Provided, That such funds                                         Requirement.
                                                                            shall be subject to the limitations provided in the second, third,
                                                                            and fifth provisos under the heading ‘‘United States Inter-
                                                                            national Development Finance Corporation—Program Account’’
                                                                            in this Act: Provided further, That any transfer executed pursu-
                                                                            ant to the transfer authority provided in this paragraph shall
                                                                            not exceed 10 percent of an individual Compact awarded pursu-
                                                                            ant to section 609(a) of the Millennium Challenge Act of 2003
                                                                            (title VI of Public Law 108–199): Provided further, That such
                                                                            funds shall not be available for administrative expenses of
                                                                            the United States International Development Finance Corpora-
                                                                            tion: Provided further, That such authority shall be subject                                     Requirement.
                                                                            to prior consultation with, and the regular notification proce-                                  Consultation.
                                                                                                                                                                             Notification.
                                                                            dures of, the Committees on Appropriations: Provided further,
                                                                            That the transfer authority provided in this section is in addi-
                                                                            tion to any other transfer authority provided by law: Provided
                                                                            further, That within 60 days of the termination in whole or                                      Deadline.
                                                                            in part of the Compact from which funds were transferred                                         Notification.
                                                                            under this authority to the United States International
                                                                            Development Finance Corporation, any unobligated balances
                                                                            shall be transferred back to the Millennium Challenge Corpora-
                                                                            tion, subject to the regular notification procedures of the
                                                                            Committees on Appropriations.
                                                                            (d) TRANSFER OF FUNDS BETWEEN ACCOUNTS.—None of the                                              President.
                                                                       funds made available under titles II through V of this Act may                                        Time period.
                                                                                                                                                                             Consultation.
                                                                       be obligated under an appropriations account to which such funds                                      Policy
                                                                       were not appropriated, except for transfers specifically provided                                     justification.
                                                                       for in this Act, unless the President, not less than 5 days prior
                                                                       to the exercise of any authority contained in the Foreign Assistance
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                                                                       Act of 1961 to transfer funds, consults with and provides a written
                                                                       policy justification to the Committees on Appropriations.




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                                                                       Contracts.                  (e) AUDIT OF INTER-AGENCY TRANSFERS OF FUNDS.—Any agree-
                                                                       Reports.                ment for the transfer or allocation of funds appropriated by this
                                                                                               Act or prior Acts making appropriations for the Department of
                                                                                               State, foreign operations, and related programs entered into
                                                                                               between the Department of State or USAID and another agency
                                                                                               of the United States Government under the authority of section
                                                                                               632(a) of the Foreign Assistance Act of 1961, or any comparable
                                                                                               provision of law, shall expressly provide that the Inspector General
                                                                                               (IG) for the agency receiving the transfer or allocation of such
                                                                                               funds, or other entity with audit responsibility if the receiving
                                                                                               agency does not have an IG, shall perform periodic program and
                                                                                               financial audits of the use of such funds and report to the Depart-
                                                                                               ment of State or USAID, as appropriate, upon completion of such
                                                                       Transmittals.           audits: Provided, That such audits shall be transmitted to the
                                                                                               Committees on Appropriations by the Department of State or
                                                                                               USAID, as appropriate: Provided further, That funds transferred
                                                                                               under such authority may be made available for the cost of such
                                                                                               audits.

                                                                                                           PROHIBITION AND LIMITATION ON CERTAIN EXPENSES

                                                                                                    SEC. 7010. (a) FIRST-CLASS TRAVEL.—None of the funds made
                                                                                               available by this Act may be used for first-class travel by employees
                                                                                               of United States Government departments and agencies funded
                                                                                               by this Act in contravention of section 301–10.122 through 301–
                                                                                               10.124 of title 41, Code of Federal Regulations.
                                                                       Pornography.                 (b) COMPUTER NETWORKS.—None of the funds made available
                                                                                               by this Act for the operating expenses of any United States Govern-
                                                                                               ment department or agency may be used to establish or maintain
                                                                                               a computer network for use by such department or agency unless
                                                                                               such network has filters designed to block access to sexually explicit
                                                                                               websites: Provided, That nothing in this subsection shall limit the
                                                                                               use of funds necessary for any Federal, State, Tribal, or local
                                                                                               law enforcement agency, or any other entity carrying out the fol-
                                                                                               lowing activities: criminal investigations, prosecutions, and adju-
                                                                                               dications; administrative discipline; and the monitoring of such
                                                                                               websites undertaken as part of official business.
                                                                                                    (c) PROHIBITION ON PROMOTION OF TOBACCO.—None of the
                                                                                               funds made available by this Act shall be available to promote
                                                                                               the sale or export of tobacco or tobacco products (including electronic
                                                                                               nicotine delivery systems), or to seek the reduction or removal
                                                                                               by any foreign country of restrictions on the marketing of tobacco
                                                                                               or tobacco products (including electronic nicotine delivery systems),
                                                                                               except for restrictions which are not applied equally to all tobacco
                                                                                               or tobacco products (including electronic nicotine delivery systems)
                                                                                               of the same type.
                                                                                                    (d) EMAIL SERVERS OUTSIDE THE .GOV DOMAIN.—None of the
                                                                                               funds appropriated by this Act under the headings ‘‘Diplomatic
                                                                                               Programs’’ and ‘‘Capital Investment Fund’’ in title I, and ‘‘Operating
                                                                                               Expenses’’ and ‘‘Capital Investment Fund’’ in title II that are made
                                                                                               available to the Department of State and the United States Agency
                                                                                               for International Development may be made available to support
                                                                                               the use or establishment of email accounts or email servers created
                                                                                               outside the .gov domain or not fitted for automated records manage-
                                                                                               ment as part of a Federal government records management program
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                                                                                               in contravention of the Presidential and Federal Records Act
                                                                                               Amendments of 2014 (Public Law 113–187).




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                                                                            (e) REPRESENTATION AND ENTERTAINMENT EXPENSES.—Each
                                                                       Federal department, agency, or entity funded in titles I or II of
                                                                       this Act, and the Department of the Treasury and independent
                                                                       agencies funded in titles III or VI of this Act, shall take steps
                                                                       to ensure that domestic and overseas representation and entertain-
                                                                       ment expenses further official agency business and United States
                                                                       foreign policy interests, and—
                                                                                 (1) are primarily for fostering relations outside of the
                                                                            Executive Branch;
                                                                                 (2) are principally for meals and events of a protocol nature;
                                                                                 (3) are not for employee-only events; and
                                                                                 (4) do not include activities that are substantially of a
                                                                            recreational character.
                                                                            (f) LIMITATIONS ON ENTERTAINMENT EXPENSES.—None of the
                                                                       funds appropriated or otherwise made available by this Act under
                                                                       the headings ‘‘International Military Education and Training’’ or
                                                                       ‘‘Foreign Military Financing Program’’ for Informational Program
                                                                       activities or under the headings ‘‘Global Health Programs’’,
                                                                       ‘‘Development Assistance’’, ‘‘Economic Support Fund’’, and ‘‘Assist-
                                                                       ance for Europe, Eurasia and Central Asia’’ may be obligated or
                                                                       expended to pay for—
                                                                                 (1) alcoholic beverages; or                                                                 Alcohol and
                                                                                 (2) entertainment expenses for activities that are substan-                                 alcoholic
                                                                            tially of a recreational character, including entrance fees at                                   beverages.
                                                                            sporting events, theatrical and musical productions, and amuse-
                                                                            ment parks.

                                                                                                          AVAILABILITY OF FUNDS

                                                                             SEC. 7011. No part of any appropriation contained in this                                       Time periods.
                                                                       Act shall remain available for obligation after the expiration of
                                                                       the current fiscal year unless expressly so provided by this Act:
                                                                       Provided, That funds appropriated for the purposes of chapters
                                                                       1 and 8 of part I, section 661, chapters 4, 5, 6, 8, and 9 of
                                                                       part II of the Foreign Assistance Act of 1961, section 23 of the
                                                                       Arms Export Control Act (22 U.S.C. 2763), and funds made available
                                                                       for ‘‘United States International Development Finance Corporation’’
                                                                       and under the heading ‘‘Assistance for Europe, Eurasia and Central
                                                                       Asia’’ shall remain available for an additional 4 years from the
                                                                       date on which the availability of such funds would otherwise have
                                                                       expired, if such funds are initially obligated before the expiration
                                                                       of their respective periods of availability contained in this Act:
                                                                       Provided further, That notwithstanding any other provision of this
                                                                       Act, any funds made available for the purposes of chapter 1 of
                                                                       part I and chapter 4 of part II of the Foreign Assistance Act
                                                                       of 1961 which are allocated or obligated for cash disbursements
                                                                       in order to address balance of payments or economic policy reform
                                                                       objectives, shall remain available for an additional 4 years from
                                                                       the date on which the availability of such funds would otherwise
                                                                       have expired, if such funds are initially allocated or obligated before
                                                                       the expiration of their respective periods of availability contained
                                                                       in this Act: Provided further, That the Secretary of State and                                        Reports.
                                                                       the Administrator of the United States Agency for International
                                                                       Development shall provide a report to the Committees on Appropria-
                                                                       tions not later than October 31, 2024, detailing by account and
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                                                                       source year, the use of this authority during the previous fiscal
                                                                       year: Provided further, That an obligation in excess of $2,000,000                                    Requirement.
                                                                                                                                                                             Notification.




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                                                                                               from deobligated balances of funds appropriated by this Act and
                                                                                               prior Acts making appropriations for the Department of State,
                                                                                               foreign operations, and related programs that remain available
                                                                                               due to the exercise of the authority of this section shall be subject
                                                                                               to the regular notification procedures of the Committees on Appro-
                                                                                               priations.

                                                                                                          LIMITATION ON ASSISTANCE TO COUNTRIES IN DEFAULT

                                                                       Time period.                 SEC. 7012. No part of any appropriation provided under titles
                                                                       Loans.                  III through VI in this Act shall be used to furnish assistance
                                                                       President.              to the government of any country which is in default during a
                                                                       Determination.
                                                                       Consultation.           period in excess of 1 calendar year in payment to the United
                                                                                               States of principal or interest on any loan made to the government
                                                                                               of such country by the United States pursuant to a program for
                                                                                               which funds are appropriated under this Act unless the President
                                                                                               determines, following consultation with the Committees on Appro-
                                                                                               priations, that assistance for such country is in the national interest
                                                                                               of the United States.

                                                                                                        PROHIBITION ON TAXATION OF UNITED STATES ASSISTANCE

                                                                       Negotiation.                 SEC. 7013. (a) PROHIBITION ON TAXATION.—None of the funds
                                                                       Requirement.            appropriated under titles III through VI of this Act may be made
                                                                                               available to provide assistance for a foreign country under a new
                                                                                               bilateral agreement governing the terms and conditions under which
                                                                                               such assistance is to be provided unless such agreement includes
                                                                                               a provision stating that assistance provided by the United States
                                                                                               shall be exempt from taxation, or reimbursed, by the foreign govern-
                                                                                               ment, and the Secretary of State and the Administrator of the
                                                                                               United States Agency for International Development shall expedi-
                                                                                               tiously seek to negotiate amendments to existing bilateral agree-
                                                                                               ments, as necessary, to conform with this requirement.
                                                                                                    (b) NOTIFICATION AND REIMBURSEMENT OF FOREIGN TAXES.—
                                                                       Deadline.               An amount equivalent to 200 percent of the total taxes assessed
                                                                                               during fiscal year 2024 on funds appropriated by this Act and
                                                                                               prior Acts making appropriations for the Department of State,
                                                                                               foreign operations, and related programs by a foreign government
                                                                                               or entity against United States assistance programs, either directly
                                                                                               or through grantees, contractors, and subcontractors, shall be with-
                                                                                               held from obligation from funds appropriated for assistance for
                                                                                               fiscal year 2025 and for prior fiscal years and allocated for the
                                                                                               central government of such country or for the West Bank and
                                                                                               Gaza program, as applicable, if, not later than September 30, 2025,
                                                                                               such taxes have not been reimbursed.
                                                                                                    (c) DE MINIMIS EXCEPTION.—Foreign taxes of a de minimis
                                                                                               nature shall not be subject to the provisions of subsection (b).
                                                                                                    (d) REPROGRAMMING OF FUNDS.—Funds withheld from obliga-
                                                                                               tion for each foreign government or entity pursuant to subsection
                                                                                               (b) shall be reprogrammed for assistance for countries which do
                                                                                               not assess taxes on United States assistance or which have an
                                                                                               effective arrangement that is providing substantial reimbursement
                                                                                               of such taxes, and that can reasonably accommodate such assistance
                                                                                               in a programmatically responsible manner.
                                                                                                    (e) DETERMINATIONS.—
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                                                                       Reports.                          (1) IN GENERAL.—The provisions of this section shall not
                                                                                                    apply to any foreign government or entity that assesses such




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                                                                           taxes if the Secretary of State reports to the Committees on
                                                                           Appropriations that—
                                                                                     (A) such foreign government or entity has an effective
                                                                                arrangement that is providing substantial reimbursement
                                                                                of such taxes; or
                                                                                     (B) the foreign policy interests of the United States
                                                                                outweigh the purpose of this section to ensure that United
                                                                                States assistance is not subject to taxation.
                                                                                (2) CONSULTATION.—The Secretary of State shall consult                                       Time period.
                                                                           with the Committees on Appropriations at least 15 days prior
                                                                           to exercising the authority of this subsection with regard to
                                                                           any foreign government or entity.
                                                                           (f) IMPLEMENTATION.—The Secretary of State shall issue and                                        Regulations.
                                                                       update rules, regulations, or policy guidance, as appropriate, to                                     Guidance.
                                                                       implement the prohibition against the taxation of assistance con-
                                                                       tained in this section.
                                                                           (g) DEFINITIONS.—As used in this section:
                                                                                (1) BILATERAL AGREEMENT.—The term ‘‘bilateral agree-
                                                                           ment’’ refers to a framework bilateral agreement between the
                                                                           Government of the United States and the government of the
                                                                           country receiving assistance that describes the privileges and
                                                                           immunities applicable to United States foreign assistance for
                                                                           such country generally, or an individual agreement between
                                                                           the Government of the United States and such government
                                                                           that describes, among other things, the treatment for tax pur-
                                                                           poses that will be accorded the United States assistance pro-
                                                                           vided under that agreement.
                                                                                (2) TAXES AND TAXATION.—The term ‘‘taxes and taxation’’
                                                                           shall include value added taxes and customs duties but shall
                                                                           not include individual income taxes assessed to local staff.

                                                                                                         RESERVATIONS OF FUNDS

                                                                            SEC. 7014. (a) REPROGRAMMING.—Funds appropriated under
                                                                       titles III through VI of this Act which are specifically designated
                                                                       may be reprogrammed for other programs within the same account
                                                                       notwithstanding the designation if compliance with the designation
                                                                       is made impossible by operation of any provision of this or any
                                                                       other Act: Provided, That any such reprogramming shall be subject                                     Requirement.
                                                                       to the regular notification procedures of the Committees on Appro-                                    Notification.
                                                                       priations: Provided further, That assistance that is reprogrammed
                                                                       pursuant to this subsection shall be made available under the
                                                                       same terms and conditions as originally provided.
                                                                            (b) EXTENSION OF AVAILABILITY.—In addition to the authority                                      Determination.
                                                                       contained in subsection (a), the original period of availability of                                   Reports.
                                                                       funds appropriated by this Act and administered by the Department
                                                                       of State or the United States Agency for International Development
                                                                       that are specifically designated for particular programs or activities
                                                                       by this or any other Act may be extended for an additional fiscal
                                                                       year if the Secretary of State or the USAID Administrator, as
                                                                       appropriate, determines and reports promptly to the Committees
                                                                       on Appropriations that the termination of assistance to a country
                                                                       or a significant change in circumstances makes it unlikely that
                                                                       such designated funds can be obligated during the original period
                                                                       of availability: Provided, That such designated funds that continue
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                                                                       to be available for an additional fiscal year shall be obligated
                                                                       only for the purpose of such designation.




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                                                                                                   (c) OTHER ACTS.—Ceilings and specifically designated funding
                                                                                               levels contained in this Act shall not be applicable to funds or
                                                                                               authorities appropriated or otherwise made available by any subse-
                                                                                               quent Act unless such Act specifically so directs: Provided, That
                                                                                               specifically designated funding levels or minimum funding require-
                                                                                               ments contained in any other Act shall not be applicable to funds
                                                                                               appropriated by this Act.

                                                                                                                            NOTIFICATION REQUIREMENTS

                                                                                                    SEC. 7015. (a) NOTIFICATION OF CHANGES IN PROGRAMS,
                                                                       Time period.            PROJECTS, AND ACTIVITIES.—None of the funds made available in
                                                                                               titles I, II, and VI, and under the headings ‘‘Peace Corps’’ and
                                                                                               ‘‘Millennium Challenge Corporation’’, of this Act or prior Acts
                                                                                               making appropriations for the Department of State, foreign oper-
                                                                                               ations, and related programs to the departments and agencies
                                                                                               funded by this Act that remain available for obligation in fiscal
                                                                                               year 2024, or provided from any accounts in the Treasury of the
                                                                                               United States derived by the collection of fees or of currency reflows
                                                                                               or other offsetting collections, or made available by transfer, to
                                                                                               the departments and agencies funded by this Act, shall be available
                                                                                               for obligation to—
                                                                                                         (1) create new programs;
                                                                                                         (2) suspend or eliminate a program, project, or activity;
                                                                                                         (3) close, suspend, open, or reopen a mission or post;
                                                                                                         (4) create, close, reorganize, downsize, or rename bureaus,
                                                                                                    centers, or offices; or
                                                                       Contracts.                        (5) contract out or privatize any functions or activities
                                                                                                    presently performed by Federal employees;
                                                                                               unless previously justified to the Committees on Appropriations
                                                                                               or such Committees are notified 15 days in advance of such obliga-
                                                                                               tion.
                                                                       Time period.                 (b) NOTIFICATION OF REPROGRAMMING OF FUNDS.—None of the
                                                                                               funds provided under titles I, II, and VI of this Act or prior Acts
                                                                                               making appropriations for the Department of State, foreign oper-
                                                                                               ations, and related programs, to the departments and agencies
                                                                                               funded under such titles that remain available for obligation in
                                                                                               fiscal year 2024, or provided from any accounts in the Treasury
                                                                                               of the United States derived by the collection of fees available
                                                                                               to the department and agency funded under title I of this Act,
                                                                                               shall be available for obligation or expenditure for programs,
                                                                                               projects, or activities through a reprogramming of funds in excess
                                                                                               of $1,000,000 or 10 percent, whichever is less, that—
                                                                                                         (1) augments or changes existing programs, projects, or
                                                                                                    activities;
                                                                                                         (2) relocates an existing office or employees;
                                                                                                         (3) reduces by 10 percent funding for any existing program,
                                                                                                    project, or activity, or numbers of personnel by 10 percent
                                                                                                    as approved by Congress; or
                                                                                                         (4) results from any general savings, including savings
                                                                                                    from a reduction in personnel, which would result in a change
                                                                                                    in existing programs, projects, or activities as approved by
                                                                                                    Congress;
                                                                                               unless the Committees on Appropriations are notified 15 days in
                                                                                               advance of such reprogramming of funds.
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                                                                       Time periods.                (c) NOTIFICATION REQUIREMENT.—None of the funds made
                                                                                               available by this Act under the headings ‘‘Global Health Programs’’,




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                                                                       ‘‘Development Assistance’’, ‘‘Economic Support Fund’’, ‘‘Democracy
                                                                       Fund’’, ‘‘Assistance for Europe, Eurasia and Central Asia’’, ‘‘Peace
                                                                       Corps’’, ‘‘Millennium Challenge Corporation’’, ‘‘International Nar-
                                                                       cotics Control and Law Enforcement’’, ‘‘Nonproliferation, Anti-ter-
                                                                       rorism, Demining and Related Programs’’, ‘‘Peacekeeping Oper-
                                                                       ations’’, ‘‘International Military Education and Training’’, ‘‘Foreign
                                                                       Military Financing Program’’, ‘‘International Organizations and Pro-
                                                                       grams’’, ‘‘United States International Development Finance Cor-
                                                                       poration’’, and ‘‘Trade and Development Agency’’ shall be available
                                                                       for obligation for programs, projects, activities, type of materiel
                                                                       assistance, countries, or other operations not justified or in excess
                                                                       of the amount justified to the Committees on Appropriations for
                                                                       obligation under any of these specific headings unless the Commit-
                                                                       tees on Appropriations are notified 15 days in advance of such
                                                                       obligation: Provided, That the President shall not enter into any                                     President.
                                                                       commitment of funds appropriated for the purposes of section 23
                                                                       of the Arms Export Control Act for the provision of major defense
                                                                       equipment, other than conventional ammunition, or other major
                                                                       defense items defined to be aircraft, ships, missiles, or combat
                                                                       vehicles, not previously justified to Congress or 20 percent in excess
                                                                       of the quantities justified to Congress unless the Committees on
                                                                       Appropriations are notified 15 days in advance of such commitment:
                                                                       Provided further, That requirements of this subsection or any
                                                                       similar provision of this or any other Act shall not apply to any
                                                                       reprogramming for a program, project, or activity for which funds
                                                                       are appropriated under titles III through VI of this Act of less
                                                                       than 10 percent of the amount previously justified to Congress
                                                                       for obligation for such program, project, or activity for the current
                                                                       fiscal year: Provided further, That any notification submitted pursu-
                                                                       ant to subsection (f) of this section shall include information (if
                                                                       known on the date of transmittal of such notification) on the use
                                                                       of notwithstanding authority.
                                                                            (d) DEPARTMENT OF DEFENSE PROGRAMS AND FUNDING
                                                                       NOTIFICATIONS.—
                                                                                 (1) PROGRAMS.—None of the funds appropriated by this                                        Cost estimate.
                                                                            Act or prior Acts making appropriations for the Department
                                                                            of State, foreign operations, and related programs may be made
                                                                            available to support or continue any program initially funded
                                                                            under any authority of title 10, United States Code, or any
                                                                            Act making or authorizing appropriations for the Department
                                                                            of Defense, unless the Secretary of State, in consultation with
                                                                            the Secretary of Defense and in accordance with the regular
                                                                            notification procedures of the Committees on Appropriations,
                                                                            submits a justification to such Committees that includes a
                                                                            description of, and the estimated costs associated with, the
                                                                            support or continuation of such program.
                                                                                 (2) FUNDING.—Notwithstanding any other provision of law,
                                                                            funds transferred by the Department of Defense to the Depart-
                                                                            ment of State and the United States Agency for International
                                                                            Development for assistance for foreign countries and inter-
                                                                            national organizations shall be subject to the regular notifica-
                                                                            tion procedures of the Committees on Appropriations.
                                                                                 (3) NOTIFICATION ON EXCESS DEFENSE ARTICLES.—Prior to
                                                                            providing excess Department of Defense articles in accordance
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                                                                            with section 516(a) of the Foreign Assistance Act of 1961,
                                                                            the Department of Defense shall notify the Committees on




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                                                                                                    Appropriations to the same extent and under the same condi-
                                                                                                    tions as other committees pursuant to subsection (f) of that
                                                                                                    section: Provided, That before issuing a letter of offer to sell
                                                                                                    excess defense articles under the Arms Export Control Act,
                                                                                                    the Department of Defense shall notify the Committees on
                                                                                                    Appropriations in accordance with the regular notification
                                                                                                    procedures of such Committees if such defense articles are
                                                                                                    significant military equipment (as defined in section 47(9) of
                                                                                                    the Arms Export Control Act) or are valued (in terms of original
                                                                                                    acquisition cost) at $7,000,000 or more, or if notification is
                                                                                                    required elsewhere in this Act for the use of appropriated
                                                                                                    funds for specific countries that would receive such excess
                                                                                                    defense articles: Provided further, That such Committees shall
                                                                                                    also be informed of the original acquisition cost of such defense
                                                                                                    articles.
                                                                                                    (e) WAIVER.—The requirements of this section or any similar
                                                                                               provision of this Act or any other Act, including any prior Act
                                                                                               requiring notification in accordance with the regular notification
                                                                                               procedures of the Committees on Appropriations, may be waived
                                                                                               if failure to do so would pose a substantial risk to human health
                                                                       Deadline.               or welfare: Provided, That in case of any such waiver, notification
                                                                                               to the Committees on Appropriations shall be provided as early
                                                                                               as practicable, but in no event later than 3 days after taking
                                                                                               the action to which such notification requirement was applicable,
                                                                                               in the context of the circumstances necessitating such waiver: Pro-
                                                                                               vided further, That any notification provided pursuant to such
                                                                                               a waiver shall contain an explanation of the emergency cir-
                                                                                               cumstances.
                                                                                                    (f) COUNTRY NOTIFICATION REQUIREMENTS.—None of the funds
                                                                                               appropriated under titles III through VI of this Act may be obligated
                                                                                               or expended for assistance for Afghanistan, Bahrain, Burma, Cam-
                                                                                               bodia, Colombia, Cuba, Egypt, El Salvador, Ethiopia, Guatemala,
                                                                                               Haiti, Honduras, Iran, Iraq, Lebanon, Libya, Mexico, Nicaragua,
                                                                                               Pakistan, Philippines, the Russian Federation, Rwanda, Somalia,
                                                                                               South Sudan, Sudan, Syria, Tunisia, Ukraine, Venezuela, Yemen,
                                                                                               and Zimbabwe except as provided through the regular notification
                                                                                               procedures of the Committees on Appropriations.
                                                                                                    (g) TRUST FUNDS.—Funds appropriated or otherwise made
                                                                                               available in title III of this Act and prior Acts making funds
                                                                                               available for the Department of State, foreign operations, and
                                                                                               related programs that are made available for a trust fund held
                                                                                               by an international financial institution shall be subject to the
                                                                                               regular notification procedures of the Committees on Appropria-
                                                                                               tions, and such notification shall include the information specified
                                                                                               under this section in the explanatory statement described in section
                                                                                               4 (in the matter preceding division A of this consolidated Act).
                                                                                                    (h) OTHER PROGRAM NOTIFICATION REQUIREMENTS.—
                                                                       Consultation.                     (1) DIPLOMATIC PROGRAMS.—Funds appropriated under title
                                                                                                    I of this Act under the heading ‘‘Diplomatic Programs’’ that
                                                                                                    are made available for lateral entry into the Foreign Service
                                                                                                    shall be subject to prior consultation with, and the regular
                                                                                                    notification procedures of, the Committees on Appropriations.
                                                                                                         (2) OTHER PROGRAMS.—Funds appropriated by this Act that
                                                                                                    are made available for the following programs and activities
                                                                                                    shall be subject to the regular notification procedures of the
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                                                                                                    Committees on Appropriations:
                                                                                                              (A) the Global Engagement Center;




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                                                                                      (B) the Power Africa and Prosper Africa initiatives;
                                                                                      (C) community-based police assistance conducted
                                                                                 pursuant to the authority of section 7035(a)(1) of this Act;
                                                                                      (D) the Prevention and Stabilization Fund and the
                                                                                 Multi-Donor Global Fragility Fund;
                                                                                      (E) the Indo-Pacific Strategy;
                                                                                      (F) the Countering PRC Influence Fund and the Coun-
                                                                                 tering Russian Influence Fund;
                                                                                      (G) the Gender Equity and Equality Action Fund; and
                                                                                      (H) funds specifically allocated for the Partnership for
                                                                                 Global Infrastructure and Investment.
                                                                                 (3) DEMOCRACY PROGRAM POLICY AND PROCEDURES.—Modi-                                          Consultation.
                                                                            fications to democracy program policy and procedures, including
                                                                            relating to the use of consortia, by the Department of State
                                                                            and USAID shall be subject to prior consultation with, and
                                                                            the regular notification procedures of, the Committees on
                                                                            Appropriations.
                                                                                 (4) ARMS SALES.—The reports, notifications, and certifi-                                    Reports.
                                                                            cations, and any other documents, required to be submitted                                       Certifications.
                                                                            pursuant to section 36(a) of the Arms Export Control Act (22
                                                                            U.S.C. 2776), and such documents submitted pursuant to sec-
                                                                            tion 36(b) through (d) of such Act with respect to countries
                                                                            that have received assistance provided with funds appropriated
                                                                            by this Act or prior Acts making appropriations for the Depart-
                                                                            ment of State, foreign operations, and related programs, shall
                                                                            be concurrently submitted to the Committees on Appropriations
                                                                            and shall include information about the source of funds for
                                                                            any sale or transfer, as applicable, if known at the time of
                                                                            submission.
                                                                            (i) WITHHOLDING OF FUNDS.—Funds appropriated by this Act
                                                                       under titles III and IV that are withheld from obligation or other-
                                                                       wise not programmed as a result of application of a provision
                                                                       of law in this or any other Act shall, if reprogrammed, be subject
                                                                       to the regular notification procedures of the Committees on Appro-
                                                                       priations.
                                                                            (j) REQUIREMENT TO INFORM.—The Secretary of State and
                                                                       USAID Administrator, as applicable, shall promptly inform the
                                                                       appropriate congressional committees of each instance in which
                                                                       funds appropriated by this Act for assistance have been diverted
                                                                       or destroyed, to include the type and amount of assistance, a
                                                                       description of the incident and parties involved, and an explanation
                                                                       of the response of the Department of State or USAID, as appro-
                                                                       priate.
                                                                            (k) PRIOR CONSULTATION REQUIREMENT.—The Secretary of                                             Time period.
                                                                       State, the Administrator of the United States Agency for Inter-
                                                                       national Development, the Chief Executive Officer of the United
                                                                       States International Development Finance Corporation, and the
                                                                       Chief Executive Officer of the Millennium Challenge Corporation
                                                                       shall consult with the Committees on Appropriations at least 7
                                                                       days prior to informing a government of, or publicly announcing
                                                                       a decision on, the suspension or early termination of assistance
                                                                       to a country or a territory, including as a result of an interagency
                                                                       review of such assistance, from funds appropriated by this Act
                                                                       or prior Acts making appropriations for the Department of State,
                                                                       foreign operations, and related programs: Provided, That such con-
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                                                                       sultation shall include a detailed justification for such suspension,
                                                                       including a description of the assistance being suspended.




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                                                                                               DOCUMENTS, REPORT POSTING, RECORDS MANAGEMENT, AND RELATED
                                                                                                               CYBERSECURITY PROTECTIONS

                                                                                                    SEC. 7016. (a) DOCUMENT REQUESTS.—None of the funds appro-
                                                                                               priated or made available pursuant to titles III through VI of
                                                                                               this Act shall be available to a nongovernmental organization,
                                                                                               including any contractor, which fails to provide upon timely request
                                                                                               any document, file, or record necessary to the auditing requirements
                                                                                               of the Department of State and the United States Agency for
                                                                                               International Development.
                                                                                                    (b) PUBLIC POSTING OF REPORTS.—
                                                                                                         (1) Except as provided in paragraphs (2) and (3), any report
                                                                                                    required by this Act to be submitted to Congress by any Federal
                                                                                                    agency receiving funds made available by this Act shall be
                                                                                                    posted on the public website of such agency not later than
                                                                                                    45 days following the receipt of such report by Congress.
                                                                                                         (2) Paragraph (1) shall not apply to a report if—
                                                                       Determination.                         (A) the head of such agency determines and reports
                                                                       Transmittal.                      to the Committees on Appropriations in the transmittal
                                                                                                         letter accompanying such report that—
                                                                                                                   (i) the public posting of the report would com-
                                                                                                              promise national security, including the conduct of
                                                                                                              diplomacy; or
                                                                                                                   (ii) the report contains proprietary or other privi-
                                                                                                              leged information; or
                                                                                                              (B) the public posting of the report is specifically
                                                                                                         exempted in House Report 118–146, Senate Report 118–
                                                                                                         71, or the explanatory statement described in section 4
                                                                                                         (in the matter preceding division A of this consolidated
                                                                                                         Act).
                                                                                                         (3) The agency posting such report shall do so only after
                                                                                                    the report has been made available to the Committees on
                                                                                                    Appropriations.
                                                                                                         (4) The head of the agency posting such report shall do
                                                                                                    so in a central location on the public website of such agency.
                                                                                                    (c) RECORDS MANAGEMENT AND RELATED CYBERSECURITY
                                                                                               PROTECTIONS.—The Secretary of State and USAID Administrator
                                                                                               shall—
                                                                       Review.                           (1) regularly review and update the policies, directives,
                                                                       Updates.                     and oversight necessary to comply with Federal statutes, regu-
                                                                       Compliance.                  lations, and presidential executive orders and memoranda con-
                                                                                                    cerning the preservation of all records made or received in
                                                                                                    the conduct of official business, including record emails, instant
                                                                                                    messaging, and other online tools;
                                                                                                         (2) use funds appropriated by this Act under the headings
                                                                                                    ‘‘Diplomatic Programs’’ and ‘‘Capital Investment Fund’’ in title
                                                                                                    I, and ‘‘Operating Expenses’’ and ‘‘Capital Investment Fund’’
                                                                                                    in title II, as appropriate, to improve Federal records manage-
                                                                                                    ment pursuant to the Federal Records Act (44 U.S.C. Chapters
                                                                                                    21, 29, 31, and 33) and other applicable Federal records
                                                                                                    management statutes, regulations, or policies for the Depart-
                                                                                                    ment of State and USAID;
                                                                                                         (3) direct departing employees, including senior officials,
                                                                                                    that all Federal records generated by such employees belong
                                                                                                    to the Federal Government;
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                                                                                                         (4) substantially reduce, compared to the previous fiscal
                                                                                                    year, the response time for identifying and retrieving Federal




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                                                                              records, including requests made pursuant to section 552 of
                                                                              title 5, United States Code (commonly known as the ‘‘Freedom
                                                                              of Information Act’’); and
                                                                                   (5) strengthen cybersecurity measures to mitigate                                         Guidance.
                                                                              vulnerabilities, including those resulting from the use of per-                                Implementation.
                                                                              sonal email accounts or servers outside the .gov domain,
                                                                              improve the process to identify and remove inactive user
                                                                              accounts, update and enforce guidance related to the control
                                                                              of national security information, and implement the rec-
                                                                              ommendations of the applicable reports of the cognizant Office
                                                                              of Inspector General.
                                                                                         USE OF FUNDS IN CONTRAVENTION OF THIS ACT

                                                                           SEC. 7017. If the President makes a determination not to                                          President.
                                                                       comply with any provision of this Act on constitutional grounds,                                      Determination.
                                                                       the head of the relevant Federal agency shall notify the Committees                                   Notification.
                                                                                                                                                                             Deadline.
                                                                       on Appropriations in writing within 5 days of such determination,
                                                                       the basis for such determination and any resulting changes to
                                                                       program or policy.
                                                                              PROHIBITION ON FUNDING FOR ABORTIONS AND INVOLUNTARY
                                                                                                  STERILIZATION

                                                                            SEC. 7018. None of the funds made available to carry out
                                                                       part I of the Foreign Assistance Act of 1961, as amended, may
                                                                       be used to pay for the performance of abortions as a method of
                                                                       family planning or to motivate or coerce any person to practice
                                                                       abortions. None of the funds made available to carry out part
                                                                       I of the Foreign Assistance Act of 1961, as amended, may be
                                                                       used to pay for the performance of involuntary sterilization as
                                                                       a method of family planning or to coerce or provide any financial
                                                                       incentive to any person to undergo sterilizations. None of the funds
                                                                       made available to carry out part I of the Foreign Assistance Act
                                                                       of 1961, as amended, may be used to pay for any biomedical research
                                                                       which relates in whole or in part, to methods of, or the performance
                                                                       of, abortions or involuntary sterilization as a means of family plan-
                                                                       ning. None of the funds made available to carry out part I of                                         President.
                                                                       the Foreign Assistance Act of 1961, as amended, may be obligated                                      Certification.
                                                                       or expended for any country or organization if the President certifies
                                                                       that the use of these funds by any such country or organization
                                                                       would violate any of the above provisions related to abortions and
                                                                       involuntary sterilizations.
                                                                                                       ALLOCATIONS AND REPORTS

                                                                            SEC. 7019. (a) ALLOCATION TABLES.—Subject to subsection (b),
                                                                       funds appropriated by this Act under titles III through V shall
                                                                       be made available in the amounts specifically designated in the
                                                                       respective tables included in the explanatory statement described
                                                                       in section 4 (in the matter preceding division A of this consolidated
                                                                       Act): Provided, That such designated amounts for foreign countries
                                                                       and international organizations shall serve as the amounts for
                                                                       such countries and international organizations transmitted to Con-
                                                                       gress in the report required by section 653(a) of the Foreign Assist-
                                                                       ance Act of 1961, and shall be made available for such foreign
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                                                                       countries and international organizations notwithstanding the date
                                                                       of the transmission of such report.




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                                                                                                    (b) AUTHORIZED DEVIATIONS.—Unless otherwise provided for
                                                                                               by this Act, the Secretary of State and the Administrator of the
                                                                                               United States Agency for International Development, as applicable,
                                                                                               may only deviate up to 10 percent from the amounts specifically
                                                                                               designated in the respective tables included in the explanatory
                                                                                               statement described in section 4 (in the matter preceding division
                                                                       Determination.          A of this consolidated Act): Provided, That such percentage may
                                                                                               be exceeded only if the Secretary of State or USAID Administrator,
                                                                                               as applicable, determines and reports in writing to the Committees
                                                                                               on Appropriations on a case-by-case basis that such deviation is
                                                                                               necessary to respond to significant, exigent, or unforeseen events,
                                                                                               or to address other exceptional circumstances directly related to
                                                                                               the national security interest of the United States, including a
                                                                       Requirement.            description of such events or circumstances: Provided further, That
                                                                       Consultation.           deviations pursuant to the preceding proviso shall be subject to
                                                                       Notification.           prior consultation with, and the regular notification procedures
                                                                                               of, the Committees on Appropriations.
                                                                                                    (c) LIMITATION.—For specifically designated amounts that are
                                                                                               included, pursuant to subsection (a), in the report required by
                                                                                               section 653(a) of the Foreign Assistance Act of 1961, deviations
                                                                                               authorized by subsection (b) may only take place after submission
                                                                                               of such report.
                                                                                                    (d) EXCEPTIONS.—
                                                                                                         (1) Subsections (a) and (b) shall not apply to—
                                                                                                              (A) funds for which the initial period of availability
                                                                                                         has expired; and
                                                                                                              (B) amounts designated by this Act as minimum
                                                                                                         funding requirements.
                                                                                                         (2) The authority of subsection (b) to deviate from amounts
                                                                                                    designated in the respective tables included in the explanatory
                                                                                                    statement described in section 4 (in the matter preceding divi-
                                                                                                    sion A of this consolidated Act) shall not apply to the table
                                                                                                    included under the heading ‘‘Global Health Programs’’ in such
                                                                                                    statement.
                                                                       Applicability.                    (3) With respect to the amounts designated for ‘‘Global
                                                                                                    Programs’’ in the table under the heading ‘‘Economic Support
                                                                                                    Fund’’ included in the explanatory statement described in sec-
                                                                                                    tion 4 (in the matter preceding division A of this consolidated
                                                                                                    Act), the matter preceding the first proviso in subsection (b)
                                                                                                    of this section shall be applied by substituting ‘‘5 percent’’
                                                                                                    for ‘‘10 percent’’, and the provisos in such subsection (b) shall
                                                                                                    not apply.
                                                                                                    (e) REPORTS.—The Secretary of State, USAID Administrator,
                                                                                               and other designated officials, as appropriate, shall submit the
                                                                                               reports required, in the manner described, in House Report 118–
                                                                                               146, Senate Report 118–71, and the explanatory statement
                                                                                               described in section 4 (in the matter preceding division A of this
                                                                                               consolidated Act), unless otherwise directed in such explanatory
                                                                                               statement.
                                                                                                    (f) CLARIFICATION.—Funds appropriated by this Act under the
                                                                                               headings ‘‘International Disaster Assistance’’ and ‘‘Migration and
                                                                                               Refugee Assistance’’ shall not be included for purposes of meeting
                                                                                               amounts designated for countries in this Act, unless such headings
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                                                                                               are specifically designated as the source of funds.




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                                                                                                           MULTI-YEAR PLEDGES

                                                                            SEC. 7020. None of the funds appropriated or otherwise made                                      Notification.
                                                                       available by this Act may be used to make any pledge for future                                       Consultation.
                                                                       year funding for any multilateral or bilateral program funded in                                      Time period.
                                                                       titles III through VI of this Act unless such pledge was: (1) pre-
                                                                       viously justified, including the projected future year costs, in a
                                                                       congressional budget justification; (2) included in an Act making
                                                                       appropriations for the Department of State, foreign operations, and
                                                                       related programs or previously authorized by an Act of Congress;
                                                                       (3) notified in accordance with the regular notification procedures
                                                                       of the Committees on Appropriations, including the projected future
                                                                       year costs; or (4) the subject of prior consultation with the Commit-
                                                                       tees on Appropriations and such consultation was conducted at
                                                                       least 7 days in advance of the pledge.
                                                                              PROHIBITION ON ASSISTANCE TO GOVERNMENTS SUPPORTING
                                                                                            INTERNATIONAL TERRORISM

                                                                              SEC. 7021. (a) LETHAL MILITARY EQUIPMENT EXPORTS.—                                             President.
                                                                                   (1) PROHIBITION.—None of the funds appropriated or other-                                 Determinations.
                                                                              wise made available under titles III through VI of this Act
                                                                              may be made available to any foreign government which pro-
                                                                              vides lethal military equipment to a country the government
                                                                              of which the Secretary of State has determined supports inter-
                                                                              national terrorism for purposes of section 1754(c) of the Export
                                                                              Reform Control Act of 2018 (50 U.S.C. 4813(c)): Provided, That                                 Termination
                                                                              the prohibition under this section with respect to a foreign                                   date.
                                                                              government shall terminate 12 months after that government
                                                                              ceases to provide such military equipment: Provided further,
                                                                              That this section applies with respect to lethal military equip-                               Applicability.
                                                                              ment provided under a contract entered into after October
                                                                              1, 1997.
                                                                                   (2) DETERMINATION.—Assistance restricted by paragraph
                                                                              (1) or any other similar provision of law, may be furnished
                                                                              if the President determines that to do so is important to the
                                                                              national interest of the United States.
                                                                                   (3) REPORT.—Whenever the President makes a determina-                                     Estimate.
                                                                              tion pursuant to paragraph (2), the President shall submit
                                                                              to the Committees on Appropriations a report with respect
                                                                              to the furnishing of such assistance, including a detailed expla-
                                                                              nation of the assistance to be provided, the estimated dollar
                                                                              amount of such assistance, and an explanation of how the
                                                                              assistance furthers the United States national interest.
                                                                              (b) BILATERAL ASSISTANCE.—
                                                                                   (1) LIMITATIONS.—Funds appropriated for bilateral assist-
                                                                              ance in titles III through VI of this Act and funds appropriated
                                                                              under any such title in prior Acts making appropriations for
                                                                              the Department of State, foreign operations, and related pro-
                                                                              grams, shall not be made available to any foreign government
                                                                              which the President determines—
                                                                                        (A) grants sanctuary from prosecution to any individual
                                                                                   or group which has committed an act of international ter-
                                                                                   rorism;
                                                                                        (B) otherwise supports international terrorism; or
                                                                                        (C) is controlled by an organization designated as a
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                                                                                   terrorist organization under section 219 of the Immigration
                                                                                   and Nationality Act (8 U.S.C. 1189).




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                                                                                                           (2) WAIVER.—The President may waive the application of
                                                                                                      paragraph (1) to a government if the President determines
                                                                                                      that national security or humanitarian reasons justify such
                                                                       Federal Register,              waiver: Provided, That the President shall publish each such
                                                                       publication.                   waiver in the Federal Register and, at least 15 days before
                                                                       Time period.
                                                                       Notification.
                                                                                                      the waiver takes effect, shall notify the Committees on Appro-
                                                                                                      priations of the waiver (including the justification for the
                                                                                                      waiver) in accordance with the regular notification procedures
                                                                                                      of the Committees on Appropriations.

                                                                                                                            AUTHORIZATION REQUIREMENTS

                                                                                                   SEC. 7022. Funds appropriated by this Act, except funds appro-
                                                                                               priated under the heading ‘‘Trade and Development Agency’’, may
                                                                                               be obligated and expended notwithstanding section 10 of Public
                                                                                               Law 91–672 (22 U.S.C. 2412), section 15 of the State Department
                                                                                               Basic Authorities Act of 1956 (22 U.S.C. 2680), section 313 of
                                                                                               the Foreign Relations Authorization Act, Fiscal Years 1994 and
                                                                                               1995 (22 U.S.C. 6212), and section 504(a)(1) of the National Security
                                                                                               Act of 1947 (50 U.S.C. 3094(a)(1)).

                                                                                                                DEFINITION OF PROGRAM, PROJECT, AND ACTIVITY

                                                                                                    SEC. 7023. For the purpose of titles II through VI of this
                                                                                               Act, ‘‘program, project, and activity’’ shall be defined at the appro-
                                                                                               priations Act account level and shall include all appropriations
                                                                                               and authorizations Acts funding directives, ceilings, and limitations
                                                                                               with the exception that for the ‘‘Economic Support Fund’’, ‘‘Assist-
                                                                                               ance for Europe, Eurasia and Central Asia’’, and ‘‘Foreign Military
                                                                                               Financing Program’’ accounts, ‘‘program, project, and activity’’ shall
                                                                                               also be considered to include country, regional, and central program
                                                                                               level funding within each such account, and for the development
                                                                                               assistance accounts of the United States Agency for International
                                                                                               Development, ‘‘program, project, and activity’’ shall also be consid-
                                                                                               ered to include central, country, regional, and program level
                                                                                               funding, either as—
                                                                                                         (1) justified to Congress; or
                                                                                                         (2) allocated by the Executive Branch in accordance with
                                                                                                    the report required by section 653(a) of the Foreign Assistance
                                                                                                    Act of 1961 or as modified pursuant to section 7019 of this
                                                                                                    Act.

                                                                                                AUTHORITIES FOR THE PEACE CORPS, INTER-AMERICAN FOUNDATION,
                                                                                                    AND UNITED STATES AFRICAN DEVELOPMENT FOUNDATION

                                                                                                    SEC. 7024. Unless expressly provided to the contrary, provisions
                                                                                               of this or any other Act, including provisions contained in prior
                                                                                               Acts authorizing or making appropriations for the Department of
                                                                                               State, foreign operations, and related programs, shall not be con-
                                                                                               strued to prohibit activities authorized by or conducted under the
                                                                                               Peace Corps Act, the Inter-American Foundation Act, or the African
                                                                       Consultation.           Development Foundation Act: Provided, That prior to conducting
                                                                       Reports.                activities in a country for which assistance is prohibited, the agency
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                                                                                               shall consult with the Committees on Appropriations and report
                                                                                               to such Committees within 15 days of taking such action.




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                                                                                         COMMERCE, TRADE AND SURPLUS COMMODITIES

                                                                            SEC. 7025. (a) WORLD MARKETS.—None of the funds appro-
                                                                       priated or made available pursuant to titles III through VI of
                                                                       this Act for direct assistance and none of the funds otherwise
                                                                       made available to the Export-Import Bank and the United States
                                                                       International Development Finance Corporation shall be obligated
                                                                       or expended to finance any loan, any assistance, or any other
                                                                       financial commitments for establishing or expanding production
                                                                       of any commodity for export by any country other than the United
                                                                       States, if the commodity is likely to be in surplus on world markets
                                                                       at the time the resulting productive capacity is expected to become
                                                                       operative and if the assistance will cause substantial injury to
                                                                       United States producers of the same, similar, or competing com-
                                                                       modity: Provided, That such prohibition shall not apply to the                                        Notification.
                                                                       Export-Import Bank if in the judgment of its Board of Directors
                                                                       the benefits to industry and employment in the United States
                                                                       are likely to outweigh the injury to United States producers of
                                                                       the same, similar, or competing commodity, and the Chairman
                                                                       of the Board so notifies the Committees on Appropriations: Provided
                                                                       further, That this subsection shall not prohibit—
                                                                                 (1) activities in a country that is eligible for assistance
                                                                            from the International Development Association, is not eligible
                                                                            for assistance from the International Bank for Reconstruction
                                                                            and Development, and does not export on a consistent basis
                                                                            the agricultural commodity with respect to which assistance
                                                                            is furnished; or
                                                                                 (2) activities in a country the President determines is recov-                              President.
                                                                            ering from widespread conflict, a humanitarian crisis, or a                                      Determination.
                                                                            complex emergency.
                                                                            (b) EXPORTS.—None of the funds appropriated by this or any
                                                                       other Act to carry out chapter 1 of part I of the Foreign Assistance
                                                                       Act of 1961 shall be available for any testing or breeding feasibility
                                                                       study, variety improvement or introduction, consultancy, publica-
                                                                       tion, conference, or training in connection with the growth or
                                                                       production in a foreign country of an agricultural commodity for
                                                                       export which would compete with a similar commodity grown or
                                                                       produced in the United States: Provided, That this subsection shall
                                                                       not prohibit—
                                                                                 (1) activities designed to increase food security in devel-
                                                                            oping countries where such activities will not have a significant
                                                                            impact on the export of agricultural commodities of the United
                                                                            States;
                                                                                 (2) research activities intended primarily to benefit United
                                                                            States producers;
                                                                                 (3) activities in a country that is eligible for assistance
                                                                            from the International Development Association, is not eligible
                                                                            for assistance from the International Bank for Reconstruction
                                                                            and Development, and does not export on a consistent basis
                                                                            the agricultural commodity with respect to which assistance
                                                                            is furnished; or
                                                                                 (4) activities in a country the President determines is recov-                              President.
                                                                            ering from widespread conflict, a humanitarian crisis, or a                                      Determination.
                                                                            complex emergency.
                                                                            (c) INTERNATIONAL FINANCIAL INSTITUTIONS.—The Secretary of
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                                                                                                                                                                             22 USC 262h
                                                                       the Treasury shall instruct the United States executive director                                      note.
                                                                       of each international financial institution to use the voice and




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                                                                                               vote of the United States to oppose any assistance by such institu-
                                                                                               tion, using funds appropriated or otherwise made available by this
                                                                                               Act, for the production or extraction of any commodity or mineral
                                                                                               for export, if it is in surplus on world markets and if the assistance
                                                                                               will cause substantial injury to United States producers of the
                                                                                               same, similar, or competing commodity.

                                                                                                                                  SEPARATE ACCOUNTS

                                                                       Requirements.                  SEC. 7026. (a) SEPARATE ACCOUNTS FOR LOCAL CURRENCIES.—
                                                                       22 USC 2362                         (1) AGREEMENTS.—If assistance is furnished to the govern-
                                                                       note.                          ment of a foreign country under chapters 1 and 10 of part
                                                                                                      I or chapter 4 of part II of the Foreign Assistance Act of
                                                                                                      1961 under agreements which result in the generation of local
                                                                                                      currencies of that country, the Administrator of the United
                                                                                                      States Agency for International Development shall—
                                                                                                                (A) require that local currencies be deposited in a
                                                                                                           separate account established by that government;
                                                                                                                (B) enter into an agreement with that government
                                                                                                           which sets forth—
                                                                                                                     (i) the amount of the local currencies to be gen-
                                                                                                                erated; and
                                                                                                                     (ii) the terms and conditions under which the cur-
                                                                                                                rencies so deposited may be utilized, consistent with
                                                                                                                this section; and
                                                                                                                (C) establish by agreement with that government the
                                                                                                           responsibilities of USAID and that government to monitor
                                                                                                           and account for deposits into and disbursements from the
                                                                                                           separate account.
                                                                                                           (2) USES OF LOCAL CURRENCIES.—As may be agreed upon
                                                                                                      with the foreign government, local currencies deposited in a
                                                                                                      separate account pursuant to subsection (a), or an equivalent
                                                                                                      amount of local currencies, shall be used only—
                                                                                                                (A) to carry out chapter 1 or 10 of part I or chapter
                                                                                                           4 of part II of the Foreign Assistance Act of 1961 (as
                                                                                                           the case may be), for such purposes as—
                                                                                                                     (i) project and sector assistance activities; or
                                                                                                                     (ii) debt and deficit financing; or
                                                                                                                (B) for the administrative requirements of the United
                                                                                                           States Government.
                                                                                                           (3) PROGRAMMING ACCOUNTABILITY.—USAID shall take all
                                                                                                      necessary steps to ensure that the equivalent of the local cur-
                                                                                                      rencies disbursed pursuant to subsection (a)(2)(A) from the
                                                                                                      separate account established pursuant to subsection (a)(1) are
                                                                                                      used for the purposes agreed upon pursuant to subsection (a)(2).
                                                                                                           (4) TERMINATION OF ASSISTANCE PROGRAMS.—Upon termi-
                                                                                                      nation of assistance to a country under chapter 1 or 10 of
                                                                                                      part I or chapter 4 of part II of the Foreign Assistance Act
                                                                                                      of 1961 (as the case may be), any unencumbered balances
                                                                                                      of funds which remain in a separate account established pursu-
                                                                                                      ant to subsection (a) shall be disposed of for such purposes
                                                                                                      as may be agreed to by the government of that country and
                                                                                                      the United States Government.
                                                                       Notifications.                 (b) SEPARATE ACCOUNTS FOR CASH TRANSFERS.—
                                                                                                           (1) IN GENERAL.—If assistance is made available to the
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                                                                                                      government of a foreign country, under chapter 1 or 10 of
                                                                                                      part I or chapter 4 of part II of the Foreign Assistance Act




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                                                                              of 1961, as cash transfer assistance or as nonproject sector
                                                                              assistance, that country shall be required to maintain such
                                                                              funds in a separate account and not commingle with any other
                                                                              funds.
                                                                                   (2) APPLICABILITY OF OTHER PROVISIONS OF LAW.—Such
                                                                              funds may be obligated and expended notwithstanding provi-
                                                                              sions of law which are inconsistent with the nature of this
                                                                              assistance, including provisions which are referenced in the
                                                                              Joint Explanatory Statement of the Committee of Conference
                                                                              accompanying House Joint Resolution 648 (House Report No.
                                                                              98–1159).
                                                                                   (3) NOTIFICATION.—At least 15 days prior to obligating                                    Time period.
                                                                              any such cash transfer or nonproject sector assistance, the                                    President.
                                                                              President shall submit a notification through the regular
                                                                              notification procedures of the Committees on Appropriations,
                                                                              which shall include a detailed description of how the funds
                                                                              proposed to be made available will be used, with a discussion
                                                                              of the United States interests that will be served by such
                                                                              assistance (including, as appropriate, a description of the eco-
                                                                              nomic policy reforms that will be promoted by such assistance).
                                                                                   (4) EXEMPTION.—Nonproject sector assistance funds may
                                                                              be exempt from the requirements of paragraph (1) only through
                                                                              the regular notification procedures of the Committees on Appro-
                                                                              priations.

                                                                                                       ELIGIBILITY FOR ASSISTANCE

                                                                            SEC. 7027. (a) ASSISTANCE THROUGH NONGOVERNMENTAL
                                                                       ORGANIZATIONS.—Restrictions contained in this or any other Act                                        Notifications.
                                                                       with respect to assistance for a country shall not be construed
                                                                       to restrict assistance in support of programs of nongovernmental
                                                                       organizations from funds appropriated by this Act to carry out
                                                                       the provisions of chapters 1, 10, 11, and 12 of part I and chapter
                                                                       4 of part II of the Foreign Assistance Act of 1961 and from funds
                                                                       appropriated under the heading ‘‘Assistance for Europe, Eurasia
                                                                       and Central Asia’’: Provided, That before using the authority of                                      President.
                                                                       this subsection to furnish assistance in support of programs of
                                                                       nongovernmental organizations, the President shall notify the
                                                                       Committees on Appropriations pursuant to the regular notification
                                                                       procedures, including a description of the program to be assisted,
                                                                       the assistance to be provided, and the reasons for furnishing such
                                                                       assistance: Provided further, That nothing in this subsection shall                                   Abortion.
                                                                       be construed to alter any existing statutory prohibitions against                                     Sterilization.
                                                                       abortion or involuntary sterilizations contained in this or any other
                                                                       Act.
                                                                            (b) PUBLIC LAW 480.—During fiscal year 2024, restrictions con-
                                                                       tained in this or any other Act with respect to assistance for
                                                                       a country shall not be construed to restrict assistance under the
                                                                       Food for Peace Act (Public Law 83–480; 7 U.S.C. 1721 et seq.):
                                                                       Provided, That none of the funds appropriated to carry out title
                                                                       I of such Act and made available pursuant to this subsection may
                                                                       be obligated or expended except as provided through the regular
                                                                       notification procedures of the Committees on Appropriations.
                                                                            (c) EXCEPTION.—This section shall not apply—
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                                                                                 (1) with respect to section 620A of the Foreign Assistance
                                                                            Act of 1961 or any comparable provision of law prohibiting




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                                                                                                      assistance to countries that support international terrorism;
                                                                                                      or
                                                                                                          (2) with respect to section 116 of the Foreign Assistance
                                                                                                      Act of 1961 or any comparable provision of law prohibiting
                                                                                                      assistance to the government of a country that violates inter-
                                                                                                      nationally recognized human rights.
                                                                                                           PROMOTION OF UNITED STATES ECONOMIC INTERESTS

                                                                                                    SEC. 7028. (a) DIPLOMATIC ENGAGEMENT.—Consistent with sec-
                                                                                               tion 704 of the Championing American Business Through Diplomacy
                                                                                               Act of 2019 (title VII of division J of Public Law 116–94), the
                                                                                               Secretary of State, in consultation with the Secretary of Commerce,
                                                                                               should prioritize the allocation of funds appropriated by this Act
                                                                                               under the heading ‘‘Diplomatic Programs’’ for support of Chief of
                                                                                               Mission diplomatic engagement to foster commercial relations and
                                                                                               safeguard United States economic and business interests in the
                                                                                               country in which each Chief of Mission serves, including activities
                                                                                               and initiatives to create and maintain an enabling environment,
                                                                                               promote and protect such interests, and resolve commercial dis-
                                                                                               putes: Provided, That each Mission Resource Request and Bureau
                                                                                               Resource Request shall include amounts required to prioritize the
                                                                                               activities described in this subsection.
                                                                       Assessment.                  (b) TRAINING.—In carrying out section 705 of title VII of division
                                                                       Review.                 J of Public Law 116–94, the Secretary of State shall annually
                                                                       22 USC 4028             assess training needs across the economic and commercial diplo-
                                                                       note.
                                                                                               macy issue areas and ensure, after a review of course offerings,
                                                                                               course attendance records, and course evaluation results, that cur-
                                                                                               rent offerings meet training needs.
                                                                                                    (c) ASSISTANCE.—The Secretary of State should direct each
                                                                                               Chief of Mission to consider how best to advance and support
                                                                                               commercial relations and the safeguarding of United States business
                                                                                               interests in the development and execution of the applicable
                                                                                               Integrated Country Strategy and the Mission Resource Request
                                                                                               for each country receiving bilateral assistance from funds appro-
                                                                                               priated by this Act.
                                                                                                                    INTERNATIONAL FINANCIAL INSTITUTIONS

                                                                       Public                       SEC. 7029. (a) EVALUATIONS.—The Secretary of the Treasury
                                                                       information.            shall instruct the United States executive director of each inter-
                                                                                               national financial institution to use the voice of the United States
                                                                                               to encourage such institution to adopt and implement a publicly
                                                                                               available policy, including the strategic use of peer reviews and
                                                                                               external experts, to conduct independent, in-depth evaluations of
                                                                                               the effectiveness of at least 35 percent of all loans, grants, programs,
                                                                                               and significant analytical non-lending activities in advancing the
                                                                                               institution’s goals of reducing poverty and promoting equitable eco-
                                                                                               nomic growth, consistent with relevant safeguards, to ensure that
                                                                                               decisions to support such loans, grants, programs, and activities
                                                                                               are based on accurate data and objective analysis.
                                                                                                    (b) SAFEGUARDS.—
                                                                                                         (1) STANDARD.—The Secretary of the Treasury shall
                                                                                                    instruct the United States Executive Director of the Inter-
                                                                                                    national Bank for Reconstruction and Development and the
                                                                                                    International Development Association to use the voice and
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                                                                                                    vote of the United States to oppose any loan, grant, policy,
                                                                                                    or strategy if such institution has adopted and is implementing




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                                                                            any social or environmental safeguard relevant to such loan,
                                                                            grant, policy, or strategy that provides less protection than
                                                                            World Bank safeguards in effect on September 30, 2015.
                                                                                 (2) ACCOUNTABILITY, STANDARDS, AND BEST PRACTICES.—
                                                                            The Secretary of the Treasury shall instruct the United States
                                                                            executive director of each international financial institution
                                                                            to use the voice and vote of the United States to oppose loans
                                                                            or other financing for projects unless such projects—
                                                                                      (A) provide for accountability and transparency,
                                                                                 including the collection, verification, and publication of
                                                                                 beneficial ownership information related to extractive
                                                                                 industries and on-site monitoring during the life of the
                                                                                 project;
                                                                                      (B) will be developed and carried out in accordance
                                                                                 with best practices regarding environmental conservation,
                                                                                 cultural protection, and empowerment of local populations,
                                                                                 including free, prior and informed consent of affected
                                                                                 Indigenous communities;
                                                                                      (C) do not provide incentives for, or facilitate, forced                               Human rights.
                                                                                 displacement or other violations of human rights; and
                                                                                      (D) do not partner with or otherwise involve enterprises
                                                                                 owned or controlled by the armed forces.
                                                                            (c) COMPENSATION.—None of the funds appropriated under title
                                                                       V of this Act may be made as payment to any international financial
                                                                       institution while the United States executive director to such
                                                                       institution is compensated by the institution at a rate which,
                                                                       together with whatever compensation such executive director
                                                                       receives from the United States, is in excess of the rate provided
                                                                       for an individual occupying a position at level IV of the Executive
                                                                       Schedule under section 5315 of title 5, United States Code, or
                                                                       while any alternate United States executive director to such institu-
                                                                       tion is compensated by the institution at a rate in excess of the
                                                                       rate provided for an individual occupying a position at level V
                                                                       of the Executive Schedule under section 5316 of title 5, United
                                                                       States Code.
                                                                            (d) HUMAN RIGHTS.—The Secretary of the Treasury shall
                                                                       instruct the United States executive director of each international
                                                                       financial institution to use the voice and vote of the United States
                                                                       to promote human rights due diligence and risk management, as
                                                                       appropriate, in connection with any loan, grant, policy, or strategy
                                                                       of such institution in accordance with the requirements specified
                                                                       under this section in Senate Report 118–71.
                                                                            (e) FRAUD AND CORRUPTION.—The Secretary of the Treasury
                                                                       shall instruct the United States executive director of each inter-
                                                                       national financial institution to use the voice of the United States
                                                                       to include in loan, grant, and other financing agreements improve-
                                                                       ments in borrowing countries’ financial management and judicial
                                                                       capacity to investigate, prosecute, and punish fraud and corruption.
                                                                            (f) BENEFICIAL OWNERSHIP INFORMATION.—The Secretary of the
                                                                       Treasury shall instruct the United States executive director of
                                                                       each international financial institution to use the voice of the United
                                                                       States to encourage such institution to collect, verify, and publish,
                                                                       to the maximum extent practicable, beneficial ownership informa-
                                                                       tion (excluding proprietary information) for any corporation or lim-
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                                                                       ited liability company, other than a publicly listed company, that
                                                                       receives funds from any such financial institution.




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                                                                                                    (g) WHISTLEBLOWER PROTECTIONS.—The Secretary of the
                                                                                               Treasury shall instruct the United States executive director of
                                                                                               each international financial institution to use the voice of the United
                                                                                               States to encourage such institution to effectively implement and
                                                                                               enforce policies and procedures which meet or exceed best practices
                                                                                               in the United States for the protection of whistleblowers from
                                                                                               retaliation, including—
                                                                                                         (1) protection against retaliation for internal and lawful
                                                                                                    public disclosure;
                                                                                                         (2) legal burdens of proof;
                                                                                                         (3) statutes of limitation for reporting retaliation;
                                                                                                         (4) access to binding independent adjudicative bodies,
                                                                                                    including shared cost and selection external arbitration; and
                                                                                                         (5) results that eliminate the effects of proven retaliation,
                                                                                                    including provision for the restoration of prior employment.
                                                                                                    (h) GRIEVANCE MECHANISMS AND PROCEDURES.—The Secretary
                                                                                               of the Treasury shall instruct the United States executive director
                                                                                               of each international financial institution to use the voice of the
                                                                                               United States to support independent investigative and adjudicative
                                                                                               mechanisms and procedures that meet or exceed best practices
                                                                                               in the United States to provide due process and fair compensation,
                                                                                               including the right to reinstatement, for employees who are sub-
                                                                                               jected to harassment, discrimination, retaliation, false allegations,
                                                                                               or other misconduct.
                                                                       President.                   (i) CAPITAL INCREASES.—None of the funds appropriated by
                                                                       Budget request.         this Act may be made available to support a new capital increase
                                                                       Determination.          for an international financial institution unless the President sub-
                                                                       Reports.
                                                                                               mits a budget request for such increase to Congress and the Sec-
                                                                                               retary of the Treasury determines and reports to the Committees
                                                                                               on Appropriations that—
                                                                                                         (1) the institution has completed a thorough analysis of
                                                                                                    the development challenges facing the relevant geographical
                                                                                                    region, the role of the institution in addressing such challenges
                                                                                                    and its role relative to other financing partners, and the steps
                                                                                                    to be taken to enhance the efficiency and effectiveness of the
                                                                                                    institution; and
                                                                                                         (2) the governors of such institution have approved the
                                                                                                    capital increase.
                                                                       China.                       (j) REPORT.—Not later than 120 days after the date of enact-
                                                                                               ment of this Act, the Secretary of the Treasury shall submit a
                                                                                               report to the Committees on Appropriations detailing any funding
                                                                                               provided in the prior calendar year by a financial intermediary
                                                                                               fund overseen by the Department of the Treasury to the People’s
                                                                                               Republic of China or any country or region subject to comprehensive
                                                                                               sanctions by the United States.

                                                                                                                            ECONOMIC RESILIENCE INITIATIVE

                                                                                                    SEC. 7030. (a) ASSISTANCE.—Funds appropriated by this Act
                                                                                               under the heading ‘‘Economic Support Fund’’ shall be made avail-
                                                                                               able for the Economic Resilience Initiative to enhance the economic
                                                                                               security and stability of the United States and partner countries,
                                                                                               including through efforts to counter economic coercion: Provided,
                                                                                               That such funds are in addition to funds otherwise made available
                                                                                               for such purposes by this Act, including funds made available
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                                                                                               under the heading ‘‘Treasury International Assistance Programs’’:
                                                                       Consultation.           Provided further, That funds made available by this subsection
                                                                       Notification.




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                                                                       may only be made available following consultation with, and the
                                                                       regular notification procedures of, the Committees on Appropria-
                                                                       tions, and shall include—
                                                                                 (1) not less than $55,000,000 for strategic infrastructure
                                                                            investments, which shall be administered by the Secretary
                                                                            of State in consultation with the heads of other relevant Federal
                                                                            agencies: Provided, That such funds may be transferred to,                                       Transfer
                                                                            and merged with, funds appropriated by this Act to the Export-                                   authority.
                                                                            Import Bank of the United States under the heading ‘‘Program
                                                                            Account’’, to the United States International Development
                                                                            Finance Corporation under the heading ‘‘Corporate Capital
                                                                            Account’’, and under the heading ‘‘Trade and Development
                                                                            Agency’’: Provided further, That such transfer authority is in                                   Notification.
                                                                            addition to any other transfer authority provided by this Act
                                                                            or any other Act, and is subject to the regular notification
                                                                            procedures of the Committees on Appropriations;
                                                                                 (2) not less than $50,000,000 to enhance critical mineral
                                                                            supply chain security;
                                                                                 (3) not less than $60,000,000 for economic resilience pro-
                                                                            grams administered by the Administrator of the United States
                                                                            Agency for International Development, consistent with the
                                                                            strategy required in subsection (d); and
                                                                                 (4) not less than $50,000,000 for the Cyberspace, Digital
                                                                            Connectivity, and Related Technologies Fund in accordance
                                                                            with Chapter 10 of Part II of the Foreign Assistance Act of
                                                                            1961: Provided, That the authority of section 592(f) of such                                     Applicability.
                                                                            Act may apply to amounts made available for such Fund under
                                                                            the heading ‘‘Economic Support Fund’’ and such funds may
                                                                            be made available for the Digital Connectivity and Cybersecu-
                                                                            rity Partnership program consistent with section 6306 of the
                                                                            Department of State Authorization Act of 2023 (division F
                                                                            of Public Law 118–31): Provided further, That funds made
                                                                            available pursuant to this paragraph are in addition to funds
                                                                            otherwise made available for such purposes and shall be coordi-
                                                                            nated with the USAID Administrator, including for relevant
                                                                            USAID programming.
                                                                            (b) LOAN GUARANTEES.—Funds appropriated under the                                                Foreign
                                                                       headings ‘‘Economic Support Fund’’ and ‘‘Assistance for Europe,                                       countries.
                                                                       Eurasia and Central Asia’’ by this Act and prior Acts making
                                                                       appropriations for the Department of State, foreign operations, and
                                                                       related programs, including funds made available pursuant to this
                                                                       section, may be made available for the costs, as defined in section
                                                                       502 of the Congressional Budget Act of 1974, of loan guarantees
                                                                       for Egypt, Jordan, Small Island Developing States, and Ukraine,
                                                                       which are authorized to be provided and which shall be adminis-
                                                                       tered by the United States Agency for International Development
                                                                       unless otherwise provided for by this Act or any other provision
                                                                       of law: Provided, That amounts made available under this sub-
                                                                       section for the costs of such guarantees shall not be considered
                                                                       assistance for the purposes of provisions of law limiting assistance
                                                                       to a country: Provided further, That funds made available pursuant                                    Requirement.
                                                                       to the authorities of this subsection shall be subject to prior con-                                  Consultation.
                                                                       sultation with the appropriate congressional committees and the                                       Notification.
                                                                       regular notification procedures of the Committees on Appropria-
                                                                       tions.
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                                                                            (c) CHIPS FOR AMERICA INTERNATIONAL TECHNOLOGY SECURITY                                          Allocations.
                                                                       AND INNOVATION FUND.—




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                                                                       Deadline.                        (1) Within 45 days of enactment of this Act, the Secretary
                                                                                                   of State shall allocate amounts made available from the Cre-
                                                                                                   ating Helpful Incentives to Produce Semiconductors (CHIPS)
                                                                                                   for America International Technology Security and Innovation
                                                                                                   Fund for fiscal year 2024 pursuant to the transfer authority
                                                                                                   in section 102(c)(1) of the CHIPS Act of 2022 (division A of
                                                                                                   Public Law 117–167), to the accounts specified and in the
                                                                                                   amounts specified, in the table titled ‘‘CHIPS for America Inter-
                                                                                                   national Technology Security and Innovation Fund’’ in the
                                                                                                   explanatory statement described in section 4 (in the matter
                                                                       Requirement.                preceding division A of this consolidated Act): Provided, That
                                                                       Consultation.               such funds shall be subject to prior consultation with, and
                                                                       Notification.
                                                                                                   the regular notification procedures of, the Committees on
                                                                                                   Appropriations.
                                                                       President.                       (2) Neither the President nor his designee may allocate
                                                                                                   any amounts that are made available for any fiscal year under
                                                                                                   section 102(c)(2) of the CHIPS Act of 2022 if there is in effect
                                                                                                   an Act making or continuing appropriations for part of a fiscal
                                                                                                   year for the Department of State, Foreign Operations, and
                                                                                                   Related Programs: Provided, That in any fiscal year, the matter
                                                                                                   preceding this proviso shall not apply to the allocation, appor-
                                                                                                   tionment, or allotment of amounts for continuing administra-
                                                                                                   tion of programs allocated using funds transferred from the
                                                                                                   CHIPS for America International Technology Security and
                                                                                                   Innovation Fund, which may be allocated pursuant to the
                                                                                                   transfer authority in section 102(c)(1) of the CHIPS Act of
                                                                                                   2022 only in amounts that are no more than the allocation
                                                                                                   for such purposes in paragraph (1) of this subsection.
                                                                                                        (3) Concurrent with the annual budget submission of the
                                                                                                   President for fiscal year 2025, the Secretary of State shall
                                                                                                   submit to the Committees on Appropriations proposed alloca-
                                                                                                   tions by account and by program, project, or activity, with
                                                                                                   detailed justifications, for amounts made available under sec-
                                                                                                   tion 102(c)(2) of the CHIPS Act of 2022 for fiscal year 2025.
                                                                       Time period.                     (4) The Secretary of State shall provide the Committees
                                                                       Reports.                    on Appropriations quarterly reports on the status of balances
                                                                                                   of projects and activities funded by the CHIPS for America
                                                                                                   International Technology Security and Innovation Fund for
                                                                                                   amounts allocated pursuant to paragraph (1) of this subsection,
                                                                                                   including all uncommitted, committed, and unobligated funds.
                                                                       Loans.                           (5) Amounts transferred to the Export-Import Bank and
                                                                                                   the United States International Development Finance Corpora-
                                                                                                   tion pursuant to the transfer authority in section 102(c)(1)
                                                                                                   of the CHIPS Act of 2022 (division A of Public Law 117–
                                                                                                   167) may be made available for the costs of direct loans and
                                                                                                   loan guarantees, including the cost of modifying such loans,
                                                                                                   as defined in section 502 of the Congressional Budget Act
                                                                                                   of 1974.
                                                                       Deadline.                   (d) STRATEGY.—Not later than 90 days after the date of enact-
                                                                       Consultation.           ment of this Act and following consultation with the Committees
                                                                                               on Appropriations, the Secretary of State, Secretary of the Treasury,
                                                                                               and USAID Administrator, in consultation with the heads of other
                                                                                               relevant Federal agencies, shall jointly submit a strategy to the
                                                                                               Committees on Appropriations detailing the planned uses of funds
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                                                                                               provided by this Act, prior Acts making appropriations for the
                                                                                               Department of State, foreign operations, and related programs,




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                                                                       and other Acts, consistent with the purposes of this section,
                                                                       including through cooperation with the private sector.

                                                                             FINANCIAL MANAGEMENT, BUDGET TRANSPARENCY, AND ANTI-
                                                                                                 CORRUPTION

                                                                          SEC. 7031. (a) LIMITATION ON DIRECT GOVERNMENT-TO-GOVERN-
                                                                       MENT ASSISTANCE.—
                                                                              (1) REQUIREMENTS.—Funds appropriated by this Act may
                                                                              be made available for direct government-to-government assist-
                                                                              ance only if—
                                                                                        (A) the requirements included in section 7031(a)(1)(A)
                                                                                   through (E) of the Department of State, Foreign Operations,
                                                                                   and Related Programs Appropriations Act, 2019 (division
                                                                                   F of Public Law 116–6) are fully met; and
                                                                                        (B) the government of the recipient country is taking
                                                                                   steps to reduce corruption.
                                                                                   (2) CONSULTATION AND NOTIFICATION.—In addition to the
                                                                              requirements in paragraph (1), funds may only be made avail-
                                                                              able for direct government-to-government assistance subject to
                                                                              prior consultation with, and the regular notification procedures
                                                                              of, the Committees on Appropriations: Provided, That such
                                                                              notification shall contain an explanation of how the proposed
                                                                              activity meets the requirements of paragraph (1): Provided
                                                                              further, That the requirements of this paragraph shall only                                    Applicability.
                                                                              apply to direct government-to-government assistance in excess
                                                                              of $10,000,000 and all funds available for cash transfer, budget
                                                                              support, and cash payments to individuals.
                                                                                   (3) SUSPENSION OF ASSISTANCE.—The Administrator of the                                    Reports.
                                                                              United States Agency for International Development or the
                                                                              Secretary of State, as appropriate, shall suspend any direct
                                                                              government-to-government assistance if the Administrator or
                                                                              the Secretary has credible information of material misuse of
                                                                              such assistance, unless the Administrator or the Secretary
                                                                              reports to the Committees on Appropriations that it is in the
                                                                              national interest of the United States to continue such assist-
                                                                              ance, including a justification, or that such misuse has been
                                                                              appropriately addressed.
                                                                                   (4) SUBMISSION OF INFORMATION.—The Secretary of State
                                                                              shall submit to the Committees on Appropriations, concurrent
                                                                              with the fiscal year 2025 congressional budget justification
                                                                              materials, amounts planned for assistance described in para-
                                                                              graph (1) by country, proposed funding amount, source of funds,
                                                                              and type of assistance.
                                                                                   (5) DEBT SERVICE PAYMENT PROHIBITION.—None of the                                         China.
                                                                              funds made available by this Act may be used by the govern-
                                                                              ment of any foreign country for debt service payments owed
                                                                              by any country to any international financial institution or
                                                                              to the Government of the People’s Republic of China.
                                                                              (b) NATIONAL BUDGET AND CONTRACT TRANSPARENCY.—                                                Updates.
                                                                                   (1) MINIMUM REQUIREMENTS OF FISCAL TRANSPARENCY.—
                                                                              The Secretary of State shall continue to update and strengthen
                                                                              the ‘‘minimum requirements of fiscal transparency’’ for each
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                                                                              government receiving assistance appropriated by this Act, as
                                                                              identified in the report required by section 7031(b) of the




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                                                                                                      Department of State, Foreign Operations, and Related Pro-
                                                                                                      grams Appropriations Act, 2014 (division K of Public Law 113–
                                                                                                      76).
                                                                       Public                              (2) DETERMINATION AND REPORT.—For each government
                                                                       information.                   identified pursuant to paragraph (1), the Secretary of State,
                                                                       Web posting.                   not later than 180 days after the date of enactment of this
                                                                                                      Act, shall make or update any determination of ‘‘significant
                                                                                                      progress’’ or ‘‘no significant progress’’ in meeting the minimum
                                                                                                      requirements of fiscal transparency, and make such determina-
                                                                                                      tions publicly available in an annual ‘‘Fiscal Transparency
                                                                                                      Report’’ to be posted on the Department of State website: Pro-
                                                                                                      vided, That such report shall include the elements included
                                                                                                      under this section in House Report 118–146.
                                                                                                           (3) ASSISTANCE.—Not less than $7,000,000 of the funds
                                                                                                      appropriated by this Act under the heading ‘‘Economic Support
                                                                                                      Fund’’ shall be made available for programs and activities
                                                                                                      to assist governments identified pursuant to paragraph (1) to
                                                                                                      improve budget transparency and to support civil society
                                                                                                      organizations in such countries that promote budget trans-
                                                                                                      parency.
                                                                       8 USC 1182 note.               (c) ANTI-KLEPTOCRACY AND HUMAN RIGHTS.—
                                                                                                           (1) INELIGIBILITY.—
                                                                                                                (A) Officials of foreign governments and their imme-
                                                                                                           diate family members about whom the Secretary of State
                                                                                                           has credible information have been involved, directly or
                                                                                                           indirectly, in significant corruption, including corruption
                                                                                                           related to the extraction of natural resources, or a gross
                                                                                                           violation of human rights, including the wrongful detention
                                                                                                           of locally employed staff of a United States diplomatic
                                                                                                           mission or a United States citizen or national, shall be
                                                                                                           ineligible for entry into the United States.
                                                                       Determination.                           (B) Concurrent with the application of subparagraph
                                                                                                           (A), the Secretary shall, as appropriate, refer the matter
                                                                                                           to the Office of Foreign Assets Control, Department of
                                                                                                           the Treasury, to determine whether to apply sanctions
                                                                                                           authorities in accordance with United States law to block
                                                                                                           the transfer of property and interests in property, and
                                                                                                           all financial transactions, in the United States involving
                                                                                                           any person described in such subparagraph.
                                                                                                                (C) The Secretary shall also publicly or privately des-
                                                                                                           ignate or identify the officials of foreign governments and
                                                                                                           their immediate family members about whom the Secretary
                                                                                                           has such credible information without regard to whether
                                                                                                           the individual has applied for a visa.
                                                                                                           (2) EXCEPTION.—Individuals shall not be ineligible for entry
                                                                                                      into the United States pursuant to paragraph (1) if such entry
                                                                                                      would further important United States law enforcement objec-
                                                                                                      tives or is necessary to permit the United States to fulfill
                                                                                                      its obligations under the United Nations Headquarters Agree-
                                                                                                      ment: Provided, That nothing in paragraph (1) shall be con-
                                                                                                      strued to derogate from United States Government obligations
                                                                                                      under applicable international agreements.
                                                                       Determination.                      (3) WAIVER.—The Secretary may waive the application of
                                                                                                      paragraph (1) if the Secretary determines that the waiver would
                                                                                                      serve a compelling national interest or that the circumstances
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                                                                                                      which caused the individual to be ineligible have changed suffi-
                                                                                                      ciently.




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                                                                                   (4) REPORT.—Not later than 30 days after the date of                                      Time periods.
                                                                              enactment of this Act, and every 90 days thereafter until Sep-                                 Termination
                                                                                                                                                                             date.
                                                                              tember 30, 2025, the Secretary of State shall submit a report,                                 Classified
                                                                              including a classified annex if necessary, to the appropriate                                  information.
                                                                              congressional committees and the Committees on the Judiciary                                   List.
                                                                              describing the information related to corruption or violation
                                                                              of human rights concerning each of the individuals found ineli-
                                                                              gible in the previous 12 months pursuant to paragraph (1)(A)
                                                                              as well as the individuals who the Secretary designated or
                                                                              identified pursuant to paragraph (1)(B), or who would be ineli-
                                                                              gible but for the application of paragraph (2), a list of any
                                                                              waivers provided under paragraph (3), and the justification
                                                                              for each waiver.
                                                                                   (5) POSTING OF REPORT.—Any unclassified portion of the
                                                                              report required under paragraph (4) shall be posted on the
                                                                              Department of State website.
                                                                                   (6) CLARIFICATION.—For purposes of paragraphs (1), (4),
                                                                              and (5), the records of the Department of State and of diplo-
                                                                              matic and consular offices of the United States pertaining to
                                                                              the issuance or refusal of visas or permits to enter the United
                                                                              States shall not be considered confidential.
                                                                              (d) EXTRACTION OF NATURAL RESOURCES.—
                                                                                   (1) ASSISTANCE.—Funds appropriated by this Act shall be
                                                                              made available to promote and support transparency and
                                                                              accountability of expenditures and revenues related to the
                                                                              extraction of natural resources, including by strengthening
                                                                              implementation and monitoring of the Extractive Industries
                                                                              Transparency Initiative, implementing and enforcing section
                                                                              8204 of the Food, Conservation, and Energy Act of 2008 (Public
                                                                              Law 110–246; 122 Stat. 2052) and the amendments made by
                                                                              such section, and to prevent the sale of conflict minerals, and
                                                                              for technical assistance to promote independent audit mecha-
                                                                              nisms and support civil society participation in natural resource
                                                                              management.
                                                                                   (2) PUBLIC DISCLOSURE AND INDEPENDENT AUDITS.—
                                                                                        (A) The Secretary of the Treasury shall instruct the
                                                                                   executive director of each international financial institution
                                                                                   to use the voice and vote of the United States to oppose
                                                                                   any assistance by such institutions (including any loan,
                                                                                   credit, grant, or guarantee) to any country for the extraction
                                                                                   and export of a natural resource if the government of
                                                                                   such country has in place laws, regulations, or procedures
                                                                                   to prevent or limit the public disclosure of company pay-
                                                                                   ments as required by United States law, and unless such
                                                                                   government has adopted laws, regulations, or procedures
                                                                                   in the sector in which assistance is being considered that:
                                                                                   (1) accurately account for and publicly disclose payments
                                                                                   to the government by companies involved in the extraction
                                                                                   and export of natural resources; (2) include independent
                                                                                   auditing of accounts receiving such payments and the
                                                                                   public disclosure of such audits; and (3) require public
                                                                                   disclosure of agreement and bidding documents, as appro-
                                                                                   priate.
                                                                                        (B) The requirements of subparagraph (A) shall not
                                                                                   apply to assistance for the purpose of building the capacity
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                                                                                   of such government to meet the requirements of such
                                                                                   subparagraph.




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                                                                                                   (e) FOREIGN ASSISTANCE WEBSITE.—Funds appropriated by this
                                                                                               Act under titles I and II, and funds made available for any inde-
                                                                                               pendent agency in title III, as appropriate, shall be made available
                                                                                               to support the provision of additional information on United States
                                                                                               Government foreign assistance on the ‘‘ForeignAssistance.gov’’
                                                                                               website: Provided, That all Federal agencies funded under this
                                                                                               Act shall provide such information on foreign assistance, upon
                                                                                               request and in a timely manner, to the Department of State and
                                                                                               the United States Agency for International Development.

                                                                                                                                DEMOCRACY PROGRAMS

                                                                                                   SEC. 7032. (a) FUNDING.—
                                                                                                        (1) IN GENERAL.—Of the funds appropriated by this Act
                                                                                                   under the headings ‘‘Development Assistance’’, ‘‘Economic Sup-
                                                                                                   port Fund’’, ‘‘Democracy Fund’’, ‘‘Assistance for Europe, Eurasia
                                                                                                   and Central Asia’’, and ‘‘International Narcotics Control and
                                                                                                   Law Enforcement’’, $2,900,000,000 should be made available
                                                                                                   for democracy programs.
                                                                                                        (2) PROGRAMS.—Of the funds made available for democracy
                                                                                                   programs under the headings ‘‘Economic Support Fund’’ and
                                                                                                   ‘‘Assistance for Europe, Eurasia and Central Asia’’ pursuant
                                                                                                   to paragraph (1), not less than $117,040,000 shall be made
                                                                                                   available to the Bureau of Democracy, Human Rights, and
                                                                                                   Labor, Department of State.
                                                                                                   (b) AUTHORITIES.—
                                                                                                        (1) AVAILABILITY.—Funds made available by this Act for
                                                                                                   democracy programs pursuant to subsection (a) and under the
                                                                                                   heading ‘‘National Endowment for Democracy’’ may be made
                                                                                                   available notwithstanding any other provision of law, and with
                                                                                                   regard to the National Endowment for Democracy (NED), any
                                                                                                   regulation.
                                                                                                        (2) BENEFICIARIES.—Funds made available by this Act for
                                                                                                   the NED are made available pursuant to the authority of
                                                                                                   the National Endowment for Democracy Act (title V of Public
                                                                                                   Law 98–164), including all decisions regarding the selection
                                                                                                   of beneficiaries.
                                                                                                   (c) DEFINITION OF DEMOCRACY PROGRAMS.—For purposes of
                                                                                               funds appropriated by this Act, the term ‘‘democracy programs’’
                                                                                               means programs that support good governance, credible and
                                                                                               competitive elections, freedom of expression, association, assembly,
                                                                                               and religion, human rights, labor rights, independent media, and
                                                                                               the rule of law, and that otherwise strengthen the capacity of
                                                                                               democratic political parties, governments, nongovernmental
                                                                                               organizations and institutions, and citizens to support the develop-
                                                                                               ment of democratic states and institutions that are responsive and
                                                                                               accountable to citizens.
                                                                                                   (d) PROGRAM PRIORITIZATION.—Funds made available pursuant
                                                                                               to subsection (a) to strengthen ministries and agencies should be
                                                                                               prioritized in countries that demonstrate a strong commitment to
                                                                                               the separation of powers, checks and balances, the rule of law,
                                                                                               and credible electoral processes.
                                                                                                   (e) RESTRICTIONS ON FOREIGN GOVERNMENT INTERFERENCE.—
                                                                                                        (1) PRIOR APPROVAL.—With respect to the provision of
                                                                                                   assistance for democracy programs in this Act, the organiza-
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                                                                                                   tions implementing such assistance, the specific nature of the
                                                                                                   assistance, and the participants in such programs shall not




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                                                                            be subject to prior approval by the government of any foreign
                                                                            country.
                                                                                 (2) DISCLOSURE OF IMPLEMENTING PARTNER INFORMATION.—
                                                                            If the Secretary of State, in consultation with the Administrator                                Determination.
                                                                            of the United States Agency for International Development,                                       Negotiation.
                                                                            determines that the government of the country is undemocratic
                                                                            or has engaged in or condoned harassment, threats, or attacks
                                                                            against organizations implementing democracy programs, any
                                                                            new bilateral agreement governing the terms and conditions
                                                                            under which assistance is provided to such country shall not
                                                                            require the disclosure of the names of implementing partners
                                                                            of democracy programs, and the Secretary of State and the
                                                                            USAID Administrator shall expeditiously seek to negotiate
                                                                            amendments to existing bilateral agreements, as necessary,
                                                                            to conform to this requirement.
                                                                            (f) CONTINUATION OF CURRENT PRACTICES.—USAID shall con-
                                                                       tinue to implement civil society and political competition and con-
                                                                       sensus building programs abroad with funds appropriated by this
                                                                       Act in a manner that recognizes the unique benefits of grants
                                                                       and cooperative agreements in implementing such programs.
                                                                            (g) PROTECTION OF CIVIL SOCIETY ACTIVISTS AND JOURNAL-
                                                                       ISTS.—Funds appropriated by this Act under the headings ‘‘Eco-
                                                                       nomic Support Fund’’ and ‘‘Democracy Fund’’ shall be made avail-
                                                                       able to support and protect civil society activists and journalists
                                                                       who have been threatened, harassed, or attacked, including journal-
                                                                       ists affiliated with the United States Agency for Global Media.
                                                                            (h) INTERNATIONAL FREEDOM OF EXPRESSION AND INDEPENDENT
                                                                       MEDIA.—Funds appropriated by this Act under the heading ‘‘Eco-
                                                                       nomic Support Fund’’ shall be made available for programs to
                                                                       protect international freedom of expression and independent media,
                                                                       including through multilateral initiatives.

                                                                                                INTERNATIONAL RELIGIOUS FREEDOM

                                                                            SEC. 7033. (a) INTERNATIONAL RELIGIOUS FREEDOM OFFICE.—
                                                                       Funds appropriated by this Act under the heading ‘‘Diplomatic
                                                                       Programs’’ shall be made available for the Office of International
                                                                       Religious Freedom, Department of State.
                                                                            (b) ASSISTANCE.—Funds appropriated by this Act under the
                                                                       headings ‘‘Economic Support Fund’’, ‘‘Democracy Fund’’, and ‘‘Inter-
                                                                       national Broadcasting Operations’’ shall be made available for inter-
                                                                       national religious freedom programs and funds appropriated by
                                                                       this Act under the headings ‘‘International Disaster Assistance’’
                                                                       and ‘‘Migration and Refugee Assistance’’ shall be made available
                                                                       for humanitarian assistance for vulnerable and persecuted ethnic
                                                                       and religious minorities: Provided, That funds made available by                                      Requirement.
                                                                       this Act under the headings ‘‘Economic Support Fund’’ and ‘‘Democ-                                    Consultation.
                                                                       racy Fund’’ pursuant to this section shall be the responsibility
                                                                       of the Ambassador-at-Large for International Religious Freedom,
                                                                       in consultation with other relevant United States Government offi-
                                                                       cials, and shall be subject to prior consultation with the Committees
                                                                       on Appropriations.
                                                                            (c) AUTHORITY.—Funds appropriated by this Act and prior Acts
                                                                       making appropriations for the Department of State, foreign oper-
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                                                                       ations, and related programs under the heading ‘‘Economic Support
                                                                       Fund’’ may be made available notwithstanding any other provision




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                                                                                               of law for assistance for ethnic and religious minorities in Iraq
                                                                                               and Syria.
                                                                       Extension.                  (d) DESIGNATION OF NON-STATE ACTORS.—Section 7033(e) of
                                                                                               the Department of State, Foreign Operations, and Related Programs
                                                                                               Appropriations Act, 2017 (division J of Public Law 115–31) shall
                                                                                               continue in effect during fiscal year 2024.

                                                                                                                                  SPECIAL PROVISIONS

                                                                                                    SEC. 7034. (a) VICTIMS OF WAR, DISPLACED CHILDREN, AND
                                                                                               DISPLACED BURMESE.—Funds appropriated in title III of this Act
                                                                                               that are made available for victims of war, displaced children,
                                                                                               displaced Burmese, and to combat trafficking in persons and assist
                                                                                               victims of such trafficking may be made available notwithstanding
                                                                                               any other provision of law.
                                                                                                    (b) FORENSIC ASSISTANCE.—
                                                                                                         (1) Of the funds appropriated by this Act under the heading
                                                                                                    ‘‘Economic Support Fund’’, not less than $20,000,000 shall be
                                                                                                    made available for forensic anthropology assistance related to
                                                                                                    the exhumation and identification of victims of war crimes,
                                                                                                    crimes against humanity, and genocide, which shall be adminis-
                                                                                                    tered by the Assistant Secretary for Democracy, Human Rights,
                                                                                                    and Labor, Department of State: Provided, That such funds
                                                                                                    shall be in addition to funds made available by this Act and
                                                                                                    prior Acts making appropriations for the Department of State,
                                                                                                    foreign operations, and related programs for assistance for coun-
                                                                                                    tries.
                                                                                                         (2) Of the funds appropriated by this Act under the heading
                                                                                                    ‘‘International Narcotics Control and Law Enforcement’’, not
                                                                                                    less than $10,000,000 shall be made available for DNA forensic
                                                                                                    technology programs to combat human trafficking in Central
                                                                                                    America and Mexico.
                                                                                                    (c) WORLD FOOD PROGRAMME.—Funds managed by the Bureau
                                                                                               for Humanitarian Assistance, United States Agency for Inter-
                                                                                               national Development, from this or any other Act that remain
                                                                                               available for obligation may be made available as a general con-
                                                                                               tribution to the World Food Programme.
                                                                                                    (d) DIRECTIVES AND AUTHORITIES.—
                                                                                                         (1) RESEARCH AND TRAINING.—Funds appropriated by this
                                                                                                    Act under the heading ‘‘Assistance for Europe, Eurasia and
                                                                                                    Central Asia’’ shall be made available to carry out the Program
                                                                                                    for Research and Training on Eastern Europe and the Inde-
                                                                                                    pendent States of the Former Soviet Union as authorized by
                                                                                                    the Soviet-Eastern European Research and Training Act of
                                                                                                    1983 (22 U.S.C. 4501 et seq.).
                                                                       Notification.                     (2) GENOCIDE VICTIMS MEMORIAL SITES.—Funds appro-
                                                                                                    priated by this Act and prior Acts making appropriations for
                                                                                                    the Department of State, foreign operations, and related pro-
                                                                                                    grams under the headings ‘‘Economic Support Fund’’ and
                                                                                                    ‘‘Assistance for Europe, Eurasia and Central Asia’’ may be
                                                                                                    made available as contributions to establish and maintain
                                                                                                    memorial sites of genocide, subject to the regular notification
                                                                                                    procedures of the Committees on Appropriations.
                                                                                                         (3) PRIVATE SECTOR PARTNERSHIPS.—Of the funds appro-
                                                                                                    priated by this Act under the headings ‘‘Development Assist-
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                                                                                                    ance’’ and ‘‘Economic Support Fund’’ that are made available
                                                                                                    for private sector partnerships, including partnerships with




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                                                                              philanthropic foundations, up to $50,000,000 may remain avail-
                                                                              able until September 30, 2026: Provided, That funds made                                       Consultation.
                                                                              available pursuant to this paragraph may only be made avail-                                   Notification.
                                                                              able following prior consultation with, and the regular notifica-
                                                                              tion procedures of, the Committees on Appropriations.
                                                                                   (4) ADDITIONAL AUTHORITY.—Of the amounts made avail-
                                                                              able by this Act under the heading ‘‘Diplomatic Programs’’,
                                                                              up to $500,000 may be made available for grants pursuant
                                                                              to section 504 of the Foreign Relations Authorization Act, Fiscal
                                                                              Year 1979 (22 U.S.C. 2656d), including to facilitate collabora-
                                                                              tion with Indigenous communities.
                                                                                   (5) INNOVATION.—The USAID Administrator may use funds
                                                                              appropriated by this Act under title III to make innovation
                                                                              incentive awards in accordance with the terms and conditions
                                                                              of section 7034(e)(4) of the Department of State, Foreign Oper-
                                                                              ations, and Related Programs Appropriations Act, 2019 (divi-
                                                                              sion F of Public Law 116–6), except that each individual award
                                                                              may not exceed $500,000.
                                                                                   (6) DEVELOPMENT INNOVATION VENTURES.—Funds appro-
                                                                              priated by this Act under the heading ‘‘Development Assistance’’
                                                                              and made available for the Development Innovation Ventures
                                                                              program may be made available for the purposes of chapter
                                                                              I of part I of the Foreign Assistance Act of 1961.
                                                                                   (7) EXCHANGE VISITOR PROGRAM.—None of the funds made
                                                                              available by this Act may be used to modify the Exchange
                                                                              Visitor Program administered by the Department of State to
                                                                              implement the Mutual Educational and Cultural Exchange Act
                                                                              of 1961 (Public Law 87–256; 22 U.S.C. 2451 et seq.), except
                                                                              through the formal rulemaking process pursuant to the
                                                                              Administrative Procedure Act (5 U.S.C. 551 et seq.) and not-
                                                                              withstanding the exceptions to such rulemaking process in
                                                                              such Act: Provided, That funds made available for such purpose                                 Consultation.
                                                                              shall only be made available after consultation with, and subject                              Requirement.
                                                                                                                                                                             Notification.
                                                                              to the regular notification procedures of, the Committees on
                                                                              Appropriations, regarding how any proposed modification would
                                                                              affect the public diplomacy goals of, and the estimated economic
                                                                              impact on, the United States: Provided further, That such con-                                 Deadline.
                                                                              sultation shall take place not later than 30 days prior to the                                 Federal Register,
                                                                                                                                                                             publication.
                                                                              publication in the Federal Register of any regulatory action
                                                                              modifying the Exchange Visitor Program.
                                                                                   (8) PAYMENTS.—Funds appropriated by this Act and prior
                                                                              Acts making appropriations for the Department of State, foreign
                                                                              operations, and related programs under the headings ‘‘Diplo-
                                                                              matic Programs’’ and ‘‘Operating Expenses’’, except for funds
                                                                              designated by Congress as an emergency requirement pursuant
                                                                              to a concurrent resolution on the budget or the Balanced Budget
                                                                              and Emergency Deficit Control Act of 1985, are available to
                                                                              provide payments pursuant to section 901(i)(2) of title IX of
                                                                              division J of the Further Consolidated Appropriations Act, 2020
                                                                              (22 U.S.C. 2680b(i)(2)): Provided, That funds made available                                   Requirement.
                                                                              pursuant to this paragraph shall be subject to prior consultation                              Consultation.
                                                                              with the Committees on Appropriations.
                                                                                   (9) AFGHAN ALLIES.—Subsection (b) of section 602 of the
                                                                              Afghan Allies Protection Act of 2009 (8 U.S.C. 1101 note) is
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                                                                              amended as follows—
                                                                                        (A) in paragraph (3)(F)—




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                                                                                                                   (i) in the heading, by striking ‘‘2023’’ and inserting
                                                                                                              ‘‘2024’’;
                                                                                                                   (ii) in the matter preceding clause (i), in the first
                                                                                                              sentence, by striking ‘‘38,500’’ and inserting ‘‘50,500’’;
                                                                                                              and
                                                                                                                   (iii) in clause (ii), by striking ‘‘December 31, 2024’’
                                                                                                              and inserting ‘‘December 31, 2025’’; and
                                                                                                              (B) in paragraph (13), in the matter preceding subpara-
                                                                                                         graph (A), by striking ‘‘January 31, 2024’’ and inserting
                                                                                                         ‘‘January 31, 2026’’.
                                                                       Consultation.                (e) PARTNER VETTING.—Prior to initiating a partner vetting
                                                                                               program, providing a direct vetting option, or making a significant
                                                                                               change to the scope of an existing partner vetting program, the
                                                                                               Secretary of State and USAID Administrator, as appropriate, shall
                                                                       Notification.           consult with the Committees on Appropriations: Provided, That
                                                                                               the Secretary and the Administrator shall provide a direct vetting
                                                                                               option for prime awardees in any partner vetting program initiated
                                                                                               or significantly modified after the date of enactment of this Act,
                                                                                               unless the Secretary or Administrator, as applicable, informs the
                                                                                               Committees on Appropriations on a case-by-case basis that a direct
                                                                                               vetting option is not feasible for such program: Provided further,
                                                                                               That the Secretary and the Administrator may restrict the award
                                                                                               of, terminate, or cancel contracts, grants, or cooperative agreements
                                                                                               or require an awardee to restrict the award of, terminate, or cancel
                                                                                               a sub-award based on information in connection with a partner
                                                                                               vetting program.
                                                                       President.                   (f) CONTINGENCIES.—During fiscal year 2024, the President
                                                                                               may use up to $125,000,000 under the authority of section 451
                                                                                               of the Foreign Assistance Act of 1961, notwithstanding any other
                                                                                               provision of law.
                                                                       Compliance.                  (g) INTERNATIONAL CHILD ABDUCTIONS.—The Secretary of State
                                                                                               should withhold funds appropriated under title III of this Act for
                                                                                               assistance for the central government of any country that is not
                                                                                               taking appropriate steps to comply with the Convention on the
                                                                                               Civil Aspects of International Child Abductions, done at the Hague
                                                                       Reports.                on October 25, 1980: Provided, That the Secretary shall report
                                                                                               to the Committees on Appropriations within 15 days of withholding
                                                                                               funds under this subsection.
                                                                                                    (h) TRANSFER OF FUNDS FOR EXTRAORDINARY PROTECTION.—
                                                                       Deadline.               The Secretary of State may transfer to, and merge with, funds
                                                                                               under the heading ‘‘Protection of Foreign Missions and Officials’’
                                                                                               unobligated balances of expired funds appropriated under the
                                                                                               heading ‘‘Diplomatic Programs’’ for fiscal year 2024, at no later
                                                                                               than the end of the fifth fiscal year after the last fiscal year
                                                                                               for which such funds are available for the purposes for which
                                                                                               appropriated: Provided, That not more than $50,000,000 may be
                                                                                               transferred.
                                                                                                    (i) PROTECTIONS AND REMEDIES FOR EMPLOYEES OF DIPLOMATIC
                                                                       Extension.              MISSIONS AND INTERNATIONAL ORGANIZATIONS.—The terms and
                                                                       Time period.            conditions of section 7034(k) of the Department of State, Foreign
                                                                                               Operations, and Related Programs Appropriations Act, 2020 (divi-
                                                                                               sion G of Public Law 116–94) shall continue in effect during fiscal
                                                                                               year 2024.
                                                                       Extension.                   (j) IMPACT ON JOBS.—Section 7056 of the Department of State,
                                                                       Time period.            Foreign Operations, and Related Programs Appropriations Act, 2021
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                                                                                               (division K of Public Law 116–260) shall continue in effect during
                                                                                               fiscal year 2024.




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                                                                              (k) EXTENSION OF AUTHORITIES.—                                                                 Time periods.
                                                                                    (1) INCENTIVES FOR CRITICAL POSTS.—The authority con-                                    5 USC 5753 note.
                                                                              tained in section 1115(d) of the Supplemental Appropriations
                                                                              Act, 2009 (Public Law 111–32) shall remain in effect through
                                                                              September 30, 2024.
                                                                                    (2) CATEGORICAL ELIGIBILITY.—The Foreign Operations,
                                                                              Export Financing, and Related Programs Appropriations Act,
                                                                              1990 (Public Law 101–167) is amended—
                                                                                         (A) in section 599D (8 U.S.C. 1157 note)—
                                                                                              (i) in subsection (b)(3), by striking ‘‘and 2023’’ and
                                                                                         inserting ‘‘2023, and 2024’’; and
                                                                                              (ii) in subsection (e), by striking ‘‘2023’’ each place
                                                                                         it appears and inserting ‘‘2024’’; and
                                                                                         (B) in section 599E(b)(2) (8 U.S.C. 1255 note), by
                                                                                    striking ‘‘2023’’ and inserting ‘‘2024’’.
                                                                                    (3) SPECIAL INSPECTOR GENERAL FOR AFGHANISTAN
                                                                              RECONSTRUCTION COMPETITIVE STATUS.—Notwithstanding any
                                                                              other provision of law, any employee of the Special Inspector
                                                                              General for Afghanistan Reconstruction (SIGAR) who completes
                                                                              at least 12 months of continuous service after enactment of
                                                                              this Act or who is employed on the date on which SIGAR
                                                                              terminates, whichever occurs first, shall acquire competitive
                                                                              status for appointment to any position in the competitive service
                                                                              for which the employee possesses the required qualifications.
                                                                                    (4) TRANSFER OF BALANCES.—Section 7081(h) of the Depart-                                 8 USC 1715 note.
                                                                              ment of State, Foreign Operations, and Related Programs
                                                                              Appropriations Act, 2017 (division J of Public Law 115–31)
                                                                              shall continue in effect during fiscal year 2024.
                                                                                    (5) PROTECTIVE SERVICES.—Section 7071 of the Department                                  Applicability.
                                                                              of State, Foreign Operations, and Related Programs Appropria-
                                                                              tions Act, 2022 (division K of Public Law 117–103) shall con-
                                                                              tinue in effect during fiscal year 2024 and shall be applied
                                                                              to funds appropriated by this Act by substituting ‘‘$40,000,000’’
                                                                              for ‘‘$30,000,000’’.
                                                                                    (6) EXTENSION OF LOAN GUARANTEES TO ISRAEL.—Chapter
                                                                              5 of title I of the Emergency Wartime Supplemental Appropria-
                                                                              tions Act, 2003 (Public Law 108–11; 117 Stat. 576) is amended
                                                                              under the heading ‘‘Loan Guarantees to Israel’’—
                                                                                         (A) in the matter preceding the first proviso, by striking
                                                                                    ‘‘September 30, 2028’’ and inserting ‘‘September 30, 2029’’;
                                                                                    and
                                                                                         (B) in the second proviso, by striking ‘‘September 30,
                                                                                    2028’’ and inserting ‘‘September 30, 2029’’.
                                                                                    (7) EXTENSION OF CERTAIN PERSONAL SERVICES CONTRACT
                                                                              AUTHORITY.—The authority provided in section 2401 of division
                                                                              C of the Extending Government Funding and Delivering Emer-
                                                                              gency Assistance Act (Public Law 117–43) shall remain in effect
                                                                              through September 30, 2024.
                                                                              (l) MONITORING AND EVALUATION.—
                                                                                    (1) BENEFICIARY FEEDBACK.—Funds appropriated by this
                                                                              Act that are made available for monitoring and evaluation
                                                                              of assistance under the headings ‘‘Development Assistance’’,
                                                                              ‘‘International Disaster Assistance’’, and ‘‘Migration and Ref-
                                                                              ugee Assistance’’ shall be made available for the regular and
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                                                                              systematic collection of feedback obtained directly from bene-
                                                                              ficiaries to enhance the quality and relevance of such assistance:




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                                                                       Deadline.                    Provided, That not later than 90 days after the date of enact-
                                                                       Web posting.                 ment of this Act, the Secretary of State and USAID Adminis-
                                                                       Procedures.
                                                                       Guidelines.                  trator shall submit to the Committees on Appropriations, and
                                                                                                    post on their respective websites, updated procedures for imple-
                                                                                                    menting partners that receive funds under such headings for
                                                                                                    regularly and systematically collecting and responding to such
                                                                                                    feedback, including guidelines for the reporting on actions taken
                                                                                                    in response to the feedback received: Provided further, That
                                                                                                    the Secretary of State and USAID Administrator shall regu-
                                                                                                    larly—
                                                                       Oversight.                             (A) conduct oversight to ensure that such feedback
                                                                                                         is regularly collected and used by implementing partners
                                                                                                         to maximize the cost-effectiveness and utility of such assist-
                                                                                                         ance; and
                                                                       Consultation.                          (B) consult with the Committees on Appropriations
                                                                                                         on the results of such oversight.
                                                                                                         (2) EVALUATIONS.—Of the funds appropriated by this Act
                                                                                                    under titles III and IV, not less than $15,000,000, to remain
                                                                                                    available until expended, shall be made available for impact
                                                                                                    evaluations, including ex-post evaluations, of the effectiveness
                                                                                                    and sustainability of United States Government-funded assist-
                                                                                                    ance programs: Provided, That of the funds made available
                                                                                                    pursuant to this paragraph, $10,000,000 shall be administered
                                                                                                    in coordination with the Office of the Chief Economist, USAID,
                                                                                                    and may be used for administrative expenses of such Office:
                                                                                                    Provided further, That funds made available pursuant to this
                                                                                                    paragraph are in addition to funds otherwise made available
                                                                                                    for such purposes.
                                                                                                    (m) HIV/AIDS WORKING CAPITAL FUND.—Funds available in
                                                                                               the HIV/AIDS Working Capital Fund established pursuant to sec-
                                                                                               tion 525(b)(1) of the Foreign Operations, Export Financing, and
                                                                                               Related Programs Appropriations Act, 2005 (Public Law 108–447)
                                                                                               may be made available for pharmaceuticals and other products
                                                                                               for child survival, malaria, tuberculosis, and emerging infectious
                                                                                               diseases to the same extent as HIV/AIDS pharmaceuticals and
                                                                                               other products, subject to the terms and conditions in such section:
                                                                       Requirement.            Provided, That the authority in section 525(b)(5) of the Foreign
                                                                       Notification.           Operations, Export Financing, and Related Programs Appropria-
                                                                                               tions Act, 2005 (Public Law 108–447) shall be exercised by the
                                                                                               Assistant Administrator for Global Health, USAID, with respect
                                                                                               to funds deposited for such non-HIV/AIDS pharmaceuticals and
                                                                                               other products, and shall be subject to the regular notification
                                                                                               procedures of the Committees on Appropriations: Provided further,
                                                                                               That the Secretary of State shall include in the congressional budget
                                                                                               justification an accounting of budgetary resources, disbursements,
                                                                                               balances, and reimbursements related to such fund.
                                                                                                    (n) LOCAL WORKS.—
                                                                                                         (1) FUNDING.—Of the funds appropriated by this Act under
                                                                                                    the headings ‘‘Development Assistance’’ and ‘‘Economic Support
                                                                                                    Fund’’, not less than $100,000,000 shall be made available
                                                                                                    for Local Works pursuant to section 7080 of the Department
                                                                                                    of State, Foreign Operations, and Related Programs Appropria-
                                                                                                    tions Act, 2015 (division J of Public Law 113–235), which may
                                                                                                    remain available until September 30, 2028.
                                                                                                         (2) ELIGIBLE ENTITIES.—For the purposes of section 7080
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                                                                       Time period.
                                                                       22 USC 2152i                 of the Department of State, Foreign Operations, and Related
                                                                       note.                        Programs Appropriations Act, 2015 (division J of Public Law




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                                                                            113–235), ‘‘eligible entities’’ shall be defined as small local,
                                                                            international, and United States-based nongovernmental
                                                                            organizations, educational institutions, and other small entities
                                                                            that have received less than a total of $5,000,000 from USAID
                                                                            over the previous 5 fiscal years: Provided, That departments
                                                                            or centers of such educational institutions may be considered
                                                                            individually in determining such eligibility.
                                                                            (o) EXTENSION OF PROCUREMENT AUTHORITY.—Section 7077 of                                          Time period.
                                                                       the Department of State, Foreign Operations, and Related Programs
                                                                       Appropriations Act, 2012 (division I of Public Law 112–74) shall
                                                                       continue in effect during fiscal year 2024.
                                                                            (p) EXTENSION.—Section 7034(r) of the Department of State,                                       Applicability.
                                                                       Foreign Operations, and Related Programs Appropriations Act, 2022                                     Time period.
                                                                       (division K of Public Law 117–103) shall apply during fiscal year
                                                                       2024.
                                                                            (q) STAFF CARE SERVICES FOR AFGHAN NATIONALS.—Up to
                                                                       $50,000 of the funds appropriated by this Act and prior acts making
                                                                       appropriations for the Department of State, foreign operations, and
                                                                       related programs that are made available to carry out section
                                                                       7901 of title 5, United States Code, may be used by USAID to
                                                                       provide services to individuals who have served as locally employed
                                                                       staff of the USAID mission in Afghanistan.
                                                                            (r) WAR CRIMES ACCOUNTABILITY.—Of the funds appropriated
                                                                       by this Act under the heading ‘‘Economic Support Fund’’, not less
                                                                       than $5,000,000 shall be made available for the purposes authorized
                                                                       by section 2015 of Public Law 107–206, as amended by section
                                                                       7073 of the Department of State, Foreign Operations, and Related
                                                                       Programs Appropriations Act, 2023 (division K of Public Law 117–
                                                                       328), including not less than $2,500,000 as a contribution to the
                                                                       Trust Fund for Victims.
                                                                            (s) DEFINITIONS.—
                                                                                  (1) APPROPRIATE CONGRESSIONAL COMMITTEES.—Unless                                           8 USC 1182 note.
                                                                            otherwise defined in this Act, for purposes of this Act the
                                                                            term ‘‘appropriate congressional committees’’ means the
                                                                            Committees on Appropriations and Foreign Relations of the
                                                                            Senate and the Committees on Appropriations and Foreign
                                                                            Affairs of the House of Representatives.
                                                                                  (2) FUNDS APPROPRIATED BY THIS ACT AND PRIOR ACTS.—
                                                                            Unless otherwise defined in this Act, for purposes of this Act
                                                                            the term ‘‘funds appropriated by this Act and prior Acts making
                                                                            appropriations for the Department of State, foreign operations,
                                                                            and related programs’’ means funds that remain available for
                                                                            obligation, and have not expired.
                                                                                  (3) INTERNATIONAL FINANCIAL INSTITUTIONS.—In this Act                                      22 USC 262h
                                                                            ‘‘international financial institutions’’ means the International                                 note.
                                                                            Bank for Reconstruction and Development, the International
                                                                            Development Association, the International Finance Corpora-
                                                                            tion, the Inter-American Development Bank, the International
                                                                            Monetary Fund, the International Fund for Agricultural
                                                                            Development, the Asian Development Bank, the Asian Develop-
                                                                            ment Fund, the Inter-American Investment Corporation, the
                                                                            North American Development Bank, the European Bank for
                                                                            Reconstruction and Development, the African Development
                                                                            Bank, the African Development Fund, and the Multilateral
                                                                            Investment Guarantee Agency.
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                                                                                  (4) PACIFIC ISLANDS COUNTRIES.—In this Act, the term
                                                                            ‘‘Pacific Islands countries’’ means the Cook Islands, the Republic




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                                                                                                      of Fiji, the Republic of Kiribati, the Republic of the Marshall
                                                                                                      Islands, the Federated States of Micronesia, the Republic of
                                                                                                      Nauru, Niue, the Republic of Palau, the Independent State
                                                                                                      of Papua New Guinea, the Independent State of Samoa, the
                                                                                                      Solomon Islands, the Kingdom of Tonga, Tuvalu, and the
                                                                                                      Republic of Vanuatu.
                                                                                                           (5) SPEND PLAN.—In this Act, the term ‘‘spend plan’’ means
                                                                                                      a plan for the uses of funds appropriated for a particular
                                                                                                      entity, country, program, purpose, or account and which shall
                                                                                                      include, at a minimum, a description of—
                                                                                                                (A) realistic and sustainable goals, criteria for meas-
                                                                                                           uring progress, and a timeline for achieving such goals;
                                                                                                                (B) amounts and sources of funds by account;
                                                                                                                (C) how such funds will complement other ongoing
                                                                                                           or planned programs; and
                                                                                                                (D) implementing partners, to the maximum extent
                                                                                                           practicable.
                                                                                                           (6) SUCCESSOR OPERATING UNIT.—Any reference to a par-
                                                                                                      ticular operating unit or office in this Act or prior Acts making
                                                                                                      appropriations for the Department of State, foreign operations,
                                                                                                      and related programs shall be deemed to include any successor
                                                                                                      operating unit performing the same or similar functions.
                                                                       22 USC 2152i                        (7) USAID.—In this Act, the term ‘‘USAID’’ means the
                                                                       note.                          United States Agency for International Development.

                                                                                                                        LAW ENFORCEMENT AND SECURITY

                                                                                                      SEC. 7035. (a) ASSISTANCE.—
                                                                                                            (1) COMMUNITY-BASED POLICE ASSISTANCE.—Funds made
                                                                                                      available under titles III and IV of this Act to carry out the
                                                                                                      provisions of chapter 1 of part I and chapters 4 and 6 of
                                                                                                      part II of the Foreign Assistance Act of 1961, may be used,
                                                                                                      notwithstanding section 660 of that Act, to enhance the
                                                                                                      effectiveness and accountability of civilian police authority
                                                                                                      through training and technical assistance in human rights,
                                                                                                      the rule of law, anti-corruption, strategic planning, and through
                                                                                                      assistance to foster civilian police roles that support democratic
                                                                                                      governance, including assistance for programs to prevent con-
                                                                                                      flict, respond to disasters, address gender-based violence, and
                                                                                                      foster improved police relations with the communities they
                                                                                                      serve.
                                                                                                            (2) COMBAT CASUALTY CARE.—
                                                                                                                 (A) Consistent with the objectives of the Foreign Assist-
                                                                                                            ance Act of 1961 and the Arms Export Control Act, funds
                                                                                                            appropriated by this Act under the headings ‘‘Peacekeeping
                                                                                                            Operations’’ and ‘‘Foreign Military Financing Program’’
                                                                                                            shall be made available for combat casualty training and
                                                                                                            equipment in an amount above the prior fiscal year.
                                                                                                                 (B) The Secretary of State shall offer combat casualty
                                                                                                            care training and equipment as a component of any package
                                                                                                            of lethal assistance funded by this Act with funds appro-
                                                                                                            priated under the headings ‘‘Peacekeeping Operations’’ and
                                                                       Applicability.                       ‘‘Foreign Military Financing Program’’: Provided, That the
                                                                       Determination.                       requirement of this subparagraph shall apply to a country
                                                                                                            in conflict, unless the Secretary determines that such
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                                                                                                            country has in place, to the maximum extent practicable,
                                                                                                            functioning combat casualty care treatment and equipment




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                                                                                   that meets or exceeds the standards recommended by the
                                                                                   Committee on Tactical Combat Casualty Care: Provided
                                                                                   further, That any such training and equipment for combat
                                                                                   casualty care shall be made available through an open
                                                                                   and competitive process.
                                                                                   (3) CASUALTY REHABILITATION.—Of the funds appropriated
                                                                              under the heading ‘‘Assistance for Europe, Eurasia and Central
                                                                              Asia’’ in this Act and prior Acts making appropriations for
                                                                              the Department of State, foreign operations, and related pro-
                                                                              grams, not less than $2,000,000 shall be made available for
                                                                              a program to provide medical and casualty rehabilitation serv-
                                                                              ices, consistent with the purposes under this section in the
                                                                              explanatory statement described in section 4 (in the matter
                                                                              preceding division A of this consolidated Act).
                                                                                   (4) TRAINING RELATED TO INTERNATIONAL HUMANITARIAN
                                                                              LAW.—The Secretary of State shall offer training related to
                                                                              the requirements of international humanitarian law as a compo-
                                                                              nent of any package of lethal assistance funded by this Act
                                                                              with funds appropriated under the headings ‘‘Peacekeeping
                                                                              Operations’’ and ‘‘Foreign Military Financing Program’’: Pro-
                                                                              vided, That the requirement of this paragraph shall not apply
                                                                              to a country that is a member of the North Atlantic Treaty
                                                                              Organization (NATO), is a major non-NATO ally designated
                                                                              by section 517(b) of the Foreign Assistance Act of 1961, or
                                                                              is complying with international humanitarian law: Provided
                                                                              further, That any such training shall be made available through
                                                                              an open and competitive process.
                                                                                   (5) INTERNATIONAL PRISON CONDITIONS.—Funds appro-
                                                                              priated by this Act under the headings ‘‘Development Assist-
                                                                              ance’’, ‘‘Economic Support Fund’’, and ‘‘International Narcotics
                                                                              Control and Law Enforcement’’ shall be made available for
                                                                              assistance to eliminate inhumane conditions in foreign prisons
                                                                              and other detention facilities, notwithstanding section 660 of
                                                                              the Foreign Assistance Act of 1961: Provided, That the Sec-                                    Consultation.
                                                                              retary of State and the USAID Administrator shall consult                                      Deadline.
                                                                              with the Committees on Appropriations on the proposed uses
                                                                              of such funds prior to obligation and not later than 60 days
                                                                              after the date of enactment of this Act: Provided further, That
                                                                              such funds shall be in addition to funds otherwise made avail-
                                                                              able by this Act for such purpose.
                                                                              (b) AUTHORITIES.—
                                                                                   (1) RECONSTITUTING CIVILIAN POLICE AUTHORITY.—In pro-
                                                                              viding assistance with funds appropriated by this Act under
                                                                              section 660(b)(6) of the Foreign Assistance Act of 1961, support
                                                                              for a nation emerging from instability may be deemed to mean
                                                                              support for regional, district, municipal, or other sub-national
                                                                              entity emerging from instability, as well as a nation emerging
                                                                              from instability.
                                                                                   (2) DISARMAMENT, DEMOBILIZATION, AND REINTEGRATION.—
                                                                              Section 7034(d) of the Department of State, Foreign Operations,                                Extension.
                                                                              and Related Programs Appropriations Act, 2015 (division J                                      Time period.
                                                                              of Public Law 113–235) shall continue in effect during fiscal
                                                                              year 2024.
                                                                                   (3) COMMERCIAL LEASING OF DEFENSE ARTICLES.—Notwith-                                      Requirement.
                                                                              standing any other provision of law, and subject to the regular                                Notification.
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                                                                              notification procedures of the Committees on Appropriations,                                   Israel.
                                                                                                                                                                             Egypt.
                                                                              the authority of section 23(a) of the Arms Export Control Act                                  Contracts.
                                                                                                                                                                             President.
                                                                                                                                                                             Determination.
                                                                                                                                                                             22 USC 2763
                                                                                                                                                                             note.




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                                                                                                      (22 U.S.C. 2763) may be used to provide financing to Israel,
                                                                                                      Egypt, the North Atlantic Treaty Organization (NATO), and
                                                                                                      major non-NATO allies for the procurement by leasing
                                                                                                      (including leasing with an option to purchase) of defense articles
                                                                                                      from United States commercial suppliers, not including Major
                                                                                                      Defense Equipment (other than helicopters and other types
                                                                                                      of aircraft having possible civilian application), if the President
                                                                                                      determines that there are compelling foreign policy or national
                                                                                                      security reasons for those defense articles being provided by
                                                                                                      commercial lease rather than by government-to-government
                                                                                                      sale under such Act.
                                                                                                           (4) SPECIAL DEFENSE ACQUISITION FUND.—Not to exceed
                                                                                                      $900,000,000 may be obligated pursuant to section 51(c)(2)
                                                                                                      of the Arms Export Control Act (22 U.S.C. 2795(c)(2)) for the
                                                                                                      purposes of the Special Defense Acquisition Fund (the Fund),
                                                                                                      to remain available for obligation until September 30, 2026:
                                                                       Requirement.                   Provided, That the provision of defense articles and defense
                                                                                                      services to foreign countries or international organizations from
                                                                                                      the Fund shall be subject to the concurrence of the Secretary
                                                                                                      of State.
                                                                                                           (5) EXTENSION OF WAR RESERVES STOCKPILE AUTHORITY.—
                                                                                                      Section 514(b)(2)(A) of the Foreign Assistance Act of 1961 (22
                                                                                                      U.S.C. 2321h(b)(2)(A)) is amended by striking ‘‘or 2025’’ and
                                                                                                      inserting ‘‘2025 and 2026’’.
                                                                                                           (6) PROGRAM CLARIFICATION.—Notwithstanding section
                                                                                                      503(a)(3) of Public Law 87–195 (22 U.S.C. 2311(a)(3)), the
                                                                                                      procurement of defense articles and services funded on a non-
                                                                                                      repayable basis under section 23 of the Arms Export Control
                                                                                                      Act may be priced to include the costs of salaries of members
                                                                                                      of the Armed Forces of the United States engaged in security
                                                                                                      assistance activities pursuant to 10 U.S.C. 341 (relating to
                                                                       Applicability.                 the State Partnership Program): Provided, That this paragraph
                                                                                                      shall only apply to funds that remain available for obligation
                                                                                                      in fiscal year 2024.
                                                                                                           (7) REPROGRAMMING.—Notwithstanding any other provision
                                                                                                      of law or regulation, equipment procured with funds appro-
                                                                                                      priated in prior Acts making appropriations for the Department
                                                                                                      of State, foreign operations, and related programs under the
                                                                                                      heading ‘‘Pakistan Counterinsurgency Capability Fund’’ may
                                                                                                      be used for any other program and in any region: Provided,
                                                                       Requirement.                   That any such transfer shall be subject to prior consultation
                                                                       Consultation.                  with the appropriate congressional committees and the regular
                                                                       Notification.
                                                                                                      notification procedures of the Committees on Appropriations.
                                                                                                      (c) LIMITATIONS.—
                                                                                                           (1) CHILD SOLDIERS.—Funds appropriated by this Act
                                                                                                      should not be used to support any military training or oper-
                                                                                                      ations that include child soldiers.
                                                                                                           (2) LANDMINES AND CLUSTER MUNITIONS.—
                                                                                                                (A) LANDMINES.—Notwithstanding any other provision
                                                                                                           of law, demining equipment available to the United States
                                                                                                           Agency for International Development and the Department
                                                                                                           of State and used in support of the clearance of landmines
                                                                                                           and unexploded ordnance for humanitarian purposes may
                                                                                                           be disposed of on a grant basis in foreign countries, subject
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                                                                                                           to such terms and conditions as the Secretary of State
                                                                                                           may prescribe.




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                                                                                        (B) CLUSTER MUNITIONS.—No military assistance shall
                                                                                   be furnished for cluster munitions, no defense export
                                                                                   license for cluster munitions may be issued, and no cluster
                                                                                   munitions or cluster munitions technology shall be sold
                                                                                   or transferred, unless—
                                                                                             (i) the submunitions of the cluster munitions, after
                                                                                        arming, do not result in more than 1 percent
                                                                                        unexploded ordnance across the range of intended oper-
                                                                                        ational environments, and the agreement applicable
                                                                                        to the assistance, transfer, or sale of such cluster muni-
                                                                                        tions or cluster munitions technology specifies that
                                                                                        the cluster munitions will only be used against clearly
                                                                                        defined military targets and will not be used where
                                                                                        civilians are known to be present or in areas normally
                                                                                        inhabited by civilians; or
                                                                                             (ii) such assistance, license, sale, or transfer is
                                                                                        for the purpose of demilitarizing or permanently dis-
                                                                                        posing of such cluster munitions.
                                                                                   (3) CROWD CONTROL.—If the Secretary of State has informa-                                 Determinations.
                                                                              tion that a unit of a foreign security force uses excessive force
                                                                              to repress peaceful expression or assembly concerning corrup-
                                                                              tion, harm to the environment or human health, or the fairness
                                                                              of electoral processes, or in countries that are undemocratic
                                                                              or undergoing democratic transition, the Secretary shall
                                                                              promptly determine if such information is credible: Provided,
                                                                              That if the information is determined to be credible, funds
                                                                              appropriated by this Act should not be used for tear gas,
                                                                              small arms, light weapons, ammunition, or other items for
                                                                              crowd control purposes for such unit, unless the Secretary
                                                                              of State determines that the foreign government is taking effec-
                                                                              tive measures to bring the responsible members of such unit
                                                                              to justice.
                                                                                   (4) OVERSIGHT AND ACCOUNTABILITY.—
                                                                                        (A) Prior to the signing of a new Letter of Offer and                                Consultation.
                                                                                   Acceptance (LOA) involving funds appropriated under the                                   Compliance.
                                                                                   heading ‘‘Foreign Military Financing Program’’, the Sec-
                                                                                   retary of State shall consult with each recipient government
                                                                                   to ensure that the LOA between the United States and
                                                                                   such recipient government complies with the purposes of
                                                                                   section 4 of the Arms Export Control Act (22 U.S.C. 2754)
                                                                                   and that the defense articles, services, and training pro-
                                                                                   cured with funds appropriated under such heading are
                                                                                   consistent with United States national security policy.
                                                                                        (B) The Secretary of State shall promptly inform the                                 Notification.
                                                                                   appropriate congressional committees of any instance in
                                                                                   which the Secretary of State has credible information that
                                                                                   such assistance was used in a manner contrary to such
                                                                                   agreement.
                                                                              (d) OTHER MATTERS.—                                                                            Definitions.
                                                                                   (1) SECURITY ASSISTANCE REPORT.—Not later than 120 days
                                                                              after the date of enactment of this Act, the Secretary of State
                                                                              shall submit to the Committees on Appropriations a report
                                                                              on funds obligated and expended during fiscal year 2023, by
                                                                              country and purpose of assistance, under the headings ‘‘Peace-
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                                                                              keeping Operations’’, ‘‘International Military Education and
                                                                              Training’’, and ‘‘Foreign Military Financing Program’’.




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                                                                                                           (2) ANNUAL FOREIGN MILITARY TRAINING REPORT.—For the
                                                                                                      purposes of implementing section 656 of the Foreign Assistance
                                                                                                      Act of 1961, the term ‘‘military training provided to foreign
                                                                                                      military personnel by the Department of Defense and the
                                                                                                      Department of State’’ shall be deemed to include all military
                                                                                                      training provided by foreign governments with funds appro-
                                                                                                      priated to the Department of Defense or the Department of
                                                                                                      State, except for training provided by the government of a
                                                                                                      country designated by section 517(b) of such Act (22 U.S.C.
                                                                                                      2321k(b)) as a major non-NATO ally: Provided, That such third-
                                                                                                      country training shall be clearly identified in the report sub-
                                                                                                      mitted pursuant to section 656 of such Act.
                                                                                                           (3) LEAHY LAW.—For purposes of implementing section
                                                                                                      620M of the Foreign Assistance Act of 1961, the term ‘‘credible
                                                                                                      information’’ means information that, considering the source
                                                                                                      of such information and the surrounding circumstances, sup-
                                                                                                      ports a reasonable belief that a violation has occurred, and
                                                                                                      shall not be determined solely on the basis of the number
                                                                                                      of sources; whether the source has been critical of a policy
                                                                                                      of the United States Government or its security partners;
                                                                                                      whether the source has a personal connection to the information
                                                                                                      being reported; or whether the United States Government is
                                                                                                      able to independently verify the information.

                                                                                                COUNTERING THE FLOW OF FENTANYL AND OTHER SYNTHETIC DRUGS

                                                                                                    SEC. 7036. (a) ASSISTANCE.—Of the funds appropriated by this
                                                                                               Act under the headings ‘‘Economic Support Fund’’ and ‘‘Inter-
                                                                                               national Narcotics Control and Law Enforcement’’, not less than
                                                                                               $125,000,000 shall be made available for programs to counter the
                                                                                               flow of fentanyl, fentanyl precursors, and other synthetic drugs
                                                                                               into the United States: Provided, That such funds shall be in
                                                                                               addition to funds otherwise made available for such purposes.
                                                                                                    (b) USES OF FUNDS.—Funds made available pursuant to sub-
                                                                                               section (a) shall be made available to support—
                                                                       China.                            (1) efforts to stop the flow of fentanyl, fentanyl precursors,
                                                                       Mexico.                      and other synthetic drugs and their precursor materials to
                                                                                                    the United States from and through the People’s Republic of
                                                                                                    China (PRC), Mexico, and other countries;
                                                                                                         (2) law enforcement cooperation and capacity building
                                                                                                    efforts aimed at disrupting and dismantling transnational
                                                                                                    criminal organizations involved in the production and traf-
                                                                                                    ficking of fentanyl, fentanyl precursors, and other synthetic
                                                                                                    drugs;
                                                                                                         (3) implementation of the Fighting Emerging Narcotics
                                                                                                    Through Additional Nations to Yield Lasting Results Act (part
                                                                                                    7 of subtitle C of the James M. Inhofe National Defense
                                                                                                    Authorization Act for Fiscal Year 2023, Public Law 117–263);
                                                                                                    and
                                                                                                         (4) engagement, including through multilateral organiza-
                                                                                                    tions and frameworks, to catalyze collective action to address
                                                                                                    the public health and security threats posed by fentanyl,
                                                                                                    fentanyl precursors, and other synthetic drugs, including
                                                                                                    through the Global Coalition to Address Synthetic Drug
                                                                                                    Threats.
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                                                                                                    (c) COUNTER FENTANYL COORDINATION.—The Secretary of State
                                                                                               shall designate an existing senior official of the Department of




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                                                                       State at the rank of Deputy Assistant Secretary or above to coordi-
                                                                       nate counter fentanyl efforts, whose responsibilities shall include—
                                                                                (1) ensuring that funds made available pursuant to sub-
                                                                           section (a) are implemented in a targeted and effective manner,
                                                                           including by providing policy guidance and coordination; and
                                                                                (2) coordinating diplomatic engagement and other activities
                                                                           with the heads of other relevant Federal agencies and domestic
                                                                           and international stakeholders.
                                                                           (d) REPORTS.—
                                                                                (1) The Secretary of State shall, in consultation with the                                   Assessment.
                                                                           heads of other relevant Federal agencies and not later than                                       China.
                                                                           90 days after the date of enactment of this Act, submit a
                                                                           report to the appropriate congressional committees detailing
                                                                           and assessing the cooperation of the PRC in countering the
                                                                           flow of fentanyl, fentanyl precursors, and other synthetic drugs,
                                                                           and describing actions taken by the United States in coordina-
                                                                           tion with other countries to engage the PRC on taking concrete
                                                                           and measurable steps to stop the flow of fentanyl, fentanyl
                                                                           precursors, and other synthetic drugs from the PRC to other
                                                                           countries: Provided, That such report shall be updated and                                        Updates.
                                                                           resubmitted quarterly thereafter until September 30, 2025.                                        Time period.
                                                                                (2) Not later than 60 days after the date of enactment                                       Termination
                                                                                                                                                                             date.
                                                                           of this Act, the Secretary shall submit a report to the appro-                                    Mexico.
                                                                           priate congressional committees detailing how assistance for
                                                                           Mexico is strategically aligned to address the proliferation of
                                                                           fentanyl, fentanyl precursors, and other synthetic drugs from
                                                                           Mexico to the United States.

                                                                                                         PALESTINIAN STATEHOOD

                                                                           SEC. 7037. (a) LIMITATION ON ASSISTANCE.—None of the funds                                        Determination.
                                                                       appropriated under titles III through VI of this Act may be provided                                  Certification.
                                                                       to support a Palestinian state unless the Secretary of State deter-
                                                                       mines and certifies to the appropriate congressional committees
                                                                       that—
                                                                                (1) the governing entity of a new Palestinian state—
                                                                                     (A) has demonstrated a firm commitment to peaceful
                                                                                co-existence with the State of Israel; and
                                                                                     (B) is taking appropriate measures to counter terrorism
                                                                                and terrorist financing in the West Bank and Gaza,
                                                                                including the dismantling of terrorist infrastructures, and
                                                                                is cooperating with appropriate Israeli and other appro-
                                                                                priate security organizations; and
                                                                                (2) the Palestinian Authority (or the governing entity of
                                                                           a new Palestinian state) is working with other countries in
                                                                           the region to vigorously pursue efforts to establish a just,
                                                                           lasting, and comprehensive peace in the Middle East that will
                                                                           enable Israel and an independent Palestinian state to exist
                                                                           within the context of full and normal relationships, which
                                                                           should include—
                                                                                     (A) termination of all claims or states of belligerency;
                                                                                     (B) respect for and acknowledgment of the sovereignty,
                                                                                territorial integrity, and political independence of every
                                                                                state in the area through measures including the establish-
                                                                                ment of demilitarized zones;
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                                                                                     (C) their right to live in peace within secure and recog-
                                                                                nized boundaries free from threats or acts of force;




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                                                                                                             (D) freedom of navigation through international water-
                                                                                                        ways in the area; and
                                                                                                             (E) a framework for achieving a just settlement of
                                                                                                        the refugee problem.
                                                                                                   (b) SENSE OF CONGRESS.—It is the sense of Congress that
                                                                                               the governing entity should enact a constitution assuring the rule
                                                                                               of law, an independent judiciary, and respect for human rights
                                                                                               for its citizens, and should enact other laws and regulations
                                                                                               assuring transparent and accountable governance.
                                                                       President.                  (c) WAIVER.—The President may waive subsection (a) if the
                                                                       Determination.          President determines that it is important to the national security
                                                                                               interest of the United States to do so.
                                                                                                   (d) EXEMPTION.—The restriction in subsection (a) shall not
                                                                                               apply to assistance intended to help reform the Palestinian
                                                                                               Authority and affiliated institutions, or the governing entity, in
                                                                                               order to help meet the requirements of subsection (a), consistent
                                                                                               with the provisions of section 7040 of this Act (‘‘Limitation on
                                                                                               Assistance for the Palestinian Authority’’).

                                                                                                     PROHIBITION ON ASSISTANCE TO THE PALESTINIAN BROADCASTING
                                                                                                                            CORPORATION

                                                                                                   SEC. 7038. None of the funds appropriated or otherwise made
                                                                                               available by this Act may be used to provide equipment, technical
                                                                                               support, consulting services, or any other form of assistance to
                                                                                               the Palestinian Broadcasting Corporation.

                                                                                                                  ASSISTANCE FOR THE WEST BANK AND GAZA

                                                                       Deadline.                    SEC. 7039. (a) OVERSIGHT.—For fiscal year 2024, 30 days prior
                                                                       Certification.          to the initial obligation of funds for the bilateral West Bank and
                                                                       Procedures.             Gaza Program, the Secretary of State shall certify to the Commit-
                                                                       Records.
                                                                       Review.                 tees on Appropriations that procedures have been established to
                                                                                               assure the Comptroller General of the United States will have
                                                                                               access to appropriate United States financial information in order
                                                                                               to review the uses of United States assistance for the Program
                                                                                               funded under the heading ‘‘Economic Support Fund’’ for the West
                                                                                               Bank and Gaza.
                                                                       Terrorism.                   (b) VETTING.—Prior to the obligation of funds appropriated
                                                                       Determinations.         by this Act under the heading ‘‘Economic Support Fund’’ for assist-
                                                                                               ance for the West Bank and Gaza, the Secretary of State shall
                                                                                               take all appropriate steps to ensure that such assistance is not
                                                                                               provided to or through any individual, private or government entity,
                                                                                               or educational institution that the Secretary knows or has reason
                                                                                               to believe advocates, plans, sponsors, engages in, or has engaged
                                                                                               in, terrorist activity nor, with respect to private entities or edu-
                                                                                               cational institutions, those that have as a principal officer of the
                                                                                               entity’s governing board or governing board of trustees any indi-
                                                                                               vidual that has been determined to be involved in, or advocating
                                                                                               terrorist activity or determined to be a member of a designated
                                                                       Procedures.             foreign terrorist organization: Provided, That the Secretary of State
                                                                       Termination.            shall, as appropriate, establish procedures specifying the steps to
                                                                                               be taken in carrying out this subsection and shall terminate assist-
                                                                                               ance to any individual, entity, or educational institution which
                                                                                               the Secretary has determined to be involved in or advocating ter-
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                                                                                               rorist activity.
                                                                                                    (c) PROHIBITION.—




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                                                                                 (1) RECOGNITION OF ACTS OF TERRORISM.—None of the
                                                                            funds appropriated under titles III through VI of this Act
                                                                            for assistance under the West Bank and Gaza Program may
                                                                            be made available for—
                                                                                      (A) the purpose of recognizing or otherwise honoring
                                                                                 individuals who commit, or have committed acts of ter-
                                                                                 rorism; and
                                                                                      (B) any educational institution located in the West                                    Determination.
                                                                                 Bank or Gaza that is named after an individual who the
                                                                                 Secretary of State determines has committed an act of
                                                                                 terrorism.
                                                                                 (2) SECURITY ASSISTANCE AND REPORTING REQUIREMENT.—
                                                                            Notwithstanding any other provision of law, none of the funds
                                                                            made available by this or prior appropriations Acts, including
                                                                            funds made available by transfer, may be made available for
                                                                            obligation for security assistance for the West Bank and Gaza
                                                                            until the Secretary of State reports to the Committees on Appro-
                                                                            priations on—
                                                                                      (A) the benchmarks that have been established for
                                                                                 security assistance for the West Bank and Gaza and on
                                                                                 the extent of Palestinian compliance with such benchmarks;
                                                                                 and
                                                                                      (B) the steps being taken by the Palestinian Authority
                                                                                 to end torture and other cruel, inhuman, and degrading
                                                                                 treatment of detainees, including by bringing to justice
                                                                                 members of Palestinian security forces who commit such
                                                                                 crimes.
                                                                            (d) OVERSIGHT BY THE UNITED STATES AGENCY FOR INTER-
                                                                       NATIONAL DEVELOPMENT.—
                                                                                 (1) The Administrator of the United States Agency for                                       Audits.
                                                                            International Development shall ensure that Federal or non-                                      Contracts.
                                                                            Federal audits of all contractors and grantees, and significant                                  Grants.
                                                                                                                                                                             Deadline.
                                                                            subcontractors and sub-grantees, under the West Bank and                                         Compliance.
                                                                            Gaza Program, are conducted at least on an annual basis
                                                                            to ensure, among other things, compliance with this section.
                                                                                 (2) Of the funds appropriated by this Act, up to $1,400,000
                                                                            may be used by the Office of Inspector General of the United
                                                                            States Agency for International Development for audits, inves-
                                                                            tigations, and other activities in furtherance of the require-
                                                                            ments of this subsection: Provided, That such funds are in
                                                                            addition to funds otherwise available for such purposes.
                                                                            (e) COMPTROLLER GENERAL OF THE UNITED STATES AUDIT.—
                                                                       Subsequent to the certification specified in subsection (a), the Comp-                                Investigation.
                                                                       troller General of the United States shall conduct an audit and
                                                                       an investigation of the treatment, handling, and uses of all funds
                                                                       for the bilateral West Bank and Gaza Program, including all funds
                                                                       provided as cash transfer assistance, in fiscal year 2024 under
                                                                       the heading ‘‘Economic Support Fund’’, and such audit shall
                                                                       address—
                                                                                 (1) the extent to which such Program complies with the                                      Compliance.
                                                                            requirements of subsections (b) and (c); and
                                                                                 (2) an examination of all programs, projects, and activities                                Examination.
                                                                            carried out under such Program, including both obligations
                                                                            and expenditures.
                                                                            (f) NOTIFICATION PROCEDURES.—Funds made available in this
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                                                                                                                                                                             Requirement.
                                                                       Act for West Bank and Gaza shall be subject to the regular notifica-
                                                                       tion procedures of the Committees on Appropriations.




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                                                                                                      LIMITATION ON ASSISTANCE FOR THE PALESTINIAN AUTHORITY

                                                                       President.                   SEC. 7040. (a) PROHIBITION OF FUNDS.—None of the funds
                                                                                               appropriated by this Act to carry out the provisions of chapter
                                                                                               4 of part II of the Foreign Assistance Act of 1961 may be obligated
                                                                                               or expended with respect to providing funds to the Palestinian
                                                                                               Authority.
                                                                       Certification.               (b) WAIVER.—The prohibition included in subsection (a) shall
                                                                                               not apply if the President certifies in writing to the Speaker of
                                                                                               the House of Representatives, the President pro tempore of the
                                                                                               Senate, and the Committees on Appropriations that waiving such
                                                                                               prohibition is important to the national security interest of the
                                                                                               United States.
                                                                                                    (c) PERIOD OF APPLICATION OF WAIVER.—Any waiver pursuant
                                                                                               to subsection (b) shall be effective for no more than a period of
                                                                                               6 months at a time and shall not apply beyond 12 months after
                                                                                               the enactment of this Act.
                                                                                                    (d) REPORT.—Whenever the waiver authority pursuant to sub-
                                                                                               section (b) is exercised, the President shall submit a report to
                                                                                               the Committees on Appropriations detailing the justification for
                                                                                               the waiver, the purposes for which the funds will be spent, and
                                                                                               the accounting procedures in place to ensure that the funds are
                                                                                               properly disbursed: Provided, That the report shall also detail the
                                                                                               steps the Palestinian Authority has taken to arrest terrorists, con-
                                                                                               fiscate weapons and dismantle the terrorist infrastructure.
                                                                       Reports.                     (e) CERTIFICATION.—If the President exercises the waiver
                                                                                               authority under subsection (b), the Secretary of State must certify
                                                                                               and report to the Committees on Appropriations prior to the obliga-
                                                                                               tion of funds that the Palestinian Authority has established a
                                                                                               single treasury account for all Palestinian Authority financing and
                                                                                               all financing mechanisms flow through this account, no parallel
                                                                                               financing mechanisms exist outside of the Palestinian Authority
                                                                                               treasury account, and there is a single comprehensive civil service
                                                                                               roster and payroll, and the Palestinian Authority is acting to
                                                                                               counter incitement of violence against Israelis and is supporting
                                                                                               activities aimed at promoting peace, coexistence, and security
                                                                                               cooperation with Israel.
                                                                                                    (f) PROHIBITION TO HAMAS AND THE PALESTINE LIBERATION
                                                                                               ORGANIZATION.—
                                                                                                         (1) None of the funds appropriated in titles III through
                                                                                                    VI of this Act may be obligated for salaries of personnel of
                                                                                                    the Palestinian Authority located in Gaza or may be obligated
                                                                                                    or expended for assistance to Hamas or any entity effectively
                                                                                                    controlled by Hamas, any power-sharing government of which
                                                                                                    Hamas is a member, or that results from an agreement with
                                                                                                    Hamas and over which Hamas exercises undue influence.
                                                                       Certification.                    (2) Notwithstanding the limitation of paragraph (1), assist-
                                                                       Reports.                     ance may be provided to a power-sharing government only
                                                                       Compliance.                  if the President certifies and reports to the Committees on
                                                                                                    Appropriations that such government, including all of its min-
                                                                                                    isters or such equivalent, has publicly accepted and is complying
                                                                                                    with the principles contained in section 620K(b)(1)(A) and (B)
                                                                                                    of the Foreign Assistance Act of 1961, as amended.
                                                                                                         (3) The President may exercise the authority in section
                                                                                                    620K(e) of the Foreign Assistance Act of 1961, as added by
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                                                                                                    the Palestinian Anti-Terrorism Act of 2006 (Public Law 109–
                                                                                                    446) with respect to this subsection.




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                                                                                   (4) Whenever the certification pursuant to paragraph (2)                                  Reports.
                                                                              is exercised, the Secretary of State shall submit a report to                                  Time period.
                                                                                                                                                                             Compliance.
                                                                              the Committees on Appropriations within 120 days of the cer-
                                                                              tification and every quarter thereafter on whether such govern-
                                                                              ment, including all of its ministers or such equivalent are
                                                                              continuing to comply with the principles contained in section
                                                                              620K(b)(1)(A) and (B) of the Foreign Assistance Act of 1961,
                                                                              as amended: Provided, That the report shall also detail the
                                                                              amount, purposes and delivery mechanisms for any assistance
                                                                              provided pursuant to the abovementioned certification and a
                                                                              full accounting of any direct support of such government.
                                                                                   (5) None of the funds appropriated under titles III through
                                                                              VI of this Act may be obligated for assistance for the Palestine
                                                                              Liberation Organization.

                                                                                                     MIDDLE EAST AND NORTH AFRICA

                                                                              SEC. 7041. (a) EGYPT.—
                                                                                   (1) ASSISTANCE.—Of the funds appropriated by this Act,
                                                                              not less than $1,425,000,000 should be made available for
                                                                              assistance for Egypt, of which—
                                                                                       (A) not less than $125,000,000 shall be made available
                                                                                   from funds under the heading ‘‘Economic Support Fund’’,
                                                                                   of which not less than $40,000,000 should be made avail-
                                                                                   able for higher education programs, including not less than
                                                                                   $15,000,000 for scholarships for Egyptian students with
                                                                                   high financial need to attend not-for-profit institutions of
                                                                                   higher education in Egypt that are currently accredited
                                                                                   by a regional accrediting agency recognized by the United
                                                                                   States Department of Education, or meets standards
                                                                                   equivalent to those required for United States institutional
                                                                                   accreditation by a regional accrediting agency recognized
                                                                                   by such Department: Provided, That such funds shall be
                                                                                   made available for democracy programs, and for develop-
                                                                                   ment programs in the Sinai; and
                                                                                       (B) not less than $1,300,000,000 should be made avail-
                                                                                   able from funds under the heading ‘‘Foreign Military
                                                                                   Financing Program’’, to remain available until September
                                                                                   30, 2025: Provided, That such funds may be transferred                                    Transfer
                                                                                   to an interest bearing account in the Federal Reserve Bank                                authority.
                                                                                                                                                                             Consultation.
                                                                                   of New York, following consultation with the Committees                                   Requirement.
                                                                                   on Appropriations and the uses of any interest earned                                     Notification.
                                                                                   on such funds shall be subject to the regular notification
                                                                                   procedures of the Committees on Appropriations.
                                                                                   (2) CERTIFICATION AND REPORT.—Funds appropriated by
                                                                              this Act that are available for assistance for Egypt may be
                                                                              made available notwithstanding any other provision of law
                                                                              restricting assistance for Egypt, except for this subsection and
                                                                              section 620M of the Foreign Assistance Act of 1961, and may
                                                                              only be made available for assistance for the Government of
                                                                              Egypt if the Secretary of State certifies and reports to the
                                                                              Committees on Appropriations that such government is—
                                                                                       (A) sustaining the strategic relationship with the
                                                                                   United States; and
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                                                                                       (B) meeting its obligations under the 1979 Egypt-Israel
                                                                                   Peace Treaty.




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                                                                       Certification.                      (3) WITHHOLDING.—Of the funds made available pursuant
                                                                       Reports.                       to paragraph (1)(B), $320,000,000 shall be withheld from obliga-
                                                                                                      tion until the Secretary certifies and reports to the Committees
                                                                                                      on Appropriations that the Government of Egypt is meeting
                                                                                                      the requirements under this section in the explanatory state-
                                                                                                      ment described in section 4 (in the matter preceding division
                                                                       Waiver authority.              A of this consolidated Act): Provided, That the Secretary may
                                                                       Determination.                 waive such requirement if the Secretary determines and reports
                                                                                                      to the Committees on Appropriations that such funds are nec-
                                                                                                      essary for counterterrorism, border security, or nonproliferation
                                                                                                      programs or that it is otherwise important to the national
                                                                                                      security interest of the United States to do so, including a
                                                                                                      detailed justification for the use of such waiver and the reasons
                                                                                                      why any of the requirements cannot be met: Provided further,
                                                                                                      That the report required by the previous proviso shall be sub-
                                                                                                      mitted in unclassified form but may be accompanied by a classi-
                                                                                                      fied annex.
                                                                                                      (b) IRAN.—
                                                                                                           (1) FUNDING.—Funds appropriated by this Act under the
                                                                                                      headings ‘‘Diplomatic Programs’’, ‘‘Economic Support Fund’’,
                                                                                                      and ‘‘Nonproliferation, Anti-terrorism, Demining and Related
                                                                                                      Programs’’ shall be made available—
                                                                                                                (A) to support the United States policy to prevent
                                                                                                           Iran from achieving the capability to produce or otherwise
                                                                                                           obtain a nuclear weapon;
                                                                                                                (B) to support an expeditious response to any violation
                                                                                                           of United Nations Security Council Resolutions or to efforts
                                                                                                           that advance Iran’s nuclear program;
                                                                                                                (C) to support the implementation and enforcement
                                                                                                           of sanctions against Iran for support of nuclear weapons
                                                                                                           development, terrorism, human rights abuses, and ballistic
                                                                                                           missile and weapons proliferation; and
                                                                                                                (D) for democracy programs in support of the aspira-
                                                                                                           tions of the Iranian people.
                                                                                                           (2) REPORTS.—
                                                                                                                (A) SEMI-ANNUAL REPORT.—The Secretary of State shall
                                                                                                           submit to the Committees on Appropriations the semi-
                                                                                                           annual report required by section 135(d)(4) of the Atomic
                                                                                                           Energy Act of 1954 (42 U.S.C. 2160e(d)(4)), as added by
                                                                                                           section 2 of the Iran Nuclear Agreement Review Act of
                                                                                                           2015 (Public Law 114–17).
                                                                                                                (B) SANCTIONS REPORT.—Not later than 180 days after
                                                                                                           the date of enactment of this Act, the Secretary of State,
                                                                                                           in consultation with the Secretary of the Treasury, shall
                                                                                                           submit to the appropriate congressional committees a
                                                                                                           report on—
                                                                                                                     (i) the status of United States bilateral sanctions
                                                                                                                on Iran;
                                                                                                                     (ii) the reimposition and renewed enforcement of
                                                                                                                secondary sanctions; and
                                                                                                                     (iii) the impact such sanctions have had on Iran’s
                                                                                                                destabilizing activities throughout the Middle East.
                                                                                                           (3) LIMITATIONS.—None of the funds appropriated by this
                                                                                                      Act may be used to—
                                                                                                                (A) implement an agreement with the Government of
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                                                                                                           Iran relating to the nuclear program of Iran, or a renewal
                                                                                                           of the Joint Comprehensive Plan of Action adopted on




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                                                                                 October 18, 2015, in contravention of the Iran Nuclear
                                                                                 Agreement Review Act of 2015 (42 U.S.C. 2160e); or
                                                                                      (B) revoke the designation of the Islamic Revolutionary
                                                                                 Guard Corps as a Foreign Terrorist Organization pursuant
                                                                                 to section 219 of the Immigration and Nationality Act
                                                                                 (8 U.S.C. 1189).
                                                                            (c) IRAQ.—
                                                                                 (1) Funds appropriated under titles III and IV of this
                                                                            Act shall be made available for assistance for Iraq for—
                                                                                      (A) bilateral economic assistance and international
                                                                                 security assistance, including in the Kurdistan Region of
                                                                                 Iraq;
                                                                                      (B) stabilization assistance, including in Anbar Prov-
                                                                                 ince;
                                                                                      (C) programs to support government transparency and
                                                                                 accountability, support judicial independence, protect the
                                                                                 right of due process, end the use of torture, and combat
                                                                                 corruption;
                                                                                      (D) humanitarian assistance, including in the
                                                                                 Kurdistan Region of Iraq;
                                                                                      (E) programs to protect and assist religious and ethnic
                                                                                 minority populations; and
                                                                                      (F) programs to increase United States private sector
                                                                                 investment.
                                                                                 (2) LIMITATION.—Funds appropriated by this Act under                                        Badr
                                                                            title III and made available for bilateral economic assistance                                   Organization.
                                                                            for Iraq may not be made available to an organization or
                                                                            entity for which the Secretary of State has credible information
                                                                            is controlled by the Badr Organization.
                                                                            (d) ISRAEL.—Of the funds appropriated by this Act under the                                      Disbursement.
                                                                       heading ‘‘Foreign Military Financing Program’’, not less than                                         Deadline.
                                                                       $3,300,000,000 shall be available for grants only for Israel which
                                                                       shall be disbursed within 30 days of enactment of this Act: Provided,
                                                                       That to the extent that the Government of Israel requests that
                                                                       funds be used for such purposes, grants made available for Israel
                                                                       under this heading shall, as agreed by the United States and
                                                                       Israel, be available for advanced weapons systems, of which not
                                                                       less than $725,300,000 shall be available for the procurement in
                                                                       Israel of defense articles and defense services, including research
                                                                       and development.
                                                                            (e) JORDAN.—Of the funds appropriated by this Act under titles
                                                                       III and IV, not less than $1,650,000,000 shall be made available
                                                                       for assistance for Jordan, of which not less than $845,100,000
                                                                       shall be made available for budget support for the Government
                                                                       of Jordan and not less than $425,000,000 shall be made available
                                                                       under the heading ‘‘Foreign Military Financing Program’’.
                                                                            (f) LEBANON.—                                                                                    Lebanese
                                                                                 (1) LIMITATION.—None of the funds appropriated by this                                      Internal Security
                                                                            Act may be made available for the Lebanese Internal Security                                     Forces.
                                                                                                                                                                             Lebanese Armed
                                                                            Forces (ISF) or the Lebanese Armed Forces (LAF) if the ISF                                       Forces.
                                                                            or the LAF is controlled by a foreign terrorist organization,                                    Terrorism.
                                                                            as designated pursuant to section 219 of the Immigration and
                                                                            Nationality Act (8 U.S.C. 1189).
                                                                                 (2) SECURITY ASSISTANCE.—
                                                                                      (A) Funds appropriated by this Act under the headings
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                                                                                                                                                                             Consultation.
                                                                                 ‘‘International Narcotics Control and Law Enforcement’’
                                                                                 and ‘‘Foreign Military Financing Program’’ that are made




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                                                                                                         available for assistance for Lebanon may be made available
                                                                                                         for programs and equipment for the ISF and the LAF
                                                                                                         to address security and stability requirements in areas
                                                                                                         affected by conflict in Syria, following consultation with
                                                                                                         the appropriate congressional committees.
                                                                                                              (B) Funds appropriated by this Act under the heading
                                                                                                         ‘‘Foreign Military Financing Program’’ that are made avail-
                                                                                                         able for assistance for Lebanon may only be made available
                                                                                                         for programs to—
                                                                                                                   (i) professionalize the LAF to mitigate internal
                                                                                                              and external threats from non-state actors, including
                                                                                                              Hizballah;
                                                                                                                   (ii) strengthen the security of borders and combat
                                                                                                              terrorism, including training and equipping the LAF
                                                                                                              to secure the borders of Lebanon and address security
                                                                                                              and stability requirements in areas affected by conflict
                                                                                                              in Syria, interdicting arms shipments, and preventing
                                                                                                              the use of Lebanon as a safe haven for terrorist groups;
                                                                                                              and
                                                                                                                   (iii) implement United Nations Security Council
                                                                                                              Resolution 1701:
                                                                       Spend plan.                       Provided, That prior to obligating funds made available
                                                                                                         by this subparagraph for assistance for the LAF, the Sec-
                                                                                                         retary of State shall submit to the Committees on Appro-
                                                                                                         priations a spend plan, including actions to be taken to
                                                                                                         ensure equipment provided to the LAF is used only for
                                                                                                         the intended purposes, except such plan may not be consid-
                                                                                                         ered as meeting the notification requirements under section
                                                                                                         7015 of this Act or under section 634A of the Foreign
                                                                       Notification.                     Assistance Act of 1961: Provided further, That any notifica-
                                                                                                         tion submitted pursuant to such section shall include any
                                                                                                         funds specifically intended for lethal military equipment.
                                                                                                         (3) ASSISTANCE.—Funds appropriated by this Act under
                                                                                                    the heading ‘‘Economic Support Fund’’ that are made available
                                                                                                    for assistance for Lebanon may be made available notwith-
                                                                                                    standing section 1224 of the Foreign Relations Authorization
                                                                                                    Act, Fiscal Year 2003 (Public Law 107–228; 22 U.S.C. 2346
                                                                                                    note).
                                                                                                    (g) MOROCCO.—Funds appropriated under titles III and IV of
                                                                                               this Act shall be made available for assistance for Morocco.
                                                                                                    (h) SAUDI ARABIA.—
                                                                                                         (1) None of the funds appropriated by this Act under the
                                                                                                    heading ‘‘International Military Education and Training’’ should
                                                                                                    be made available for assistance for the Government of Saudi
                                                                                                    Arabia.
                                                                                                         (2) None of the funds appropriated or otherwise made
                                                                                                    available by this Act and prior Acts making appropriations
                                                                                                    for the Department of State, foreign operations, and related
                                                                                                    programs should be obligated or expended by the Export-Import
                                                                                                    Bank of the United States to guarantee, insure, or extend
                                                                                                    (or participate in the extension of) credit in connection with
                                                                                                    the export of nuclear technology, equipment, fuel, materials,
                                                                                                    or other nuclear technology-related goods or services to Saudi
                                                                                                    Arabia unless the Government of Saudi Arabia—
                                                                                                              (A) has in effect a nuclear cooperation agreement
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                                                                                                         pursuant to section 123 of the Atomic Energy Act of 1954
                                                                                                         (42 U.S.C. 2153);




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                                                                                      (B) has committed to renounce uranium enrichment
                                                                                 and reprocessing on its territory under that agreement;
                                                                                 and
                                                                                      (C) has signed and implemented an Additional Protocol
                                                                                 to its Comprehensive Safeguards Agreement with the Inter-
                                                                                 national Atomic Energy Agency.
                                                                            (i) SYRIA.—
                                                                                 (1) NON-LETHAL ASSISTANCE.—Funds appropriated by this
                                                                            Act under titles III and IV may be made available, notwith-
                                                                            standing any other provision of law, for non-lethal stabilization
                                                                            assistance for Syria, including for emergency medical and
                                                                            rescue response and chemical weapons investigations.
                                                                                 (2) LIMITATIONS.—Funds made available pursuant to para-
                                                                            graph (1) of this subsection—
                                                                                      (A) may not be made available for a project or activity                                Terrorism.
                                                                                 that supports or otherwise legitimizes the Government of                                    Iran.
                                                                                 Iran, foreign terrorist organizations (as designated pursu-
                                                                                 ant to section 219 of the Immigration and Nationality
                                                                                 Act (8 U.S.C. 1189)), or a proxy of Iran in Syria;
                                                                                      (B) may not be made available for activities that fur-                                 Russia.
                                                                                 ther the strategic objectives of the Government of the Rus-                                 Determination.
                                                                                 sian Federation that the Secretary of State determines
                                                                                 may threaten or undermine United States national security
                                                                                 interests; and
                                                                                      (C) should not be used in areas of Syria controlled                                    Bashar al-Assad.
                                                                                 by a government led by Bashar al-Assad or associated
                                                                                 forces or made available to an organization or entity effec-
                                                                                 tively controlled by an official or immediate family member
                                                                                 of an official of such government.
                                                                                 (3) UNITED STATES GOVERNMENT AL-HOL ACTION PLAN.—
                                                                            Of the funds appropriated under title III of this Act and prior
                                                                            Acts making appropriations for the Department of State, foreign
                                                                            operations, and related programs, not less than $25,000,000
                                                                            shall be made available to implement the ‘‘U.S. Government
                                                                            Al-Hol Action Plan’’.
                                                                                 (4) MONITORING, OVERSIGHT, CONSULTATION, AND NOTIFICA-                                      Requirement.
                                                                            TION.—
                                                                                      (A) Prior to the obligation of funds appropriated by
                                                                                 this Act and made available for assistance for Syria, the
                                                                                 Secretary of State shall take all practicable steps to ensure
                                                                                 that mechanisms are in place for monitoring, oversight,
                                                                                 and control of such assistance inside Syria.
                                                                                      (B) Funds made available pursuant to this subsection
                                                                                 may only be made available following consultation with
                                                                                 the appropriate congressional committees and shall be sub-
                                                                                 ject to the regular notification procedures of the Commit-
                                                                                 tees on Appropriations: Provided, That such consultation                                    Compliance.
                                                                                 shall include the steps taken to comply with subparagraph
                                                                                 (A) and steps intended to be taken to comply with section
                                                                                 7015(j) of this Act.
                                                                            (j) TUNISIA.—Funds appropriated under titles III and IV of                                       Consultation.
                                                                       this Act shall be made available for assistance for Tunisia for
                                                                       programs to support democratic governance and civil society, protect
                                                                       due process of law, and maintain regional stability and security,
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                                                                       following consultation with the Committees on Appropriations.
                                                                            (k) WEST BANK AND GAZA.—




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                                                                                                           (1) REPORT ON ASSISTANCE.—Prior to the initial obligation
                                                                                                      of funds made available by this Act under the heading ‘‘Eco-
                                                                                                      nomic Support Fund’’ for assistance for the West Bank and
                                                                                                      Gaza, the Secretary of State shall report to the Committees
                                                                                                      on Appropriations that the purpose of such assistance is to—
                                                                                                                (A) advance Middle East peace;
                                                                                                                (B) improve security in the region;
                                                                                                                (C) continue support for transparent and accountable
                                                                                                           government institutions;
                                                                                                                (D) promote a private sector economy; or
                                                                                                                (E) address urgent humanitarian needs.
                                                                                                           (2) LIMITATIONS.—
                                                                                                                (A)(i) None of the funds appropriated under the
                                                                                                           heading ‘‘Economic Support Fund’’ in this Act may be made
                                                                                                           available for assistance for the Palestinian Authority, if
                                                                                                           after the date of enactment of this Act—
                                                                                                                     (I) the Palestinians obtain the same standing as
                                                                                                                member states or full membership as a state in the
                                                                                                                United Nations or any specialized agency thereof out-
                                                                                                                side an agreement negotiated between Israel and the
                                                                                                                Palestinians; or
                                                                                                                     (II) the Palestinians initiate an International
                                                                                                                Criminal Court (ICC) judicially authorized investiga-
                                                                                                                tion, or actively support such an investigation, that
                                                                                                                subjects Israeli nationals to an investigation for alleged
                                                                                                                crimes against Palestinians.
                                                                       Waiver authority.                        (ii) The Secretary of State may waive the restriction
                                                                       Certification.                      in clause (i) of this subparagraph resulting from the
                                                                       Reports.                            application of subclause (I) of such clause if the Secretary
                                                                                                           certifies to the Committees on Appropriations that to do
                                                                                                           so is in the national security interest of the United States,
                                                                                                           and submits a report to such Committees detailing how
                                                                                                           the waiver and the continuation of assistance would assist
                                                                                                           in furthering Middle East peace.
                                                                       President.                               (B)(i) The President may waive the provisions of section
                                                                       Waiver authority.                   1003 of the Foreign Relations Authorization Act, Fiscal
                                                                       Determinations.                     Years 1988 and 1989 (Public Law 100–204) if the President
                                                                       Certifications.
                                                                                                           determines and certifies in writing to the Speaker of the
                                                                                                           House of Representatives, the President pro tempore of
                                                                                                           the Senate, and the appropriate congressional committees
                                                                                                           that the Palestinians have not, after the date of enactment
                                                                                                           of this Act—
                                                                                                                     (I) obtained in the United Nations or any special-
                                                                                                                ized agency thereof the same standing as member
                                                                                                                states or full membership as a state outside an agree-
                                                                                                                ment negotiated between Israel and the Palestinians;
                                                                                                                and
                                                                                                                     (II) initiated or actively supported an ICC inves-
                                                                                                                tigation against Israeli nationals for alleged crimes
                                                                                                                against Palestinians.
                                                                       Time period.                             (ii) Not less than 90 days after the President is unable
                                                                                                           to make the certification pursuant to clause (i) of this
                                                                                                           subparagraph, the President may waive section 1003 of
                                                                                                           Public Law 100–204 if the President determines and cer-
                                                                                                           tifies in writing to the Speaker of the House of Representa-
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                                                                                                           tives, the President pro tempore of the Senate, and the
                                                                                                           Committees on Appropriations that the Palestinians have




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                                                                                   entered into direct and meaningful negotiations with Israel:
                                                                                   Provided, That any waiver of the provisions of section
                                                                                   1003 of Public Law 100–204 under clause (i) of this
                                                                                   subparagraph or under previous provisions of law must
                                                                                   expire before the waiver under this clause may be exercised.
                                                                                        (iii) Any waiver pursuant to this subparagraph shall                                 Effective date.
                                                                                   be effective for no more than a period of 6 months at                                     Time periods.
                                                                                   a time and shall not apply beyond 12 months after the
                                                                                   enactment of this Act.
                                                                                   (3) APPLICATION OF TAYLOR FORCE ACT.—Funds appro-
                                                                              priated by this Act under the heading ‘‘Economic Support Fund’’
                                                                              that are made available for assistance for the West Bank and
                                                                              Gaza shall be made available consistent with section 1004(a)
                                                                              of the Taylor Force Act (title X of division S of Public Law
                                                                              115–141).
                                                                                   (4) SECURITY REPORT.—The reporting requirements in sec-                                   Applicability.
                                                                              tion 1404 of the Supplemental Appropriations Act, 2008 (Public
                                                                              Law 110–252) shall apply to funds made available by this
                                                                              Act, including a description of modifications, if any, to the
                                                                              security strategy of the Palestinian Authority.
                                                                                   (5) INCITEMENT REPORT.—Not later than 90 days after the
                                                                              date of enactment of this Act, the Secretary of State shall
                                                                              submit a report to the appropriate congressional committees
                                                                              detailing steps taken by the Palestinian Authority to counter
                                                                              incitement of violence against Israelis and to promote peace
                                                                              and coexistence with Israel.

                                                                                                                     AFRICA

                                                                            SEC. 7042. (a) AFRICAN GREAT LAKES REGION ASSISTANCE
                                                                       RESTRICTION.—Funds appropriated by this Act under the heading                                         Determination.
                                                                       ‘‘International Military Education and Training’’ for the central                                     Reports.
                                                                       government of a country in the African Great Lakes region may
                                                                       be made available only for Expanded International Military Edu-
                                                                       cation and Training and professional military education until the
                                                                       Secretary of State determines and reports to the Committees on
                                                                       Appropriations that such government is not facilitating or otherwise
                                                                       participating in destabilizing activities in a neighboring country,
                                                                       including aiding and abetting armed groups.
                                                                            (b) CENTRAL AFRICAN REPUBLIC.—Of the funds appropriated
                                                                       by this Act under the heading ‘‘Economic Support Fund’’, not less
                                                                       than $3,000,000 shall be made available for a contribution to the
                                                                       Special Criminal Court in Central African Republic.
                                                                            (c) COUNTER ILLICIT ARMED GROUPS.—Funds appropriated by                                          Lord’s Resistance
                                                                       this Act shall be made available for programs and activities in                                       Army.
                                                                       areas affected by the Lord’s Resistance Army (LRA) or other illicit                                   Child soldiers.
                                                                       armed groups in Eastern Democratic Republic of the Congo and
                                                                       the Central African Republic, including to improve physical access,
                                                                       telecommunications infrastructure, and early-warning mechanisms
                                                                       and to support the disarmament, demobilization, and reintegration
                                                                       of former LRA combatants, especially child soldiers.
                                                                            (d) DEMOCRATIC REPUBLIC OF THE CONGO.—Funds appropriated
                                                                       by this Act shall be made available for assistance for the Democratic
                                                                       Republic of the Congo (DRC) for stabilization, democracy, global
                                                                       health, and bilateral economic assistance: Provided, That such funds
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                                                                       shall also be made available to support security, stabilization,
                                                                       development, and democracy in Eastern DRC.




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                                                                                                    (e) ETHIOPIA.—Funds appropriated by this Act that are made
                                                                                               available for assistance for Ethiopia should be used to support—
                                                                                                         (1) political dialogue;
                                                                                                         (2) civil society and the protection of human rights;
                                                                                                         (3) investigations and prosecutions of gross violations of
                                                                                                    human rights;
                                                                                                         (4) efforts to provide unimpeded access to, and monitoring
                                                                                                    of, humanitarian assistance; and
                                                                                                         (5) the restoration of basic services in areas impacted by
                                                                                                    conflict.
                                                                                                    (f) MALAWI.—Funds appropriated by this Act and prior Acts
                                                                                               making appropriations for the Department of State, foreign oper-
                                                                                               ations, and related programs that are made available for higher
                                                                                               education programs in Malawi shall be made available for higher
                                                                                               education and workforce development programs in agriculture as
                                                                                               described under this section in House Report 118–146.
                                                                       Reports.                     (g) POWER AFRICA.—Prior to the initial obligation of funds
                                                                                               appropriated by this Act and made available for the Power Africa
                                                                                               program, the Administrator of the United States Agency for Inter-
                                                                                               national Development shall submit the report required under this
                                                                                               section in the explanatory statement described in section 4 (in
                                                                                               the matter preceding division A of this consolidated Act): Provided,
                                                                                               That such funds shall be used for all-of-the-above energy develop-
                                                                                               ment consistent with the Electrify Africa Act of 2015 (Public Law
                                                                                               114–121).
                                                                                                    (h) SOUTH SUDAN.—None of the funds appropriated by this
                                                                                               Act under title IV may be made available for assistance for the
                                                                                               central Government of South Sudan, except to support implementa-
                                                                                               tion of outstanding issues of the Comprehensive Peace Agreement,
                                                                                               mutual arrangements related to post-referendum issues associated
                                                                                               with such Agreement, or any other viable peace agreement in
                                                                                               South Sudan.
                                                                                                    (i) SUDAN.—
                                                                                                         (1) LIMITATION.—None of the funds appropriated by this
                                                                                                    Act under title IV may be made available for assistance for
                                                                                                    the central Government of Sudan, except to support
                                                                                                    implementation of outstanding issues of the Comprehensive
                                                                                                    Peace Agreement, mutual arrangements related to post-ref-
                                                                                                    erendum issues associated with such Agreement, or any other
                                                                                                    viable peace agreement in Sudan.
                                                                       Requirement.                      (2) CONSULTATION.—Funds appropriated by this Act and
                                                                                                    prior Acts making appropriations for the Department of State,
                                                                                                    foreign operations, and related programs that are made avail-
                                                                                                    able for any new program, project, or activity in Sudan shall
                                                                                                    be subject to prior consultation with the appropriate congres-
                                                                                                    sional committees.
                                                                       Certifications.              (j) ZIMBABWE.—
                                                                       Reports.                          (1) INSTRUCTION.—The Secretary of the Treasury shall
                                                                       22 USC 2151                  instruct the United States executive director of each inter-
                                                                       note.
                                                                                                    national financial institution to vote against any extension
                                                                                                    by the respective institution of any loan or grant to the Govern-
                                                                                                    ment of Zimbabwe, except to meet basic human needs or to
                                                                                                    promote democracy, unless the Secretary of State certifies and
                                                                                                    reports to the Committees on Appropriations that the rule
                                                                                                    of law has been restored, including respect for ownership and
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                                                                                                    title to property, and freedoms of expression, association, and
                                                                                                    assembly.




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                                                                                  (2) LIMITATION.—None of the funds appropriated by this
                                                                              Act shall be made available for assistance for the central
                                                                              Government of Zimbabwe, except for health and education,
                                                                              unless the Secretary of State certifies and reports as required
                                                                              in paragraph (1).

                                                                                                       EAST ASIA AND THE PACIFIC

                                                                              SEC. 7043. (a) BURMA.—
                                                                                   (1) USES OF FUNDS.—Of the funds appropriated by this
                                                                              Act under the heading ‘‘Economic Support Fund’’, not less than
                                                                              $121,000,000 shall be made available for assistance for Burma
                                                                              for the purposes described in section 5575 of the Burma Act
                                                                              of 2022 (subtitle E of title LV of division E of Public Law
                                                                              117–263) and section 7043(a) of the Department of State, For-
                                                                              eign Operations, and Related Programs Appropriations Act,
                                                                              2023 (division K of Public Law 117–328): Provided, That the                                    Applicability.
                                                                              authorities, limitations, and conditions contained in section
                                                                              7043(a) of division K of Public Law 117–328 shall apply to
                                                                              funds made available for assistance for Burma under this Act,
                                                                              except for the minimum funding requirements and paragraph
                                                                              (1)(B): Provided further, That for the purposes of section 5575
                                                                              of the Burma Act of 2022 and assistance for Burma made
                                                                              available by this Act and prior Acts making appropriations
                                                                              for the Department of State, foreign operations, and related
                                                                              programs, ‘‘non-lethal assistance’’ shall include equipment and
                                                                              associated training to support—
                                                                                        (A) atrocities prevention;
                                                                                        (B) the protection of civilians from military attack;
                                                                                        (C) the delivery of humanitarian assistance;
                                                                                        (D) investigations into genocide and human rights vio-
                                                                                   lations committed by the Burmese military;
                                                                                        (E) local governance and the provision of services in
                                                                                   areas outside the control of the Burmese military; and
                                                                                        (F) medical trauma care, supplies, and training.
                                                                                   (2)    DESERTER        PROGRAMS.—Pursuant        to   section                             Consultation.
                                                                              7043(a)(1)(A) of division K of Public Law 117–328, as continued
                                                                              in effect by this subsection, funds appropriated by this Act
                                                                              and prior Acts making appropriations for the Department of
                                                                              State, foreign operations, and related programs that are made
                                                                              available for assistance for Burma shall be made available
                                                                              for programs and activities to support deserters from the mili-
                                                                              tary junta and its allied entities, following consultation with
                                                                              the appropriate congressional committees.
                                                                              (b) CAMBODIA.—
                                                                                   Not later than 90 days after the date of enactment of                                     Deadline.
                                                                              this Act but prior to the initial obligation of funds appropriated                             Assessment.
                                                                                                                                                                             China.
                                                                              by this Act that are made available for assistance for Cambodia,
                                                                              the Secretary of State shall submit to the appropriate congres-
                                                                              sional committees an assessment of the extent of the influence
                                                                              of the People’s Republic of China in Cambodia, including on
                                                                              the Government of Cambodia and with respect to the purposes
                                                                              and operations of Ream Naval Base.
                                                                              (c) INDO-PACIFIC STRATEGY.—
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                                                                                   (1) ASSISTANCE.—Of the funds appropriated under titles
                                                                              III and IV of this Act, not less than $1,800,000,000 shall be




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                                                                                                      made available to support implementation of the Indo-Pacific
                                                                                                      Strategy.
                                                                       China.                              (2) COUNTERING PRC INFLUENCE FUND.—Of the funds appro-
                                                                       Requirement.                   priated by this Act under the headings ‘‘Development Assist-
                                                                       Consultation.                  ance’’, ‘‘Economic Support Fund’’, ‘‘International Narcotics Con-
                                                                                                      trol and Law Enforcement’’, ‘‘Nonproliferation, Anti-terrorism,
                                                                                                      Demining and Related Programs’’, and ‘‘Foreign Military
                                                                                                      Financing Program’’, not less than $400,000,000 shall be made
                                                                                                      available for a Countering PRC Influence Fund to counter
                                                                                                      the influence of the Government of the People’s Republic of
                                                                                                      China and the Chinese Communist Party and entities acting
                                                                                                      on their behalf globally, which shall be subject to prior consulta-
                                                                                                      tion with the Committees on Appropriations: Provided, That
                                                                                                      such funds are in addition to amounts otherwise made available
                                                                                                      for such purposes: Provided further, That up to 10 percent
                                                                                                      of such funds shall be held in reserve to respond to unantici-
                                                                                                      pated opportunities to counter PRC influence: Provided further,
                                                                                                      That funds made available pursuant to this paragraph under
                                                                                                      the heading ‘‘Foreign Military Financing Program’’ may remain
                                                                       Transfer                       available until September 30, 2025: Provided further, That
                                                                       authority.                     funds appropriated by this Act for such Fund under the
                                                                                                      headings ‘‘International Narcotics Control and Law Enforce-
                                                                                                      ment’’, ‘‘Nonproliferation, Anti-terrorism, Demining and Related
                                                                                                      Programs’’, and ‘‘Foreign Military Financing Program’’ may be
                                                                                                      transferred to, and merged with, funds appropriated under
                                                                       Notification.                  such headings: Provided further, That such transfer authority
                                                                                                      is in addition to any other transfer authority provided by this
                                                                                                      Act or any other Act, and is subject to the regular notification
                                                                                                      procedures of the Committees on Appropriations.
                                                                                                           (3) RESTRICTION ON USES OF FUNDS.—None of the funds
                                                                                                      appropriated by this Act and prior Acts making appropriations
                                                                                                      for the Department of State, foreign operations, and related
                                                                                                      programs may be made available for any project or activity
                                                                                                      that directly supports or promotes—
                                                                                                                 (A) the Belt and Road Initiative or any dual-use infra-
                                                                                                           structure projects of the People’s Republic of China; or
                                                                       Determination.                            (B) the use of technology, including biotechnology, dig-
                                                                                                           ital, telecommunications, and cyber, developed by the Peo-
                                                                                                           ple’s Republic of China unless the Secretary of State, in
                                                                                                           consultation with the USAID Administrator and the heads
                                                                                                           of other Federal agencies, as appropriate, determines that
                                                                                                           such use does not adversely impact the national security
                                                                                                           of the United States.
                                                                                                           (4) STRATEGIC REVIEW.—Funds appropriated by this Act
                                                                                                      shall be made available to design and implement reforms of
                                                                                                      the processes and procedures regarding the application, consid-
                                                                                                      eration, and delivery of equipment and technical training under
                                                                                                      the Foreign Military Sales (FMS) program, including
                                                                                                      implementation of FMS 2023 by the Department of State: Pro-
                                                                       Deadline.                      vided, That not later than 180 days after the date of enactment
                                                                                                      of this Act, the Secretary of State, in consultation with the
                                                                                                      heads of other relevant Federal agencies, shall submit a com-
                                                                                                      prehensive strategic review to the appropriate congressional
                                                                                                      committees on the implementation and impact of such reforms
                                                                                                      in the Indo-Pacific: Provided further, That such review shall
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                                                                       Assessment.
                                                                       Foreign                        provide an assessment of major defense equipment sought by
                                                                       countries.                     key United States allies and security partners in the region,




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                                                                           including the Philippines, Indonesia, Vietnam, Singapore, and
                                                                           Taiwan: Provided further, That the Secretary shall consult with                                   Consultation.
                                                                           the appropriate congressional committees prior to submitting
                                                                           such review.
                                                                                 (5) MAPS.—None of the funds made available by this Act
                                                                           should be used to create, procure, or display any map that
                                                                           inaccurately depicts the territory and social and economic
                                                                           system of Taiwan and the islands or island groups administered
                                                                           by Taiwan authorities.
                                                                           (d) LAOS.—Of the funds appropriated by this Act under titles                                      Agent Orange.
                                                                       III and IV, not less than $93,000,000 shall be made available
                                                                       for assistance for Laos, including for assistance for persons with
                                                                       disabilities caused by unexploded ordnance accidents, and of which
                                                                       up to $1,500,000 may be made available for programs to assist
                                                                       persons with severe physical mobility, cognitive, or developmental
                                                                       disabilities in areas sprayed with Agent Orange: Provided, That                                       Assessments.
                                                                       funds made available pursuant to this subsection may be used,
                                                                       in consultation with the Government of Laos, for assessments of
                                                                       the existence of dioxin contamination resulting from the use of
                                                                       Agent Orange in Laos and the feasibility and cost of remediation.
                                                                           (e) NORTH KOREA.—
                                                                                 (1) CYBERSECURITY.—None of the funds appropriated by                                        Determinations.
                                                                           this Act or prior Acts making appropriations for the Department                                   Reports.
                                                                           of State, foreign operations, and related programs may be made
                                                                           available for assistance for the central government of a country
                                                                           the Secretary of State determines and reports to the appropriate
                                                                           congressional committees engages in significant transactions
                                                                           contributing materially to the malicious cyber-intrusion
                                                                           capabilities of the Government of North Korea: Provided, That
                                                                           the Secretary of State shall submit the report required by
                                                                           section 209 of the North Korea Sanctions and Policy Enhance-
                                                                           ment Act of 2016 (Public Law 114–122; 22 U.S.C. 9229) to
                                                                           the Committees on Appropriations: Provided further, That the                                      Waiver authority.
                                                                           Secretary of State may waive the application of the restriction
                                                                           in this paragraph with respect to assistance for the central
                                                                           government of a country if the Secretary determines and reports
                                                                           to the appropriate congressional committees that to do so is
                                                                           important to the national security interest of the United States,
                                                                           including a description of such interest served.
                                                                                 (2) BROADCASTS.—Funds appropriated by this Act under
                                                                           the heading ‘‘International Broadcasting Operations’’ shall be
                                                                           made available to maintain broadcasting hours into North
                                                                           Korea at levels not less than the prior fiscal year.
                                                                                 (3) HUMAN RIGHTS.—Funds appropriated by this Act under
                                                                           the headings ‘‘Economic Support Fund’’ and ‘‘Democracy Fund’’
                                                                           shall be made available for the promotion of human rights
                                                                           in North Korea: Provided, That the authority of section                                           Applicability.
                                                                           7032(b)(1) of this Act shall apply to such funds.
                                                                                 (4) LIMITATION ON USE OF FUNDS.—None of the funds made
                                                                           available by this Act under the heading ‘‘Economic Support
                                                                           Fund’’ may be made available for assistance for the Government
                                                                           of North Korea.
                                                                           (f) PACIFIC ISLANDS COUNTRIES.—
                                                                                 (1) OPERATIONS.—Funds appropriated by this Act under
                                                                           the headings ‘‘Diplomatic Programs’’ for the Department of
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                                                                           State and ‘‘Operating Expenses’’ for the United States Agency
                                                                           for International Development shall be made available to




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                                                                                                      expand the United States diplomatic and development presence
                                                                                                      in Pacific Islands countries (PICs), including the number and
                                                                                                      location of facilities and personnel.
                                                                                                           (2) ASSISTANCE.—Of the funds appropriated by this Act
                                                                                                      under the headings ‘‘Development Assistance’’, ‘‘Economic Sup-
                                                                                                      port Fund’’, ‘‘International Narcotics Control and Law Enforce-
                                                                                                      ment’’, ‘‘Nonproliferation, Anti-terrorism, Demining and Related
                                                                                                      Programs’’, and ‘‘Foreign Military Financing Program’’, not less
                                                                                                      than $160,000,000 shall be made available for assistance for
                                                                                                      PICs, including to implement the Pacific Partnership Strategy
                                                                                                      of the United States and Partners in the Blue Pacific initiative,
                                                                                                      and to further the goals of the Pacific Islands Forum’s 2050
                                                                                                      Strategy for the Blue Pacific Continent: Provided, That funds
                                                                                                      appropriated by this Act that are made available for the Coun-
                                                                                                      tering PRC Influence Fund shall be made available for assist-
                                                                                                      ance for PICs, in addition to funds made available under this
                                                                                                      paragraph: Provided further, That funds made available by
                                                                                                      this paragraph for assistance for PICs shall be made available
                                                                                                      for programs and activities to strengthen and expand coopera-
                                                                                                      tion between the United States and higher education institu-
                                                                                                      tions in PICs, to be awarded on a competitive basis: Provided
                                                                       Commemoration.                 further, That funds made available by this paragraph for assist-
                                                                       World War II.                  ance for PICs shall be made available to appropriately
                                                                                                      commemorate the anniversary of World War II battles in the
                                                                                                      Pacific in which American servicemen and women lost their
                                                                                                      lives: Provided further, That of the funds made available by
                                                                                                      this paragraph for assistance for PICs, not less than $5,000,000
                                                                                                      shall be made available for trilateral programs.
                                                                                                      (g) PEOPLE’S REPUBLIC OF CHINA.—
                                                                                                           (1) PROHIBITION.—None of the funds appropriated by this
                                                                                                      Act may be made available for assistance for the Government
                                                                                                      of the People’s Republic of China or the Chinese Communist
                                                                                                      Party.
                                                                                                           (2) HONG KONG.—Of the funds appropriated by this Act
                                                                                                      under the first paragraph under the heading ‘‘Democracy
                                                                                                      Fund’’, not less than $5,000,000 shall be made available for
                                                                                                      democracy and Internet freedom programs for Hong Kong,
                                                                                                      including legal and other support for democracy activists.
                                                                                                      (h) PHILIPPINES.—
                                                                                                           (1) FOREIGN MILITARY FINANCING PROGRAM.—Of the funds
                                                                                                      appropriated by this Act under the heading ‘‘Foreign Military
                                                                                                      Financing Program’’, not less than $40,000,000 shall be made
                                                                                                      available for assistance for the Philippines.
                                                                                                           (2) LIMITATION.—None of the funds appropriated by this
                                                                                                      Act under the heading ‘‘International Narcotics Control and
                                                                                                      Law Enforcement’’ may be made available for counternarcotics
                                                                                                      assistance for the Philippines, except for drug demand reduc-
                                                                                                      tion, maritime law enforcement, or transnational interdiction.
                                                                                                      (i) TAIWAN.—
                                                                                                           (1) GLOBAL COOPERATION AND TRAINING FRAMEWORK.—Of
                                                                                                      the funds appropriated by this Act under the heading ‘‘Economic
                                                                                                      Support Fund’’, not less than $4,000,000 shall be made available
                                                                                                      for the Global Cooperation and Training Framework, which
                                                                                                      shall be administered by the American Institute in Taiwan.
                                                                                                           (2) FOREIGN MILITARY FINANCING PROGRAM.—Of the funds
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                                                                                                      appropriated by this Act under the heading ‘‘Foreign Military
                                                                                                      Financing Program’’, not less than $300,000,000 shall be made




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                                                                              available for assistance for Taiwan: Provided, That the Sec-
                                                                              retary of State, in coordination with the Secretary of Defense,
                                                                              shall prioritize the delivery of defense articles and services
                                                                              for Taiwan.
                                                                                   (3) FOREIGN MILITARY FINANCING PROGRAM LOAN AND LOAN
                                                                              GUARANTEE AUTHORITY.—Funds appropriated by this Act and
                                                                              prior Acts making appropriations for the Department of State,
                                                                              foreign operations, and related programs under the heading
                                                                              ‘‘Foreign Military Financing Program’’, except for amounts des-
                                                                              ignated as an emergency requirement pursuant to a concurrent
                                                                              resolution on the budget or the Balanced Budget and Emer-
                                                                              gency Deficit Control Act of 1985, may be made available for
                                                                              the costs, as defined in section 502 of the Congressional Budget
                                                                              Act of 1974, of direct loans and loan guarantees for Taiwan,
                                                                              as authorized by section 5502(g) of the Taiwan Enhanced Resil-
                                                                              ience Act (subtitle A of title LV of division E of Public Law
                                                                              117–263).
                                                                                   (4) FELLOWSHIP PROGRAM.—Funds appropriated by this Act
                                                                              under the heading ‘‘Payment to the American Institute in
                                                                              Taiwan’’ shall be made available for the Taiwan Fellowship
                                                                              Program.
                                                                                   (5) CONSULTATION.—Not later than 60 days after the date                                   Deadline.
                                                                              of enactment of this Act, the Secretary of State shall consult
                                                                              with the Committees on Appropriations on the uses of funds
                                                                              made available pursuant to this subsection: Provided, That                                     Requirement.
                                                                              such funds shall be subject to the regular notification proce-                                 Notification.
                                                                              dures of the Committees on Appropriations.
                                                                              (j) TIBET.—
                                                                                   (1) Notwithstanding any other provision of law, of the
                                                                              funds appropriated by this Act under the heading ‘‘Economic
                                                                              Support Fund’’, not less than $10,000,000 shall be made avail-
                                                                              able to nongovernmental organizations with experience working
                                                                              with Tibetan communities to support activities which preserve
                                                                              cultural traditions and promote sustainable development, edu-
                                                                              cation, and environmental conservation in Tibetan communities
                                                                              in the Tibet Autonomous Region and in other Tibetan commu-
                                                                              nities in China.
                                                                                   (2) Of the funds appropriated by this Act under the heading
                                                                              ‘‘Economic Support Fund’’, not less than $8,000,000 shall be
                                                                              made available for programs to promote and preserve Tibetan
                                                                              culture and language in the refugee and diaspora Tibetan
                                                                              communities, development, and the resilience of Tibetan
                                                                              communities and the Central Tibetan Administration in India
                                                                              and Nepal, and to assist in the education and development
                                                                              of the next generation of Tibetan leaders from such commu-
                                                                              nities: Provided, That such funds are in addition to amounts
                                                                              made available in paragraph (1) for programs inside Tibet.
                                                                                   (3) Of the funds appropriated by this Act under the heading                               Consultation.
                                                                              ‘‘Economic Support Fund’’, not less than $5,000,000 shall be
                                                                              made available for programs to strengthen the capacity of the
                                                                              Central Tibetan Administration, of which up to $1,500,000 may
                                                                              be made available to address economic growth and capacity
                                                                              building activities, including for displaced Tibetan refugee fami-
                                                                              lies in India and Nepal to help meet basic needs, following
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                                                                              consultation with the Committees on Appropriations: Provided,
                                                                              That such funds shall be administered by USAID.




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                                                                                                    (k) VIETNAM.—Of the funds appropriated under titles III and
                                                                                               IV of this Act, not less than $197,000,000 shall be made available
                                                                                               for assistance for Vietnam, of which not less than—
                                                                                                         (1) $30,000,000 shall be made available for health and
                                                                                                    disability programs to assist persons with severe physical
                                                                                                    mobility, cognitive, or developmental disabilities: Provided,
                                                                       Agent Orange.                That such funds shall be prioritized to assist persons whose
                                                                                                    disabilities may be related to the use of Agent Orange and
                                                                                                    exposure to dioxin, or are the result of unexploded ordnance
                                                                                                    accidents;
                                                                                                         (2) $20,000,000 shall be made available, notwithstanding
                                                                                                    any other provision of law, for activities related to the remedi-
                                                                                                    ation of dioxin contaminated sites in Vietnam and may be
                                                                                                    made available for assistance for the Government of Vietnam,
                                                                                                    including the military, for such purposes;
                                                                                                         (3) $3,000,000 shall be made available for the Reconcili-
                                                                                                    ation/Vietnamese Wartime Accounting Initiative; and
                                                                                                         (4) $15,000,000 shall be made available for higher edu-
                                                                                                    cation programs.

                                                                                                                               SOUTH AND CENTRAL ASIA

                                                                                                      SEC. 7044. (a) AFGHANISTAN.—
                                                                                                          (1) RESTRICTION.—None of the funds appropriated by this
                                                                                                      Act that are made available for assistance for Afghanistan
                                                                                                      may be made available for assistance to the Taliban.
                                                                                                          (2) AFGHAN STUDENTS.—Funds appropriated by this Act
                                                                                                      and prior Acts making appropriations for the Department of
                                                                                                      State, foreign operations, and related programs shall be made
                                                                                                      available to—
                                                                       Reimbursement.                          (A) support the higher education of students from
                                                                                                          Afghanistan studying outside of the country, including the
                                                                                                          costs of reimbursement to institutions hosting such stu-
                                                                       Consultation.                      dents, as appropriate: Provided, That the Secretary of State
                                                                                                          and the Administrator of the United States Agency for
                                                                                                          International Development, as appropriate, shall consult
                                                                                                          with the Committees on Appropriations prior to the initial
                                                                                                          obligation of funds for such purposes; and
                                                                                                               (B) provide modified learning opportunities for women
                                                                                                          and girls in Afghanistan, including but not limited to,
                                                                                                          efforts to expand internet access, online schooling, and
                                                                                                          distribution of educational content.
                                                                                                          (3) AFGHAN WOMEN.—
                                                                                                               (A) Of the funds appropriated by this Act under the
                                                                                                          heading ‘‘Economic Support Fund’’ that are made available
                                                                                                          for assistance for Afghanistan, not less than $5,000,000
                                                                                                          shall be made available for programs to investigate and
                                                                                                          document human rights abuses against women in Afghani-
                                                                       Consultation.                      stan: Provided, That such funds shall be the responsibility
                                                                                                          of the Bureau of Democracy, Human Rights, and Labor,
                                                                                                          Department of State, following consultation with the
                                                                                                          Committees on Appropriations.
                                                                                                               (B) Funds appropriated by this Act that are made
                                                                                                          available for assistance for Afghanistan shall be made
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                                                                                                          available for a program for Afghan women-led organiza-
                                                                                                          tions to support education, human rights, and economic




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                                                                                   livelihoods in Afghanistan: Provided, That such program
                                                                                   shall be co-designed by women in Afghanistan.
                                                                                   (4) REPORT.—Not later than 45 days after the date of                                      Plans.
                                                                              enactment of this Act, the Secretary of State and the USAID
                                                                              Administrator shall submit a report to the appropriate congres-
                                                                              sional committees detailing plans, consistent with the restric-
                                                                              tion contained in paragraph (1), to—
                                                                                        (A) protect and strengthen the rights of Afghan women
                                                                                   and girls;
                                                                                        (B) support higher education programs, including
                                                                                   continued support for the American University of Afghani-
                                                                                   stan’s (AUAF) online programs and support for other higher
                                                                                   education institutions in South Asia and the Middle East
                                                                                   that are hosting AUAF and other Afghan students;
                                                                                        (C) support Afghan civil society activists, journalists,
                                                                                   and independent media, including in third countries; and
                                                                                        (D) support health, education, including community-
                                                                                   based education, and other programs to address the basic
                                                                                   needs of the people of Afghanistan.
                                                                              (b) PAKISTAN.—
                                                                                   (1) LIMITATION.—Funds appropriated by this Act under
                                                                              the heading ‘‘Foreign Military Financing Program’’ that are
                                                                              made available for assistance for Pakistan may only be made
                                                                              available to support counterterrorism and counterinsurgency
                                                                              capabilities in Pakistan.
                                                                                   (2) WITHHOLDING.—Of the funds appropriated under titles                                   Reports.
                                                                              III and IV of this Act that are made available for assistance                                  Shakil Afridi.
                                                                              for Pakistan, $33,000,000 shall be withheld from obligation
                                                                              until the Secretary of State reports to the Committees on Appro-
                                                                              priations that Dr. Shakil Afridi has been released from prison
                                                                              and cleared of all charges relating to the assistance provided
                                                                              to the United States in locating Osama bin Laden.
                                                                              (c) SRI LANKA.—
                                                                                   (1) ASSISTANCE.—Funds appropriated under title III of this
                                                                              Act shall be made available for assistance for Sri Lanka for
                                                                              democracy and economic development programs, particularly
                                                                              in areas recovering from ethnic and religious conflict.
                                                                                   (2) CERTIFICATION.—Funds appropriated by this Act for                                     Reports.
                                                                              assistance for the central Government of Sri Lanka may be
                                                                              made available only if the Secretary of State certifies and
                                                                              reports to the Committees on Appropriations that such Govern-
                                                                              ment is taking effective and consistent steps to—
                                                                                        (A) protect the rights and freedoms of the people of                                 Human rights.
                                                                                   Sri Lanka regardless of ethnicity and religious belief,
                                                                                   including by investigating violations of human rights and
                                                                                   the laws of war and holding perpetrators of such violations
                                                                                   accountable;
                                                                                        (B) implement the necessary political, economic, mili-
                                                                                   tary, and legal reforms to enable economic recovery and
                                                                                   to prevent conflict and future economic crises;
                                                                                        (C) increase transparency and accountability in govern-
                                                                                   ance and combat corruption, including bringing to justice
                                                                                   public officials who have engaged in significant acts of
                                                                                   corruption;
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                                                                                        (D) assert its sovereignty against influence by the Peo-
                                                                                   ple’s Republic of China; and




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                                                                                                               (E) promote reconciliation between ethnic and religious
                                                                                                           groups, particularly arising from past conflict in Sri Lanka,
                                                                                                           as described under this section in House Report 118–146:
                                                                                                      Provided, That the limitations of this paragraph shall not apply
                                                                                                      to funds made available for humanitarian assistance and dis-
                                                                                                      aster response; to protect human rights, locate and identify
                                                                                                      missing persons, and assist victims of torture and trauma;
                                                                                                      to promote justice, accountability, and reconciliation; to enhance
                                                                                                      maritime security and domain awareness; to promote fiscal
                                                                                                      transparency and sovereignty; and for International Military
                                                                                                      Education and Training.
                                                                                                           (3) LIMITATION.—Funds appropriated by this Act that are
                                                                                                      made available for assistance for the Sri Lankan armed forces
                                                                                                      may only be made available for—
                                                                                                               (A) international peacekeeping operations training;
                                                                                                               (B) humanitarian assistance and disaster response;
                                                                                                               (C) instruction in human rights and related curricula
                                                                                                           development;
                                                                                                               (D) maritime security and domain awareness, including
                                                                                                           professionalization and training for the navy and coast
                                                                                                           guard; and
                                                                                                               (E) programs and activities under the heading ‘‘Inter-
                                                                                                           national Military Education and Training’’.
                                                                       Requirement.                        (4) CONSULTATION.—Funds made available for assistance
                                                                                                      for Sri Lanka for international peacekeeping operations training
                                                                                                      shall be subject to prior consultation with the Committees
                                                                                                      on Appropriations.

                                                                                                                       LATIN AMERICA AND THE CARIBBEAN

                                                                                                  SEC. 7045. (a) ASSISTANCE FOR LATIN AMERICA AND THE CARIB-
                                                                                               BEAN.—Funds appropriated by this Act under titles III and IV
                                                                                               and made available for countries in Latin America and the Carib-
                                                                                               bean shall be prioritized for programs as described under this
                                                                                               section in the explanatory statement described in section 4 (in
                                                                                               the matter preceding division A of this consolidated Act).
                                                                                                    (b) CENTRAL AMERICA.—
                                                                                                         (1) ASSISTANCE.—Funds appropriated under titles III and
                                                                                                    IV of this Act shall be made available for assistance for coun-
                                                                                                    tries in Central America, consistent with subsection (a), of
                                                                                                    which—
                                                                                                              (A) $61,500,000 should be made available to support
                                                                                                         entities and activities to combat corruption and impunity
                                                                                                         in such countries, including, as appropriate, offices of Attor-
                                                                                                         neys General;
                                                                                                              (B) $70,000,000 should be made available for programs
                                                                                                         to reduce violence against women and girls, including for
                                                                                                         Indigenous women and girls;
                                                                                                              (C) funds should be made available for assistance for
                                                                                                         El Salvador, Guatemala, and Honduras for programs that
                                                                                                         support locally-led development in such countries: Pro-
                                                                                                         vided, That up to 15 percent of the funds made available
                                                                                                         to carry out this subparagraph may be used by the
                                                                                                         Administrator of the United States Agency for Inter-
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                                                                                                         national Development for administrative and oversight
                                                                                                         expenses related to the purposes of this subparagraph:




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                                                                                 Provided further, That the USAID Administrator shall con-                                   Consultation.
                                                                                 sult with the Committees on Appropriations on the planned
                                                                                 uses of funds to carry out this subparagraph prior to the
                                                                                 initial obligation of funds: Provided further, That such                                    Requirement.
                                                                                 funds shall be subject to the regular notification procedures                               Notification.
                                                                                 of the Committees on Appropriations; and
                                                                                      (D) funds shall be made available for the youth
                                                                                 empowerment program established pursuant to section
                                                                                 7045(a)(1)(C) of the Department of State, Foreign Oper-
                                                                                 ations, and Related Programs Appropriations Act, 2022
                                                                                 (division K of Public Law 117–103).
                                                                                 (2) LIMITATION ON ASSISTANCE TO CERTAIN CENTRAL
                                                                              GOVERNMENTS.—
                                                                                      (A) Of the funds made available pursuant to paragraph                                  Certification.
                                                                                 (1) under the heading ‘‘Economic Support Fund’’ and under                                   Reports.
                                                                                 title IV of this Act, 60 percent of such funds that are
                                                                                 made available for assistance for each of the central govern-
                                                                                 ments of El Salvador, Guatemala, and Honduras may only
                                                                                 be obligated after the Secretary of State certifies and
                                                                                 reports to the Committees on Appropriations that such
                                                                                 government is—
                                                                                           (i) combating corruption and impunity, including
                                                                                      investigating and prosecuting government officials,
                                                                                      military personnel, and police officers credibly alleged
                                                                                      to be corrupt, and improving strategies to combat
                                                                                      money laundering and other global financial crimes;
                                                                                           (ii) implementing reforms, policies, and programs
                                                                                      to strengthen the rule of law, including increasing
                                                                                      the transparency of public institutions, strengthening
                                                                                      the independence of judicial and electoral institutions,
                                                                                      and improving the transparency of political campaign
                                                                                      and political party financing;
                                                                                           (iii) protecting the rights of human rights
                                                                                      defenders, trade unionists, journalists, civil society
                                                                                      groups, opposition political parties, and the independ-
                                                                                      ence of the media;
                                                                                           (iv) providing effective and accountable law
                                                                                      enforcement and security for its citizens, curtailing
                                                                                      the role of the military in public security, and
                                                                                      upholding due process of law;
                                                                                           (v) implementing programs to reduce violence
                                                                                      against women and girls;
                                                                                           (vi) implementing policies to reduce poverty and
                                                                                      promote economic growth and opportunity, including
                                                                                      the implementation of reforms to strengthen edu-
                                                                                      cational systems, vocational training programs, and
                                                                                      programs for at-risk youth;
                                                                                           (vii) cooperating with the United States to counter
                                                                                      drug trafficking, human trafficking and smuggling, and
                                                                                      other transnational crime;
                                                                                           (viii) cooperating with the United States and other
                                                                                      governments in the region to facilitate the return, repa-
                                                                                      triation, and reintegration of migrants;
                                                                                           (ix) taking demonstrable actions to secure national
                                                                                      borders and stem mass migration, including by
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                                                                                      informing its citizens of the dangers of the journey
                                                                                      to the southwest border of the United States and




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                                                                                                                advancing efforts to combat crime and violence, build
                                                                                                                economic opportunity, improve government services,
                                                                                                                and protect human rights; and
                                                                                                                     (x) implementing policies that improve the environ-
                                                                                                                ment for businesses, including foreign businesses, to
                                                                                                                operate and invest, including executing tax reform in
                                                                                                                a transparent manner, ensuring effective legal mecha-
                                                                                                                nisms for reimbursements of tax refunds owed to
                                                                                                                United States businesses, and resolving disputes
                                                                                                                involving the confiscation of real property of United
                                                                                                                States entities.
                                                                                                                (B) EXCEPTIONS.—The limitation of subparagraph (A)
                                                                                                           shall not apply to funds appropriated by this Act that
                                                                                                           are made available for—
                                                                                                                     (i) judicial entities and activities to combat corrup-
                                                                                                                tion and impunity;
                                                                                                                     (ii) programs to combat gender-based violence;
                                                                                                                     (iii) programs to promote and protect human
                                                                                                                rights, including those of Indigenous communities and
                                                                                                                Afro-descendants, and to investigate human rights
                                                                                                                abuses;
                                                                                                                     (iv) support for women’s economic empowerment;
                                                                                                                     (v) humanitarian assistance; and
                                                                                                                     (vi) food security programs.
                                                                                                                (C) FOREIGN MILITARY FINANCING PROGRAM.—None of
                                                                                                           the funds appropriated by this Act under the heading ‘‘For-
                                                                                                           eign Military Financing Program’’ may be made available
                                                                                                           for assistance for El Salvador, Guatemala, or Honduras,
                                                                                                           except for programs that support humanitarian assistance
                                                                                                           and disaster response.
                                                                                                      (c) COLOMBIA.—
                                                                                                           (1) PRE-OBLIGATION REPORTS.—Prior to the initial obligation
                                                                                                      of funds appropriated by this Act and made available for assist-
                                                                                                      ance for Colombia, the Secretary of State shall submit the
                                                                                                      reports required under this section in the explanatory state-
                                                                                                      ment described in section 4 (in the matter preceding division
                                                                                                      A of this consolidated Act).
                                                                                                           (2) ASSISTANCE.—
                                                                                                                (A) Funds appropriated by this Act under titles III
                                                                                                           and IV shall be made available for assistance for Colombia:
                                                                                                           Provided, That such funds shall be made available for
                                                                                                           the programs and activities described under this section
                                                                                                           in the explanatory statement described in section 4 (in
                                                                                                           the matter preceding division A of this consolidated Act).
                                                                                                                (B) Of the funds appropriated by this Act under the
                                                                                                           heading ‘‘International Narcotics Control and Law Enforce-
                                                                                                           ment’’ and made available for assistance pursuant to this
                                                                                                           subsection, not less than $40,000,000 shall be made avail-
                                                                                                           able to enhance rural security in coca producing municipali-
                                                                                                           ties and other municipalities with high levels of illicit
                                                                                                           activities: Provided, That such funds shall be prioritized
                                                                                                           in such municipalities that are also targeted for assistance
                                                                                                           programs that provide viable economic alternatives and
                                                                                                           improve access to public services.
                                                                                                           (3) WITHHOLDING OF FUNDS.—
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                                                                       Certifications.
                                                                       Reports.                                 (A) COUNTERNARCOTICS.—Of the funds appropriated by
                                                                       Time period.                        this Act under the heading ‘‘International Narcotics Control




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                                                                                   and Law Enforcement’’ that are made available for assist-
                                                                                   ance for Colombia, 20 percent may be obligated only if
                                                                                   the Secretary of State certifies and reports to the Commit-
                                                                                   tees on Appropriations that in the previous 12 months
                                                                                   the Government of Colombia has—
                                                                                              (i) reduced overall coca cultivation, production, and
                                                                                        drug trafficking;
                                                                                              (ii) continued cooperating with the United States
                                                                                        on joint counternarcotics strategies; and
                                                                                              (iii) maintained extradition cooperation with the
                                                                                        United States.
                                                                                        (B) HUMAN RIGHTS.—Of the funds appropriated by this
                                                                                   Act under the heading ‘‘Foreign Military Financing Pro-
                                                                                   gram’’ and made available for assistance for Colombia,
                                                                                   20 percent may be obligated only if the Secretary of State
                                                                                   certifies and reports to the Committees on Appropriations
                                                                                   that—
                                                                                              (i) the Special Jurisdiction for Peace and other
                                                                                        judicial authorities, as appropriate, are sentencing per-
                                                                                        petrators of gross violations of human rights, including
                                                                                        those with command responsibility, to deprivation of
                                                                                        liberty;
                                                                                              (ii) the Government of Colombia is making con-
                                                                                        sistent progress in reducing threats and attacks
                                                                                        against human rights defenders and other civil society
                                                                                        activists, and judicial authorities are prosecuting and
                                                                                        punishing those responsible for ordering and carrying
                                                                                        out such attacks;
                                                                                              (iii) the Government of Colombia is making con-
                                                                                        sistent progress in protecting Afro-Colombian and
                                                                                        Indigenous communities and is respecting their rights
                                                                                        and territories;
                                                                                              (iv) senior military officers credibly alleged, or
                                                                                        whose units are credibly alleged, to be responsible
                                                                                        for ordering, committing, and covering up cases of false
                                                                                        positives and other extrajudicial killings, or of commit-
                                                                                        ting other gross violations of human rights, or of con-
                                                                                        ducting illegal communications intercepts or other
                                                                                        illicit surveillance, are being held accountable,
                                                                                        including removal from active duty if found guilty
                                                                                        through criminal, administrative, or disciplinary pro-
                                                                                        ceedings; and
                                                                                              (v) the Colombian Armed Forces are cooperating
                                                                                        fully with the requirements described in clauses (i)
                                                                                        through (iv).
                                                                                   (4) EXCEPTIONS.—The limitations of paragraph (3) shall
                                                                              not apply to funds made available for aviation instruction and
                                                                              maintenance, and maritime and riverine security programs.
                                                                                   (5) AUTHORITY.—Aircraft supported by funds appropriated
                                                                              by this Act and prior Acts making appropriations for the
                                                                              Department of State, foreign operations, and related programs
                                                                              and made available for assistance for Colombia may be used
                                                                              to transport personnel and supplies involved in drug eradication
                                                                              and interdiction, including security for such activities, and to
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                                                                              provide transport in support of alternative development pro-
                                                                              grams and investigations by civilian judicial authorities.




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                                                                                                         (6) LIMITATION.—None of the funds appropriated by this
                                                                                                    Act or prior Acts making appropriations for the Department
                                                                                                    of State, foreign operations, and related programs that are
                                                                                                    made available for assistance for Colombia may be made avail-
                                                                                                    able for payment of reparations to conflict victims, compensa-
                                                                                                    tion to demobilized combatants, or cash subsidies for agrarian
                                                                                                    reforms associated with the implementation of the 2016 peace
                                                                                                    agreement between the Government of Colombia and illegal
                                                                                                    armed groups.
                                                                                                    (d) CUBA DEMOCRACY PROGRAMS.—Funds appropriated by this
                                                                                               Act under the heading ‘‘Economic Support Fund’’ and made avail-
                                                                                               able for democracy programs in Cuba may not be made available
                                                                                               for business promotion, economic reform, entrepreneurship, or any
                                                                                               other assistance that is not democracy building as expressly author-
                                                                                               ized in the Cuban Liberty and Democratic Solidarity (LIBERTAD)
                                                                                               Act of 1996 and the Cuban Democracy Act of 1992.
                                                                                                    (e) CUBAN DOCTORS.—
                                                                                                         (1) REPORT.—Not later than 90 days after the date of
                                                                                                    enactment of this Act, the Secretary of State shall submit
                                                                                                    a report to the appropriate congressional committees listing
                                                                                                    the countries and international organizations for which the
                                                                                                    Secretary has credible information are directly paying the
                                                                                                    Government of Cuba for coerced and trafficked labor of Cuban
                                                                                                    medical professionals: Provided, That such report shall be sub-
                                                                                                    mitted in unclassified form but may include a classified annex.
                                                                       Applicability.                    (2) DESIGNATION.—The Secretary of State shall apply the
                                                                                                    requirements of section 7031(c) of this Act to officials from
                                                                                                    countries and organizations identified in the report required
                                                                                                    pursuant to the previous paragraph.
                                                                                                    (f) FACILITATING IRRESPONSIBLE MIGRATION.—None of the funds
                                                                                               appropriated or otherwise made available by this Act may be used
                                                                                               to encourage, mobilize, publicize, or manage mass-migration cara-
                                                                       Reports.                vans towards the United States southwest border: Provided, That
                                                                       Analysis.               not later than 180 days after the date of enactment of this Act,
                                                                                               the Secretary of State shall report to the appropriate congressional
                                                                                               committees with analysis on the organization and funding of mass-
                                                                                               migration caravans in the Western Hemisphere: Provided further,
                                                                                               That the prohibition contained in this subsection shall not be con-
                                                                                               strued to preclude the provision of humanitarian assistance.
                                                                                                    (g) HAITI.—
                                                                                                         (1) ASSISTANCE.—Funds appropriated by this Act under
                                                                                                    titles III and IV shall be made available for assistance for
                                                                                                    Haiti to support the basic needs of the Haitian people.
                                                                       Reports.                          (2) CERTIFICATION.—Funds appropriated by this Act that
                                                                                                    are made available for assistance for Haiti may only be made
                                                                                                    available for the central Government of Haiti if the Secretary
                                                                                                    of State certifies and reports to the appropriate congressional
                                                                                                    committees by January 1, 2025 that elections have been sched-
                                                                                                    uled or held in Haiti and it is in the national interest of
                                                                                                    the United States to provide such assistance.
                                                                                                         (3) EXCEPTIONS.—Notwithstanding paragraph (2), funds
                                                                                                    may be made available to support—
                                                                                                              (A) democracy programs;
                                                                                                              (B) police, anti-gang, and administration of justice pro-
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                                                                                                         grams, including to reduce pre-trial detention and eliminate
                                                                                                         inhumane prison conditions;




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                                                                                      (C) public health, food security, subsistence farmers,
                                                                                 water and sanitation, education, and other programs to
                                                                                 meet basic human needs; and
                                                                                      (D) disaster relief and recovery.
                                                                                 (4) CONSULTATION.—Funds appropriated by this Act and                                        Requirement.
                                                                            prior Acts making appropriations for the Department of State,
                                                                            foreign operations, and related programs that are made avail-
                                                                            able for any new program, project, or activity in Haiti shall
                                                                            be subject to prior consultation with the Committees on Appro-
                                                                            priations: Provided, That the requirement of this paragraph                                      Applicability.
                                                                            shall also apply to any funds from such Acts that are made
                                                                            available for support for an international security force in Haiti.
                                                                                 (5) PROHIBITION.—None of the funds appropriated or other-
                                                                            wise made available by this Act may be used for assistance
                                                                            for the armed forces of Haiti.
                                                                                 (6) HAITIAN COAST GUARD.—The Government of Haiti shall
                                                                            be eligible to purchase defense articles and services under
                                                                            the Arms Export Control Act (22 U.S.C. 2751 et seq.) for the
                                                                            Coast Guard.
                                                                                 (7) MODIFICATION.—Section 7045(c)(3) of the Department
                                                                            of State, Foreign Operations, and Related Programs Appropria-
                                                                            tions Act, 2023 (division K of Public Law 117–328) is amended                                    136 Stat. 5066.
                                                                            by striking ‘‘paragraph (1)’’ and inserting ‘‘paragraph (2)’’.
                                                                            (h) MEXICO.—Of the funds appropriated under title IV in this                                     Certification.
                                                                       Act that are made available for assistance for Mexico, 15 percent                                     Reports.
                                                                                                                                                                             Drugs and drug
                                                                       shall be withheld from obligation until the Secretary of State cer-                                   abuse.
                                                                       tifies and reports to the appropriate congressional committees that
                                                                       the Government of Mexico has taken steps to—
                                                                                 (1) reduce the amount of fentanyl arriving at the United
                                                                            States-Mexico border;
                                                                                 (2) dismantle and hold accountable transnational criminal
                                                                            organizations;
                                                                                 (3) support joint counternarcotics operations and intel-
                                                                            ligence sharing with United States counterparts; and
                                                                                 (4) respect extradition requests for criminals sought by
                                                                            the United States.
                                                                            (i) NICARAGUA.—Of the funds appropriated by this Act under
                                                                       the heading ‘‘Development Assistance’’, not less than $15,000,000
                                                                       shall be made available for democracy and religious freedom pro-
                                                                       grams for Nicaragua.
                                                                            (j) ORGANIZATION OF AMERICAN STATES.—
                                                                                 (1) The Secretary of State shall instruct the United States
                                                                            Permanent Representative to the Organization of American
                                                                            States (OAS) to use the voice and vote of the United States
                                                                            to:
                                                                                      (A) implement budgetary reforms and efficiencies
                                                                                 within the Organization;
                                                                                      (B) eliminate arrears, increase other donor contribu-
                                                                                 tions, and impose penalties for successive late payment
                                                                                 of assessments;
                                                                                      (C) prevent programmatic and organizational
                                                                                 redundancies and consolidate duplicative activities and
                                                                                 functions;
                                                                                      (D) prioritize areas in which the OAS has expertise,
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                                                                                 such as strengthening democracy, monitoring electoral
                                                                                 processes, and protecting human rights; and




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                                                                                                             (E) implement reforms within the Office of the
                                                                                                        Inspector General (OIG) to ensure the OIG has the nec-
                                                                                                        essary leadership, integrity, professionalism, independence,
                                                                                                        policies, and procedures to properly carry out its respon-
                                                                                                        sibilities in a manner that meets or exceeds best practices
                                                                                                        in the United States.
                                                                       Reports.                         (2) Prior to the obligation of funds appropriated by this
                                                                                                   Act and made available for an assessed contribution to the
                                                                                                   Organization of American States, but not later than 90 days
                                                                                                   after the date of enactment of this Act, the Secretary of State
                                                                                                   shall submit a report to the appropriate congressional commit-
                                                                                                   tees on actions taken or planned to be taken pursuant to
                                                                                                   paragraph (1) that are in addition to actions taken during
                                                                                                   the preceding fiscal year, and the results of such actions.
                                                                                                   (k) THE CARIBBEAN.—Of the funds appropriated by this Act
                                                                                               under titles III and IV, not less than $88,000,000 shall be made
                                                                                               available for the Caribbean Basin Security Initiative.
                                                                                                   (l) VENEZUELA.—
                                                                                                        (1) Of the funds appropriated by this Act under the heading
                                                                                                   ‘‘Economic Support Fund’’, $50,000,000 should be made avail-
                                                                                                   able for democracy programs for Venezuela.
                                                                       Determination.                   (2) Of the funds made available pursuant to paragraph
                                                                       Reports.                    (1) that are allocated for electoral-related activities, 50 percent
                                                                                                   may only be obligated after the Secretary of State determines
                                                                                                   and reports to the appropriate congressional committees that
                                                                                                   elections related to such activities—
                                                                                                             (A) allow for the diaspora from Venezuela to partici-
                                                                                                        pate;
                                                                                                             (B) are open for credible, unobstructed international
                                                                                                        observation; and
                                                                                                             (C) allow for opposition candidates selected through
                                                                                                        credible and democratic processes to participate.
                                                                                                        (3) Funds shall be made available for assistance for commu-
                                                                                                   nities in countries supporting or otherwise impacted by
                                                                       Requirement.                migrants from Venezuela: Provided, That such amounts are
                                                                       Notification.               in addition to funds otherwise made available for assistance
                                                                                                   for such countries and are subject to the regular notification
                                                                                                   procedures of the Committees on Appropriations.

                                                                                                                                  EUROPE AND EURASIA

                                                                                                   SEC. 7046. (a) SECTION 907 OF THE FREEDOM SUPPORT ACT.—
                                                                                               Section 907 of the FREEDOM Support Act (22 U.S.C. 5812 note)
                                                                                               shall not apply to—
                                                                                                        (1) activities to support democracy or assistance under
                                                                                                   title V of the FREEDOM Support Act (22 U.S.C. 5851 et seq.)
                                                                                                   and section 1424 of the Defense Against Weapons of Mass
                                                                                                   Destruction Act of 1996 (50 U.S.C. 2333) or non-proliferation
                                                                                                   assistance;
                                                                                                        (2) any assistance provided by the Trade and Development
                                                                                                   Agency under section 661 of the Foreign Assistance Act of
                                                                                                   1961;
                                                                                                        (3) any activity carried out by a member of the United
                                                                                                   States and Foreign Commercial Service while acting within
                                                                                                   his or her official capacity;
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                                                                                                        (4) any insurance, reinsurance, guarantee, or other assist-
                                                                                                   ance provided by the United States International Development




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                                                                            Finance Corporation as authorized by the BUILD Act of 2018
                                                                            (division F of Public Law 115–254);
                                                                                 (5) any financing provided under the Export-Import Bank
                                                                            Act of 1945 (Public Law 79–173); or
                                                                                 (6) humanitarian assistance.
                                                                            (b) TERRITORIAL INTEGRITY.—None of the funds appropriated
                                                                       by this Act may be made available for assistance for a government
                                                                       of an Independent State of the former Soviet Union if such govern-
                                                                       ment directs any action in violation of the territorial integrity
                                                                       or national sovereignty of any other Independent State of the former
                                                                       Soviet Union, such as those violations included in the Helsinki
                                                                       Final Act: Provided, That except as otherwise provided in section                                     President.
                                                                       7047(a) of this Act, funds may be made available without regard                                       Determination.
                                                                       to the restriction in this subsection if the President determines
                                                                       that to do so is in the national security interest of the United
                                                                       States: Provided further, That prior to executing the authority                                       Consultation.
                                                                       contained in the previous proviso, the Secretary of State shall
                                                                       consult with the Committees on Appropriations on how such assist-
                                                                       ance supports the national security interest of the United States.
                                                                            (c) TURKEY.—None of the funds made available by this Act                                         Determination.
                                                                       may be used to facilitate or support the sale of defense articles                                     Reports.
                                                                       or defense services to the Turkish Presidential Protection Direc-
                                                                       torate (TPPD) under chapter 2 of the Arms Export Control Act
                                                                       (22 U.S.C. 2761 et seq.) unless the Secretary of State determines
                                                                       and reports to the appropriate congressional committees that mem-
                                                                       bers of the TPPD who are named in the July 17, 2017, indictment
                                                                       by the Superior Court of the District of Columbia, and against
                                                                       whom there are pending charges, have returned to the United
                                                                       States to stand trial in connection with the offenses contained
                                                                       in such indictment or have otherwise been brought to justice: Pro-
                                                                       vided, That the limitation in this paragraph shall not apply to
                                                                       the use of funds made available by this Act for border security
                                                                       purposes, for North Atlantic Treaty Organization or coalition oper-
                                                                       ations, or to enhance the protection of United States officials and
                                                                       facilities in Turkey.
                                                                            (d) UKRAINE.—
                                                                                 (1) STRATEGY REQUIREMENT.—Not later than 60 days after                                      Deadline.
                                                                            the date of enactment of this Act, the Secretary of State, in
                                                                            coordination with the heads of other relevant Federal agencies,
                                                                            shall submit to the Speaker and Minority Leader of the House
                                                                            of Representatives, the Majority and Minority Leaders of the
                                                                            Senate, and the appropriate congressional committees a
                                                                            strategy to prioritize United States national security interests
                                                                            in response to Russian aggression in Ukraine and its impact
                                                                            in Europe and Eurasia, which shall include an explanation
                                                                            of how United States assistance for Ukraine and affected coun-
                                                                            tries in the region advances the objectives of such strategy:
                                                                            Provided, That such strategy shall include clear goals, bench-                                   Timelines.
                                                                            marks, timelines, and strategic objectives with respect to funds
                                                                            appropriated by this Act and prior Acts making appropriations
                                                                            for the Department of State, foreign operations, and related
                                                                            programs that are made available for assistance for Ukraine,
                                                                            including details on the staffing requirements necessary to
                                                                            carry out such strategy.
                                                                                 (2) COST MATCHING.—Funds appropriated by this Act under
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                                                                                                                                                                             Reports.
                                                                            the headings ‘‘Economic Support Fund’’ and ‘‘Assistance for
                                                                            Europe, Eurasia and Central Asia’’ that are made available




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                                                                                                      for contributions to the Government of Ukraine may not exceed
                                                                                                      50 percent of the total amount provided for such assistance
                                                                       President.                     by all sources: Provided, That the President may waive the
                                                                       Waiver authority.              limitation in this paragraph if the President determines and
                                                                       Determination.                 reports to the appropriate congressional committees that to
                                                                                                      do so is in the national security interest of the United States,
                                                                                                      including a detailed justification for such determination and
                                                                                                      an explanation as to why other donors to the Government
                                                                                                      of Ukraine are unable to meet or exceed such level: Provided
                                                                       Time period.                   further, That following such determination, the President shall
                                                                                                      submit a report to the Speaker and Minority Leader of the
                                                                                                      House of Representatives, the Majority and Minority Leaders
                                                                                                      of the Senate, and the appropriate congressional committees
                                                                                                      every 120 days while assistance is provided in reliance on
                                                                                                      the determination under the previous proviso detailing steps
                                                                                                      taken by the Department of State to increase other donor
                                                                                                      contributions and an update on the status of such contributions:
                                                                       Requirements.                  Provided further, That the requirements of this paragraph shall
                                                                       Extension.                     continue in effect until funds made available by this Act pursu-
                                                                                                      ant to this paragraph have been expended.
                                                                                                           (3) OVERSIGHT.—
                                                                                                                (A) STAFFING.—Funds appropriated under titles I and
                                                                                                           II of this Act shall be made available to support the appro-
                                                                                                           priate level of staff in Ukraine and neighboring countries
                                                                                                           to conduct effective monitoring and oversight of United
                                                                                                           States foreign assistance and ensure the safety and security
                                                                                                           of United States personnel, consistent with the strategy
                                                                                                           required in paragraph (1).
                                                                                                                (B) IN-PERSON MONITORING.—The Secretary of State
                                                                                                           shall, to the maximum extent practicable, ensure that funds
                                                                                                           appropriated by this Act under the headings ‘‘Economic
                                                                                                           Support Fund’’, ‘‘Assistance for Europe, Eurasia and Cen-
                                                                                                           tral Asia’’, ‘‘International Narcotics Control and Law
                                                                                                           Enforcement’’, and ‘‘Nonproliferation, Anti-terrorism,
                                                                                                           Demining and Related Programs’’ and made available for
                                                                                                           project-based assistance for Ukraine are subject to in-per-
                                                                                                           son monitoring by United States personnel or by vetted
                                                                                                           third party monitors.
                                                                       Reports.                                 (C) CERTIFICATION.—Not later than 15 days prior to
                                                                       Audits.                             the initial obligation of funds appropriated by this Act
                                                                       Evaluations.                        and made available for assistance for Ukraine under the
                                                                                                           headings ‘‘Economic Support Fund’’, ‘‘Assistance for Europe,
                                                                                                           Eurasia and Central Asia’’, ‘‘International Narcotics Control
                                                                                                           and Law Enforcement’’, ‘‘Nonproliferation, Anti-terrorism,
                                                                                                           Demining and Related Programs’’, and ‘‘Foreign Military
                                                                                                           Financing Program’’, the Secretary of State and the USAID
                                                                                                           Administrator shall jointly certify and report to the appro-
                                                                                                           priate congressional committees that mechanisms for moni-
                                                                                                           toring and oversight of funds are in place and functioning
                                                                                                           to ensure accountability of such funds to prevent waste,
                                                                                                           fraud, abuse, diversion, and corruption, including mecha-
                                                                                                           nisms such as use of third-party monitors, enhanced end-
                                                                                                           use monitoring, external and independent audits and
                                                                                                           evaluations, randomized spot checks, and regular reporting
                                                                                                           on outcomes achieved and progress made toward stated
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                                                                                                           program objectives, consistent with the strategy required
                                                                       Applicability.                      in paragraph (1): Provided, That section 7015(e) of this




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                                                                                    Act shall apply to the certification requirement of this
                                                                                    subparagraph.
                                                                                         (D) NOTIFICATION.—The requirements of section 1706                                   Requirements.
                                                                                    of the Additional Ukraine Supplemental Appropriations                                     Applicability.
                                                                                    Act, 2023 (division M of Public Law 117–328) shall apply
                                                                                    to funds appropriated by this Act under titles I through
                                                                                    IV that are made available for assistance for Ukraine.
                                                                                         (E) REPORTS.—                                                                        Time periods.
                                                                                              (i) Not later than 60 days after the date of enact-
                                                                                         ment of this Act and every 90 days thereafter until
                                                                                         all funds appropriated by this Act and made available
                                                                                         for Ukraine have been expended, the Secretary of State
                                                                                         and the USAID Administrator shall provide a com-
                                                                                         prehensive report to the appropriate congressional
                                                                                         committees on assistance made available for Ukraine
                                                                                         since February 24, 2022, in this Act and prior Acts
                                                                                         making appropriations for the Department of State,
                                                                                         foreign operations, and related programs: Provided,
                                                                                         That such report shall include the total amount of
                                                                                         such funds, disaggregated by account and fiscal year,
                                                                                         that remain unobligated, are obligated but unex-
                                                                                         pended, and are committed but not yet notified.
                                                                                              (ii) Not later than 90 days after the date of enact-                            Summary.
                                                                                         ment of this Act and every 90 days thereafter until
                                                                                         all funds appropriated by this Act and made available
                                                                                         for Ukraine have been expended, the Secretary of State
                                                                                         and the USAID Administrator shall jointly report to
                                                                                         the appropriate congressional committees on the use
                                                                                         and planned uses of funds made available during fiscal
                                                                                         year 2024 for assistance for Ukraine, including cat-
                                                                                         egories and amounts, the intended results and the
                                                                                         results achieved, a summary of other donor contribu-
                                                                                         tions, and a description of the efforts undertaken by
                                                                                         the Secretary and Administrator to increase other
                                                                                         donor contributions: Provided, That such reports shall
                                                                                         also include the metrics established to measure such
                                                                                         results, and determine effectiveness of funds provided,
                                                                                         and a detailed description of coordination and informa-
                                                                                         tion sharing with the Offices of the Inspectors General,
                                                                                         including a full accounting of any reported allegations
                                                                                         of waste, fraud, abuse, and corruption, steps taken
                                                                                         to verify such allegations, and steps taken to address
                                                                                         all verified allegations.
                                                                                         (F) TRANSPARENCY.—The reports required under this                                    Public
                                                                                    subsection shall be made publicly available consistent with                               information.
                                                                                    the requirements of section 7016(b) of this Act.

                                                                                        COUNTERING RUSSIAN INFLUENCE AND AGGRESSION

                                                                           SEC. 7047. (a) PROHIBITION.—None of the funds appropriated
                                                                       by this Act may be made available for assistance for the central
                                                                       Government of the Russian Federation.
                                                                           (b) ANNEXATION OF TERRITORY.—                                                                      Determinations.
                                                                                (1) PROHIBITION.—None of the funds appropriated by this                                       Reports.
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                                                                           Act may be made available for assistance for the central govern-
                                                                           ment of a country that the Secretary of State determines and




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                                                                                                   reports to the Committees on Appropriations has taken affirma-
                                                                                                   tive steps intended to support or be supportive of the Russian
                                                                                                   Federation annexation of Crimea or other territory in Ukraine:
                                                                       Waiver authority.           Provided, That except as otherwise provided in subsection (a),
                                                                                                   the Secretary may waive the restriction on assistance required
                                                                                                   by this paragraph if the Secretary determines and reports
                                                                                                   to such Committees that to do so is in the national interest
                                                                                                   of the United States, and includes a justification for such
                                                                                                   interest.
                                                                                                        (2) LIMITATION.—None of the funds appropriated by this
                                                                                                   Act may be made available for—
                                                                                                             (A) the implementation of any action or policy that
                                                                                                        recognizes the sovereignty of the Russian Federation over
                                                                                                        Crimea or other territory in Ukraine;
                                                                                                             (B) the facilitation, financing, or guarantee of United
                                                                                                        States Government investments in Crimea or other terri-
                                                                                                        tory in Ukraine under the control of the Russian Federation
                                                                                                        or Russian-backed forces, if such activity includes the
                                                                                                        participation of Russian Government officials, or other Rus-
                                                                                                        sian owned or controlled financial entities; or
                                                                                                             (C) assistance for Crimea or other territory in Ukraine
                                                                                                        under the control of the Russian Federation or Russian-
                                                                                                        backed forces, if such assistance includes the participation
                                                                                                        of Russian Government officials, or other Russian owned
                                                                                                        or controlled financial entities.
                                                                                                        (3) INTERNATIONAL FINANCIAL INSTITUTIONS.—The Sec-
                                                                                                   retary of the Treasury shall instruct the United States executive
                                                                                                   director of each international financial institution to use the
                                                                                                   voice and vote of the United States to oppose any assistance
                                                                                                   by such institution (including any loan, credit, grant, or guar-
                                                                                                   antee) for any program that violates the sovereignty or terri-
                                                                                                   torial integrity of Ukraine.
                                                                                                        (4) DURATION.—The requirements and limitations of this
                                                                                                   subsection shall cease to be in effect if the Secretary of State
                                                                                                   determines and reports to the Committees on Appropriations
                                                                                                   that the Government of Ukraine has reestablished sovereignty
                                                                                                   over Crimea and other territory in Ukraine under the control
                                                                                                   of the Russian Federation or Russian-backed forces.
                                                                                                   (c) OCCUPATION OF THE GEORGIAN TERRITORIES OF ABKHAZIA
                                                                                               AND TSKHINVALI REGION/SOUTH OSSETIA.—
                                                                       Determinations.                  (1) PROHIBITION.—None of the funds appropriated by this
                                                                       Reports.                    Act may be made available for assistance for the central govern-
                                                                                                   ment of a country that the Secretary of State determines and
                                                                                                   reports to the Committees on Appropriations has recognized
                                                                                                   the independence of, or has established diplomatic relations
                                                                                                   with, the Russian Federation occupied Georgian territories of
                                                                       Web posting.                Abkhazia and Tskhinvali Region/South Ossetia: Provided, That
                                                                       List.                       the Secretary shall publish on the Department of State website
                                                                                                   a list of any such central governments in a timely manner:
                                                                       Waiver authority.           Provided further, That the Secretary may waive the restriction
                                                                                                   on assistance required by this paragraph if the Secretary deter-
                                                                                                   mines and reports to the Committees on Appropriations that
                                                                                                   to do so is in the national interest of the United States, and
                                                                                                   includes a justification for such interest.
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                                                                                                        (2) LIMITATION.—None of the funds appropriated by this
                                                                                                   Act may be made available to support the Russian Federation




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                                                                            occupation of the Georgian territories of Abkhazia and
                                                                            Tskhinvali Region/South Ossetia.
                                                                                 (3) INTERNATIONAL FINANCIAL INSTITUTIONS.—The Sec-
                                                                            retary of the Treasury shall instruct the United States executive
                                                                            director of each international financial institution to use the
                                                                            voice and vote of the United States to oppose any assistance
                                                                            by such institution (including any loan, credit, grant, or guar-
                                                                            antee) for any program that violates the sovereignty and terri-
                                                                            torial integrity of Georgia.
                                                                            (d) COUNTERING RUSSIAN INFLUENCE FUND.—Of the funds
                                                                       appropriated by this Act and prior Acts making appropriations
                                                                       for the Department of State, foreign operations, and related pro-
                                                                       grams under the headings ‘‘Assistance for Europe, Eurasia and
                                                                       Central Asia’’, ‘‘International Narcotics Control and Law Enforce-
                                                                       ment’’, ‘‘International Military Education and Training’’, and ‘‘For-
                                                                       eign Military Financing Program’’, not less than $300,000,000 shall
                                                                       be made available to carry out the purposes of the Countering
                                                                       Russian Influence Fund, as authorized by section 254 of the Coun-
                                                                       tering Russian Influence in Europe and Eurasia Act of 2017 (Public
                                                                       Law 115–44; 22 U.S.C. 9543) and notwithstanding the country
                                                                       limitation in subsection (b) of such section, and programs to enhance
                                                                       the capacity of law enforcement and security forces in countries
                                                                       in Europe, Eurasia, and Central Asia and strengthen security
                                                                       cooperation between such countries and the United States and
                                                                       the North Atlantic Treaty Organization, as appropriate: Provided,
                                                                       That funds made available pursuant to this paragraph under the
                                                                       heading ‘‘Foreign Military Financing Program’’ may remain avail-
                                                                       able until September 30, 2025.

                                                                              UNITED NATIONS AND OTHER INTERNATIONAL ORGANIZATIONS

                                                                           SEC. 7048. (a) TRANSPARENCY AND ACCOUNTABILITY.—Not later                                         Reports.
                                                                       than 120 days after the date of enactment of this Act, the Secretary
                                                                       of State shall report to the Committees on Appropriations whether
                                                                       each organization, department, or agency receiving a contribution
                                                                       from funds appropriated by this Act under the headings ‘‘Contribu-
                                                                       tions to International Organizations’’ and ‘‘International Organiza-
                                                                       tions and Programs’’—
                                                                                (1) is posting on a publicly available website, consistent                                   Web posting.
                                                                           with privacy regulations and due process, regular financial                                       Public
                                                                                                                                                                             information.
                                                                           and programmatic audits of such organization, department,                                         Audits.
                                                                           or agency, and providing the United States Government with
                                                                           necessary access to such financial and performance audits;
                                                                                (2) has submitted a report to the Department of State,                                       Web posting.
                                                                           which shall be posted on the Department’s website in a timely
                                                                           manner, demonstrating that such organization is effectively
                                                                           implementing and enforcing policies and procedures which meet
                                                                           or exceed best practices in the United States for the protection
                                                                           of whistleblowers from retaliation, including—
                                                                                     (A) protection against retaliation for internal and law-
                                                                                ful public disclosures;
                                                                                     (B) legal burdens of proof;
                                                                                     (C) statutes of limitation for reporting retaliation;
                                                                                     (D) access to binding independent adjudicative bodies,
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                                                                                including shared cost and selection of external arbitration;
                                                                                and




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                                                                                                            (E) results that eliminate the effects of proven retalia-
                                                                                                       tion, including provision for the restoration of prior employ-
                                                                                                       ment; and
                                                                                                       (3) is effectively implementing and enforcing policies and
                                                                                                  procedures on the appropriate use of travel funds, including
                                                                                                  restrictions on first-class and business-class travel;
                                                                                                       (4) is taking credible steps to combat anti-Israel bias;
                                                                                                       (5) is developing and implementing mechanisms to inform
                                                                                                  donors of instances in which funds have been diverted or
                                                                                                  destroyed and an explanation of the response by the respective
                                                                                                  international organization; and
                                                                                                       (6) is implementing policies and procedures to effectively
                                                                                                  vet staff for any affiliation with a terrorist organization.
                                                                       Determinations.            (b) RESTRICTIONS ON UNITED NATIONS DELEGATIONS AND
                                                                       Terrorism.              ORGANIZATIONS.—
                                                                                                       (1) RESTRICTIONS ON UNITED STATES DELEGATIONS.—None
                                                                                                  of the funds made available by this Act may be used to pay
                                                                                                  expenses for any United States delegation to any specialized
                                                                                                  agency, body, or commission of the United Nations if such
                                                                                                  agency, body, or commission is chaired or presided over by
                                                                                                  a country, the government of which the Secretary of State
                                                                                                  has determined, for purposes of section 1754(c) of the Export
                                                                                                  Reform Control Act of 2018 (50 U.S.C. 4813(c)), supports inter-
                                                                                                  national terrorism.
                                                                                                       (2) RESTRICTIONS ON CONTRIBUTIONS.—None of the funds
                                                                                                  made available by this Act may be used by the Secretary
                                                                                                  of State as a contribution to any organization, agency, commis-
                                                                                                  sion, or program within the United Nations system if such
                                                                                                  organization, agency, commission, or program is chaired or
                                                                                                  presided over by a country the government of which the Sec-
                                                                                                  retary of State has determined, for purposes of section 620A
                                                                                                  of the Foreign Assistance Act of 1961, section 40 of the Arms
                                                                                                  Export Control Act, section 1754(c) of the Export Reform Con-
                                                                                                  trol Act of 2018 (50 U.S.C. 4813(c)), or any other provision
                                                                                                  of law, is a government that has repeatedly provided support
                                                                                                  for acts of international terrorism.
                                                                       Reports.                        (3) WAIVER.—The Secretary of State may waive the restric-
                                                                                                  tion in this subsection if the Secretary determines and reports
                                                                                                  to the Committees on Appropriations that to do so is important
                                                                                                  to the national interest of the United States, including a
                                                                                                  description of the national interest served.
                                                                       Israel.                    (c) UNITED NATIONS HUMAN RIGHTS COUNCIL.—
                                                                       Determination.                  (1) None of the funds appropriated by this Act may be
                                                                       Reports.                   made available in support of the United Nations Human Rights
                                                                                                  Council unless the Secretary of State determines and reports
                                                                                                  to the appropriate congressional committees that participation
                                                                                                  in the Council is important to the national interest of the
                                                                                                  United States and that such Council is taking significant steps
                                                                                                  to remove Israel as a permanent agenda item and ensure
                                                                                                  integrity in the election of members to such Council: Provided,
                                                                       Reform agenda.             That such report shall include a description of the national
                                                                       Timeline.                  interest served and provide a detailed reform agenda, including
                                                                                                  a timeline to remove Israel as a permanent agenda item and
                                                                                                  ensure integrity in the election of members to such Council:
                                                                                                  Provided further, That the Secretary of State shall withhold,
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                                                                                                  from funds appropriated by this Act under the heading ‘‘Con-
                                                                                                  tributions to International Organizations’’ for a contribution




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                                                                            to the United Nations Regular Budget, the United States
                                                                            proportionate share of the total annual amount of the United
                                                                            Nations Regular Budget funding for the United Nations Human
                                                                            Rights Council until such determination and report is made:
                                                                            Provided further, That if the Secretary is unable to make such                                   Notification.
                                                                            determination and report, such amounts may be reprogrammed
                                                                            for purposes other than the United Nations Regular Budget,
                                                                            subject to the regular notification procedures of the Committees
                                                                            on Appropriations: Provided further, That the Secretary shall                                    Time period.
                                                                            report to the Committees on Appropriations not later than
                                                                            September 30, 2024, on the resolutions considered in the United
                                                                            Nations Human Rights Council during the previous 12 months,
                                                                            and on steps taken to remove Israel as a permanent agenda
                                                                            item and to improve the quality of membership through
                                                                            competitive elections.
                                                                                 (2) None of the funds appropriated by this Act may be
                                                                            made available for the United Nations International Commis-
                                                                            sion of Inquiry on the Occupied Palestinian Territory, including
                                                                            East Jerusalem, and Israel.
                                                                            (d) PROHIBITION OF PAYMENTS TO UNITED NATIONS MEMBERS.—
                                                                       None of the funds appropriated or made available pursuant to
                                                                       titles III through VI of this Act for carrying out the Foreign Assist-
                                                                       ance Act of 1961, may be used to pay in whole or in part any
                                                                       assessments, arrearages, or dues of any member of the United
                                                                       Nations or, from funds appropriated by this Act to carry out chapter
                                                                       1 of part I of the Foreign Assistance Act of 1961, the costs for
                                                                       participation of another country’s delegation at international con-
                                                                       ferences held under the auspices of multilateral or international
                                                                       organizations.
                                                                            (e) REPORT.—Not later than 45 days after the date of enactment                                   Updates.
                                                                       of this Act, the Secretary of State shall submit a report to the
                                                                       Committees on Appropriations detailing the amount of funds avail-
                                                                       able for obligation or expenditure in fiscal year 2024 for contribu-
                                                                       tions to any organization, department, agency, or program within
                                                                       the United Nations system or any international program that are
                                                                       withheld from obligation or expenditure due to any provision of
                                                                       law: Provided, That the Secretary shall update such report each
                                                                       time additional funds are withheld by operation of any provision
                                                                       of law: Provided further, That the reprogramming of any withheld                                      Requirement.
                                                                       funds identified in such report, including updates thereof, shall                                     Consultation.
                                                                                                                                                                             Notification.
                                                                       be subject to prior consultation with, and the regular notification
                                                                       procedures of, the Committees on Appropriations.
                                                                            (f) SEXUAL EXPLOITATION AND ABUSE IN PEACEKEEPING OPER-
                                                                       ATIONS.—The Secretary of State shall, to the maximum extent                                           Determinations.
                                                                       practicable, withhold assistance to any unit of the security forces
                                                                       of a foreign country if the Secretary has credible information that
                                                                       such unit has engaged in sexual exploitation or abuse, including
                                                                       while serving in a United Nations peacekeeping operation, until
                                                                       the Secretary determines that the government of such country
                                                                       is taking effective steps to hold the responsible members of such
                                                                       unit accountable and to prevent future incidents: Provided, That                                      Notifications.
                                                                       the Secretary shall promptly notify the government of each country                                    Deadline.
                                                                       subject to any withholding of assistance pursuant to this paragraph,
                                                                       and shall notify the appropriate congressional committees of such
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                                                                       withholding not later than 10 days after a determination to withhold
                                                                       such assistance is made: Provided further, That the Secretary shall,




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                                                                                               to the maximum extent practicable, assist such government in
                                                                                               bringing the responsible members of such unit to justice.
                                                                       Notification.                (g) ADDITIONAL AVAILABILITY.—Subject to the regular notifica-
                                                                                               tion procedures of the Committees on Appropriations, funds appro-
                                                                                               priated by this Act which are returned or not made available
                                                                                               due to the second proviso under the heading ‘‘Contributions for
                                                                                               International Peacekeeping Activities’’ in title I of this Act or section
                                                                                               307(a) of the Foreign Assistance Act of 1961 (22 U.S.C. 2227(a)),
                                                                                               shall remain available for obligation until September 30, 2025:
                                                                                               Provided, That the requirement to withhold funds for programs
                                                                                               in Burma under section 307(a) of the Foreign Assistance Act of
                                                                                               1961 shall not apply to funds appropriated by this Act.
                                                                       Deadline.                    (h) ACCOUNTABILITY REQUIREMENT.—Not later than 30 days
                                                                       Contracts.              after the date of enactment of this Act, the Secretary of State,
                                                                       Determination.
                                                                                               in coordination with the Administrator of the United States Agency
                                                                                               for International Development, shall seek to enter into written
                                                                                               agreements with each international organization that receives
                                                                                               funding appropriated by this Act to provide timely access to the
                                                                                               Inspectors General of the Department of State and the United
                                                                                               States Agency for International Development and the Comptroller
                                                                                               General of the United States to such organization’s financial data
                                                                                               and other information relevant to United States contributions to
                                                                                               such organization, as determined by the Inspectors and Comptroller
                                                                                               General.
                                                                                                    (i) STRENGTHENING AMERICAN PRESENCE AT INTERNATIONAL
                                                                                               ORGANIZATIONS.—
                                                                                                         (1) Of the funds made available by this Act under the
                                                                                                    heading ‘‘International Organizations and Programs’’, not less
                                                                                                    than $5,000,000 shall be made available for the placement
                                                                                                    of United States citizens in the Junior Professional Officer
                                                                                                    Programme.
                                                                                                         (2) Of the funds made available by this Act under the
                                                                                                    heading ‘‘Diplomatic Programs’’, not less than $750,000 shall
                                                                                                    be made available to enhance the competitiveness of United
                                                                                                    States citizens for leadership positions in the United Nations
                                                                                                    system, including pursuant to section 9701 of the Department
                                                                                                    of State Authorization Act of 2022 (title XCVII of division
                                                                                                    I of Public Law 117–263).

                                                                                                                                 WAR CRIMES TRIBUNAL

                                                                       President.                   SEC. 7049. If the President determines that doing so will con-
                                                                       Determination.          tribute to a just resolution of charges regarding genocide or other
                                                                                               violations of international humanitarian law, the President may
                                                                                               direct a drawdown pursuant to section 552(c) of the Foreign Assist-
                                                                                               ance Act of 1961 of up to $30,000,000 of commodities and services
                                                                                               for the United Nations War Crimes Tribunal established with
                                                                                               regard to the former Yugoslavia by the United Nations Security
                                                                                               Council or such other tribunals or commissions as the Council
                                                                                               may establish or authorize to deal with such violations, without
                                                                                               regard to the ceiling limitation contained in paragraph (2) thereof:
                                                                                               Provided, That the determination required under this section shall
                                                                                               be in lieu of any determinations otherwise required under section
                                                                                               552(c): Provided further, That funds made available pursuant to
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                                                                       Notification.
                                                                                               this section shall be made available subject to the regular notifica-
                                                                                               tion procedures of the Committees on Appropriations.




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                                                                                                       GLOBAL INTERNET FREEDOM

                                                                            SEC. 7050. (a) FUNDING.—Of the funds available for obligation
                                                                       during fiscal year 2024 under the headings ‘‘International Broad-
                                                                       casting Operations’’, ‘‘Economic Support Fund’’, ‘‘Democracy Fund’’,
                                                                       and ‘‘Assistance for Europe, Eurasia and Central Asia’’, not less
                                                                       than $94,000,000 shall be made available for programs to promote
                                                                       Internet freedom globally, consistent with section 9707 of the
                                                                       Department of State Authorization Act of 2022 (title XCVII of
                                                                       division I of Public Law 117–263).
                                                                            (b) COORDINATION AND SPEND PLANS.—After consultation                                             Consultation.
                                                                       among the relevant agency heads to coordinate and de-conflict                                         Deadline.
                                                                       planned activities, but not later than 90 days after the date of
                                                                       enactment of this Act, the Secretary of State and the Chief Execu-
                                                                       tive Officer of the United States Agency for Global Media, in con-
                                                                       sultation with the President of the Open Technology Fund, shall
                                                                       submit to the Committees on Appropriations spend plans for funds
                                                                       made available by this Act for programs to promote Internet
                                                                       freedom globally, which shall include a description of safeguards
                                                                       established by relevant agencies to ensure that such programs
                                                                       are not used for illicit purposes: Provided, That the Department
                                                                       of State spend plan shall include funding for all such programs
                                                                       for all relevant Department of State and United States Agency
                                                                       for International Development offices and bureaus.
                                                                         TORTURE AND OTHER CRUEL, INHUMAN, OR DEGRADING TREATMENT
                                                                                              OR PUNISHMENT

                                                                           SEC. 7051. (a) PROHIBITION.—None of the funds made available
                                                                       by this Act may be used to support or justify the use of torture
                                                                       and other cruel, inhuman, or degrading treatment or punishment
                                                                       by any official or contract employee of the United States Govern-
                                                                       ment.
                                                                           (b) ASSISTANCE.—Funds appropriated under titles III and IV
                                                                       of this Act shall be made available, notwithstanding section 660
                                                                       of the Foreign Assistance Act of 1961, for assistance to eliminate
                                                                       torture and other cruel, inhuman, or degrading treatment or punish-
                                                                       ment by foreign police, military, or other security forces in countries
                                                                       receiving assistance from funds appropriated by this Act.
                                                                                          AIRCRAFT TRANSFER, COORDINATION, AND USE

                                                                            SEC. 7052. (a) TRANSFER AUTHORITY.—Notwithstanding any
                                                                       other provision of law or regulation, aircraft procured with funds
                                                                       appropriated by this Act and prior Acts making appropriations
                                                                       for the Department of State, foreign operations, and related pro-
                                                                       grams under the headings ‘‘Diplomatic Programs’’, ‘‘International
                                                                       Narcotics Control and Law Enforcement’’, ‘‘Andean Counterdrug
                                                                       Initiative’’, and ‘‘Andean Counterdrug Programs’’ may be used for
                                                                       any other program and in any region.
                                                                            (b) PROPERTY DISPOSAL.—The authority provided in subsection                                      Applicability.
                                                                       (a) shall apply only after the Secretary of State determines and                                      Determination.
                                                                                                                                                                             Reports.
                                                                       reports to the Committees on Appropriations that the equipment
                                                                       is no longer required to meet programmatic purposes in the des-
                                                                       ignated country or region: Provided, That any such transfer shall                                     Requirement.
                                                                       be subject to prior consultation with, and the regular notification                                   Consultation.
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                                                                                                                                                                             Notification.
                                                                       procedures of, the Committees on Appropriations.
                                                                            (c) AIRCRAFT COORDINATION.—




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                                                                       Reimbursements.                   (1) AUTHORITY.—The uses of aircraft purchased or leased
                                                                                                    by the Department of State and the United States Agency
                                                                                                    for International Development with funds made available in
                                                                                                    this Act or prior Acts making appropriations for the Department
                                                                                                    of State, foreign operations, and related programs shall be
                                                                                                    coordinated under the authority of the appropriate Chief of
                                                                                                    Mission: Provided, That such aircraft may be used to transport,
                                                                                                    on a reimbursable or non-reimbursable basis, Federal and non-
                                                                                                    Federal personnel supporting Department of State and USAID
                                                                                                    programs and activities: Provided further, That official travel
                                                                                                    for other agencies for other purposes may be supported on
                                                                                                    a reimbursable basis, or without reimbursement when traveling
                                                                                                    on a space available basis: Provided further, That funds received
                                                                                                    by the Department of State in connection with the use of
                                                                                                    aircraft owned, leased, or chartered by the Department of State
                                                                                                    may be credited to the Working Capital Fund of the Department
                                                                                                    and shall be available for expenses related to the purchase,
                                                                                                    lease, maintenance, chartering, or operation of such aircraft.
                                                                       Applicability.                    (2) SCOPE.—The requirement and authorities of this sub-
                                                                                                    section shall only apply to aircraft, the primary purpose of
                                                                                                    which is the transportation of personnel.
                                                                                                    (d) AIRCRAFT OPERATIONS AND MAINTENANCE.—To the max-
                                                                                               imum extent practicable, the costs of operations and maintenance,
                                                                                               including fuel, of aircraft funded by this Act shall be borne by
                                                                                               the recipient country.
                                                                                                     PARKING FINES AND REAL PROPERTY TAXES OWED BY FOREIGN
                                                                                                                         GOVERNMENTS

                                                                       Applicability.              SEC. 7053. The terms and conditions of section 7055 of the
                                                                                               Department of State, Foreign Operations, and Related Programs
                                                                                               Appropriations Act, 2010 (division F of Public Law 111–117) shall
                                                                                               apply to this Act: Provided, That subsection (f)(2)(B) of such section
                                                                                               shall be applied by substituting ‘‘September 30, 2023’’ for ‘‘Sep-
                                                                                               tember 30, 2009’’.
                                                                                                                            INTERNATIONAL MONETARY FUND

                                                                       Applicability.               SEC. 7054. (a) EXTENSIONS.—The terms and conditions of sec-
                                                                                               tions 7086(b)(1) and (2) and 7090(a) of the Department of State,
                                                                                               Foreign Operations, and Related Programs Appropriations Act, 2010
                                                                                               (division F of Public Law 111–117) shall apply to this Act.
                                                                                                    (b) REPAYMENT.—The Secretary of the Treasury shall instruct
                                                                                               the United States Executive Director of the International Monetary
                                                                                               Fund (IMF) to seek to ensure that any loan will be repaid to
                                                                                               the IMF before other private or multilateral creditors.
                                                                                                                                         EXTRADITION

                                                                       Notification.               SEC. 7055. (a) LIMITATION.—None of the funds appropriated
                                                                                               in this Act may be used to provide assistance (other than funds
                                                                                               provided under the headings ‘‘Development Assistance’’, ‘‘Inter-
                                                                                               national Disaster Assistance’’, ‘‘Complex Crises Fund’’, ‘‘Inter-
                                                                                               national Narcotics Control and Law Enforcement’’, ‘‘Migration and
                                                                                               Refugee Assistance’’, ‘‘United States Emergency Refugee and Migra-
                                                                                               tion Assistance Fund’’, and ‘‘Nonproliferation, Anti-terrorism,
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                                                                                               Demining and Related Assistance’’) for the central government of
                                                                                               a country which has notified the Department of State of its refusal




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                                                                       to extradite to the United States any individual indicted for a
                                                                       criminal offense for which the maximum penalty is life imprison-
                                                                       ment without the possibility of parole or for killing a law enforce-
                                                                       ment officer, as specified in a United States extradition request.
                                                                            (b) CLARIFICATION.—Subsection (a) shall only apply to the cen-                                   Applicability.
                                                                       tral government of a country with which the United States main-
                                                                       tains diplomatic relations and with which the United States has
                                                                       an extradition treaty and the government of that country is in
                                                                       violation of the terms and conditions of the treaty.
                                                                            (c) WAIVER.—The Secretary of State may waive the restriction                                     Certification.
                                                                       in subsection (a) on a case-by-case basis if the Secretary certifies
                                                                       to the Committees on Appropriations that such waiver is important
                                                                       to the national interest of the United States.
                                                                                                            ENTERPRISE FUNDS

                                                                            SEC. 7056. (a) NOTIFICATION.—None of the funds made available                                    Time period.
                                                                       under titles III through VI of this Act may be made available                                         President.
                                                                       for Enterprise Funds unless the appropriate congressional commit-
                                                                       tees are notified at least 15 days in advance.
                                                                            (b) DISTRIBUTION OF ASSETS PLAN.—Prior to the distribution
                                                                       of any assets resulting from any liquidation, dissolution, or winding
                                                                       up of an Enterprise Fund, in whole or in part, the President
                                                                       shall submit to the appropriate congressional committees a plan
                                                                       for the distribution of the assets of the Enterprise Fund.
                                                                            (c) TRANSITION OR OPERATING PLAN.—Prior to a transition to
                                                                       and operation of any private equity fund or other parallel invest-
                                                                       ment fund under an existing Enterprise Fund, the President shall
                                                                       submit such transition or operating plan to the appropriate congres-
                                                                       sional committees.
                                                                                                 UNITED NATIONS POPULATION FUND

                                                                            SEC. 7057. (a) CONTRIBUTION.—Of the funds made available
                                                                       under the heading ‘‘International Organizations and Programs’’ in
                                                                       this Act for fiscal year 2024, $32,500,000 shall be made available
                                                                       for the United Nations Population Fund (UNFPA).
                                                                            (b) AVAILABILITY OF FUNDS.—Funds appropriated by this Act                                        Transfer
                                                                       for UNFPA, that are not made available for UNFPA because of                                           authority.
                                                                       the operation of any provision of law, shall be transferred to the                                    Notification.
                                                                       ‘‘Global Health Programs’’ account and shall be made available
                                                                       for family planning, maternal, and reproductive health activities,
                                                                       subject to the regular notification procedures of the Committees
                                                                       on Appropriations.
                                                                            (c) PROHIBITION ON USE OF FUNDS IN CHINA.—None of the
                                                                       funds made available by this Act may be used by UNFPA for
                                                                       a country program in the People’s Republic of China.
                                                                            (d) CONDITIONS ON AVAILABILITY OF FUNDS.—Funds made avail-
                                                                       able by this Act for UNFPA may not be made available unless—
                                                                                 (1) UNFPA maintains funds made available by this Act
                                                                            in an account separate from other accounts of UNFPA and
                                                                            does not commingle such funds with other sums; and
                                                                                 (2) UNFPA does not fund abortions.                                                          Abortion.
                                                                            (e) REPORT TO CONGRESS AND DOLLAR-FOR-DOLLAR WITH-
                                                                       HOLDING OF FUNDS.—
                                                                                 (1) Not later than 4 months after the date of enactment
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                                                                            of this Act, the Secretary of State shall submit a report to
                                                                            the Committees on Appropriations indicating the amount of




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                                                                                                      funds that UNFPA is budgeting for the year in which the
                                                                                                      report is submitted for a country program in the People’s
                                                                                                      Republic of China.
                                                                                                          (2) If a report under paragraph (1) indicates that UNFPA
                                                                                                      plans to spend funds for a country program in the People’s
                                                                                                      Republic of China in the year covered by the report, then
                                                                                                      the amount of such funds UNFPA plans to spend in the People’s
                                                                                                      Republic of China shall be deducted from the funds made
                                                                                                      available to UNFPA after March 1 for obligation for the
                                                                                                      remainder of the fiscal year in which the report is submitted.

                                                                                                                              GLOBAL HEALTH ACTIVITIES

                                                                                                    SEC. 7058. (a) IN GENERAL.—Funds appropriated by titles III
                                                                                               and IV of this Act that are made available for bilateral assistance
                                                                                               for child survival activities or disease programs including activities
                                                                                               relating to research on, and the prevention, treatment and control
                                                                                               of, HIV/AIDS may be made available notwithstanding any other
                                                                                               provision of law except for provisions under the heading ‘‘Global
                                                                                               Health Programs’’ and the United States Leadership Against HIV/
                                                                                               AIDS, Tuberculosis, and Malaria Act of 2003 (117 Stat. 711; 22
                                                                                               U.S.C. 7601 et seq.), as amended: Provided, That of the funds
                                                                                               appropriated under title III of this Act, not less than $575,000,000
                                                                                               should be made available for family planning/reproductive health,
                                                                                               including in areas where population growth threatens biodiversity
                                                                                               or endangered species.
                                                                                                    (b) PANDEMICS AND OTHER INFECTIOUS DISEASE OUTBREAKS.—
                                                                                                         (1) GLOBAL HEALTH SECURITY.—Funds appropriated by this
                                                                                                    Act under the heading ‘‘Global Health Programs’’ shall be made
                                                                                                    available for global health security programs to accelerate the
                                                                                                    capacity of countries to prevent, detect, and respond to infec-
                                                                                                    tious disease outbreaks, including by strengthening public
                                                                                                    health capacity where there is a high risk of emerging zoonotic
                                                                       Deadline.                    infectious diseases: Provided, That not later than 60 days after
                                                                       Consultation.                the date of enactment of this Act, the Administrator of the
                                                                                                    United States Agency for International Development and the
                                                                                                    Secretary of State, as appropriate, shall consult with the
                                                                                                    Committees on Appropriations on the planned uses of such
                                                                                                    funds.
                                                                       Determination.                    (2) EXTRAORDINARY MEASURES.—If the Secretary of State
                                                                       Reports.                     determines and reports to the Committees on Appropriations
                                                                       Transfer                     that an international infectious disease outbreak is sustained,
                                                                       authority.
                                                                                                    severe, and is spreading internationally, or that it is in the
                                                                                                    national interest to respond to a Public Health Emergency
                                                                                                    of International Concern, not to exceed an aggregate total of
                                                                                                    $200,000,000 of the funds appropriated by this Act under the
                                                                                                    headings ‘‘Global Health Programs’’, ‘‘Development Assistance’’,
                                                                                                    ‘‘International Disaster Assistance’’, ‘‘Complex Crises Fund’’,
                                                                                                    ‘‘Economic Support Fund’’, ‘‘Democracy Fund’’, ‘‘Assistance for
                                                                                                    Europe, Eurasia and Central Asia’’, ‘‘Migration and Refugee
                                                                                                    Assistance’’, and ‘‘Millennium Challenge Corporation’’ may be
                                                                                                    made available to combat such infectious disease or public
                                                                                                    health emergency, and may be transferred to, and merged
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                                                                                                    with, funds appropriated under such headings for the purposes
                                                                                                    of this paragraph.




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                                                                                 (3) EMERGENCY RESERVE FUND.—Up to $70,000,000 of the
                                                                            funds made available under the heading ‘‘Global Health Pro-
                                                                            grams’’ may be made available for the Emergency Reserve
                                                                            Fund established pursuant to section 7058(c)(1) of the Depart-
                                                                            ment of State, Foreign Operations, and Related Programs
                                                                            Appropriations Act, 2017 (division J of Public Law 115–31):
                                                                            Provided, That such funds shall be made available under the
                                                                            same terms and conditions of such section.
                                                                                 (4) CONSULTATION AND NOTIFICATION.—Funds made avail-                                        Requirement.
                                                                            able by this subsection shall be subject to prior consultation
                                                                            with, and the regular notification procedures of, the Committees
                                                                            on Appropriations.
                                                                            (c) LIMITATION.—Notwithstanding any other provision of law,                                      Wuhan Institute
                                                                       none of the funds made available by this Act may be made available                                    of Virology.
                                                                       to the Wuhan Institute of Virology located in the City of Wuhan                                       China.
                                                                       in the People’s Republic of China.

                                                                                        GENDER EQUALITY AND WOMEN’S EMPOWERMENT

                                                                            SEC. 7059. (a) IN GENERAL.—Funds appropriated by this Act
                                                                       shall be made available to promote the equality and empowerment
                                                                       of women and girls in United States Government diplomatic and
                                                                       development efforts by raising the status, increasing the economic
                                                                       participation and opportunities for political leadership, and pro-
                                                                       tecting the rights of women and girls worldwide.
                                                                            (b) WOMEN’S ECONOMIC EMPOWERMENT.—Funds appropriated
                                                                       by this Act shall be made available to expand economic opportuni-
                                                                       ties for women by increasing the number and capacity of women-
                                                                       owned enterprises, improving property rights for women, increasing
                                                                       women’s access to financial services and capital, enhancing the
                                                                       role of women in economic decision-making at the local, national,
                                                                       and international levels, and improving women’s ability to partici-
                                                                       pate in the global economy, including through implementation of
                                                                       the Women’s Entrepreneurship and Economic Empowerment Act
                                                                       of 2018 (Public Law 115–428): Provided, That the Secretary of                                         Consultation.
                                                                       State and the Administrator of the United States Agency for Inter-
                                                                       national Development, as applicable, shall consult with the Commit-
                                                                       tees on Appropriations on the uses of funds made available pursuant
                                                                       to this subsection.
                                                                            (c) GENDER EQUITY AND EQUALITY ACTION FUND.—Of the funds
                                                                       appropriated under title III of this Act, up to $200,000,000 may
                                                                       be made available for the Gender Equity and Equality Action Fund.
                                                                            (d) MADELEINE K. ALBRIGHT WOMEN’S LEADERSHIP PROGRAM.—
                                                                       Of the funds appropriated under title III of this Act, not less
                                                                       than $50,000,000 shall be made available for the Madeleine K.
                                                                       Albright Women’s Leadership Program, as established by section
                                                                       7059(b) of the Department of State, Foreign Operations, and Related
                                                                       Programs Appropriations Act, 2023 (division K of Public Law 117–
                                                                       328).
                                                                            (e) GENDER-BASED VIOLENCE.—
                                                                                 (1) Of the funds appropriated under titles III and IV of
                                                                            this Act, not less than $250,000,000 shall be made available
                                                                            to implement a multi-year strategy to prevent and respond
                                                                            to gender-based violence in countries where it is common in
                                                                            conflict and non-conflict settings.
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                                                                                 (2) Funds appropriated under titles III and IV of this
                                                                            Act that are available to train foreign police, judicial, and




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                                                                                                    military personnel, including for international peacekeeping
                                                                                                    operations, shall address, where appropriate, prevention and
                                                                                                    response to gender-based violence and trafficking in persons,
                                                                                                    and shall promote the integration of women into the police
                                                                                                    and other security forces.
                                                                                                         (3) Funds made available pursuant to this subsection
                                                                                                    should include efforts to combat a variety of forms of violence
                                                                                                    against women and girls, including child marriage, rape, and
                                                                                                    female genital cutting and mutilation.
                                                                                                    (f) WOMEN, PEACE, AND SECURITY.—Of the funds appropriated
                                                                                               by this Act under the headings ‘‘Development Assistance’’, ‘‘Eco-
                                                                                               nomic Support Fund’’, ‘‘Assistance for Europe, Eurasia and Central
                                                                                               Asia’’, and ‘‘International Narcotics Control and Law Enforcement’’,
                                                                                               $150,000,000 should be made available to support a multi-year
                                                                                               strategy to expand, and improve coordination of, United States
                                                                                               Government efforts to empower women as equal partners in conflict
                                                                                               prevention, peace building, transitional processes, and reconstruc-
                                                                                               tion efforts in countries affected by conflict or in political transition,
                                                                                               and to ensure the equitable provision of relief and recovery assist-
                                                                                               ance to women and girls.

                                                                                                                                  SECTOR ALLOCATIONS

                                                                                                      SEC. 7060. (a) BASIC EDUCATION AND HIGHER EDUCATION.—
                                                                                                           (1) BASIC EDUCATION.—
                                                                                                                (A) Of the funds appropriated under title III of this
                                                                                                           Act, not less than $922,000,000 shall be made available
                                                                                                           for the Nita M. Lowey Basic Education Fund, and such
                                                                                                           funds may be made available notwithstanding any other
                                                                                                           provision of law that restricts assistance to foreign coun-
                                                                                                           tries: Provided, That such funds shall also be used for
                                                                                                           secondary education activities: Provided further, That of
                                                                                                           the funds made available by this paragraph, $150,000,000
                                                                                                           should be available for the education of girls in areas
                                                                                                           of conflict.
                                                                                                                (B) Of the funds appropriated under title III of this
                                                                                                           Act for assistance for basic education programs,
                                                                                                           $152,000,000 shall be made available for contributions to
                                                                                                           multilateral partnerships that support education.
                                                                                                           (2) HIGHER EDUCATION.—Of the funds appropriated by title
                                                                                                      III of this Act, not less than $271,000,000 shall be made avail-
                                                                       Requirement.                   able for assistance for higher education: Provided, That such
                                                                       Notification.                  funds may be made available notwithstanding any other provi-
                                                                                                      sion of law that restricts assistance to foreign countries, and
                                                                                                      shall be subject to the regular notification procedures of the
                                                                                                      Committees on Appropriations: Provided further, That of such
                                                                                                      amount, not less than $33,000,000 shall be made available
                                                                                                      for new and ongoing partnerships between higher education
                                                                                                      institutions in the United States and developing countries
                                                                                                      focused on building the capacity of higher education institutions
                                                                                                      and systems in developing countries: Provided further, That
                                                                                                      of such amount and in addition to the previous proviso, not
                                                                                                      less than $35,000,000 shall be made available for higher edu-
                                                                                                      cation programs pursuant to section 7060(a)(3) of the Depart-
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                                                                                                      ment of State, Foreign Operations, and Related Programs
                                                                                                      Appropriations Act, 2021 (division K of Public Law 116–260).




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                                                                                 (3) SCHOLAR RESCUE PROGRAMS.—Of the funds appropriated
                                                                            by this Act under the headings ‘‘Development Assistance’’, ‘‘Eco-
                                                                            nomic Support Fund’’, and ‘‘Assistance for Europe, Eurasia
                                                                            and Central Asia’’, not less than $7,000,000 shall be made
                                                                            available for scholar rescue programs to support projects that
                                                                            strengthen democracy and civil society by protecting scholars
                                                                            at risk overseas, including through fellowships and placement
                                                                            opportunities abroad, which shall be administered by the Assist-
                                                                            ant Secretary for Democracy, Human Rights, and Labor,
                                                                            Department of State.
                                                                            (b) DEVELOPMENT PROGRAMS.—Of the funds appropriated by
                                                                       this Act under the heading ‘‘Development Assistance’’, not less
                                                                       than $18,500,000 shall be made available for United States Agency
                                                                       for International Development cooperative development programs
                                                                       and not less than $31,500,000 shall be made available for the
                                                                       American Schools and Hospitals Abroad program.
                                                                            (c) DISABILITY PROGRAMS.—Funds appropriated by this Act
                                                                       under the heading ‘‘Development Assistance’’ shall be made avail-
                                                                       able for programs and activities administered by USAID to address
                                                                       the needs of, and protect and promote the rights of, people with
                                                                       disabilities in developing countries, including initiatives that focus
                                                                       on independent living, economic self-sufficiency, advocacy, edu-
                                                                       cation, employment, transportation, sports, political and electoral
                                                                       participation, and integration of individuals with disabilities,
                                                                       including for the cost of translation: Provided, That funds shall
                                                                       be made available to support disability rights advocacy organiza-
                                                                       tions in developing countries: Provided further, That of the funds
                                                                       made available pursuant to this subsection, 5 percent may be used
                                                                       by USAID for management, oversight, and technical support.
                                                                            (d) FOOD SECURITY AND AGRICULTURAL DEVELOPMENT.—
                                                                                 (1) USE OF FUNDS.—Of the funds appropriated by title
                                                                            III of this Act, not less than $960,000,000 shall be made avail-
                                                                            able for food security and agricultural development programs
                                                                            to carry out the purposes of the Global Food Security Act
                                                                            of 2016 (Public Law 114–195), including for the Feed the Future
                                                                            Innovation Labs: Provided, That funds may be made available
                                                                            for a contribution as authorized by section 3202 of the Food,
                                                                            Conservation, and Energy Act of 2008 (Public Law 110–246),
                                                                            as amended by section 3310 of the Agriculture Improvement
                                                                            Act of 2018 (Public Law 115–334).
                                                                                 (2) FEED THE FUTURE MODERNIZATION.—Of the funds made
                                                                            available pursuant to this subsection—
                                                                                      (A) not less than 50 percent should be made available
                                                                                 for the Feed the Future target countries; and
                                                                                      (B) not less than $25,000,000 shall be made available
                                                                                 to support private sector investment in food security,
                                                                                 including as catalytic capital.
                                                                            (e) MICRO, SMALL, AND MEDIUM-SIZED ENTERPRISES.—Of the
                                                                       funds appropriated by this Act, not less than $252,000,000 shall
                                                                       be made available to support the development of, and access to
                                                                       financing for, micro, small, and medium-sized enterprises that ben-
                                                                       efit the poor, especially women.
                                                                            (f) PROGRAMS TO COMBAT TRAFFICKING IN PERSONS.—Of the
                                                                       funds appropriated by this Act under the headings ‘‘Development
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                                                                       Assistance’’, ‘‘Economic Support Fund’’, ‘‘Assistance for Europe, Eur-
                                                                       asia and Central Asia’’, and ‘‘International Narcotics Control and




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                                                                                               Law Enforcement’’, not less than $111,000,000 shall be made avail-
                                                                                               able for activities to combat trafficking in persons internationally,
                                                                                               including for the Program to End Modern Slavery, of which not
                                                                                               less than $89,500,000 shall be from funds made available under
                                                                                               the heading ‘‘International Narcotics Control and Law Enforce-
                                                                                               ment’’: Provided, That funds made available by this Act under
                                                                                               the headings ‘‘Development Assistance’’, ‘‘Economic Support Fund’’,
                                                                                               and ‘‘Assistance for Europe, Eurasia and Central Asia’’ that are
                                                                                               made available for activities to combat trafficking in persons should
                                                                                               be obligated and programmed consistent with the country-specific
                                                                                               recommendations included in the annual Trafficking in Persons
                                                                                               Report, and shall be coordinated with the Office to Monitor and
                                                                                               Combat Trafficking in Persons, Department of State: Provided fur-
                                                                                               ther, That such funds are in addition to funds made available
                                                                                               by this Act under the heading ‘‘Diplomatic Programs’’ for the Office
                                                                                               to Monitor and Combat Trafficking in Persons: Provided further,
                                                                                               That funds made available by this Act shall be made available
                                                                                               to further develop, standardize, and update training for all United
                                                                                               States Government personnel under Chief of Mission authority
                                                                                               posted at United States embassies and consulates abroad on recog-
                                                                                               nizing signs of human trafficking and protocols for reporting such
                                                                                               cases.
                                                                       Deadline.                    (g) PUBLIC-PRIVATE PARTNERSHIPS.—Of the funds appropriated
                                                                                               by this Act and prior Acts making appropriations for the Depart-
                                                                                               ment of State, foreign operations, and related programs under the
                                                                                               heading ‘‘Economic Support Fund’’, $100,000,000 shall be made
                                                                                               available to support new public-private partnership foundations
                                                                                               for conservation and food security if legislation establishing such
                                                                                               foundations is enacted into law by December 31, 2024.
                                                                                                    (h) RECONCILIATION PROGRAMS.—Of the funds appropriated by
                                                                                               this Act under the heading ‘‘Development Assistance’’, not less
                                                                                               than $25,000,000 shall be made available to support people-to-
                                                                                               people reconciliation programs which bring together individuals
                                                                                               of different ethnic, racial, religious, and political backgrounds from
                                                                       Requirement.            areas of civil strife and war: Provided, That such funds shall be
                                                                       Notification.           subject to the regular notification procedures of the Committees
                                                                                               on Appropriations: Provided further, That to the maximum extent
                                                                                               practicable, such funds shall be matched by sources other than
                                                                                               the United States Government: Provided further, That such funds
                                                                                               shall be administered by the Center for Conflict and Violence
                                                                                               Prevention, USAID.
                                                                                                    (i) WATER AND SANITATION.—Of the funds appropriated by this
                                                                                               Act, not less than $451,000,000 shall be made available for water
                                                                                               supply and sanitation projects pursuant to section 136 of the For-
                                                                                               eign Assistance Act of 1961, of which not less than $225,500,000
                                                                                               shall be for programs in sub-Saharan Africa.
                                                                                                    (j) DEVIATION.—Unless otherwise provided for by this Act, the
                                                                                               Secretary of State and the USAID Administrator, as applicable,
                                                                                               may deviate below the minimum funding requirements designated
                                                                                               in sections 7059, 7060, and 7061 of this Act by up to 10 percent,
                                                                                               notwithstanding such designation: Provided, That such deviations
                                                                                               shall only be exercised to address unforeseen or exigent cir-
                                                                       Proposals.              cumstances: Provided further, That concurrent with the submission
                                                                                               of the report required by section 653(a) of the Foreign Assistance
                                                                                               Act of 1961, the Secretary shall submit to the Committees on
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                                                                                               Appropriations in writing any proposed deviations utilizing such
                                                                                               authority that are planned at the time of submission of such report:




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                                                                       Provided further, That any deviations proposed subsequent to the                                      Requirement.
                                                                       submission of such report shall be subject to prior consultation                                      Consultation.
                                                                       with such Committees: Provided further, That not later than                                           Reports.
                                                                       November 1, 2025, the Secretary of State shall submit a report
                                                                       to the Committees on Appropriations on the use of the authority
                                                                       of this subsection.

                                                                                                        ENVIRONMENT PROGRAMS

                                                                            SEC. 7061. (a) Funds appropriated by this Act to carry out                                       Reports.
                                                                       the provisions of sections 103 through 106, and chapter 4 of part
                                                                       II, of the Foreign Assistance Act of 1961 may be used, notwith-
                                                                       standing any other provision of law, except for the provisions of
                                                                       this section and only subject to the reporting procedures of the
                                                                       Committees on Appropriations, to support environment programs.
                                                                            (b)(1) Of the funds appropriated under title III of this Act,
                                                                       not less than $365,750,000 shall be made available for biodiversity
                                                                       conservation programs.
                                                                            (2) Not less than $118,750,000 of the funds appropriated under
                                                                       titles III and IV of this Act shall be made available to combat
                                                                       the transnational threat of wildlife poaching and trafficking.
                                                                            (3) None of the funds appropriated under title IV of this Act                                    Determination.
                                                                       may be made available for training or other assistance for any                                        Poaching.
                                                                                                                                                                             Reports.
                                                                       military unit or personnel that the Secretary of State determines
                                                                       has been credibly alleged to have participated in wildlife poaching
                                                                       or trafficking, unless the Secretary reports to the appropriate
                                                                       congressional committees that to do so is in the national security
                                                                       interest of the United States.
                                                                            (4) Funds appropriated by this Act for biodiversity programs
                                                                       shall not be used to support the expansion of industrial scale
                                                                       logging, agriculture, livestock production, mining, or any other
                                                                       industrial scale extractive activity into areas that were primary/
                                                                       intact tropical forests as of December 30, 2013, and the Secretary
                                                                       of the Treasury shall instruct the United States executive directors
                                                                       of each international financial institution (IFI) to use the voice
                                                                       and vote of the United States to oppose any financing of any
                                                                       such activity.
                                                                            (c) The Secretary of the Treasury shall instruct the United
                                                                       States executive director of each IFI that it is the policy of the
                                                                       United States to use the voice and vote of the United States,
                                                                       in relation to any loan, grant, strategy, or policy of such institution,
                                                                       regarding the construction of any large dam consistent with the
                                                                       criteria set forth in Senate Report 114–79, while also considering
                                                                       whether the project involves important foreign policy objectives.
                                                                            (d) Of the funds appropriated under title III of this Act, not
                                                                       less than $175,750,000 shall be made available for sustainable
                                                                       landscapes programs.
                                                                            (e) Of the funds appropriated under title III of this Act, not
                                                                       less than $256,500,000 shall be made available for adaptation pro-
                                                                       grams, including in support of the implementation of the Indo-
                                                                       Pacific Strategy.
                                                                            (f) Of the funds appropriated under title III of this Act, not
                                                                       less than $247,000,000 shall be made available for clean energy
                                                                       programs, including in support of carrying out the purposes of
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                                                                       the Electrify Africa Act (Public Law 114–121) and implementing
                                                                       the Power Africa initiative.




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                                                                                                    (g) Funds appropriated by this Act under title III may be
                                                                                               made available for United States contributions to the Adaptation
                                                                                               Fund and the Least Developed Countries Fund.
                                                                                                    (h) Of the funds appropriated under title III of this Act, not
                                                                                               less than $47,500,000 shall be made available for the purposes
                                                                                               enumerated under section 7060(c)(7) of the Department of State,
                                                                                               Foreign Operations, and Related Programs Appropriations Act, 2021
                                                                       Consultation.           (division K of Public Law 116–260): Provided, That such funds
                                                                                               may only be made available following consultation with the Commit-
                                                                                               tees on Appropriations.
                                                                                                    (i) Of the funds appropriated under title III of this Act, not
                                                                                               less than $19,000,000 shall be made available to support Indigenous
                                                                                               and other civil society organizations in developing countries that
                                                                                               are working to protect the environment, including threatened and
                                                                                               endangered species.
                                                                       Implementation.              (j) The Secretary of State and USAID Administrator shall
                                                                                               implement the directive regarding law enforcement in national
                                                                                               parks and protected areas as described under this section in Senate
                                                                                               Report 118–71.

                                                                                                                                  BUDGET DOCUMENTS

                                                                       Deadlines.                   SEC. 7062. (a) OPERATING PLANS.—Not later than 45 days after
                                                                                               the date of enactment of this Act, each department, agency, or
                                                                                               organization funded in titles I, II, and VI of this Act, and the
                                                                                               Department of the Treasury and Independent Agencies funded in
                                                                                               title III of this Act, including the Inter-American Foundation and
                                                                                               the United States African Development Foundation, shall submit
                                                                                               to the Committees on Appropriations an operating plan for funds
                                                                                               appropriated to such department, agency, or organization in such
                                                                                               titles of this Act, or funds otherwise available for obligation in
                                                                                               fiscal year 2024, that provides details of the uses of such funds
                                                                                               at the program, project, and activity level: Provided, That such
                                                                                               plans shall include, as applicable, a comparison between the
                                                                                               congressional budget justification funding levels, the most recent
                                                                                               congressional directives or approved funding levels, and the funding
                                                                                               levels proposed by the department or agency; and a clear, concise,
                                                                       Requirement.            and informative description/justification: Provided further, That
                                                                       Notification.           operating plans that include changes in levels of funding for pro-
                                                                                               grams, projects, and activities specified in the congressional budget
                                                                                               justification, in this Act, or amounts designated in the tables in
                                                                                               the explanatory statement described in section 4 (in the matter
                                                                                               preceding division A of this consolidated Act), as applicable, shall
                                                                                               be subject to the notification and reprogramming requirements
                                                                                               of section 7015 of this Act.
                                                                                                    (b) SPEND PLANS.—
                                                                                                         (1) Prior to the initial obligation of funds, the Secretary
                                                                                                    of State or Administrator of the United States Agency for
                                                                                                    International Development, as appropriate, shall submit to the
                                                                                                    Committees on Appropriations a spend plan for funds made
                                                                                                    available by this Act for—
                                                                                                             (A) assistance for countries in Central America and
                                                                                                         the Caribbean, Cambodia, Ethiopia, Iraq, Pacific Islands
                                                                                                         countries, Pakistan, Tunisia, and Ukraine;
                                                                                                             (B) assistance for the Africa Regional Counterterrorism
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                                                                                                         program, Caribbean Basin Security Initiative, Central
                                                                                                         America Regional Security Initiative, Counterterrorism




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                                                                                 Partnerships Fund, Global Peace Operations Initiative,
                                                                                 Indo-Pacific Strategy and the Countering PRC Influence
                                                                                 Fund, Partnership for Global Infrastructure and Invest-
                                                                                 ment, Partnership for Regional East Africa Counterter-
                                                                                 rorism, Power Africa, Prosper Africa, and Trans-Sahara
                                                                                 Counterterrorism Partnership;
                                                                                      (C) assistance made available pursuant to the following
                                                                                 sections in this Act: section 7032; section 7036; section
                                                                                 7047(d) (on a country-by-country basis); section 7059; and
                                                                                 subsections (a), (d), (e), (f), (h), and (i) of section 7060;
                                                                                      (D) funds provided under the heading ‘‘International
                                                                                 Narcotics Control and Law Enforcement’’ for International
                                                                                 Organized Crime and for Cybercrime and Intellectual Prop-
                                                                                 erty Rights: Provided, That the spend plans shall include
                                                                                 bilateral and global programs funded under such heading
                                                                                 along with a brief description of the activities planned
                                                                                 for each country; and
                                                                                      (E) implementation of the Global Fragility Act of 2019.
                                                                                 (2) Not later than 90 days after the date of enactment
                                                                            of this Act, the Secretary of the Treasury shall submit to
                                                                            the Committees on Appropriations a detailed spend plan for
                                                                            funds made available by this Act under the headings ‘‘Depart-
                                                                            ment of the Treasury, International Affairs Technical Assist-
                                                                            ance’’ in title III and ‘‘Treasury International Assistance Pro-
                                                                            grams’’ in title V.
                                                                                 (3) Notwithstanding paragraph (1), up to 10 percent of                                      Determination.
                                                                            the funds contained in a spend plan required by this subsection
                                                                            may be obligated prior to the submission of such spend plan
                                                                            if the Secretary of State, the USAID Administrator, or the
                                                                            Secretary of the Treasury, as applicable, determines that the
                                                                            obligation of such funds is necessary to avoid significant pro-
                                                                            grammatic disruption: Provided, That not less than seven days                                    Time period.
                                                                            prior to such obligation, the Secretary or Administrator, as                                     Consultation.
                                                                            appropriate, shall consult with the Committees on Appropria-
                                                                            tions on the justification for such obligation and the proposed
                                                                            uses of such funds.
                                                                            (c) CLARIFICATION.—The spend plans referenced in subsection
                                                                       (b) shall not be considered as meeting the notification requirements
                                                                       in this Act or under section 634A of the Foreign Assistance Act
                                                                       of 1961.
                                                                            (d) CONGRESSIONAL BUDGET JUSTIFICATION.—The congressional
                                                                       budget justification for Department of State operations and foreign
                                                                       operations shall be provided to the Committees on Appropriations
                                                                       concurrent with the date of submission of the President’s budget
                                                                       for fiscal year 2025: Provided, That the appendices for such justifica-                               Appendices.
                                                                       tion shall be provided to the Committees on Appropriations not
                                                                       later than 10 calendar days thereafter.

                                                                                                                REORGANIZATION

                                                                           SEC. 7063. (a) PRIOR CONSULTATION AND NOTIFICATION.—Funds
                                                                       appropriated by this Act, prior Acts making appropriations for
                                                                       the Department of State, foreign operations, and related programs,
                                                                       or any other Act may not be used to implement a reorganization,
                                                                       redesign, or other plan described in subsection (b) by the Depart-
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                                                                       ment of State, the United States Agency for International Develop-
                                                                       ment, or any other Federal department, agency, or organization




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                                                                                               funded by this Act without prior consultation by the head of such
                                                                                               department, agency, or organization with the appropriate congres-
                                                                       Requirement.            sional committees: Provided, That such funds shall be subject to
                                                                                               the regular notification procedures of the Committees on Appropria-
                                                                                               tions: Provided further, That any such notification submitted to
                                                                                               such Committees shall include a detailed justification for any pro-
                                                                                               posed action: Provided further, That congressional notifications sub-
                                                                                               mitted in prior fiscal years pursuant to similar provisions of law
                                                                                               in prior Acts making appropriations for the Department of State,
                                                                                               foreign operations, and related programs may be deemed to meet
                                                                                               the notification requirements of this section.
                                                                                                    (b) DESCRIPTION OF ACTIVITIES.—Pursuant to subsection (a),
                                                                                               a reorganization, redesign, or other plan shall include any action
                                                                                               to—
                                                                                                         (1) expand, eliminate, consolidate, or downsize covered
                                                                                                    departments, agencies, or organizations, including bureaus and
                                                                                                    offices within or between such departments, agencies, or
                                                                                                    organizations, including the transfer to other agencies of the
                                                                                                    authorities and responsibilities of such bureaus and offices;
                                                                                                         (2) expand, eliminate, consolidate, or downsize the United
                                                                                                    States official presence overseas, including at bilateral, regional,
                                                                                                    and multilateral diplomatic facilities and other platforms; or
                                                                                                         (3) expand or reduce the size of the permanent Civil
                                                                                                    Service, Foreign Service, eligible family member, and locally
                                                                                                    employed staff workforce of the Department of State and
                                                                                                    USAID from the staffing levels previously justified to the
                                                                                                    Committees on Appropriations for fiscal year 2024.

                                                                                                                            DEPARTMENT OF STATE MATTERS

                                                                       Requirement.                 SEC. 7064. (a) WORKING CAPITAL FUND.—Funds appropriated
                                                                       Notification.           by this Act or otherwise made available to the Department of
                                                                                               State for payments to the Working Capital Fund that are made
                                                                                               available for new service centers, shall be subject to the regular
                                                                                               notification procedures of the Committees on Appropriations.
                                                                                                    (b) CERTIFICATION.—
                                                                       Reports.                          (1) COMPLIANCE.—Not later than 45 days after the initial
                                                                                                    obligation of funds appropriated under titles III and IV of
                                                                                                    this Act that are made available to a Department of State
                                                                                                    bureau or office with responsibility for the management and
                                                                                                    oversight of such funds, the Secretary of State shall certify
                                                                                                    and report to the Committees on Appropriations, on an indi-
                                                                                                    vidual bureau or office basis, that such bureau or office is
                                                                                                    in compliance with Department and Federal financial and
                                                                                                    grants management policies, procedures, and regulations, as
                                                                                                    applicable.
                                                                                                         (2) CONSIDERATIONS.—When making a certification
                                                                                                    required by paragraph (1), the Secretary of State shall consider
                                                                                                    the capacity of a bureau or office to—
                                                                                                              (A) account for the obligated funds at the country
                                                                                                         and program level, as appropriate;
                                                                                                              (B) identify risks and develop mitigation and moni-
                                                                                                         toring plans;
                                                                                                              (C) establish performance measures and indicators;
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                                                                                                              (D) review activities and performance; and
                                                                                                              (E) assess final results and reconcile finances.




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                                                                                   (3) PLAN.—If the Secretary of State is unable to make                                     Timeline.
                                                                              a certification required by paragraph (1), the Secretary shall
                                                                              submit a plan and timeline detailing the steps to be taken
                                                                              to bring such bureau or office into compliance.
                                                                              (c) OTHER MATTERS.—
                                                                                   (1) In addition to amounts appropriated or otherwise made
                                                                              available by this Act under the heading ‘‘Diplomatic Pro-
                                                                              grams’’—
                                                                                        (A) as authorized by section 810 of the United States
                                                                                   Information and Educational Exchange Act, not to exceed
                                                                                   $5,000,000, to remain available until expended, may be
                                                                                   credited to this appropriation from fees or other payments
                                                                                   received from English teaching, library, motion pictures,
                                                                                   and publication programs and from fees from educational
                                                                                   advising and counseling and exchange visitor programs;
                                                                                   and
                                                                                        (B) not to exceed $15,000, which shall be derived from
                                                                                   reimbursements, surcharges, and fees for use of Blair
                                                                                   House facilities.
                                                                                   (2) Funds appropriated or otherwise made available by
                                                                              this Act under the heading ‘‘Diplomatic Programs’’ are available
                                                                              for acquisition by exchange or purchase of passenger motor
                                                                              vehicles as authorized by law and, pursuant to section 1108(g)
                                                                              of title 31, United States Code, for the field examination of
                                                                              programs and activities in the United States funded from any
                                                                              account contained in title I of this Act.
                                                                                   (3) Consistent with section 204 of the Admiral James W.
                                                                              Nance and Meg Donovan Foreign Relations Authorization Act,
                                                                              Fiscal Years 2000 and 2001 (22 U.S.C. 2452b), up to
                                                                              $25,000,000 of the amounts made available under the heading
                                                                              ‘‘Diplomatic Programs’’ in this Act may be obligated and
                                                                              expended for United States participation in international fairs
                                                                              and expositions abroad, including for construction and operation
                                                                              of a United States pavilion at Expo 2025.
                                                                                   (4) Of the funds appropriated by this Act under the heading
                                                                              ‘‘Diplomatic Programs’’, not less than $500,000 shall be made
                                                                              available for additional personnel for the Bureau of Legislative
                                                                              Affairs, Department of State.
                                                                                   (5) Reports required by section 303(g) of the Convention                                  Reports.
                                                                              on Cultural Property Implementation Act (19 U.S.C. 2602) shall
                                                                              also be submitted to the Committees on Appropriations: Pro-
                                                                              vided, That such reports shall also include information con-                                   Compliance.
                                                                              cerning compliance with section 303(c) of such Act.
                                                                                   (6)(A) The notification requirement of paragraphs (2) and                                 Applicability.
                                                                              (3) of subsection (j) of the State Department Basic Authorities
                                                                              Act of 1956 (22 U.S.C. 2651a(j)) shall also apply to the Commit-
                                                                              tees on Appropriations.
                                                                                   (B) The justification requirement of paragraph (4) of sub-
                                                                              section (j) of the State Department Basic Authorities Act of
                                                                              1956 (22 U.S.C. 2651a(j)) shall also apply to the Committees
                                                                              on Appropriations.
                                                                                   (C) Not later than 90 days after the date of enactment                                    Reports.
                                                                              of this Act, the Secretary of State shall submit to the appro-                                 Criteria.
                                                                              priate congressional committees a report detailing the criteria                                Certification.
                                                                              used to certify that a position established in accordance with
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                                                                              paragraph (2) of subsection (j) of the State Department Basic
                                                                              Authorities Act of 1956 (22 U.S.C. 2651a(j)) does not require




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                                                                                                      the exercise of significant authority pursuant to the laws of
                                                                       List.                          the United States: Provided, That such report shall also include
                                                                       Updates.                       a listing of each special appointment authorized by such section,
                                                                       Time period.
                                                                       Termination                    the number of positions for the applicable office, and the salary
                                                                       date.                          and other support costs of such office, and such report shall
                                                                                                      be updated and submitted to the such committees every 180
                                                                                                      days thereafter until September 30, 2025.

                                                                                                       UNITED STATES AGENCY FOR INTERNATIONAL DEVELOPMENT
                                                                                                                          MANAGEMENT

                                                                       22 USC 3948                  SEC. 7065. (a) AUTHORITY.—Up to $170,000,000 of the funds
                                                                       note.                   made available in title III of this Act pursuant to or to carry
                                                                                               out the provisions of part I of the Foreign Assistance Act of 1961,
                                                                                               including funds appropriated under the heading ‘‘Assistance for
                                                                                               Europe, Eurasia and Central Asia’’, may be used by the United
                                                                                               States Agency for International Development to hire and employ
                                                                                               individuals in the United States and overseas on a limited appoint-
                                                                                               ment basis pursuant to the authority of sections 308 and 309
                                                                                               of the Foreign Service Act of 1980 (22 U.S.C. 3948 and 3949).
                                                                       Expiration date.             (b) RESTRICTION.—The authority to hire individuals contained
                                                                       22 USC 3948             in subsection (a) shall expire on September 30, 2025.
                                                                       note.                        (c) PROGRAM ACCOUNT CHARGED.—The account charged for the
                                                                       22 USC 3948
                                                                       note.                   cost of an individual hired and employed under the authority of
                                                                                               this section shall be the account to which the responsibilities of
                                                                       Transfer                such individual primarily relate: Provided, That funds made avail-
                                                                       authority.              able to carry out this section may be transferred to, and merged
                                                                                               with, funds appropriated by this Act in title II under the heading
                                                                                               ‘‘Operating Expenses’’.
                                                                       22 USC 3948                  (d) FOREIGN SERVICE LIMITED EXTENSIONS.—Individuals hired
                                                                       note.                   and employed by USAID, with funds made available in this Act
                                                                                               or prior Acts making appropriations for the Department of State,
                                                                                               foreign operations, and related programs, pursuant to the authority
                                                                                               of section 309 of the Foreign Service Act of 1980 (22 U.S.C. 3949),
                                                                                               may be extended for a period of up to 4 years notwithstanding
                                                                                               the limitation set forth in such section.
                                                                       Notification.                (e) DISASTER SURGE CAPACITY.—Funds appropriated under title
                                                                                               III of this Act to carry out part I of the Foreign Assistance Act
                                                                                               of 1961, including funds appropriated under the heading ‘‘Assistance
                                                                                               for Europe, Eurasia and Central Asia’’, may be used, in addition
                                                                                               to funds otherwise available for such purposes, for the cost
                                                                                               (including the support costs) of individuals detailed to or employed
                                                                                               by USAID whose primary responsibility is to carry out programs
                                                                                               in response to natural disasters or man-made disasters, subject
                                                                                               to the regular notification procedures of the Committees on Appro-
                                                                                               priations.
                                                                                                    (f) PERSONAL SERVICES CONTRACTORS.—Funds appropriated by
                                                                                               this Act to carry out chapter 1 of part I, chapter 4 of part II,
                                                                                               and section 667 of the Foreign Assistance Act of 1961, and title
                                                                                               II of the Food for Peace Act (Public Law 83–480; 7 U.S.C. 1721
                                                                                               et seq.), may be used by USAID to employ up to 40 personal
                                                                                               services contractors in the United States, notwithstanding any other
                                                                                               provision of law, for the purpose of providing direct, interim support
                                                                                               for new or expanded overseas programs and activities managed
                                                                                               by the agency until permanent direct hire personnel are hired
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                                                                       Assignment.             and trained: Provided, That not more than 15 of such contractors
                                                                                               shall be assigned to any bureau or office: Provided further, That




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                                                                       such funds appropriated to carry out title II of the Food for Peace
                                                                       Act (Public Law 83–480; 7 U.S.C. 1721 et seq.), may be made
                                                                       available only for personal services contractors assigned to the
                                                                       Bureau for Humanitarian Assistance.
                                                                             (g) SMALL BUSINESS.—In entering into multiple award indefi-                                     Contracts.
                                                                       nite-quantity contracts with funds appropriated by this Act, USAID                                    Exception.
                                                                       may provide an exception to the fair opportunity process for placing
                                                                       task orders under such contracts when the order is placed with
                                                                       any category of small or small disadvantaged business.
                                                                             (h) SENIOR FOREIGN SERVICE LIMITED APPOINTMENTS.—Individ-
                                                                       uals hired pursuant to the authority provided by section 7059(o)
                                                                       of the Department of State, Foreign Operations, and Related Pro-
                                                                       grams Appropriations Act, 2010 (division F of Public Law 111–
                                                                       117) may be assigned to or support programs in Afghanistan or
                                                                       Pakistan with funds made available in this Act and prior Acts
                                                                       making appropriations for the Department of State, foreign oper-
                                                                       ations, and related programs.
                                                                             (i) CRISIS OPERATIONS STAFFING.—Up to $86,000,000 of the
                                                                       funds made available in title III of this Act pursuant to, or to
                                                                       carry out the provisions of, part I of the Foreign Assistance Act
                                                                       of 1961 and section 509(b) of the Global Fragility Act of 2019
                                                                       (title V of division J of Public Law 116–94) may be made available
                                                                       for the United States Agency for International Development to
                                                                       appoint and employ personnel in the excepted service to prevent
                                                                       or respond to foreign crises and contexts with growing instability:
                                                                       Provided, That functions carried out by personnel hired under the
                                                                       authority of this subsection shall be related to the purpose for
                                                                       which the funds were appropriated: Provided further, That such
                                                                       funds are in addition to funds otherwise available for such purposes
                                                                       and may remain attributed to any minimum funding requirement
                                                                       for which they were originally made available: Provided further,
                                                                       That the USAID Administrator shall coordinate with the Director                                       Consultation.
                                                                       of the Office of Personnel Management and consult with the appro-
                                                                       priate congressional committees on implementation of this provi-
                                                                       sion.
                                                                             (j) PERSONAL SERVICE AGREEMENTS.—Funds appropriated by
                                                                       this Act under titles II and III may be made available for the
                                                                       USAID Administrator to exercise the authorities of section 2669(c)
                                                                       of title 22, United States Code.

                                                                              STABILIZATION AND DEVELOPMENT IN REGIONS IMPACTED BY
                                                                                             EXTREMISM AND CONFLICT

                                                                             SEC. 7066. (a) PREVENTION AND STABILIZATION FUND.—Of the
                                                                       funds appropriated by this Act under the headings ‘‘Economic Sup-
                                                                       port Fund’’, ‘‘International Narcotics Control and Law Enforce-
                                                                       ment’’, ‘‘Nonproliferation, Anti-terrorism, Demining and Related
                                                                       Programs’’, ‘‘Peacekeeping Operations’’, and ‘‘Foreign Military
                                                                       Financing Program’’, not less than $135,000,000 shall be made
                                                                       available for the Prevention and Stabilization Fund for the purposes
                                                                       enumerated in section 509(a) of the Global Fragility Act of 2019
                                                                       (title V of division J of Public Law 116–94): Provided, That such
                                                                       funds shall be prioritized for countries with national and local
                                                                       governments with the demonstrated political will and capacity to
                                                                       partner on strengthening government legitimacy: Provided further,
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                                                                       That the Secretary of State and the Administrator of the United                                       Consultation.
                                                                       States Agency for International Development shall consult with                                        Deadline.




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                                                                                               the Committees on Appropriations on the intended prioritization
                                                                                               and allocation of such funds not later than 60 days prior to submit-
                                                                                               ting the pre-obligation spend plans required by section 7062(b)
                                                                       Transfer                of this Act: Provided further, That funds appropriated under such
                                                                       authority.              headings may be transferred to, and merged with, funds appro-
                                                                                               priated under such headings for such purposes: Provided further,
                                                                       Consultation.           That such transfer authority is in addition to any other transfer
                                                                       Notification.           authority provided by this Act or any other Act, and is subject
                                                                                               to prior consultation with, and the regular notification procedures
                                                                                               of, the Committees on Appropriations: Provided further, That funds
                                                                                               made available pursuant to this subsection under the heading ‘‘For-
                                                                                               eign Military Financing Program’’ may remain available until Sep-
                                                                                               tember 30, 2025.
                                                                                                    (b) TRANSITIONAL JUSTICE.—Of the funds appropriated by this
                                                                                               Act under the headings ‘‘Economic Support Fund’’ and ‘‘Inter-
                                                                                               national Narcotics Control and Law Enforcement’’, not less than
                                                                                               $10,000,000 shall be made available for programs to promote
                                                                                               accountability for genocide, crimes against humanity, and war
                                                                                               crimes, which shall be in addition to any other funds made available
                                                                                               by this Act for such purposes: Provided, That such programs shall
                                                                                               include components to develop local investigative and judicial skills,
                                                                                               and to collect and preserve evidence and maintain the chain of
                                                                                               custody of evidence, including for use in prosecutions, and may
                                                                                               include the establishment of, and assistance for, transitional justice
                                                                       Requirement.            mechanisms: Provided further, That such funds shall be adminis-
                                                                       Consultation.           tered by the Ambassador-at-Large for the Office of Global Criminal
                                                                                               Justice, Department of State, and shall be subject to prior consulta-
                                                                                               tion with the Committees on Appropriations: Provided further, That
                                                                                               funds made available by this paragraph shall be made available
                                                                                               on an open and competitive basis.
                                                                                                                               DEBT-FOR-DEVELOPMENT

                                                                       Notification.                SEC. 7067. In order to enhance the continued participation
                                                                                               of nongovernmental organizations in debt-for-development and debt-
                                                                                               for-nature exchanges, a nongovernmental organization which is a
                                                                                               grantee or contractor of the United States Agency for International
                                                                                               Development may place in interest bearing accounts local currencies
                                                                                               which accrue to that organization as a result of economic assistance
                                                                                               provided under title III of this Act and, subject to the regular
                                                                                               notification procedures of the Committees on Appropriations, any
                                                                                               interest earned on such investment shall be used for the purpose
                                                                                               for which the assistance was provided to that organization.
                                                                                                       EXTENSION OF CONSULAR FEES AND RELATED AUTHORITIES

                                                                       Applicability.               SEC. 7068. (a) Section 1(b)(1) of the Passport Act of June
                                                                       22 USC 214 note.        4, 1920 (22 U.S.C. 214(b)(1)) shall be applied through fiscal year
                                                                                               2024 by substituting ‘‘the costs of providing consular services’’ for
                                                                                               ‘‘such costs’’.
                                                                       Applicability.               (b) Section 21009 of the Emergency Appropriations for
                                                                                               Coronavirus Health Response and Agency Operations (division B
                                                                                               of Public Law 116–136; 134 Stat. 592) shall be applied during
                                                                                               fiscal year 2024 by substituting ‘‘2020 through 2024’’ for ‘‘2020
                                                                                               and 2021’’.
                                                                                                    (c) Discretionary amounts made available to the Department
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                                                                       Transfer
                                                                       authority.              of State under the heading ‘‘Administration of Foreign Affairs’’
                                                                       Determination.          of this Act, and discretionary unobligated balances under such
                                                                       Reports.
                                                                       Consultation.




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                                                                       heading from prior Acts making appropriations for the Department
                                                                       of State, foreign operations, and related programs, may be trans-
                                                                       ferred to the Consular and Border Security Programs account if
                                                                       the Secretary of State determines and reports to the Committees
                                                                       on Appropriations that to do so is necessary to sustain consular
                                                                       operations, following consultation with such Committees: Provided,
                                                                       That such transfer authority is in addition to any transfer authority
                                                                       otherwise available in this Act and under any other provision of
                                                                       law: Provided further, That no amounts may be transferred from
                                                                       amounts designated as an emergency requirement pursuant to a
                                                                       concurrent resolution on the budget or the Balanced Budget and
                                                                       Emergency Deficit Control Act of 1985.
                                                                            (d) In addition to the uses permitted pursuant to section
                                                                       286(v)(2)(A) of the Immigration and Nationality Act (8 U.S.C.
                                                                       1356(v)(2)(A)), for fiscal year 2024, the Secretary of State may
                                                                       also use fees deposited into the Fraud Prevention and Detection
                                                                       Account for the costs of providing consular services.
                                                                            (e) Amounts provided pursuant to subsection (b) are designated
                                                                       by the Congress as being for an emergency requirement pursuant
                                                                       to section 251(b)(2)(A)(i) of the Balanced Budget and Emergency
                                                                       Deficit Control Act of 1985.

                                                                                                     MANAGEMENT AND OVERSIGHT

                                                                            SEC. 7069. (a) MANAGEMENT.—                                                                      22 USC 2396b.
                                                                                 (1) Consistent with paragraph (2), there is hereby estab-
                                                                            lished in the Treasury of the United States the ‘‘USAID Buying
                                                                            Power Maintenance Account’’.
                                                                                 (2) Up to $50,000,000 of expired or unexpired discretionary                                 Transfer
                                                                            unobligated balances appropriated for this and for any suc-                                      authorities.
                                                                            ceeding fiscal year under the heading ‘‘Operating Expenses’’                                     Deadline.
                                                                            may be transferred to, and merged with, the account established
                                                                            pursuant to paragraph (1) not later than the end of the fifth
                                                                            fiscal year after the last fiscal year for which such funds are
                                                                            available for the purposes for which appropriated: Provided,
                                                                            That amounts deposited in such account shall be available
                                                                            until expended for the purposes of offsetting adverse fluctua-
                                                                            tions in foreign currency exchange rates or overseas wage and
                                                                            price changes to maintain overseas operations, in addition to
                                                                            such other funds as may be available for such purposes: Pro-
                                                                            vided further, That amounts from such account may be trans-
                                                                            ferred to, and merged with, funds appropriated under titles
                                                                            II and III of this Act or subsequent Acts making appropriations
                                                                            for the Department of State, foreign operations, and related
                                                                            programs for such purposes: Provided further, That any specific
                                                                            designation or restriction contained in this Act or any other
                                                                            provision of law limiting the amounts available that may be
                                                                            obligated or expended shall be deemed to be adjusted to the
                                                                            extent necessary to offset the net effect of fluctuations in foreign
                                                                            currency exchange rates or overseas wage and price changes
                                                                            in order to maintain approved levels: Provided further, That                                     Requirement.
                                                                            transfers pursuant to this subsection shall be subject to the                                    Notification.
                                                                            regular notification procedures of the Committees on Appropria-
                                                                            tions.
                                                                            (b) ACCOUNTABILITY AND OVERSIGHT.—For purposes of strength-
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                                                                       ening oversight, efficiency, and accountability, of the relocation
                                                                       activities and related support of individuals at risk as a result




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                                                                                               of the situation in Afghanistan, including travel and related
                                                                                               expenditures, security and vetting, sustainment and other needs,
                                                                                               fees, examinations, and administrative expenses, there is hereby
                                                                                               established in the Treasury of the United States the ‘‘Enduring
                                                                                               Welcome Administrative Expenses Account’’: Provided, That such
                                                                                               funds may be made available as contributions and the administra-
                                                                                               tive authorities in the Foreign Assistance Act of 1961 may be
                                                                                               made available with respect to such funds, as appropriate: Provided
                                                                       Transfer                further, That unobligated balances from prior year appropriations
                                                                       authority.              available to the Department of State for support for Operation
                                                                                               Enduring Welcome and related efforts may be transferred to such
                                                                                               account for the purposes specified in this subsection: Provided fur-
                                                                                               ther, That amounts transferred to this account from funds made
                                                                                               available under the heading ‘‘United States Emergency Refugee
                                                                                               and Migration Assistance Fund’’ may be made available notwith-
                                                                                               standing any provision of law which restricts assistance to foreign
                                                                       Reports.                countries: Provided further, That not later than 30 days after the
                                                                                               establishment of such account, the Secretary of State shall submit
                                                                                               to the Committees on Appropriations a report detailing the funds
                                                                                               available for obligation under the Enduring Welcome Administra-
                                                                                               tive Expenses Account, the proposed uses of such funds by program,
                                                                                               project, and activity and each planned use of the authority of
                                                                       Updates.                the previous proviso: Provided further, That such report shall be
                                                                       Time period.            updated and submitted to the Committees on Appropriations every
                                                                       Termination
                                                                       date.                   60 days until September 30, 2025: Provided further, That amounts
                                                                                               transferred pursuant to this subsection that were previously des-
                                                                                               ignated by the Congress as an emergency requirement pursuant
                                                                                               to a concurrent resolution on the budget or the Balanced Budget
                                                                                               and Emergency Deficit Control Act of 1985 are designated by the
                                                                                               Congress as being for an emergency requirement pursuant to section
                                                                                               251(b)(2)(A)(i) of the Balanced Budget and Emergency Deficit Con-
                                                                                               trol Act of 1985.
                                                                                                                      MULTILATERAL DEVELOPMENT BANKS

                                                                                                    SEC. 7070. The African Development Fund Act (22 U.S.C. 290g
                                                                                               et seq.) is amended by adding at the end the following new section:
                                                                       22 USC 290g–26.         ‘‘SEC. 227. SIXTEENTH REPLENISHMENT.
                                                                                                   ‘‘(a) IN GENERAL.—The United States Governor of the Fund
                                                                                               is authorized to contribute on behalf of the United States
                                                                                               $591,000,000 to the sixteenth replenishment of the resources of
                                                                                               the Fund, subject to obtaining the necessary appropriations.
                                                                                                   ‘‘(b) AUTHORIZATION OF APPROPRIATIONS.—In order to pay for
                                                                                               the United States contribution provided for in subsection (a), there
                                                                                               are authorized to be appropriated, without fiscal year limitation,
                                                                                               $591,000,000 for payment by the Secretary of the Treasury.’’.
                                                                                                      PROHIBITIONS ON CERTAIN TRANSACTIONS INVOLVING SPECIAL
                                                                                                                          DRAWING RIGHTS

                                                                                                   SEC. 7071. (a) PROHIBITION ON CERTAIN TRANSACTIONS
                                                                                               INVOLVING PERPETRATORS OF GENOCIDE AND STATE SPONSORS OF
                                                                                               TERRORISM WITHOUT CONGRESSIONAL AUTHORIZATION.—Section
                                                                                               6(b) of the Special Drawing Rights Act (22 U.S.C. 286q(b)) is
                                                                                               amended by adding at the end the following:
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                                                                       President.                  ‘‘(3) Unless Congress by law authorizes such action, neither
                                                                                               the President nor any person or agency shall on behalf of the




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                                                                       United States engage in any voluntary transaction involving the
                                                                       exchange of Special Drawing Rights that are held by a member
                                                                       country of the Fund, if the Secretary of State has found that
                                                                       the government of the member country—
                                                                                  ‘‘(A) has committed genocide at any time during the 1-                                     Time period.
                                                                            year period ending with the date of the transaction; or
                                                                                  ‘‘(B) has repeatedly provided support for acts of inter-
                                                                            national terrorism.
                                                                            ‘‘(4) The Secretary of the Treasury shall direct the United
                                                                       States Executive Director at each international financial institution
                                                                       (as defined in section 1701(c)(2) of the International Financial
                                                                       Institutions Act) to use the voice and vote of the United States
                                                                       to—
                                                                                  ‘‘(A) oppose the provision of financial assistance to any
                                                                            government with respect to which the Secretary of State has
                                                                            made a finding described in paragraph (3); and
                                                                                  ‘‘(B) seek to ensure that the member countries of the
                                                                            institution do not engage in voluntary transactions involving
                                                                            the exchange of Special Drawing Rights held by such a govern-
                                                                            ment.
                                                                            ‘‘(5) WAIVER.—The President may waive paragraphs (3) and                                         President.
                                                                       (4) on a case-by-case basis if the President reports to the Committee                                 Reports.
                                                                       on Financial Services of the House of Representatives and the
                                                                       Committee on Foreign Relations of the Senate that the waiver
                                                                       is in the national interest of the United States, and includes a
                                                                       detailed explanation of the reasons therefor.’’.
                                                                            (b) REPEAL.—Effective on the date that is 10 years after the                                     Effective date.
                                                                       date of the enactment of this Act, paragraphs (3) through (5) of                                      22 USC 286q and
                                                                       section 6(b) of the Special Drawing Rights Act, as added by sub-                                      note.
                                                                       section (a) of this section, are repealed.
                                                                            (c) ENERGY SECURITY AND IMF ACCOUNTABILITY.—
                                                                                  (1) IN GENERAL.—The Secretary of the Treasury may,                                         Expiration date.
                                                                            through December 31, 2031, make direct loans not to exceed                                       Loans.
                                                                            $21,000,000,000 in the aggregate to the Poverty Reduction and
                                                                            Growth Trust (in this subsection referred to as the ‘‘PRGT’’)
                                                                            of the International Monetary Fund (in this subsection referred
                                                                            to as the ‘‘IMF’’), provided that funds made available in prior
                                                                            Acts making appropriations for the Department of State, foreign
                                                                            operations, and related programs under the heading ‘‘Contribu-
                                                                            tions to International Monetary Fund Facilities and Trust
                                                                            Funds’’ shall be available to cover the cost, as defined in section
                                                                            502 of the Congressional Budget Act of 1974, of loans to the
                                                                            PRGT, subject to paragraph (2).
                                                                                  (2) LIMITATION.—No portion of the funds described under
                                                                            paragraph (1) may be used for the provision of loans by the
                                                                            United States to the Resilience and Sustainability Trust (in
                                                                            this subsection referred to as the ‘‘RST’’) of the IMF, or for
                                                                            the transfer of resources from the PRGT to the RST.
                                                                            (d) CONGRESSIONAL NOTIFICATION WITH RESPECT TO EXCEP-
                                                                       TIONAL ACCESS LENDING.—
                                                                                  (1) IN GENERAL.—The Bretton Woods Agreements Act (22
                                                                            U.S.C. 286–286zz) is amended by adding at the end the fol-
                                                                            lowing:
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                                                                       Time periods.           ‘‘SEC. 74. CONGRESSIONAL NOTIFICATION WITH RESPECT TO EXCEP-
                                                                       22 USC 286aaa.                      TIONAL ACCESS LENDING.
                                                                       Reports.                     ‘‘(a) IN GENERAL.—The United States Executive Director at
                                                                                               the Fund may not support any proposal that would alter the criteria
                                                                                               used by the Fund for exceptional access lending if the proposal
                                                                                               would permit a country that is ineligible, before the proposed alter-
                                                                                               ation, to receive exceptional access lending, unless, not later than
                                                                                               15 days before consideration of the proposal by the Board of Execu-
                                                                                               tive Directors of the Fund, the Secretary of the Treasury has
                                                                                               submitted to the Committee on Financial Services of the House
                                                                                               of Representatives and the Committee on Foreign Relations of the
                                                                                               Senate a report on the justification for the proposal and the effects
                                                                                               of the proposed alteration on moral hazard and repayment risk
                                                                                               at the Fund.
                                                                                                    ‘‘(b) WAIVER.—The Secretary of the Treasury may reduce the
                                                                                               applicable notice period required under subsection (a) to not less
                                                                                               than 7 days on reporting to the Committee on Financial Services
                                                                                               of the House of Representatives and Committee on Foreign Rela-
                                                                                               tions of the Senate that the reduction is important to the national
                                                                                               interest of the United States, with an explanation of the reasons
                                                                                               therefor.’’.
                                                                       Effective date.                    (2) REPEAL.—Effective on the date that is 10 years after
                                                                       22 USC 286aaa                the date of the enactment of this Act, section 74 of the Bretton
                                                                       and note.                    Woods Agreements Act, as added by paragraph (1) of this
                                                                                                    subsection, is repealed.
                                                                                                    (e) NEW ARRANGEMENTS TO BORROW.—
                                                                                                          (1) EXTENSION.—Section 17(a)(6) of the Bretton Woods
                                                                                                    Agreements Act (22 U.S.C. 286e–2(a)(6)) is amended by striking
                                                                                                    ‘‘December 31, 2025’’ and inserting ‘‘December 31, 2030’’.
                                                                       Deadline.                          (2) STRATEGY.—Not later than 180 days after the date
                                                                       Recommenda-                  of the enactment of this Act, the Secretary of the Treasury
                                                                       tions.                       shall submit to the Committee on Financial Services of the
                                                                                                    House of Representatives and the Committee on Foreign Rela-
                                                                                                    tions of the Senate a strategy with respect to the New Arrange-
                                                                                                    ments to Borrow (NAB) of the International Monetary Fund,
                                                                                                    including any recommendations to reduce the resources of the
                                                                                                    NAB beyond reductions proposed under the 16th General
                                                                                                    Review of Quotas, that maintains United States support for
                                                                                                    the International Monetary Fund as a quota-based institution.

                                                                                                       EXTENSION OF CERTAIN REQUIREMENTS OF THE PRESIDENT’S
                                                                                                                  EMERGENCY PLAN FOR AIDS RELIEF

                                                                                                   SEC. 7072. (a) INSPECTORS GENERAL AND ANNUAL STUDY.—
                                                                                               Section 101 of the United States Leadership Against HIV/AIDS,
                                                                                               Tuberculosis, and Malaria Act of 2003 (22 U.S.C. 7611) is
                                                                                               amended—
                                                                                                       (1) in subsection (f)(1)—
                                                                                                            (A) in subparagraph (A), by striking ‘‘2023’’ and
                                                                                                       inserting ‘‘March 25 of fiscal year 2025’’; and
                                                                                                            (B) in subparagraph (C)(iv)—
                                                                                                                 (i) by striking ‘‘nine’’ and inserting ‘‘eleven’’; and
                                                                                                                 (ii) by striking ‘‘2023’’ and inserting ‘‘2025’’; and
                                                                                                       (2) in subsection (g)—
                                                                                                            (A) in paragraph (1), by striking ‘‘September 30, 2024’’
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                                                                                                       and inserting ‘‘March 25, 2025’’; and
                                                                                                            (B) in paragraph (2)—




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                                                                                           (i) in the heading, by striking ‘‘2024’’ and inserting
                                                                                     ‘‘2025’’; and
                                                                                           (ii) by striking ‘‘September 30, 2024’’ and inserting
                                                                                     ‘‘March 25, 2025’’.
                                                                           (b) PARTICIPATION IN THE GLOBAL FUND TO FIGHT AIDS, TUBER-
                                                                       CULOSIS, AND MALARIA.—Section 202(d) of the United States Leader-
                                                                       ship Against HIV/AIDS, Tuberculosis, and Malaria Act of 2003
                                                                       (22 U.S.C. 7622(d)) is amended—
                                                                                (1) in paragraph (4)—
                                                                                     (A) in subparagraph (A)—
                                                                                           (i) in clause (i), by striking ‘‘2023’’ and inserting
                                                                                     ‘‘March 25 of fiscal year 2025’’; and
                                                                                           (ii) in clause (ii), by striking ‘‘2023’’ and inserting
                                                                                     ‘‘March 25 of fiscal year 2025’’; and
                                                                                     (B) in subparagraph (B)(iii), by striking ‘‘2023’’ and
                                                                                inserting ‘‘2024 and March 25 of fiscal year 2025’’; and
                                                                                (2) in paragraph (5), by striking ‘‘2023’’ and inserting ‘‘2024
                                                                           and for fiscal year 2025 through March 25 of such fiscal year’’.
                                                                           (c) ALLOCATION OF FUNDS.—Section 403 of the United States
                                                                       Leadership Against HIV/AIDS, Tuberculosis, and Malaria Act of
                                                                       2003 (22 U.S.C. 7673) is amended—
                                                                                (1) in subsection (b), by striking ‘‘2023’’ and inserting ‘‘2024
                                                                           and fiscal year 2025 through March 25 of such fiscal year’’;
                                                                           and
                                                                                (2) in subsection (c), in the matter preceding paragraph
                                                                           (1), by striking ‘‘2023’’ and inserting ‘‘2024 and for fiscal year
                                                                           2025 through March 25 of such fiscal year’’.

                                                                                                                GAZA OVERSIGHT

                                                                            SEC. 7073. (a) CERTIFICATION.—The Secretary of State shall                                       Reports.
                                                                       certify and report to the appropriate congressional committees not
                                                                       later than 15 days after the date of enactment of this Act, that—
                                                                                 (1) oversight policies, processes, and procedures have been                                 Policies.
                                                                            established by the Department of State and the United States                                     Processes.
                                                                            Agency for International Development, as appropriate, and are                                    Procedures.
                                                                            in use to prevent the diversion to Hamas and other terrorist
                                                                            and extremist entities in Gaza and the misuse or destruction
                                                                            by such entities of assistance, including through international
                                                                            organizations; and
                                                                                 (2) such policies, processes, and procedures have been devel-
                                                                            oped in coordination with other bilateral and multilateral
                                                                            donors and the Government of Israel, as appropriate.
                                                                            (b) OVERSIGHT POLICY AND PROCEDURES.—The Secretary of
                                                                       State and the USAID Administrator shall submit to the appropriate
                                                                       congressional committees, concurrent with the submission of the
                                                                       certification required in subsection (a), a written description of
                                                                       the oversight policies, processes, and procedures for funds appro-
                                                                       priated by this Act that are made available for assistance for
                                                                       Gaza, including specific actions to be taken should such assistance
                                                                       be diverted, misused, or destroyed, and the role of the Government
                                                                       of Israel in the oversight of such assistance.
                                                                            (c) REQUIREMENT TO INFORM.—The Secretary of State and
                                                                       USAID Administrator shall promptly inform the appropriate
                                                                       congressional committees of each instance in which funds appro-
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                                                                       priated by this Act that are made available for assistance for
                                                                       Gaza have been diverted, misused, or destroyed, to include the




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                                                                                               type of assistance, a description of the incident and parties involved,
                                                                                               and an explanation of the response of the Department of State
                                                                                               or USAID, as appropriate.
                                                                       Consultation.                (d) THIRD PARTY MONITORING.—Funds appropriated by this
                                                                                               Act shall be made available for third party monitoring of assistance
                                                                                               for Gaza, including end use monitoring, following consultation with
                                                                                               the appropriate congressional committees.
                                                                       Time period.                 (e) REPORT.—Not later than 90 days after the initial obligation
                                                                                               of funds appropriated by this Act that are made available for
                                                                                               assistance for Gaza, and every 90 days thereafter until all such
                                                                                               funds are expended, the Secretary of State and the USAID Adminis-
                                                                                               trator shall jointly submit to the appropriate congressional commit-
                                                                                               tees a report detailing the amount and purpose of such assistance
                                                                                               provided during each respective quarter, including a description
                                                                                               of the specific entity implementing such assistance.
                                                                       Time period.                 (f) ASSESSMENT.—Not later than 90 days after the date of
                                                                       Termination             enactment of this Act and every 90 days thereafter until September
                                                                       date.
                                                                       Reports.
                                                                                               30, 2025, the Secretary of State, in consultation with the Director
                                                                                               of National Intelligence and other heads of elements of the intel-
                                                                                               ligence community that the Secretary considers relevant, shall
                                                                                               submit to the appropriate congressional committees a report
                                                                                               assessing whether funds appropriated by this Act and made avail-
                                                                                               able for assistance for the West Bank and Gaza have been diverted
                                                                                               to or destroyed by Hamas or other terrorist and extremist entities
                                                                                               in the West Bank and Gaza: Provided, That such report shall
                                                                                               include details on the amount and how such funds were made
                                                                                               available and used by such entities: Provided further, That such
                                                                                               report may be submitted in classified form, if necessary.
                                                                       Deadline.                    (g) CONSULTATION.—Not later than 30 days after the date of
                                                                                               enactment of this Act but prior to the initial obligation of funds
                                                                                               made available by this Act for humanitarian assistance for Gaza,
                                                                                               the Secretary of State and USAID Administrator, as appropriate,
                                                                                               shall consult with the Committees on Appropriations on the amount
                                                                                               and anticipated uses of such funds.

                                                                                                                                       OTHER MATTERS


                                                                                                                       (INCLUDING RESCISSIONS OF FUNDS)

                                                                                                    SEC. 7074. (a) Funds appropriated or otherwise made available
                                                                                               by this Act for programs to counter foreign propaganda and
                                                                                               disinformation, and for related purposes, may only be made avail-
                                                                                               able for the purpose of countering such efforts by foreign state
                                                                                               and non-state actors abroad, including through programs of the
                                                                                               Global Engagement Center established pursuant to section 1287
                                                                                               of the National Defense Authorization Act for Fiscal Year 2017
                                                                       Reports.                (22 U.S.C. 2656 note): Provided, That not later than 90 days after
                                                                                               enactment of this Act but prior to the initial obligation of funds
                                                                                               made available for the Global Engagement Center, the Secretary
                                                                                               of State shall submit a report to the appropriate congressional
                                                                                               committees detailing the steps taken by the Department of State
                                                                                               to resolve each of the 18 recommendations detailed in the Office
                                                                                               of Inspector General, Department of State, report ‘‘Inspection of
                                                                                               the Global Engagement Center’’ (ISP I–22–15).
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                                                                       Flags.                       (b) None of the funds appropriated or otherwise made available
                                                                                               by this Act may be obligated or expended to fly or display a




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                                                                       flag over a facility of the United States Department of State other
                                                                       than the—
                                                                                 (1) United States flag;
                                                                                 (2) Foreign Service flag pursuant to 2 FAM 154.2–1;
                                                                                 (3) POW/MIA flag;
                                                                                 (4) Hostage and Wrongful Detainee flag, pursuant to section
                                                                            904 of title 36, United States Code;
                                                                                 (5) flag of a State, insular area, or the District of Columbia
                                                                            at domestic locations;
                                                                                 (6) flag of an Indian Tribal government;
                                                                                 (7) official branded flag of a United States agency; or
                                                                                 (8) sovereign flag of other countries.
                                                                            (c) Funds may be transferred to the United States Section                                        Transfer
                                                                       of the International Boundary and Water Commission, United                                            authority.
                                                                       States and Mexico, from Federal or non-Federal entities, to study,
                                                                       design, construct, operate, and maintain treatment and flood control
                                                                       works and related structures, consistent with the functions of the
                                                                       United States Section: Provided, That such funds shall be deposited
                                                                       in an account under the heading ‘‘International Boundary and
                                                                       Water Commission, United States and Mexico’’, to remain available
                                                                       until expended.
                                                                            (d) During fiscal year 2024, section 614(a)(4)(A)(ii) of the For-                                Time period.
                                                                       eign Assistance Act of 1961 (22 U.S.C. 2364(a)(4)(A)(ii)) shall be                                    Applicability.
                                                                       applied by substituting ‘‘$500,000,000’’ for ‘‘$250,000,000’’.
                                                                            (e)(1) Of the unobligated balances from amounts in the Depart-                                   Deadline.
                                                                       ment of the Treasury Forfeiture Fund, established by section 9705
                                                                       of title 31, United States Code, $260,000,000 are hereby perma-
                                                                       nently rescinded, not later than September 30, 2024.
                                                                            (2) Of the unobligated balances from amounts made available
                                                                       by section 104A(m) of Public Law 103–325 (12 U.S.C. 4703a(m)),
                                                                       $50,000,000 are hereby permanently rescinded.
                                                                            (3) Of the unobligated balances in the ‘‘Nonrecurring Expenses
                                                                       Fund’’ established in section 223 of division G of Public Law 110–
                                                                       161, $50,000,000 are hereby rescinded not later than September
                                                                       30, 2024.

                                                                                                                  RESCISSIONS

                                                                                                 (INCLUDING RESCISSIONS OF FUNDS)

                                                                            SEC. 7075. (a) MILLENNIUM CHALLENGE CORPORATION.—Of the
                                                                       unobligated balances from amounts made available under the
                                                                       heading ‘‘Millennium Challenge Corporation’’ from prior Acts
                                                                       making appropriations for the Department of State, foreign oper-
                                                                       ations, and related programs, $475,000,000 are rescinded.
                                                                            (b) EMBASSY SECURITY, CONSTRUCTION, AND MAINTENANCE.—
                                                                       Of the unobligated balances from amounts made available under
                                                                       the heading ‘‘Embassy Security, Construction, and Maintenance’’
                                                                       from prior Acts making appropriations for the Department of State,
                                                                       foreign operations, and related programs, $224,000,000 are
                                                                       rescinded.
                                                                            (c) INTERNATIONAL NARCOTICS CONTROL AND LAW ENFORCE-
                                                                       MENT.—Of the unobligated balances from amounts made available
                                                                       under the heading ‘‘International Narcotics Control and Law
                                                                       Enforcement’’ from prior Acts making appropriations for the Depart-
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                                                                       ment of State, foreign operations, and related programs, $50,000,000
                                                                       are rescinded.




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                                                                                                    (d) ECONOMIC SUPPORT FUND.—Of the unobligated balances
                                                                                               from amounts made available under the heading ‘‘Economic Support
                                                                                               Fund’’ from prior Acts making appropriations for the Department
                                                                                               of State, foreign operations, and related programs, $152,496,000
                                                                                               are rescinded.
                                                                                                    (e) CONSULAR AND BORDER SECURITY PROGRAMS.—Of the
                                                                                               unobligated balances available in the ‘‘Consular and Border Security
                                                                                               Programs’’ account, $902,340,000 are rescinded.
                                                                                                    (f) EXPORT-IMPORT BANK.—Of the unobligated balances from
                                                                                               amounts made available under the heading ‘‘Export and Investment
                                                                                               Assistance, Export-Import Bank of the United States, Subsidy
                                                                                               Appropriation’’ for tied-aid grants from prior Acts making appropria-
                                                                                               tions for the Department of State, foreign operations, and related
                                                                                               programs, $114,130,000 are rescinded.
                                                                                                    (g) RESTRICTION.—No amounts may be rescinded from amounts
                                                                                               that were previously designated by the Congress as an emergency
                                                                                               requirement pursuant to a concurrent resolution on the budget
                                                                                               or section 251(b)(2)(A)(i) of the Balanced Budget and Emergency
                                                                                               Deficit Control Act of 1985.
                                                                                                    This division may be cited as the ‘‘Department of State, Foreign
                                                                                               Operations, and Related Programs Appropriations Act, 2024’’.

                                                                                                           DIVISION G—OTHER MATTERS
                                                                                                       TITLE I—EXTENSIONS AND OTHER
                                                                                                                  MATTERS
                                                                       Applicability.          SEC. 101. NATIONAL FLOOD INSURANCE PROGRAM.
                                                                       42 USC 4016                  (a) FINANCING.—Section 1309(a) of the National Flood Insur-
                                                                       note.                   ance Act of 1968 (42 U.S.C. 4016(a)) shall be applied by substituting
                                                                                               ‘‘September 30, 2024’’ for ‘‘September 30, 2023’’.
                                                                       42 USC 4026                  (b) PROGRAM EXPIRATION.—Sections 1319 of the National Flood
                                                                       note.                   Insurance Act of 1968 (42 U.S.C. 4026) shall be applied by sub-
                                                                                               stituting ‘‘September 30, 2024’’ for ‘‘September 30, 2023’’.
                                                                       42 USC 4016                  (c) RETROACTIVE EFFECTIVE DATE.—This section shall take
                                                                       note.                   effect as if enacted on September 30, 2023.
                                                                       Applicability.          SEC. 102. RURAL HEALTHCARE WORKERS.
                                                                       8 USC 1182 note.
                                                                                                   Section 220(c) of the Immigration and Nationality Technical
                                                                                               Corrections Act of 1994 (8 U.S.C. 1182 note) shall be applied by
                                                                                               substituting ‘‘September 30, 2024’’ for ‘‘September 30, 2015’’.
                                                                       Applicability.          SEC. 103. E-VERIFY.
                                                                       8 USC 1324a
                                                                       note.                       Section 401(b) of the Illegal Immigration Reform and Immigrant
                                                                                               Responsibility Act of 1996 (8 U.S.C. 1324a note) shall be applied
                                                                                               by substituting ‘‘September 30, 2024’’ for ‘‘September 30, 2015’’.
                                                                       Applicability.          SEC. 104. NON-MINISTER RELIGIOUS WORKERS.
                                                                       8 USC 1101 note.
                                                                                                    Section 101(a)(27)(C)(ii) of the Immigration and Nationality
                                                                                               Act (8 U.S.C. 1101(a)(27)(C)(ii)) shall be applied by substituting
                                                                                               ‘‘September 30, 2024’’ for ‘‘September 30, 2015’’ each place such
                                                                                               date appears.
                                                                       Consultation.           SEC. 105. H-2B SUPPLEMENTAL VISA EXEMPTION.
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                                                                       Determination.
                                                                       Aliens.                     Notwithstanding the numerical limitation set forth in section
                                                                       8 USC 1184 note.        214(g)(1)(B) of the Immigration and Nationality Act (8 U.S.C.




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